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                              EXHIBIT 11




                              EXHIBIT 11


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                                    ID #:502


13-2211-cv
Weissbrod v. Gonzalez


                                 UNITED STATES COURT OF APPEALS
                                    FOR THE SECOND CIRCUIT

                                          SUMMARY ORDER
Rulings by summary order do not have precedential effect. Citation to a summary order filed on or
after January 1, 2007, is permitted and is governed by Federal Rule of Appellate Procedure 32.1 and
this Court’s Local Rule 32.1.1. When citing a summary order in a document filed with this Court, a
party must cite either the Federal Appendix or an electronic database (with the notation “summary
order”). A party citing a summary order must serve a copy of it on any party not represented by
counsel.

        At a stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the 19th
day of August, two thousand fourteen.

PRESENT:
            JOSÉ A. CABRANES,
            CHESTER J. STRAUB,*
                          Circuit Judges.
_____________________________________

 AMY R. WEISSBROD,

                   Plaintiff-Appellant,

                            v.                                                    No. 13-2211-cv

HON. LUIS A. GONZALEZ, PRESIDING CHIEF JUSTICE, APPELLATE
DIVISION FIRST DEPT., JAMES T. SHED, THOMAS CAHILL, NAOMI
GOLDSTEIN, JORGE DOPICO, HALLIBURTON FALES, ORLANDO
REYES, ESQ., QUASI-JUDICIAL OFFICERS AT THE FIRST DEPARTMENTAL
DISCIPLINARY COMMITTEE “FDDC DEFENDANTS”, HON. JONATHAN
LIPPMAN, CHIEF JUSTICE OF THE NY COURT OF APPEALS,

                   Defendants-Appellees,

PAUL CURRAN,

                   Defendant.
        *
          Judge Livingston has recused herself from consideration of this matter. Pursuant to Second Circuit Internal
Operating Procedure E(b), the matter is being decided by the two remaining members of the panel.
                                                           1



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                                    ID #:503


_____________________________________

FOR PLAINTIFF-APPELLANT:                                   Amy R. Weissbrod, pro se, Upper Montclair,
                                                           NJ.

FOR DEFENDANTS-APPELLEES:                                  Barbara D. Underwood, Solicitor General,
                                                           Michael S. Belohlavek, Senior Counsel, Mark
                                                           H. Shawhan, Assistant Solicitor General, for
                                                           Eric T. Schneiderman, Attorney General of
                                                           the State of New York, Albany, NY.

        Appeal from a May 14, 2013 judgment of the United States District Court for the Southern
District of New York (Jesse M. Furman, Judge).

     UPON DUE CONSIDERATION WHEREOF, IT IS HEREBY ORDERED,
ADJUDGED, AND DECREED that the judgment of the District Court is AFFIRMED.

         Plaintiff Amy Weissbrod, an attorney proceeding pro se, appeals from the District Court’s
judgment dismissing her 42 U.S.C. § 1983 suit as barred by the Rooker-Feldman doctrine and on
immunity grounds, and from the District Court’s order denying reconsideration. We assume the
parties’ familiarity with the underlying facts and the procedural history of the case, to which we refer
only as necessary to explain our decision to affirm.

          A district court has the inherent authority to dismiss an action as frivolous, even when the
plaintiff has paid the filing fee. Fitzgerald v. First E. Seventh St. Tenants Corp., 221 F.3d 362, 363–64 (2d
Cir. 2000) (per curiam). An action is frivolous “where it lacks an arguable basis either in law or in
fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989). We ordinarily afford special solicitude to pro se
litigants, but, as an attorney, Weissbrod is not entitled to liberal construction of her pleadings. See
Tracy v. Freshwater, 623 F.3d 90, 101–02 (2d Cir. 2010). Although we have not decided whether such
sua sponte dismissals are reviewed de novo or for abuse of discretion, we need not reach that issue here
because the District Court’s decision “easily passes muster under the more rigorous de novo review,”
Fitzgerald, 221 F.3d at 364 n.2.

         After review of Weissbrod’s complaint and relevant case law, we affirm substantially for the
reasons set forth by the District Court in its May 2, 2013 order. Weissbrod complains principally of
injuries caused by a state court judgment ordering her to pay a fine and temporarily suspending her
from the practice of law. Yet the Rooker-Feldman doctrine bars any attempt by Weissbrod to disturb
these disciplinary orders. See Hoblock v. Albany Cnty. Bd. of Elections, 422 F.3d 77, 86–87 (2d Cir. 2005).
Moreover, Weissbrod’s claims seeking damages, among other forms of relief, against the defendants
in their individual and official capacities were properly dismissed on the grounds of absolute and
sovereign immunity. See Cleavinger v. Saxner, 474 U.S. 193, 200 (1985); Ying Jing Gan v. City of New
York, 996 F.2d 522, 529 (2d Cir. 1993).
                                                      2



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         Weissbrod argues further that the District Court erred by denying her request for leave to
amend, but she failed to make any substantive argument in support of that contention. See Norton v.
Sam’s Club, 145 F.3d 114, 117 (2d Cir. 1998). In any event, granting leave to amend would have been
futile in light of the applicability of the Rooker-Feldman doctrine and sovereign and judicial immunity.
See Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000).

       We have considered all of the arguments raised by Weissbrod on appeal and find them to be
without merit. For the reasons stated above, we AFFIRM the District Court’s May 14, 2013
judgment.1



                                                    FOR THE COURT:
                                                    Catherine O’Hagan Wolfe, Clerk




        1 We also deny as moot Weissbrod’s motion to file a supplemental appendix (ECF No. 93), inasmuch as the

supplemental materials do not affect our review and disposition of this case.
                                                        3



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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007
  ROBERT A. KATZMANN                                            CATHERINE O'HAGAN WOLFE
  CHIEF JUDGE                                                   CLERK OF COURT



  Date: August 19, 2014                                      DC Docket #: 13-cv-2565
  Docket #: 13-2211cv                                        DC Court: SDNY (NEW YORK CITY)
  Short Title: Weissbrod v. Gonzalez                         DC Judge: Furman


                              BILL OF COSTS INSTRUCTIONS

The requirements for filing a bill of costs are set forth in FRAP 39. A form for filing a bill of
costs is on the Court's website.

The bill of costs must:
* be filed within 14 days after the entry of judgment;
* be verified;
* be served on all adversaries;
* not include charges for postage, delivery, service, overtime and the filers edits;
* identify the number of copies which comprise the printer's unit;
* include the printer's bills, which must state the minimum charge per printer's unit for a page, a
cover, foot lines by the line, and an index and table of cases by the page;
* state only the number of necessary copies inserted in enclosed form;
* state actual costs at rates not higher than those generally charged for printing services in New
York, New York; excessive charges are subject to reduction;
* be filed via CM/ECF or if counsel is exempted with the original and two copies.




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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007
  ROBERT A. KATZMANN                                          CATHERINE O'HAGAN WOLFE
  CHIEF JUDGE                                                 CLERK OF COURT



  Date: August 19, 2014                                    DC Docket #: 13-cv-2565
  Docket #: 13-2211cv                                      DC Court: SDNY (NEW YORK CITY)
  Short Title: Weissbrod v. Gonzalez                       DC Judge: Furman


                          VERIFIED ITEMIZED BILL OF COSTS

Counsel for
_________________________________________________________________________

respectfully submits, pursuant to FRAP 39 (c) the within bill of costs and requests the Clerk to
prepare an itemized statement of costs taxed against the
________________________________________________________________

and in favor of
_________________________________________________________________________

for insertion in the mandate.

Docketing Fee      _____________________

Costs of printing appendix (necessary copies ______________ ) _____________________

Costs of printing brief (necessary copies ______________ ____) _____________________

Costs of printing reply brief (necessary copies ______________ ) _____________________




(VERIFICATION HERE)

                                                                            ________________________
                                                                            Signature




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                              EXHIBIT 12




                              EXHIBIT 12


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                                                                                         STAYED,CLOSED,CASREF,ECF,PRO-SE

                                             U.S. District Court
                                 Southern District of New York (Foley Square)
                            CIVIL DOCKET FOR CASE #: 1:06-cv-01202-LGS-HBP


 Gurvey v. Cowan, Liebowitz & Latman PC et al                                           Date Filed: 02/15/2006
 Assigned to: Judge Lorna G. Schofield                                                  Date Terminated: 07/07/2017
 Referred to: Magistrate Judge Henry B. Pitman                                          Jury Demand: Plaintiff
 Case in other court: US Court of Appeals, Second Circuit, 09-                          Nature of Suit: 190 Contract: Other
                     02185-cv                                                           Jurisdiction: Diversity
                     US Court of Appeals,, Second Circuit, 10-
                     04111
                     U.S. Court of Appeals, 2nd Circ., 20-01986
                     USCA Federal Circuit, 22-01331
 Cause: 28:1332bc Diversity-Breach of Contract
 Plaintiff
 Amy R. Gurvey                                                           represented by Amy R. Gurvey
                                                                                        315 Highland Avenue
                                                                                        Upper Monclair, NJ 07043
                                                                                        (917) 733-9981
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                                                                                        Franzlau Dratch, P.C.
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                                                              ID #:509         Fax: (212)-421-6553
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                                                                                       TERMINATED: 09/21/2010


 V.
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 Cowan, Liebowitz & Lathman, PC                                          represented by Andrew B. Cripe
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                                                              ID #:510          Email: ihummel@maximgrp.com
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 Defendant
 Live Nation, Inc.                                                       represented by Eric Roman
                                                                                        (See above for address)
                                                                                        TERMINATED: 11/26/2007
                                                                                        LEAD ATTORNEY

                                                                                      Ian Hugh Hummel
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John Richard Supple , Jr
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                                                                                      Jonathan B. Rubenstein
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Gregory Schortgen
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Instant Live Concerts, LLC                                              represented by Eric Roman
                                                                                        (See above for address)
                                                                                        TERMINATED: 11/26/2007
                                                                                        LEAD ATTORNEY
                                                                                                             EXHIBIT 12
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                                                                                      Ian Hugh Hummel
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John Richard Supple , Jr
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jonathan B. Rubenstein
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Gregory Schortgen
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                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Does                                                                    represented by John Richard Supple , Jr
 1-X Inclusive                                                                          (See above for address)
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 Defendant
 Nexticketing, Inc.                                                      represented by Eric Roman
                                                                                        (See above for address)
                                                                                        TERMINATED: 11/26/2007
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                                                                                      John Richard Supple , Jr
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                                                                                      Jonathan B. Rubenstein
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                                                                                      PRO HAC VICE
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 Defendant
 William Borchard                                                        represented by John Richard Supple , Jr
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 Defendant

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 Midge Hyman                                                  IDrepresented
                                                                  #:512     by John Richard Supple , Jr
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                                                                                ATTORNEY TO BE NOTICED
 Defendant
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                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Christopher Jensen                                                      represented by John Richard Supple , Jr
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 Defendant
 Dale Head                                                               represented by John Richard Supple , Jr
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                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 Steve Simon                                                             represented by John Richard Supple , Jr
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 Defendant
 Michael Gordon                                                          represented by Michael Arthur Berlin
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 Defendant
 Susan Schick                                                            represented by Michael Arthur Berlin
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       John Richard Supple , Jr
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
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                                                       ID #:513
  02/15/2006              1 COMPLAINT against Conwan, Liebowitz & Latman P.C., Clear Channel
                            Communications, Inc., Live Nation, Inc., Instant Live Concerts, L.L.C., Does. (Filing Fee
                            $ 250.00, Receipt Number 570216)Document filed by Amy R. Gurvey.(mbe, ) (jcs).
                            (Entered: 02/16/2006)
  02/15/2006                   SUMMONS ISSUED as to Conwan, Liebowitz & Latman P.C., Clear Channel
                               Communications, Inc., Live Nation, Inc., Instant Live Concerts, L.L.C., Does. (mbe, )
                               (Entered: 02/16/2006)
  02/15/2006                   Magistrate Judge Thoedore H. Katz is so designated. (mbe, ) (Entered: 02/16/2006)
  03/17/2006              2 ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be referred to
                            the Clerk of Court for assignment to a Magistrate Judge for General Pretrial. Referred to
                            Magistrate Judge Theodore H. Katz. (Signed by Judge Barbara S. Jones on 3/13/06)
                            Copies Mailed(sac, ) (Entered: 03/17/2006)
  06/05/2006              3 AMENDED COMPLAINT amending 1 Complaint against Nexticketing, Inc., Cowan,
                            Liebowitz & Lathman, PC, Clear Channel Communications, Inc., Live Nation, Inc.,
                            Instant Live Concerts, LLC, Does.Document filed by Amy R. Gurvey. Related document:
                            1 Complaint filed by Amy R. Gurvey.(db, ) (jcs). (Entered: 06/07/2006)
  06/05/2006                   MEMORANDUM TO THE DOCKET CLERK: an amended summons was issued on
                               6/5/06. (dle, ) (Entered: 06/07/2006)
  06/16/2006              4 AFFIDAVIT OF SERVICE of Summons and Amended Complaint. Cowan, Liebowitz &
                            Lathman, PC served on 6/12/2006, answer due 7/3/2006. Service was accepted by Robert
                            Gammel. Document filed by Amy R. Gurvey. (jar, ) (Entered: 06/20/2006)
  06/16/2006              5 AFFIDAVIT OF SERVICE of Summons and Amended Complaint. Clear Channel
                            Communications, Inc. served on 6/8/2006, answer due 6/28/2006. Service was accepted
                            by Hamlet Newsom. Document filed by Amy R. Gurvey. (jar, ) (Entered: 06/20/2006)
  06/16/2006              6 AFFIDAVIT OF SERVICE of Summons and Amended Complaint. Live Nation, Inc.
                            served on 6/8/2006, answer due 6/28/2006. Service was accepted by Michael Rapino,
                            Agent for Service of Process for Live Nation, Inc. Document filed by Amy R. Gurvey.
                            (jar, ) (Entered: 06/20/2006)
  06/16/2006              7 AFFIDAVIT OF SERVICE of Summons and Amended Complaint. Instant Live Concerts,
                            LLC served on 6/8/2006, answer due 6/28/2006. Service was accepted by Michael
                            Rapino, Agent for Service of Process for Instant Live Concerts, LLC. Document filed by
                            Amy R. Gurvey. (jar, ) (Entered: 06/20/2006)
  06/16/2006              8 AFFIDAVIT OF SERVICE of Summons and Amended Complaint. Nexticketing, Inc.
                            served on 6/12/2006, answer due 7/3/2006. Service was accepted by Clear-
                            Channel/Nexticketing. Document filed by Amy R. Gurvey. (jar, ) (Entered: 06/20/2006)
  06/28/2006              9 MOTION for Jonathan B. Rubenstein to Appear Pro Hac Vice. Document filed by
                            Nexticketing, Inc., Clear Channel Communications, Inc., Live Nation, Inc., Instant Live
                            Concerts, LLC. (cd, ) (Entered: 06/30/2006)
  06/28/2006             10 MOTION for Steven G. Schortgen to Appear Pro Hac Vice. Document filed by
                            Nexticketing, Inc., Clear Channel Communications, Inc., Live Nation, Inc., Instant Live
                            Concerts, LLC. (cd, ) (Entered: 06/30/2006)
  06/28/2006             11 MOTION to Dismiss for Lack of Jurisdiction and subject to that motion, Clear Channel
                            Communications, Inc. and Live Nation, Inc. will join InstantLive Concerts, LLC and
                            Nexticketing Inc. in moving the Court to dismiss al of plaintiff's claims against each of
                            the dfts pursuant to F.R.C.P.12(b)(1) and 12(b)(6) for lack of subject matter jurisdiction
                            and failure to state a claim for which relief can be granted. Document filed by
                                                                                                     EXHIBIT 12
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                                                            ID  #:514
                               Nexticketing, Inc., Clear Channel Communications, Inc., Live Nation, Inc., Instant Live
                               Concerts, LLC. (pl, ) (Entered: 07/06/2006)
  06/28/2006             12 MEMORANDUM OF LAW in Support re: 11 MOTION to Dismiss for Lack of
                            Jurisdiction.. Document filed by Nexticketing, Inc., Clear Channel Communications, Inc.,
                            Instant Live Concerts, LLC. (pl, ) (Entered: 07/06/2006)
  07/10/2006             13 ENDORSED LETTER addressed to Judge Barbara S. Jones from Schuyler B. Kraus
                            dated 6/30/06 re: a request for a two week extension of time nunc pro tunc to 7/14/2006
                            for Cowan to move, answer or otherwise respond to the pro se plaintiffs complaint in the
                            above-entitled action. ENDORSEMENT: Application granted. Defendant's response is
                            due on or before 7/14/2006. (Signed by Judge Barbara S. Jones on 7/6/06) (kco, )
                            (Entered: 07/10/2006)
  07/14/2006                   MEMO ENDORSEMENT on re: 9 MOTION for Jonathan B. Rubenstein to Appear Pro
                               Hac Vice filed by Clear Channel Communications, Inc., Live Nation, Inc., Instant Live
                               Concerts, LLC, Nexticketing, Inc. MOTION GRANTED. (Signed by Judge Barbara S.
                               Jones on 7/3/06) (kco, ) (Entered: 07/14/2006)
  07/14/2006             14 ORDER granting 10 Motion for Steven G. Schortgen to Appear Pro Hac Vice . (Signed
                            by Judge Barbara S. Jones on 7/3/06) (jco, ) (Entered: 07/14/2006)
  07/14/2006                   Transmission to Attorney Admissions Clerk. Transmitted re: 14 Order on Motion to
                               Appear Pro Hac Vice, to the Attorney Admissions Clerk for updating of Attorney
                               Information. (jco, ) (Entered: 07/14/2006)
  07/14/2006             15 MOTION to Compel Plaintiff to Arbitrate the claims in her Amended Complaint.
                            MOTION to Stay all proceedings in this matter pending the completion of arbitration.
                            MOTION to Preserve all of CLL's rights pending the completion of arbitration, including
                            by tolling any applicable time limitations for answering or otherwise responding to the
                            Amended Complaint. Document filed by Cowan, Liebowitz & Lathman, PC. (jar, ) (jcs).
                            (Entered: 07/17/2006)
  07/14/2006             16 MEMORANDUM OF LAW in Support re: 15 MOTION to Compel Plaintiff to Arbitrate
                            the claims in her Amended Complaint. MOTION to Stay all proceedings in this matter
                            pending the completion of arbitration. MOTION to Preserve all of CLL's rights pending
                            the completion of arbitration, including by tolling any applicable time limitations for
                            answering or otherwise responding to the Amended Complaint. Document filed by
                            Cowan, Liebowitz & Lathman, PC. (jar, ) (jcs). (Entered: 07/17/2006)
  07/14/2006             17 DECLARATION of Simon Gerson in Support re: 15 MOTION to Compel Plaintiff to
                            Arbitrate the claims in her Amended Complaint. MOTION to Stay all proceedings in this
                            matter pending the completion of arbitration. MOTION to Preserve all of CLL's rights
                            pending the completion of arbitration, including by tolling any applicable time limitations
                            for answering or otherwise responding to the Amended Complaint. Document filed by
                            Cowan, Liebowitz & Lathman, PC. (jar, ) (jcs). (Entered: 07/17/2006)
  07/14/2006                   Motion Not Referred: re: 15 MOTION to Compel Arbitration, MOTION to Stay.
                               MOTION Preserve all of CLL's rights pending the completion of arbitration filed by
                               Cowan, Liebowitz & Lathman, PC. (dlw) (Entered: 02/16/2007)
  07/17/2006             18 ENDORSED LETTER addressed to Judge Barbara S. Jones from Amy R. Gurvey dated
                            7/12/06 ENDORSEMENT: The plaintiff pro se shall have until 8/24/ to respond to
                            defendants motion to dismiss. SO ORDERED. (Signed by Judge Barbara S. Jones on
                            7/13/06) (kco, ) (jcs). (Entered: 07/18/2006)
  08/21/2006             19 ENDORSED LETTER addressed to Judge Barbara S. Jones from Amy R. Gurvey dated
                            8/18/2006 re: requesting a final extension of time of 6 weeks to file opposition papers to
                                                                                                     EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                   7/69
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                                                            ID  #:515
                               both Clear Channel's 12b motion and Cowan's motion for arbitration. ENDORSEMENT:
                               Application Granted. Plaintiff's opposition are due on or before 10/9/2006. (Signed by
                               Judge Barbara S. Jones on 8/18/2006) (lb, ) (jcs). (Entered: 08/22/2006)
  10/10/2006             20 MOTION for Leave to File and serve a second amended complaint., MOTION for
                            Sanctions against defendants...; MOTION for Attorney Fees and costs. Attached is
                            Affidavit in support Document filed by Amy R. Gurvey. (djc, ) (Additional attachment(s)
                            added on 2/10/2017: # 1 Part 2, # 2 Part 3) (jcs). (Entered: 10/17/2006)
  10/10/2006             21 LETTER addressed to Judge Jones from Amy R. Gurvey dated 10/10/06 re: plaintiff
                            advises the Court that he has served his cross-motion and opposition papers upon
                            defendants and will either deliver or clock-in cross motion and opposition papers today to
                            the Court or overnight them both to Your Honor and the Pro Se Office...;. Document filed
                            by Amy R. Gurvey.(docmt received in night dep. on 10/10/06 at 9:07 p.m.)(djc, ) (jcs).
                            (Entered: 10/17/2006)
  10/10/2006                   Motion Not Referred: re: 20 MOTION for Leave to File a second amended complaint
                               MOTION for Sanctions. MOTION for Attorney Fees filed by Amy R. Gurvey. (dw)
                               (Entered: 07/24/2007)
  11/01/2006             22 ORDER that because of procedural defects in plaintiff's motion for Rule 11 sanctions, the
                            motion is dismissed without further consideration. Dft's time to submit reply and
                            opposition papers to plaintiff's motion is hereby extended to 11/3/06. . (Signed by Judge
                            Barbara S. Jones on 10/26/06) (dle, ) (jcs). (Entered: 11/02/2006)
  11/03/2006             23 MEMORANDUM OF LAW in Opposition re: 20 MOTION for Leave to File a second
                            amended complaint. MOTION for Sanctions. MOTION for Attorney Fees. Document
                            filed by Nexticketing, Inc., Clear Channel Communications, Inc., Live Nation, Inc.,
                            Instant Live Concerts, LLC. (jco, ) (jcs). (Entered: 11/06/2006)
  11/03/2006             24 MEMORANDUM OF LAW in Support re: 15 MOTION to Compel Arbitration.
                            MOTION to Stay. MOTION Preserve all of CLL's rights pending the completion of
                            arbitration. MOTION to Compel Arbitration. MOTION to Stay. MOTION Preserve all of
                            CLL's rights pending the completion of arbitration. Document filed by Cowan, Liebowitz
                            & Lathman, PC. (db, ) (jcs). (Entered: 11/07/2006)
  11/27/2006             25 REPLY to Response to Motion re: 20 MOTION for Leave to File a second amended
                            complai tn. MOTION for Sanctions. MOTION for Attorney Fees. Document filed by
                            Amy R. Gurvey. (db, ) (Entered: 11/29/2006)
  11/29/2006             26 ENDORSED LETTER addressed to Judge Barbara S. Jones from Amy r. Gurvey dated
                            11/13/06 re: plaintiff request an extension of time to 11/27/06 to file reply papers to dfts'
                            opposition papers. (Signed by Judge Barbara S. Jones on 11/13/06) (pl, ) (Entered:
                            11/30/2006)
  03/05/2007             27 FILING ERROR - ELECTRONIC FILING IN NON-ECF CASE - NOTICE OF
                            APPEARANCE by Olimpio Lee Squitieri on behalf of Amy R. Gurvey (Squitieri,
                            Olimpio) Modified on 3/30/2007 (lb). (Entered: 03/05/2007)
  03/30/2007                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF CASE ERROR.
                               Note to Attorney Olimpio Lee Squitieri to MANUALLY RE-FILE Document NOTICE
                               OF APPEARANCE, Document No. 27. This case is not ECF. (lb) (Entered: 03/30/2007)
  04/04/2007             28 NOTICE OF APPEARANCE by Olimpio Lee Squitieri on behalf of Amy R. Gurvey
                            (mbe) (Entered: 04/05/2007)
  07/06/2007             29 NOTICE OF APPEARANCE by Ian Hugh Hummel on behalf of Nexticketing, Inc.,
                            Clear Channel Communications, Inc., Instant Live Concerts, LLC (cd) (Entered:
                                                                                                       EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                      8/69
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                               07/11/2007)                    ID #:516

  08/06/2007             30 FILING ERROR - ELECTRONIC FILING IN NON-ECF CASE - MOTION for Leave
                            to File AMENDED COMPLAINT. Document filed by Amy R. Gurvey.(Squitieri,
                            Olimpio) Modified on 8/7/2007 (KA). (Entered: 08/06/2007)
  08/06/2007             31 FILING ERROR - ELECTRONIC FILING IN NON-ECF CASE - DECLARATION of
                            LEE SQUITIERI IN SUPPORT OF PLAINTIFF'S MOTION FOR LEAVE TO FILE A
                            THIRD AMENDED COMPLAINT in Support re: 30 MOTION for Leave to File
                            AMENDED COMPLAINT.. Document filed by Amy R. Gurvey. (Attachments: # 1
                            Exhibit A)(Squitieri, Olimpio) Modified on 8/7/2007 (KA). (Entered: 08/06/2007)
  08/06/2007             32 FILING ERROR - ELECTRONIC FILING IN NON-ECF CASE - MEMORANDUM
                            OF LAW in Support re: 30 MOTION for Leave to File AMENDED COMPLAINT..
                            Document filed by Amy R. Gurvey. (Squitieri, Olimpio) Modified on 8/7/2007 (KA).
                            (Entered: 08/06/2007)
  08/07/2007                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF CASE ERROR.
                               Note to Attorney Olimpio Lee Squitieri to MANUALLY RE-FILE Document Motion for
                               leave to file Amended Complaint, Document No. 30. This case is not ECF. (KA)
                               (Entered: 08/07/2007)
  08/07/2007                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF CASE ERROR.
                               Note to Attorney Olimpio Lee Squitieri to MANUALLY RE-FILE Document Declaration
                               in Support of Motion, Document No. 31. This case is not ECF. (KA) (Entered:
                               08/07/2007)
  08/07/2007                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF CASE ERROR.
                               Note to Attorney Olimpio Lee Squitieri to MANUALLY RE-FILE Document
                               Memorandum of Law in Support of Motion, Document No. 32. This case is not ECF.
                               (KA) (Entered: 08/07/2007)
  08/16/2007             33 STIPULATION AND ORDER the time for defendants to respond to plaintiff's motion to
                            file a third amended complaint is hereby extended Responses due by 9/6/2007. Replies
                            due by 10/9/2007. (Signed by Judge Barbara S. Jones on 8/16/07) (jco) (Entered:
                            08/17/2007)
  09/07/2007             34 MEMORANDUM OF LAW in Opposition re: 20 MOTION for Leave to File a second
                            amended complai tn. MOTION for Sanctions. MOTION for Attorney Fees.. Document
                            filed by Cowan, Liebowitz & Lathman, PC. (djc) (Entered: 09/10/2007)
  09/07/2007             35 Clear Channel Communications, Inc., Live Nation, Inc., Instantlive Concerts, LLC and
                            Nexticketing, Inc.'s Opposition to Plaintiff's Motion for Leave to File and Serve a Third
                            Amended Complaint. Document filed by Nexticketing, Inc., Clear Channel
                            Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC. (dle) (Entered:
                            09/11/2007)
  10/12/2007             36 STIPULATION Set Deadlines/Hearing as to 20 MOTION for Leave to File a second
                            amended complaint. MOTION for Sanctions. MOTION for Attorney Fees. The time for
                            plaintiffs to submit a reply to defendants' opposition is hereby extended up to and
                            including 10/23/07. So Ordered. Replies due by 10/23/2007. (Signed by Judge Barbara S.
                            Jones on 10/10/07) (jco) (Entered: 10/12/2007)
  10/23/2007             37 REPLY MEMORANDUM OF LAW in Support re: 30 MOTION for Leave to File
                            AMENDED COMPLAINT.. Document filed by Amy R. Gurvey. (Squitieri, Olimpio)
                            (Entered: 10/23/2007)
  10/23/2007             38 CERTIFICATE OF SERVICE of MEMORANDUM OF LAW IN REPLY TO
                            DEFENDANTS' OPPOSITION TO PLAINTIFF'S MOTION FOR LEAVE TO AMEND
                                                                                                          EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                  9/69
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                                                        ID #:517
                               HER COMPLAINT served on DEFENDANTS on 10/23/2007. Service was made by
                               MAIL. Document filed by Amy R. Gurvey. (Squitieri, Olimpio) (Entered: 10/23/2007)
  11/14/2007             39 MOTION to Substitute Attorney. Old Attorney: Eric Roman, New Attorney: Ian H.
                            Hummel of Baker Botts LLP. Document filed by Nexticketing, Inc., Clear Channel
                            Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC.(ae) (Entered:
                            11/19/2007)
  11/14/2007             42 NOTICE OF APPEARANCE by Steven Gregory Schortgen on behalf of Nexticketing,
                            Inc., Clear Channel Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC
                            (ae) (Entered: 01/24/2008)
  11/14/2007             43 NOTICE OF APPEARANCE by Jonathan B. Rubenstein on behalf of Nexticketing, Inc.,
                            Clear Channel Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC (ae)
                            (Entered: 01/24/2008)
  11/26/2007             40 ORDER granting 39 Motion to Substitute Attorney. Added attorney Ian Hugh Hummel
                            for Nexticketing, Inc., Clear Channel Communications, Inc., Live Nation, Inc. and Instant
                            Live Concerts, LLC. Attorney Eric Roman terminated. (Signed by Judge Barbara S. Jones
                            on 11/25/07) (jco) (Entered: 11/28/2007)
  01/23/2008             41 ORDER finding as moot 20 Motion for Leave to File Document. The Court grants leave
                            to file the Third Amended Complaint; Plaintiff's motion for leave to file a Second
                            Amended complaint is moot. Defendants are directed to notify the Court by Monday,
                            1/28/08, whether they intend to supplement, withdraw, or otherwise alter the scope of
                            their pending motions in light of this ruling; otherwise, the Court will decide those
                            motions based on all the submissions currently before it, guided by the Third Amended
                            Complaint. So Ordered. "Copies Faxed By Chambers" (Signed by Judge Barbara S. Jones
                            on 1/23/08) (Entered: 01/24/2008)
  01/30/2008             44 ENDORSED LETTER addressed to Judge Barbara S. Jones from Steven G. Schortgen
                            dated 1/28/2008 re: Defendants intend to withdraw their 6/28/2006 Motion to Dismiss,
                            revise that motion, and file it to address the new allegations and causes contained in the
                            Third Amended Complaint. Defendants request an additional sixty days until 3/28/2008
                            to file their Motion to Dismiss. ENDORSEMENT: Application Granted. The Clear
                            Channel Defendants' application to withdraw their motion to dismiss (Docket #11) is
                            GRANTED. Defendants are granted 60 days to file their motion to dismiss. (Signed by
                            Judge Barbara S. Jones on 1/28/2008) (jar) (Entered: 01/30/2008)
  01/30/2008             45 ENDORSED LETTER addressed to Judge Barbara S. Jones from J. Richard Supple, Jr
                            dated 1/28/2008 re: In light of plaintiff's abandonment of her claims based on her
                            employment agreement, Cowan intends to withdraw its current motion to compel
                            arbitration. ENDORSEMENT: Application Granted. Cowan's application to withdraw its
                            motion to compel arbitration (Docket #15) is GRANTED. The Cowan defendants are
                            granted 60 days to file and serve their motions. (Signed by Judge Barbara S. Jones on
                            1/28/2008) (jar) (Entered: 01/30/2008)
  01/30/2008                   ***Motion(s) terminated: 15 MOTION to Compel Arbitration filed by Cowan, Liebowitz
                               & Lathman, PC. (jar) (Entered: 01/30/2008)
  02/11/2008             46 ORDER: The court denies Plaintiff's motion for attorneys' fees and costs (Docket No. 20)
                            as unripe. Copies Mailed By Chambers. (Signed by Judge Barbara S. Jones on 2/11/2008)
                            (jpo) (Entered: 02/13/2008)
  03/04/2008             47 THIRD AMENDED COMPLAINT against William Borchard, Midge Hyman, Baila
                            Celedonia, Christopher Jensen, Dale Head, Steve Simon, Michael Gordon, Susan Schick,
                            Nexticketing, Inc., Cowan, Liebowitz & Lathman, PC, Clear Channel Communications,
                                                                                                     EXHIBIT 12
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                                                              ID #:518
                               Inc., Live Nation, Inc., Instant Live Concerts, LLC.Document filed by Amy R. Gurvey.
                               (dle) (Entered: 03/05/2008)
  03/10/2008             48 FILING ERROR - ELECTRONIC FILING FOR NON-ECF DOCUMENT - MOTION
                            for Extension of Time to File Answer. Document filed by Cowan, Liebowitz & Lathman,
                            PC.(Kraus, Schuyler) Modified on 3/11/2008 (jar). (Entered: 03/10/2008)
  03/11/2008                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No. 48
                               HAS BEEN REJECTED. Note to Attorney Schuyler Kraus : THE CLERK'S OFFICE
                               DOES NOT ACCEPT LETTERS FOR FILING, either through ECF or otherwise, except
                               where the judge has ordered that a particular letter be docketed. Letters may be sent
                               directly to a judge. (jar) (Entered: 03/11/2008)
  03/17/2008             49 STIPULATION: It is hereby stipulated and agreed by and between the parties that The
                            Clear Channel Defendants and Cowan Defendants have up to and including April 25,
                            2008 to file motions in response to Plaintiff's Third Amended Complaint. Plaintiff has up
                            to and including May 28, 2008 to file any opposition to the motions filed by the Channel
                            Defendants and Cowan Defendants. The Channel Defendants and Cowan Defendants
                            have up to and including June 9, 2008 to file any reply to Plaintiff's opposition. (Signed
                            by Judge Barbara S. Jones on 3/17/2008) (jpo) (Entered: 03/18/2008)
  04/24/2008             50 ORDER: The Clerk's Office is directed to designate this case ECF. (Signed by Judge
                            Barbara S. Jones on 4/23/08) (db) (Entered: 04/24/2008)
  04/24/2008                   Case Designated ECF. (db) (Entered: 04/24/2008)
  04/25/2008             51 MOTION to Dismiss for Lack of Jurisdiction. Document filed by Nexticketing, Inc.,
                            Clear Channel Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC.
                            (Attachments: # 1 Text of Proposed Order)(Schortgen, Steven) (Entered: 04/25/2008)
  04/25/2008             52 MEMORANDUM OF LAW in Support re: 51 MOTION to Dismiss for Lack of
                            Jurisdiction.. Document filed by Nexticketing, Inc., Clear Channel Communications, Inc.,
                            Live Nation, Inc., Instant Live Concerts, LLC. (Schortgen, Steven) (Entered: 04/25/2008)
  04/25/2008             53 DECLARATION of Hamlet T. Newsom, Jr. in Support re: 51 MOTION to Dismiss for
                            Lack of Jurisdiction.. Document filed by Nexticketing, Inc., Clear Channel
                            Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC. (Schortgen,
                            Steven) (Entered: 04/25/2008)
  04/25/2008             54 DECLARATION of Richard A. Munisteri in Support re: 51 MOTION to Dismiss for
                            Lack of Jurisdiction.. Document filed by Nexticketing, Inc., Clear Channel
                            Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC. (Schortgen,
                            Steven) (Entered: 04/25/2008)
  04/25/2008             55 MOTION to Dismiss Third Amended Complaint. Document filed by Cowan, Liebowitz &
                            Lathman, PC.(Supple, John) (Entered: 04/25/2008)
  04/25/2008             56 DECLARATION of Schuyler B. Kraus in Support re: 55 MOTION to Dismiss Third
                            Amended Complaint.. Document filed by Cowan, Liebowitz & Lathman, PC.
                            (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                            6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Supple, John) (Entered:
                            04/25/2008)
  04/25/2008             57 MEMORANDUM OF LAW in Support re: 55 MOTION to Dismiss Third Amended
                            Complaint.. Document filed by Cowan, Liebowitz & Lathman, PC. (Supple, John)
                            (Entered: 04/25/2008)
  04/28/2008             58 CERTIFICATE OF SERVICE of Notice of Motion to Dismiss, Declaration of Schuyler
                            B. Kraus and Memorandum of Law served on All Attorneys of Record on 04/25/08.
                                                                                                    EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                11/69
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                                                            ID #:519
                               Service was made by Email. Document filed by Cowan, Liebowitz & Lathman, PC.
                               (Supple, John) (Entered: 04/28/2008)
  05/28/2008             59 AMENDED SCHEDULING ORDER: defendant's filed their respective motions to
                            dismiss on April 25, 2008. Plaintiff's shall file her oppositions to defendant's motions to
                            dismiss on or before June 11, 2008. Defendant's shall file their reply briefs, if any, on or
                            before June 30, 2008. (Signed by Judge Barbara S. Jones on 5/28/2008) Copies Mailed
                            By Chambers.(jfe) (Entered: 05/28/2008)
  06/11/2008             60 MEMORANDUM OF LAW in Opposition re: 55 MOTION to Dismiss Third Amended
                            Complaint.. Document filed by Amy R. Gurvey. (Ciccia, Maria) (Entered: 06/11/2008)
  06/11/2008             61 DECLARATION of Maria J. Ciccia in Opposition re: 51 MOTION to Dismiss for Lack
                            of Jurisdiction.. Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit A, # 2
                            Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)
                            (Ciccia, Maria) (Entered: 06/11/2008)
  06/11/2008             62 MEMORANDUM OF LAW in Opposition re: 51 MOTION to Dismiss for Lack of
                            Jurisdiction.. Document filed by Amy R. Gurvey. (Ciccia, Maria) (Entered: 06/11/2008)
  06/30/2008             63 REPLY MEMORANDUM OF LAW in Support re: 55 MOTION to Dismiss Third
                            Amended Complaint.. Document filed by William Borchard, Midge Hyman, Baila
                            Celedonia, Christopher Jensen, Cowan, Liebowitz & Lathman, PC. (Supple, John)
                            (Entered: 06/30/2008)
  06/30/2008             64 REPLY MEMORANDUM OF LAW in Support re: 51 MOTION to Dismiss for Lack of
                            Jurisdiction.. Document filed by Nexticketing, Inc., Clear Channel Communications, Inc.,
                            Live Nation, Inc., Instant Live Concerts, LLC. (Schortgen, Steven) (Entered: 06/30/2008)
  03/17/2009             65 OPINION AND ORDER #97232: For the reasons set forth in this order, Defendants
                            Clear Channel Communications, Inc. and Live Nation, Inc. motion to dismiss for lack of
                            personal jurisdiction is hereby Granted. The Clerk of the Court is directed to terminate
                            the following motion: Case No. 06 Civ. 1202, docket entry 51. (Signed by Judge Barbara
                            S. Jones on 3/16/09) (mme) Modified on 3/18/2009 (mro). (Entered: 03/17/2009)
  04/23/2009                   Minute Entry for proceedings held before Magistrate Judge Theodore H. Katz: Pretrial
                               Conference held on 4/23/2009. (mro) (Entered: 04/24/2009)
  04/24/2009             66 OPINION & ORDER #97453 that plaintiff's claims against all Defendants are hereby
                            DISMISSED. The Clerk of Court is hereby directed to close this case. (Signed by Judge
                            Barbara S. Jones on 4/23/09) (cd) Modified on 4/29/2009 (mro). (Entered: 04/24/2009)
  04/24/2009                   Transmission to Judgments and Orders Clerk. Transmitted re: 66 Memorandum &
                               Opinion, to the Judgments and Orders Clerk. (cd) (Entered: 04/24/2009)
  04/27/2009             67 CLERK'S JUDGMENT That for the reasons stated in the Court's Opinion and Order
                            dated April 23, 2009, plaintiff's claims against all Defendants are dismissed; accordingly,
                            the case is closed. (Signed by J. Michael McMahon, clerk on 4/27/09) (Attachments: # 1
                            notice of right to appeal)(ml) (Entered: 04/27/2009)
  05/08/2009             68 MOTION for Reargument and Reconsideration Of Order And Opinion Entered April 24,
                            2009. Document filed by Amy R. Gurvey.(Squitieri, Olimpio) (Entered: 05/08/2009)
  05/08/2009             69 MEMORANDUM OF LAW in Support re: 68 MOTION for Reargument and
                            Reconsideration Of Order And Opinion Entered April 24, 2009.. Document filed by Amy
                            R. Gurvey. (Squitieri, Olimpio) (Entered: 05/08/2009)
  05/22/2009             70 RESPONSE in Opposition re: 68 MOTION for Reargument and Reconsideration Of
                            Order And Opinion Entered April 24, 2009.. Document filed by Nexticketing, Inc.,
                                                                                                      EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                 12/69
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                               Instant Live Concerts, LLC. (Schortgen, Steven) (Entered: 05/22/2009)
  05/22/2009             71 NOTICE OF APPEAL from 66 Memorandum & Opinion. Document filed by Amy R.
                            Gurvey. Filing fee $ 455.00, receipt number E 688820. (nd) (Entered: 05/22/2009)
  05/26/2009             72 MEMORANDUM OF LAW in Opposition re: 68 MOTION for Reargument and
                            Reconsideration Of Order And Opinion Entered April 24, 2009.. Document filed by
                            Cowan, Liebowitz & Lathman, PC. (Supple, John) (Entered: 05/26/2009)
  05/26/2009             73 CERTIFICATE OF SERVICE. Document filed by Cowan, Liebowitz & Lathman, PC.
                            (Supple, John) (Entered: 05/26/2009)
  06/08/2009                   USCA Case Number 09-2185-cv from the US Court of Appeals, Second Circuit assigned
                               to 71 Notice of Appeal filed by Amy R. Gurvey. (nd) (Entered: 06/08/2009)
  06/18/2009             74 TRUE COPY ORDER of USCA as to 71 Notice of Appeal filed by Amy R. Gurvey
                            USCA Case Number 09-2185-cv. A motion or motions of the type specified by Rule
                            4(a)4, 4(b), or 6(b)(2)(i) of the Federal Rules of Appellate Procedure having been filed in
                            this matter, and now pending before the District Court, the above number and entitled
                            appeal is hereby stayed to await final disposition of said motion(s).Movant below is
                            hereby directed to inform this Court, in writing, as to the status of each such motion, at
                            thirty_day interval from the date of filing and immediately upon final disposition of the
                            last outstanding motion, and to provide the Court a copy of all dispositive orders. Parties
                            are advised that appellate review of the lower courts disposition regarding any such
                            motion requires a timely filed amended Notice of Appeal. Catherine O'Hagan Wolfe,
                            Clerk USCA. Certified: 6/17/2009. (nd) (Entered: 06/18/2009)
  04/21/2010             75 MOTION for Lee Squitieri to Withdraw as Attorney. Document filed by Amy R. Gurvey.
                            (Squitieri, Olimpio) (Entered: 04/21/2010)
  04/21/2010             76 MEMORANDUM OF LAW in Support re: 75 MOTION for Lee Squitieri to Withdraw as
                            Attorney.. Document filed by Amy R. Gurvey. (Squitieri, Olimpio) (Entered: 04/21/2010)
  04/21/2010             77 DECLARATION of Lee Squitieri in Support re: 75 MOTION for Lee Squitieri to
                            Withdraw as Attorney.. Document filed by Amy R. Gurvey. (Squitieri, Olimpio) (Entered:
                            04/21/2010)
  04/21/2010             78 CERTIFICATE OF SERVICE of Notice of Motion, Brief In Support and Declaration In
                            Support served on Defendants on 04/21/2010. Document filed by Amy R. Gurvey.
                            (Squitieri, Olimpio) (Entered: 04/21/2010)
  04/21/2010             79 AMENDED MOTION to Amend/Correct 75 MOTION for Lee Squitieri to Withdraw as
                            Attorney.. Document filed by Amy R. Gurvey. Return Date set for 5/10/2010 at 09:30
                            AM.(Squitieri, Olimpio) (Entered: 04/21/2010)
  09/20/2010             80 ORDER: For the reasons provided above, Plaintiff's motion for reargument and
                            reconsideration (Dkt. 68) is DENIED. (Signed by Judge Barbara S. Jones on 9/20/2010)
                            (jfe) (Entered: 09/20/2010)
  09/21/2010             81 ORDER: Plaintiff's attorney's amended motion to withdraw (Dkt. 79) as counsel is
                            GRANTED. (Signed by Judge Barbara S. Jones on 9/21/2010) (jpo) (Entered:
                            09/21/2010)
  09/27/2010             83 NOTICE OF APPEAL from 67 Clerk's Judgment, 80 Order on Motion for Reargument,
                            66 Memorandum & Opinion. Document filed by Amy R. Gurvey. (tp) (Entered:
                            10/07/2010)
  09/27/2010                   Appeal Remark as to 83 Notice of Appeal filed by Amy R. Gurvey. $455.00 APPEAL
                               FEE DUE. (tp) (Entered: 10/07/2010)
                                                                                                     EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                               13/69
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                                                           SDNY  CM/ECFFiled 09/08/23
                                                                        NextGen Version 1.7 Page 21 of 206 Page
                                                          ID #:521
  09/28/2010             82 LETTER addressed to Judge Barbara S. Jones from Amy R. Gurvey dated 9/22/10 re:
                            Plaintiff requests that the Court also issue an order updating and amending the case
                            docket to include the arbitration award in plaintiff's favor rendered in August 2009.
                            Document filed by Amy R. Gurvey.(mro) (Entered: 09/28/2010)
  10/07/2010                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 83 Notice of Appeal. (tp) (Entered: 10/07/2010)
  10/07/2010                   Transmission of Notice of Appeal to the District Judge re: 83 Notice of Appeal. (tp)
                               (Entered: 10/07/2010)
  10/07/2010             84 Appeal Record Sent to USCA (Index). Notice that the Original index to the record on
                            Appeal for 83 Notice of Appeal filed by Amy R. Gurvey 3 Copies of the index, Certified
                            Clerk Certificate and Certified Docket Sheet were transmitted to the U.S. Court of
                            Appeals. (tp) (nd). (Entered: 10/08/2010)
  10/08/2010                   Appeal Record Sent to USCA (File). Indexed record on Appeal Files for 83 Notice of
                               Appeal filed by Amy R. Gurvey were transmitted to the U.S. Court of Appeals. (tp)
                               (Entered: 10/08/2010)
  10/14/2010             85 ORDER: The Court no longer has jurisdiction, however, because the case is now before
                            the Second Circuit Court of Appeals. Because Plaintiff's appeal divested the Court of
                            jurisdiction, the Court also notes that the filing of any additional motions addressed to the
                            Court while Plaintiff's appeal is pending is inappropriate. For the reasons provided above,
                            Plaintiff's requests are DENIED. (Signed by Judge Barbara S. Jones on 10/14/2010) (jpo)
                            (Entered: 10/14/2010)
  10/19/2010                   USCA Case Number 10-4111 from the US Court of Appeals,, Second Circuit assigned to
                               83 Notice of Appeal filed by Amy R. Gurvey. (nd) (Entered: 10/19/2010)
  01/04/2011                   USCA Appeal Fees received $ 455.00 receipt number E 924866 on 1/3/2011 at 3:41:31
                               PM re: 83 Notice of Appeal filed by Amy R. Gurvey. (tp) (Entered: 01/04/2011)
  01/04/2011                   Transmission of Appeal Fee and Certified Copy of Docket Sheet to US Court of Appeals
                               re: 83 Notice of Appeal. (tp) (Entered: 01/04/2011)
  02/23/2011             90 MANDATE of USCA (Certified Copy) as to 71 Notice of Appeal filed by Amy R.
                            Gurvey, 83 Notice of Appeal filed by Amy R. Gurvey USCA Case Number 10-3698-op,
                            09-2185-cv, 10-4111-cv. Petitioner, pro se, has filed a petition for a writ of mandamus and
                            moves for a stay of her appeals in dockt nos. 09-2185-cv and 10-4111-cv pending
                            disposition of the petition. Upon due consideration, it is hereby ORDERED that the
                            mandamus petition is DENIED because Petitioner has not demonstrated that she lacks an
                            adequate, alternative means of obtaining relief. It is further ORDERED that the motion
                            for a stay pending appeals is DENIED as moot. It is further ORDERED that the appeals
                            in Dockt Nos. 09-2185-cv and 10-4111-cv shall be consolidated. Catherine O'Hagan
                            Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate: 02/23/2011. (nd)
                            (Entered: 02/23/2011)
  02/23/2011                   Transmission of USCA Mandate/Order to the District Judge re: 90 USCA Mandate,,,.
                               (nd) (Entered: 02/23/2011)
  03/12/2012             91 MANDATE of USCA (Certified Copy) as to 71 Notice of Appeal filed by Amy R.
                            Gurvey, 83 Notice of Appeal filed by Amy R. Gurvey USCA Case Number 09-2185-
                            cv(L), 10-4111-cv(Con). Ordered, Adjudged and Decreed that the judgment of the
                            District Court is AFFIRMED in part, and VACATED and REMANDED in part..
                            Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate:
                            03/12/2012. (nd) (Entered: 03/12/2012)

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                                                        ID #:522
  03/12/2012                   Transmission of USCA Mandate/Order to the District Judge re: 91 USCA Mandate,. (nd)
                               (Entered: 03/12/2012)
  03/14/2012             92 ORDER: This case has been remanded for further proceedings by mandate of the Court
                            of Appeals. The parties are directed to appear in Courtroom 17C of the United States
                            District Court, 500 Pearl Street, New York, NY 10007 on April 5, 2012 at 2:00 p.m. for a
                            status conference., ( Status Conference set for 4/5/2012 at 02:00 PM in Courtroom 17C,
                            500 Pearl Street, New York, NY 10007 before Judge Barbara S. Jones.) (Signed by Judge
                            Barbara S. Jones on 3/14/2012) (lmb) (Entered: 03/14/2012)
  04/04/2012             93 ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be referred to
                            the Clerk of Court for assignment to a Magistrate Judge for General Pretrial (includes
                            scheduling, discovery, non-dispositive pretrial motions, and settlement). Referred to
                            Magistrate Judge Theodore H. Katz. (Signed by Judge Barbara S. Jones on 4/4/2012)
                            (rjm) (Entered: 04/04/2012)
  04/04/2012             94 ORDER. The status conference previously set for April 5, 2012 at 2:00 p.m. is adjourned.
                            By separate order, the Court is referring the case to Magistrate Judge Katz to set a
                            discovery schedule, and the parties will hear from him shortly. (Signed by Judge Barbara
                            S. Jones on 4/4/2012) (rjm) (Entered: 04/04/2012)
  04/06/2012             95 NOTICE OF REDESIGNATION TO ANOTHER MAGISTRATE JUDGE. The above
                            entitled action has been redesignated to Magistrate Judge Henry B. Pitman. Please note
                            that this is a reassignment of the designation only. (sjo) (Main Document 95 replaced on
                            4/6/2012) (sjo). (Entered: 04/06/2012)
  04/06/2012             96 NOTICE OF REASSIGNMENT OF A REFERRAL TO ANOTHER MAGISTRATE
                            JUDGE. The referral in the above entitled action has been reassigned to Magistrate Judge
                            Henry B. Pitman, for General Pretrial (includes scheduling, discovery, non-dispositive
                            pretrial motions, and settlement). Magistrate Judge Theodore H. Katz no longer referred
                            to the case. (sjo) (Entered: 04/06/2012)
  04/06/2012             97 ENDORSED LETTER addressed to Judge Barbara S. Jones from J. Richard Supple, Jr.
                            dated 4/4/2012 re: Counsel requests an extension of time until 4/27/2012 to serve and file
                            an answer to plaintiff's Third Amended Complaint. ENDORSEMENT: So ordered.
                            Cowan, Liebowitz & Lathman, PC answer due 4/27/2012. (Signed by Judge Barbara S.
                            Jones on 4/5/2012) (tro) (Entered: 04/06/2012)
  04/06/2012             99 Letter addressed to Judge Barbara S Jones from Amy R Gurvey dated 4/5/2012 re:
                            Request for a 45 day stay. Document filed by Amy R. Gurvey.(cd) (Entered: 04/12/2012)
  04/16/2012           100 ORDER. The Court is in receipt of Plaintiff's letter request of for a 45-day stay of the
                           proceedings to allow her to retain patent malpractice trial counsel. (Letter dated Apr. 5,
                           2012.) In their letter response, Defendants oppose Plaintiff's request for a stay. For the
                           reasons stated in this order, the Court grants Plaintiff's request, and as further set forth.
                           (Signed by Judge Barbara S. Jones on 4/16/2012) (rjm) Modified on 4/16/2012 (rjm).
                           (Entered: 04/16/2012)
  04/16/2012                   Case Stayed. (rjm) (Entered: 04/16/2012)
  04/19/2012                   Appeal Record Returned. Indexed record on Appeal Files for Appeal Record Sent to
                               USCA - File USCA Case Number 10-4111, returned from the U.S. Court of Appeals. (nd)
                               (Entered: 04/19/2012)
  06/05/2012                   ***NOTE TO ATTORNEY TO E-MAIL PDF. Note to Attorney Amy R. Gurvey to
                               E-MAIL the PDF for Document 3 Amended Complaint, 1 Complaint to:
                               caseopenings@nysd.uscourts.gov. All pdfs must include case number and
                               corresponding document number. (Chiappetta, Gina) (Entered: 06/05/2012)
                                                                                                       EXHIBIT 12
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                                                    ID #:523
  06/06/2012           105 PLAINTIFF'S EX PARTE APPLICATION TO BE GRANTED EXPEDITED ECF
                           PRIVILEGES; EXPEDITED PRELIMINARY DISCOVERY DOCUMENTS
                           CONCERNING LEGEND FILMS; AND AN ORDER TO EXTEND STAY OF OTHER
                           PROCEEDINGS FOR ADDITIONAL 45 DAYS TO COMPLETE RETENTION OF
                           COUNSEL. Document filed by Amy R. Gurvey.(cd) Modified on 6/12/2012 (tro).
                           (Entered: 06/12/2012)
  06/11/2012           102 MOTION to Compel Discovery on Legend Films and extension of 45 days to retain
                           counsel and file 4th amended complaint. Document filed by Amy R. Gurvey.(Weissbrod,
                           Amy) (Entered: 06/11/2012)
  06/11/2012           103 ORDER: Discovery in this action is limited to discovery relevant to the claims and
                           defenses in this action. The papers currently before me fail to demonstrate how discovery
                           from Legend Films bears on plaintiff's claims against the Cowan defendants for attorney
                           malpractice and breach of fiduciary duty. Defendants' counsel is directed to respond to
                           the remaining aspects of plaintiff's application no later than June 18, 2012. SO
                           ORDERED. (Signed by Magistrate Judge Henry B. Pitman on 6/11/2012) Copies Sent By
                           Chambers. (ama) (Entered: 06/11/2012)
  06/18/2012           106 RESPONSE re: 105 MOTION to Compel. Declaration of J. Richard Supple, Jr. in
                           Response to Plaintiff Amy Gurvey's "Ex Parte" Application for an Additional Stay, for
                           ECF Privileges and for Expedited Discovery. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                           6 Exhibit F, # 7 Exhibit G, # 8 Affidavit of Service)(Supple, John) (Entered: 06/18/2012)
  07/02/2012           107 ORDER granting in part and denying in part 102 Motion to Compel. For the reasons set
                           forth below, the motion is granted in part and denied in part. To the extent plaintiff is
                           seeking ECF privileges, her application is granted. Plaintiff is directed to consult with the
                           Clerk's Office and to attend whatever training is necessary to utilize the Court's ECF
                           system. To the extent plaintiff is seeking expedited document discovery, her application
                           was denied by my Order in this matter dated June 11, 2012 (Docket Item 103). Finally,
                           plaintiff's application for an additional 45-day stay to seek counsel is granted. All
                           proceedings are stayed until August 14, 2012 to permit plaintiff to retain counsel. IN THE
                           ABSENCE OF EXTRAORDINARY CIRCUMSTANCES, THE STAY WILL NOT BE
                           FURTHER EXTENDED. (Signed by Magistrate Judge Henry B. Pitman on 6/29/2012)
                           Copies Sent By Chambers. (jfe) (Entered: 07/02/2012)
  07/13/2012           108 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT -
                           MOTION to Amend/Correct Plaintiff's Fourth Amended Complaint. Document filed by
                           Amy R. Gurvey. (Attachments: # 1 Supplement Plaintiff's Certification plus Signature
                           Page)(Weissbrod, Amy) Modified on 7/16/2012 (db). (Entered: 07/13/2012)
  07/16/2012                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF DOCUMENT
                               ERROR. Note to Attorney Amy Rebecca Weissbrod to MANUALLY RE-FILE
                               Document No. 108 Amended Complaint. This document is not filed via ECF.
                               ***REMINDER*** - Motion to Amend/Correct WAS NOT filed. (db) (Entered:
                               07/16/2012)
  07/16/2012           109 MOTION to Amend/Correct Leave to File 4th Amended Complaint. Document filed by
                           Amy R. Gurvey. (Attachments: # 1 Exhibit 4th Amended Complaint, # 2 Exhibit
                           Certified Signature Page, # 3 Exhibit Award of SDNY Arbitrator)(Weissbrod, Amy)
                           (Entered: 07/16/2012)
  07/26/2012           110 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT -
                           MOTION for Extension of Time to File Response/Reply as to 107 Order on Motion to
                           Compel,,, 109 MOTION to Amend/Correct Leave to File 4th Amended Complaint..
                                                                                                     EXHIBIT 12
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                                                             ID #:524
                               Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                               PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                               Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Affidavit of Service)(Supple,
                               John) Modified on 7/26/2012 (db). (Entered: 07/26/2012)
  07/26/2012                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No.
                               110 HAS BEEN REJECTED. Note to Attorney John Richard Supple : THE
                               CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                               ECF or otherwise, except where the judge has ordered that a particular letter be
                               docketed. Letters may be sent directly to a judge. (db) (Entered: 07/26/2012)
  08/02/2012           111 ORDER: Since plaintiff has chosen to actively litigate this matter despite my issuance of
                           a stay at plaintiff's request, the stay is hereby vacated and the matter is restored to the
                           Court's active calendar. Accordingly, I conclude that the best way to address plaintiff's
                           motion is for defendants to serve and file a formal response and for plaintiff to serve and
                           file her reply. Defendants shall serve and file their opposition papers no later than
                           September 12, 2012. Plaintiff shall serve and file her reply no later than September 28,
                           2012.( Responses due by 9/12/2012, Replies due by 9/28/2012.) (Signed by Magistrate
                           Judge Henry B. Pitman on 8/2/2012) Copies Sent By Chambers. (ja) (Entered:
                           08/02/2012)
  09/12/2012           112 DECLARATION of J. Richard Supple, Jr. in Opposition re: 109 MOTION to
                           Amend/Correct Leave to File 4th Amended Complaint.. Document filed by William
                           Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                           Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                           Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O,
                           # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21
                           Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X)(Supple, John) (Entered:
                           09/12/2012)
  09/12/2012           113 MEMORANDUM OF LAW in Opposition re: 109 MOTION to Amend/Correct Leave to
                           File 4th Amended Complaint.. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John)
                           (Entered: 09/12/2012)
  09/12/2012           114 AFFIDAVIT OF SERVICE of Declaration of J. Richard Supple, Jr. in Opposition and
                           Memorandum of Law in Opposition to Plaintiff's Motion for Leave to File Fourth
                           Amended Complaint and for Other Relief served on Amy R. Gurvey on September 12,
                           2012. Service was made by Overnight Mail. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 09/12/2012)
  09/12/2012           115 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - REPLY
                           to Response to Motion re: 109 MOTION to Amend/Correct Leave to File 4th Amended
                           Complaint., 110 MOTION for Extension of Time to File Response/Reply as to 107 Order
                           on Motion to Compel,,, 109 MOTION to Amend/Correct Leave to File 4th Amended
                           Complaint.. MOTION for Extension of Time to File Response/Reply as to 107 Order on
                           Motion to Compel,,, 109 MOTION to Amend/Correct Leave to File 4th Amended
                           Complaint.. MOTION for Extension of Time to File Response/Reply as to 107 Order on
                           Motion to Compel,,, 109 MOTION to Amend/Correct Leave to File 4th Amended
                           Complaint.. Reply to Def Opp to Ps Amended Complaint and Motoin to Compel
                           Discovery. Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit Order D Mass
                           Upholding Complaint Cold Spring Harbor Labs v. Ropes & Gray 2012, # 2 Exhibit Order
                           Compelling Discovery D Mass Cold Spring Harbor Labs v. Ropes & Gray 2011, # 3
                           Exhibit Ps Proposed 5th Amended Complaint, # 4 Exhibit Susan Schick Esq Email 1 to
                                                                                                       EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                     17/69
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                                                           ID #:525
                               Cowan Defs 2002, # 5 Exhibit Susan Schick Esq Email 2 to Cowan Defs 2002, # 6
                               Exhibit Christopher Jensen Esq Email 2002)(Weissbrod, Amy) Modified on 11/7/2012
                               (db). (Entered: 09/12/2012)
  09/28/2012           116 REPLY MEMORANDUM OF LAW in Support re: 109 MOTION to Amend/Correct
                           Leave to File 4th Amended Complaint. Suppl Motion Docket #115 filed 9-12-12.
                           Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit Ps Proposed 5th Amended
                           Complaint filed 9-12-12 with Docket #115, # 2 Exhibit Arbitration Transcript Excerpts
                           March 23, 2009, # 3 Exhibit Def Christopher Jensen, Esq. E-Mail 2002, # 4 Exhibit
                           Cowan Assoc Susan Schick, Esq. E-Mail 2002, # 5 Exhibit USDC Award of Arbitrator
                           August 4, 2009, # 6 Exhibit Legend Films E-Mail 2002)(Weissbrod, Amy) (Entered:
                           09/28/2012)
  10/09/2012                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Status
                               Conference held on 10/9/2012. Status Conference held, order to follow. (djc) (Entered:
                               10/10/2012)
  10/11/2012           117 ORDER withdrawing 109 Motion to Amend/Correct. It is hereby ORDERED that: 1.
                           Plaintiff's motion to file a Fourth Amended Complaint (Docket Item 109) is withdrawn
                           and the Clerk of the Court is directed to mark the item closed. 2. Defendants' application
                           to recover the legal fees it incurred in responding to plaintiff's motion to file a Fourth
                           Amended Complaint is denied. 3. The submission plaintiff made in Docket Item 116 shall
                           be deemed a motion to file a Fifth Amended Complaint. Defendants shall serve and file
                           their opposition to the motion no later than November 6, 2012. Plaintiff shall serve file
                           her reply in support of her application no later than December 4, 2012. 4. No later than
                           November 6, 2012, all parties shall make the disclosures required by Fed.R.Civ.P. 26 (a)
                           (1) with respect to the malpractice and breach- of-fiduciary duty claims that were upheld
                           by the United States Court of Appeals. 5. Non-deposition discovery may proceed with
                           respect to the malpractice and breach- of-fiduciary duty claims that were upheld by the
                           United States Court of Appeals. (Signed by Magistrate Judge Henry B. Pitman on
                           10/10/2012) Copies Sent By Chambers. (lmb) (Entered: 10/11/2012)
  10/11/2012                   Set/Reset Deadlines: Responses due by 11/6/2012. Replies due by 12/4/2012. (lmb)
                               (Entered: 10/11/2012)
  11/06/2012           118 FILING ERROR - DEFICIENT DOCKET ENTRY - CROSS MOTION to Strike
                           Document No. 116 certain matter from the plaintiff's proposed Fifth Amended Complaint.
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Declaration of J. Richard
                           Supple in Opposition to Plaintiff's Motion for Leave to File Fifth Amended Complaint
                           and for Other Relief, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6
                           Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12
                           Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N, # 16 Exhibit O, # 17 Exhibit P,
                           # 18 Exhibit Q, # 19 Exhibit R, # 20 Exhibit S, # 21 Exhibit T, # 22 Exhibit U, # 23
                           Exhibit V, # 24 Exhibit W, # 25 Exhibit X, # 26 Exhibit Y, # 27 Exhibit Z, # 28 Exhibit
                           AA, # 29 Memorandum of Law, # 30 Affidavit of Service)(Supple, John) Modified on
                           11/7/2012 (db). (Entered: 11/06/2012)
  11/07/2012                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No.
                               115 HAS BEEN REJECTED. Note to Attorney Amy Rebecca Weissbrod : THE
                               CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                               ECF or otherwise, except where the judge has ordered that a particular letter be
                               docketed. Letters may be sent directly to a judge. (db) (Entered: 11/07/2012)
  11/07/2012                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney John Richard Supple to RE-FILE Document 118
                               CROSS MOTION to Strike Document No. 116 certain matter from the plaintiff's
                                                                                                     EXHIBIT 12
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                               proposed Fifth Amended Complaint. CROSS MOTION to Strike Document No. 116
                               certain matter from the plaintiff's proposed Fifth Amended Complaint. CROSS
                               MOTION to Strike Document No. 116 certain matter from the plaintiff's proposed
                               Fifth Amended Complaint. CROSS MOTION to Strike Document No. 116 certain
                               matter from the plaintiff's proposed Fifth Amended Complaint. CROSS MOTION to
                               Strike Document No. 116 certain matter from the plaintiff's proposed Fifth Amended
                               Complaint. ERROR(S): Opposing Documents are filed separately, each receiving
                               their own document #. (db) (Entered: 11/07/2012)
  11/07/2012           119 CROSS MOTION to Strike Document No. 116 certain matter from the plaintiff's
                           proposed Fifth Amended Complaint. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 11/07/2012)
  11/07/2012           120 DECLARATION of J. Richard Supple, Jr. in Opposition re: 119 CROSS MOTION to
                           Strike Document No. 116 certain matter from the plaintiff's proposed Fifth Amended
                           Complaint.CROSS MOTION to Strike Document No. 116 certain matter from the
                           plaintiff's proposed Fifth Amended Complaint.. Document filed by William Borchard,
                           Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                           6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, #
                           12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17
                           Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V,
                           # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA)(Supple,
                           John) (Entered: 11/07/2012)
  11/07/2012           121 MEMORANDUM OF LAW in Opposition re: 119 CROSS MOTION to Strike Document
                           No. 116 certain matter from the plaintiff's proposed Fifth Amended Complaint.CROSS
                           MOTION to Strike Document No. 116 certain matter from the plaintiff's proposed Fifth
                           Amended Complaint.. Document filed by William Borchard, Baila Celedonia, Cowan,
                           Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered:
                           11/07/2012)
  11/07/2012           122 AFFIDAVIT OF SERVICE of Notice of Cross-Motion, Declaration of J. Richard Supple,
                           Jr. with exhibits and Memorandum of Law in Opposition to Plaintiff's Motion for Leave
                           to File Fifth Amended Complaint and for Other Relief served on Amy R. Gurvey on 11-
                           06-12. Service was made by ECF and Mail. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 11/07/2012)
  11/07/2012           123 ENDORSED LETTER addressed to Magistrate Judge Henry B. Pitman from J. Richard
                           Supple Jr. dated 11/6/2012 re: Defense counsel requests that the parties' time to make
                           initial disclosure discovery disclosures be extended from today until November 9, 2012.
                           ENDORSEMENT: Application granted nunc pro tunc. So Ordered., ( Discovery due by
                           11/9/2012.) (Signed by Magistrate Judge Henry B. Pitman on 11/7/2012) (ago) (Entered:
                           11/07/2012)
  11/09/2012           124 RULE 26 DISCLOSURE.Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit
                           cold Spring Order Compelling discovery in favor of P 2011 WL 2884893, # 2 Exhibit
                           Cold Spring v Ropes & Gray D.Mass Order 2012, # 3 Exhibit Arbitration Transcript Def
                           Cowan's Testimony March 23, 2009, # 4 Exhibit SDNY Award of Arbitrator August 4,
                           2009, # 5 Exhibit Gurvey v. Legend Films/Legnd 3D Reply Rule 60(b) and 59(e) October
                           26, 2012)(Weissbrod, Amy) (Entered: 11/09/2012)
  11/10/2012           125 RULE 26 DISCLOSURE.Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit
                           Cold Spring Labs v Ropes & Gray D Mass Order compelling discovery in favor of P-
                           inventor 2011 WL 4882893, # 2 Exhibit Cold Spring Labs v Ropes & Gray D Mass Order
                                                                                                   EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                              19/69
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                                                           ID #:527
                               upholding P-Inventor's Legal mp, Breach of Fiduciary Duty and Fraud Complaint 840 F.
                               Supp. 2d 473 (2012), # 3 Exhibit SDNY Gurvey v Cowan Arbitration Transcripts
                               Excerpts Def Cowan's Testimony March 23, 2009, # 4 Exhibit SDNY Gurvey v Cowan
                               August 4, 2009 Award of Arbitrator in P Gurvey's Favor, # 5 Exhibit Gurvey v. Legend
                               Films SDCA Ps Reply To Rule 60(b) and 59(e) Motion 10-26-12)(Weissbrod, Amy)
                               (Entered: 11/10/2012)
  11/28/2012                   Request for Subpoena Received at the Pro Se Counter: Request for 10 subpoena(s) from
                               Amy R. Gurvey received on 11/28/12. (sac) (Entered: 11/28/2012)
  12/04/2012           126 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - FIRST
                           MOTION for Extension of Time to Reply to Def's Opp to Plaintiff's 5AC, to Set
                           Discovery Schedule per SDNY's order of Aprl 4, 2012; and for permission to compel
                           discovery from Cowan defs. Document filed by Amy R. Gurvey. (Attachments: # 1
                           Exhibit Ps rule 26(a) Disclosures 11-9-12, # 2 Exhibit SDNY Arbitration Transcript Def
                           Cowan's Testimony March 23, 2009, # 3 Exhibit Award of Arbitrator)(Weissbrod, Amy)
                           Modified on 12/5/2012 (db). (Entered: 12/04/2012)
  12/05/2012                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No.
                               126 HAS BEEN REJECTED. Note to Attorney Amy Rebecca Weissbrod : THE
                               CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                               ECF or otherwise, except where the judge has ordered that a particular letter be
                               docketed. Letters may be sent directly to a judge. (db) (Entered: 12/05/2012)
  12/06/2012           127 ORDER: Plaintiff's application for an extension of time to file a reply in further support
                           of her application to file a fifth amended complaint is granted. Plaintiff shall serve and
                           file her reply no later than January 2, 2013. The other matters raise in plaintiff's letters
                           dated December 4, 2012 will be discussed at a conference that will be held on January 3,
                           2013 at 2:00 p.m. (Signed by Magistrate Judge Henry B. Pitman on 12/6/2012) Copies
                           Sent By Chambers (djc) (Entered: 12/06/2012)
  12/06/2012                   Set/Reset Deadlines: Replies due by 1/2/2013. Set/Reset Hearings: Status Conference set
                               for 1/3/2013 at 02:00 PM before Magistrate Judge Henry B. Pitman. (djc) (Entered:
                               12/06/2012)
  12/18/2012           128 TRUE COPY ORDER of USCA as to 71 Notice of Appeal filed by Amy R. Gurvey, 83
                           Notice of Appeal filed by Amy R. Gurvey USCA Case Number 09-2185(L), 10-
                           4111(con).On February 10, 2012, the Court issued a Summary Order affirming the
                           District Court's decision in part, vacating in part and remanding for further proceedings.
                           Appellant filed a Bill of Costs, The application for costs is GRANTED in Part. Appellant
                           is entitled to the sum of $377.36 in costs. Catherine O'Hagan Wolfe, Clerk USCA for the
                           Second Circuit. Certified: 12/18/2012. (nd) (Entered: 12/19/2012)
  01/02/2013           129 REPLY MEMORANDUM OF LAW in Support re: 119 CROSS MOTION to Strike
                           Document No. 116 certain matter from the plaintiff's proposed Fifth Amended
                           Complaint.CROSS MOTION to Strike Document No. 116 certain matter from the
                           plaintiff's proposed Fifth Amended Complaint. Plaintiff's Reply Memorandum. Document
                           filed by Amy R. Gurvey. (Attachments: # 1 Exhibit Cowan 1st doc production Dec 2012,
                           # 2 Exhibit Ltr to Mag Pitman 12-4-12 Overdue Discovey Conference per April 2012
                           order, # 3 Exhibit Schick Cowan Email 2002, # 4 Exhibit Schick Cowan Email#2 2002, #
                           5 Exhibit Jensen Cowan Email 2002, # 6 Exhibit Ps Rule 26(a) Disclosures, # 7 Exhibit
                           Ps Proposed 5AC)(Weissbrod, Amy) (Entered: 01/02/2013)
  01/03/2013                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 1/3/2013. (bh) (Entered: 01/08/2013)


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                                                          ID #:528
  01/14/2013           130 ORDER: 1. Plaintiff shall respond to Cowan, Liebowitz & Latham's discovery requests
                           by January 17, 2013. 2. No later than January 17, 2013, Plaintiff shall submit to me
                           written explanations of how each of her discovery requests served upon Cowan,
                           Liebowitz & Latham is relevant to the two claims -- attorney malpractice and breach of
                           fiduciary duty. Plaintiff shall address each discovery request individually. No later than
                           January 31, 2013, Cowan, Liebowitz & Latham shall submit to me its response to
                           Plaintiff's submission.(Signed by Magistrate Judge Henry B. Pitman on 1/14/2013)
                           Copies Sent By Chambers. (djc) (Entered: 01/14/2013)
  01/16/2013           131 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - FIRST
                           MOTION for Extension of Time to Complete Discovery Hospitalization and Plaintiff's
                           previous atty's unlawful withholding of client files. Document filed by Amy R. Gurvey.
                           (Attachments: # 1 Exhibit Email confirming unlawful withholding of Plaintiff's client
                           files, # 2 Exhibit Squitieri & Fearon e-mails confirming improper withholding of
                           Plaintiff's client files, # 3 Exhibit Appl to compel Plaintiff's client files, # 4 Exhibit
                           Cowan's first unresponsible production inconsistent with 2003 CD Rom sent to Plaintiff,
                           # 5 Exhibit NY Supreme Court order of August, 1998 confirming HUD landlords'
                           attorney's unilateral and material forgery of Housing Part documents, # 6 Exhibit SDCA
                           Rule 60(b) Motion in Gurvey v. Legend Films 09-042-cv, # 7 Exhibit SDCA Rule 60(b)
                           Gurvey v. Legend Films 09-0942-cv Memo of Law)(Weissbrod, Amy) Modified on
                           1/16/2013 (db). (Entered: 01/16/2013)
  01/16/2013                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No.
                               131 HAS BEEN REJECTED. Note to Attorney Amy Rebecca Weissbrod : THE
                               CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                               ECF or otherwise, except where the judge has ordered that a particular letter be
                               docketed. Letters may be sent directly to a judge. (db) (Entered: 01/16/2013)
  02/22/2013           132 MOTION to Dismiss the Third Amended Complaint. Document filed by Michael Gordon,
                           Susan Schick. Responses due by 3/8/2013 Return Date set for 3/22/2013 at 09:30 AM.
                           (Berlin, Michael) (Entered: 02/22/2013)
  02/22/2013           133 DECLARATION of Michael A. Berlin in Support re: 132 MOTION to Dismiss the Third
                           Amended Complaint.. Document filed by Michael Gordon, Susan Schick. (Berlin,
                           Michael) (Entered: 02/22/2013)
  02/22/2013           134 MEMORANDUM OF LAW in Support re: 132 MOTION to Dismiss the Third Amended
                           Complaint.. Document filed by Michael Gordon, Susan Schick. (Berlin, Michael)
                           (Entered: 02/22/2013)
  02/22/2013           135 AFFIDAVIT of Michael Gordon in Support re: 132 MOTION to Dismiss the Third
                           Amended Complaint.. Document filed by Michael Gordon, Susan Schick. (Berlin,
                           Michael) (Entered: 02/22/2013)
  02/22/2013           136 AFFIDAVIT of Susan Gordon in Support re: 132 MOTION to Dismiss the Third
                           Amended Complaint.. Document filed by Michael Gordon, Susan Schick. (Berlin,
                           Michael) (Entered: 02/22/2013)
  02/22/2013           137 CERTIFICATE OF SERVICE of Notice of Motion to Dismiss and Supporting
                           Documents served on All Parties/Attorneys of Record on 02/22/2013. Service was made
                           by ECF and MAIL. Document filed by Michael Gordon, Susan Schick. (Berlin, Michael)
                           (Entered: 02/22/2013)
  03/11/2013           138 NOTICE OF CASE REASSIGNMENT to Judge Lorna Gail Schofield. Judge Barbara S.
                           Jones is no longer assigned to the case. (pgu) (Entered: 03/11/2013)
  03/19/2013           139 ORDER: This case has been assigned to me for all purposes. A status conference with the
                           Court will be held at the time and place listed below. Any party proceeding pro se
                                                                                                   EXHIBIT 12
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                               (without an attorney) must appear in person. Any party who has retained counsel prior to
                               the conference need not personally attend and should instead have their attorney attend on
                               their behalf. The parties are also directed to review and comply with the Courts
                               Individual Rules of Practice in Pro Se Cases (Pro Se Rules), which are attached to this
                               order. The parties are further directed to submit a joint status letter to the Court no later
                               than April 5, 2013. The parties should append the most recent complaint and the most
                               recent scheduling order to the status letter. The letter should be sent to the pro se office in
                               accordance with the Pro Se Rules. The status letter should not exceed 5 pages and should
                               include the following listed herein. Unless notified otherwise by the Court, the parties
                               should presume that any Scheduling Order or Case Management Plan remains in effect
                               notwithstanding the cases transfer. Any request for an extension or adjournment shall be
                               made by letter as provided in Pro Se Rule 1.C and must be received at least 48 hours
                               before the deadline or conference. The clerk is directed to mail a copy of this order to the
                               pro se Plaintiff. Status Conference set for 4/11/2013 at 11:00 AM in Courtroom 1106 of
                               the United States District Court for the Southern District of New York, Thurgood
                               Marshall U.S. Courthouse at 40 Foley Square, New York, New York before Judge Lorna
                               G. Schofield. (Signed by Judge Lorna G. Schofield on 3/19/2013) (ft) (Entered:
                               03/19/2013)
  03/19/2013                   Transmission to Docket Assistant Clerk. Transmitted re: 139 Scheduling Order to the
                               Docket Assistant Clerk for case processing. (ft) (Entered: 03/19/2013)
  03/23/2013           140 FILING ERROR - DEFICIENT DOCKET ENTRY - CROSS MOTION to Disqualify
                           Counsel Extend Time to Effect Service and Compel Retained Client Files from Previous
                           Attorney. Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit USPTO Solicitor
                           and OEM Office Ltr Requested of Plaintiff March, 2013, # 2 Exhibit Def Schick Cowan
                           E-mail 2002, # 3 Exhibit Def Schick Cowan Email2 2002, # 4 Exhibit 2d Cir Order Feb
                           10 2012, # 5 Exhibit Award of SDNY Arbitrator August 2009, # 6 Exhibit Cowan
                           Arbitration Transcripts March 23 2009 pp 212-213, # 7 Exhibit Medical ARGurvey
                           Injuires re Asbestos Exposure since 2009, # 8 Exhibit Super Court NJ Gurvey v State
                           Farm Asbestos Property Damage and INjury Litigation Case No. 2010-L-10711)
                           (Weissbrod, Amy) Modified on 3/25/2013 (ldi). (Entered: 03/23/2013)
  03/23/2013           141 FILING ERROR - DEFICIENT DOCKET ENTRY - CROSS MOTION for Extension
                           of Time to File and Disqualify Counsel. Document filed by Amy R. Gurvey. Return Date
                           set for 4/11/2013 at 10:00 AM. (Attachments: # 1 Exhibit Memorandum of Law, # 2
                           Exhibit Def Schick Cowan Email 2002, # 3 Exhibit Schick Cowan Email 2002, # 4
                           Exhibit Squiteri Client Boxes, # 5 Exhibit 2d Cir Order Feb 10 2012, # 6 Exhibit Award
                           of SDNY Arbitrator August 4 2009, # 7 Exhibit Cowan Arbitration Transcript March 23
                           2009 pp 212-213, # 8 Exhibit USPTO Solicitor March 2013, # 9 Exhibit Asbestos
                           Disaster Gurvey Medical, # 10 Exhibit Super Court NJ Asbestos Property damages and
                           Personal Injuries Complaint 2010-L-10711; L-7554)(Weissbrod, Amy) Modified on
                           3/25/2013 (ldi). (Entered: 03/23/2013)
  03/23/2013                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               140 CROSS MOTION to Disqualify Counsel Extend Time to Effect Service and
                               Compel Retained Client Files from Previous Attorney., 141 CROSS MOTION for
                               Extension of Time to File and Disqualify Counsel. ERROR(S): Supporting
                               documents must be filed separately, each receiving their own document number.
                               Declaration in Support of Motion and Memorandum of Law in Support of Motion
                               are both found under the event list Replies, Opposition and Supporting Documents.
                               (ldi) (Entered: 03/25/2013)
  03/23/2013                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                                                                                                         EXHIBIT 12
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                                                         ID  #:530
                               141 CROSS MOTION for Extension of Time to File and Disqualify Counsel.
                               ERROR(S): No signature or s/. NOTE: The signature or s/ is missing on both the
                               Motion and Declaration. (ldi) (Entered: 03/25/2013)
  03/26/2013           142 FILING ERROR - DEFICIENT DOCKET ENTRY - CROSS MOTION to Disqualify
                           Counsel Extend Time To Effect Service and for Writ of Replevin to Order Return of Hard
                           and Electronic Client Files. Document filed by Amy R. Gurvey. Return Date set for
                           4/11/2013 at 11:00 PM. (Attachments: # 1 Exhibit Memorandum of Law, # 2 Exhibit
                           Schick Cowan Email 2002, # 3 Exhibit Schick Cowan Email2 2002, # 4 Exhibit Squitieri
                           Email Client Boxes Jan 2013, # 5 Exhibit 2d Cir Order Feb 10 2012, # 6 Exhibit Award
                           of SDNY Arbitrator August 4 2009, # 7 Exhibit Cowan Arbitration Transcript March 23
                           2009 pp 212-213, # 8 Exhibit USPTO Solicitor March 2013, # 9 Exhibit Asbestos
                           Disaster Medical, # 10 Exhibit Super Court NJ Asbestos Contamination Proper Damages
                           and Personal Injuries Complaint)(Weissbrod, Amy) Modified on 3/27/2013 (db).
                           (Entered: 03/26/2013)
  03/27/2013                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               142 CROSS MOTION to Disqualify Counsel Extend Time To Effect Service and for
                               Writ of Replevin to Order Return of Hard and Electronic Client Files. ERROR(S):
                               Supporting Documents are filed separately, each receivingt their own document #.
                               (db) (Entered: 03/27/2013)
  03/27/2013           143 FILING ERROR - DEFICIENT DOCKET ENTRY - CROSS MOTION to Disqualify
                           Counsel to Disqualify Counsel for defs Susan Schick and Michael Gordon; to Extend
                           Time to Effect Service and for an Order of Replevin to Order Unlawfully Withheld Client
                           Files from Plaintiff's Former Attorney. Document filed by Amy R. Gurvey. Return Date
                           set for 4/11/2013 at 11:00 AM. (Attachments: # 1 Exhibit USPTO Solicitor March 2013,
                           # 2 Exhibit Def Schick Cowan Email1 2002, # 3 Exhibit Def Schick Cowan Email2 2002,
                           # 4 Exhibit Squitieri Former Atty Withholding Client Files, # 5 Exhibit 2d Cir Order Feb
                           10 2012, # 6 Exhibit Award of SDNY Arbitrator August 4 2009, # 7 Exhibit Def Cowan
                           Testiimony Arbitration Transcript March 23, 2009, # 8 Exhibit Asbestos Disaster Gurvey
                           Medical, # 9 Exhibit Super Court NJ Asbestos Property Damages and Personal Injuries
                           Complaint)(Weissbrod, Amy) Modified on 3/27/2013 (db). (Entered: 03/27/2013)
  03/27/2013           144 FILING ERROR - DEFICIENT DOCKET ENTRY - COUNTER MEMORANDUM
                           OF LAW in Support re: 143 CROSS MOTION to Disqualify Counsel to Disqualify
                           Counsel for defs Susan Schick and Michael Gordon; to Extend Time to Effect Service and
                           for an Order of Replevin to Order Unlawfully Withheld Client Files from Plaintiff's
                           Former Attorney. and in Opposition to Def Schick and Gordon's Motion for Dismissal
                           Based on Alleged Improper Service. Document filed by Amy R. Gurvey. (Weissbrod,
                           Amy) Modified on 3/27/2013 (db). (Entered: 03/27/2013)
  03/27/2013                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               143 CROSS MOTION to Disqualify Counsel to Disqualify Counsel for defs Susan
                               Schick and Michael Gordon; to Extend Time to Effect Service and for an Order of
                               Replevin to Order Unlawfully Withheld Client Files from Plaintiff's Former Attorney.
                               ERROR(S): Supporting Documents are filed separately, each receiving their own
                               document #. (db) (Entered: 03/27/2013)
  03/27/2013                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               144 Memorandum of Law in Support of Motion. ERROR(S): Document linked to
                               filing error. (db) (Entered: 03/27/2013)

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                                                       ID #:531
  03/27/2013           145 MOTION for Sanctions Pursuant to Fed.R.Civ.P.37 (b)(2) and (c)(1). Document filed by
                           William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen.(Supple, John) (Entered: 03/27/2013)
  03/27/2013           146 DECLARATION of J. Richard Supple, Jr. in Support re: 145 MOTION for Sanctions
                           Pursuant to Fed.R.Civ.P.37 (b)(2) and (c)(1).. Document filed by William Borchard,
                           Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                           6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, #
                           12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O)(Supple, John) (Entered:
                           03/27/2013)
  03/27/2013           147 MEMORANDUM OF LAW in Support re: 145 MOTION for Sanctions Pursuant to
                           Fed.R.Civ.P.37 (b)(2) and (c)(1).. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John)
                           (Entered: 03/27/2013)
  03/27/2013           148 AFFIDAVIT OF SERVICE of Notice of Motion for Sanctions Pursuant to Fed.R.Civ.P.
                           37 (b)(2) and (c)(1); Declaration of J. Richard Supple, Jr. in Support of Motion for
                           Discovery Sanctions with annexed Exhibits A-O; Memorandum of Law in Support of
                           Motion and Unpublished Decisions served on Amy R. Gurvey on March 27, 2013.
                           Service was made by ECF and Overnight Mail. Document filed by William Borchard,
                           Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 03/27/2013)
  04/01/2013           149 FILING ERROR - DEFICIENT DOCKET ENTRY - CROSS MOTION to Appoint.,
                           MOTION to Disqualify Counsel Extend Time to Effect Service and for a Writ of
                           Mandamus to Compel Return of Electronic Files from Plaintiff's Former Attorney
                           Squitieri & Fearon, LLP.( Return Date set for 4/11/2013 at 11:00 AM., Return Date set
                           for 4/11/2103 at 11:00 AM.) Document filed by Amy R. Gurvey. (Attachments: # 1
                           Exhibit Plaintiff's Declaration in Support, # 2 Exhibit Memorandum of Law, # 3 Exhibit
                           Def Schick Cowan Email1 2002, # 4 Exhibit Schick Cowan Email2 2002, # 5 Exhibit
                           Squtieri Client Boxes, # 6 Exhibit 2d Cir Order February 10 2102, # 7 Exhibit Award of
                           SDNY Arbitrator August 4 2009, # 8 Exhibit Cowan Arbitration Transcript March 23
                           2009 pp 212-213, # 9 Exhibit USPTO Solicitor March 2013, # 10 Exhibit Asbestos
                           Disaster Gurvey Medical, # 11 Exhibit Super Court NJ Asbestos Property Damages and
                           Personal Injuries Complaint)(Weissbrod, Amy) Modified on 4/2/2013 (db). (Entered:
                           04/01/2013)
  04/02/2013                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               149 CROSS MOTION to Appoint. MOTION to Disqualify Counsel Extend Time to
                               Effect Service and for a Writ of Mandamus to Compel Return of Electronic Files from
                               Plaintiff's Former Attorney Squitieri & Fearon, LLP. ERROR(S): Supporting
                               Documents are filed separately, each receiving their own document #. (db) (Entered:
                               04/02/2013)
  04/02/2013           150 CROSS MOTION to Disqualify Counsel Extend Time to Effect Service and for a Writ of
                           Replevin to Mandate Return of Electronic Files from Previous Attorneys Squitieri &
                           Fearon, LLP. Document filed by Amy R. Gurvey. Return Date set for 4/11/2013 at 11:00
                           AM.(Weissbrod, Amy) (Entered: 04/02/2013)
  04/02/2013           151 DECLARATION of Amy R. Gurvey Plaintiff in Support re: 150 CROSS MOTION to
                           Disqualify Counsel Extend Time to Effect Service and for a Writ of Replevin to Mandate
                           Return of Electronic Files from Previous Attorneys Squitieri & Fearon, LLP.. Document
                           filed by Amy R. Gurvey. (Attachments: # 1 Exhibit USPTO Solicitor March 2013, # 2
                                                                                                   EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                              24/69
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                                                            ID #:532
                               Exhibit Def Schick Cowan Email1 2002, # 3 Exhibit Def Schick Cowan Email2 2002, # 4
                               Exhibit Squitieri Ps Withholding Client Boxes and Efiles, # 5 Exhibit 2d Cir Order
                               February 10 2012, # 6 Exhibit Award of Arbitrator, # 7 Exhibit Cowan Arbitration
                               Testimony March 23 2009, # 8 Exhibit asbestos Evacuation Gurvey Medical Injuries, # 9
                               Exhibit NJ Super Court ASdbestos Preoperty Damages and Personal Injuries Complaint)
                               (Weissbrod, Amy) (Entered: 04/02/2013)
  04/02/2013           152 MEMORANDUM OF LAW in Support re: 150 CROSS MOTION to Disqualify Counsel
                           Extend Time to Effect Service and for a Writ of Replevin to Mandate Return of Electronic
                           Files from Previous Attorneys Squitieri & Fearon, LLP. Memo of Law in Support of Writ
                           of Replevin to Mandate Return of Ps Electronic Files from Squitieri & Fearon, LLP.
                           Document filed by Amy R. Gurvey. (Weissbrod, Amy) (Entered: 04/02/2013)
  04/02/2013           153 MEMORANDUM OF LAW in Opposition re: 150 CROSS MOTION to Disqualify
                           Counsel Extend Time to Effect Service and for a Writ of Replevin to Mandate Return of
                           Electronic Files from Previous Attorneys Squitieri & Fearon, LLP. Memorandum to
                           Disqualify Greenberg & Traurig and Extend Rime to Effect Service. Document filed by
                           Amy R. Gurvey. (Weissbrod, Amy) (Entered: 04/02/2013)
  04/04/2013           154 MOTION for Extension of Time To Comply with Def Cowan's Request for Docs, to
                           Further Respond to Court's Jan 14 2013 Order and Respond to Def Cowan's Motion for
                           Rule 37 Sanctions. Document filed by Amy R. Gurvey. Return Date set for 4/11/2103 at
                           11:00 AM.(Weissbrod, Amy) (Entered: 04/04/2013)
  04/04/2013           155 DECLARATION of Amy R. Gurvey in Support re: 154 MOTION for Extension of Time
                           To Comply with Def Cowan's Request for Docs, to Further Respond to Court's Jan 14
                           2013 Order and Respond to Def Cowan's Motion for Rule 37 Sanctions.. Document filed
                           by Amy R. Gurvey. (Attachments: # 1 Exhibit Plaintiff's Previous Motion for Ext of Time
                           Based on Emergent Hospitalization Not Adjudicated, # 2 Exhibit USPTO Solicitor
                           Production December 2012-March 2013, # 3 Exhibit NJ Super Court Asbetsos Property
                           Damages and Personal Injuries Complaint, # 4 Exhibit Asbestos Confirm Plaintiff's
                           Medical Injuries, # 5 Exhibit Squitieri & Fearon Confirmation of Withholding Plaintiff's
                           Files, # 6 Exhibit Memo Law Writ of Replevin Ps Files, # 7 Exhibit Cowan Unresponsive
                           1st Production Nov 2012, # 8 Exhibit Ps Hurricane Sandy Evacuatino Rule 26(a)
                           Disclosures, # 9 Exhibit Ps Previous Letter to Magistrate Requesting Extension of Time)
                           (Weissbrod, Amy) (Entered: 04/04/2013)
  04/04/2013           156 DECLARATION of J. Richard Supple, Jr. in Opposition re: 154 MOTION for Extension
                           of Time To Comply with Def Cowan's Request for Docs, to Further Respond to Court's
                           Jan 14 2013 Order and Respond to Def Cowan's Motion for Rule 37 Sanctions..
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                           Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Supple, John) (Entered: 04/04/2013)
  04/04/2013           157 AFFIDAVIT OF SERVICE of Declaration of J. Richard Supple, Jr. in Opposition to
                           Motion for Extension of Time with Annexed Exhibits served on Amy Gurvey on April 4,
                           2013. Service was made by Overnight mail and ECF. Document filed by William
                           Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. (Supple, John) (Entered: 04/04/2013)
  04/05/2013           158 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - STATUS
                           REPORT. Document filed by Amy R. Gurvey.(Weissbrod, Amy) Modified on 4/8/2013
                           (ka). (Entered: 04/05/2013)
  04/05/2013           159 LETTER addressed to Honorable Lorna Schofield from Amy R. Gurvey dated April 4,
                           2013; re: Plaintiff writes this letter giving the status of the case; and contests the status

                                                                                                       EXHIBIT 12
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                               report submitted by defendant's attorney, Richard Supple, Esq. with her comments herein.
                               Document filed by Amy R. Gurvey.(sc) Modified on 4/9/2013 (sc). (Entered: 04/09/2013)
  04/08/2013                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No.
                               158 HAS BEEN REJECTED. Note to Attorney Amy Rebecca Weissbrod : THE
                               CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                               ECF or otherwise, except where the judge has ordered that a particular letter be
                               docketed. Letters may be sent directly to a judge. (ka) (Entered: 04/08/2013)
  04/10/2013           160 RESPONSE in Opposition re: 150 CROSS MOTION to Disqualify Counsel Extend Time
                           to Effect Service and for a Writ of Replevin to Mandate Return of Electronic Files from
                           Previous Attorneys Squitieri & Fearon, LLP. and in Further Support re: 132 MOTION
                           TO DISMISS. Document filed by Michael Gordon, Susan Schick. (Berlin, Michael)
                           (Entered: 04/10/2013)
  04/10/2013           161 DECLARATION of Michael A. Berlin in Opposition re: 150 CROSS MOTION to
                           Disqualify Counsel Extend Time to Effect Service and for a Writ of Replevin to Mandate
                           Return of Electronic Files from Previous Attorneys Squitieri & Fearon, LLP.. Document
                           filed by Michael Gordon, Susan Schick. (Berlin, Michael) (Entered: 04/10/2013)
  04/10/2013           162 DECLARATION of Michael I. Wolfson in Opposition re: 150 CROSS MOTION to
                           Disqualify Counsel Extend Time to Effect Service and for a Writ of Replevin to Mandate
                           Return of Electronic Files from Previous Attorneys Squitieri & Fearon, LLP.. Document
                           filed by Michael Gordon, Susan Schick. (Berlin, Michael) (Entered: 04/10/2013)
  04/10/2013           163 DECLARATION of Marisol Rivera in Opposition re: 150 CROSS MOTION to
                           Disqualify Counsel Extend Time to Effect Service and for a Writ of Replevin to Mandate
                           Return of Electronic Files from Previous Attorneys Squitieri & Fearon, LLP.. Document
                           filed by Michael Gordon, Susan Schick. (Berlin, Michael) (Entered: 04/10/2013)
  04/10/2013           164 AFFIDAVIT OF SERVICE of Declaration of Michael A. Berlin in Support of the
                           Gordons' Response and in Further Support of their Motion to Dismiss the Complaint,
                           Memorandum of Law, and Declarations of Marisol Rivera and Michael I. Wolfson served
                           on all parties of record via ECF and regular mail upon Plaintiff on 04/10/13. Document
                           filed by Michael Gordon, Susan Schick. (Berlin, Michael) (Entered: 04/10/2013)
  04/10/2013           165 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - STATUS
                           REPORT. Writ of Replevin of Plaintiff's files from former attorneys Squitieri & Fearon,
                           LLP and Extension of Time to Comply With Def Cowan's Discovery Requests Document
                           filed by Amy R. Gurvey.(Weissbrod, Amy) Modified on 4/11/2013 (ka). (Entered:
                           04/10/2013)
  04/10/2013           166 Letter addressed to Judge Lorna G. Schofield, from Richard Supple, dated 4/5/2013, re:
                           In accordance with your order, dated March 19, 2013, the defendants, as listed herein,
                           hereby submit their joint letter advising as to the status of this case. Document filed by
                           William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Michael Gordon,
                           Midge Hyman, Christopher Jensen, Susan Schick.(ja) (Entered: 04/11/2013)
  04/10/2013           167 Letter addressed to Judge Lorna G. Schofield, from Amy R. Gurvey, dated 4/4/2013, re:
                           Pursuant to the District Court's scheduling order - status letter and comments to the status
                           document submitted by Cowan Liebowitz & Latman, P.C.'s attorney Richard Supple, Esq.
                           Plaintiff contests Cowan's report on several grounds. Document filed by Amy R. Gurvey.
                           (ja) (Entered: 04/11/2013)
  04/10/2013           168 ORDER: The conference previously scheduled for April 11, 2013 is hereby adjourned.
                           The parties shall submit a joint status letter to this Court by June 11, 2013. The clerk is
                           directed to mail a copy of this order to the pro se Plaintiff. (Signed by Judge Lorna G.
                           Schofield on 4/10/2012) (ja) (Entered: 04/11/2013)
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                                                            ID #:534
  04/10/2013                   Transmission to Docket Assistant Clerk. Transmitted re: 168 Order, Set Hearings to the
                               Docket Assistant Clerk for case processing. (ja) (Entered: 04/11/2013)
  04/11/2013                   Mailed a copy of 168 Order, Set Hearings, to Amy R. Gurvey 315 Highland Avenue
                               Montclair, NY 07043 (sdi) (Entered: 04/11/2013)
  04/11/2013                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No.
                               165 HAS BEEN REJECTED. Note to Attorney Amy Rebecca Weissbrod : THE
                               CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                               ECF or otherwise, except where the judge has ordered that a particular letter be
                               docketed. Letters may be sent directly to a judge. (ka) (Entered: 04/11/2013)
  06/11/2013           170 Letter addressed to Judge Lorna G. Schofield from Amy R. Gurvey dated 6/11/13 re:
                           Plaintiff's 2nd Status Letter. Document filed by Amy R. Gurvey. (Attachments: # 1 letter,
                           # 2 letter, # 3 letter, # 4 letter, # 5 letter)(sc) Modified on 6/14/2013 (jcs). (Entered:
                           06/12/2013)
  06/18/2013           171 DECLARATION of J. Richard Supple, Jr. in Support re: 145 MOTION for Sanctions
                           Pursuant to Fed.R.Civ.P.37 (b)(2) and (c)(1).. Document filed by William Borchard,
                           Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                           6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J)(Supple, John)
                           (Entered: 06/18/2013)
  06/18/2013           172 AFFIDAVIT OF SERVICE of Declaration of J. Richard Supple, Jr. with annexed Exhibits
                           A-J served on Amy Gurvey on June 18, 2013. Service was made by ECF; First Class
                           Mail and Overnight Mail. Document filed by William Borchard, Baila Celedonia, Cowan,
                           Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered:
                           06/18/2013)
  06/18/2013           173 LETTER addressed to Judge Lorna G. Schofield from Richard Supple dated 6/11/2013
                           re: In accordance with your order, dated April 11, 2013, defendants Cowan Liebowitz &
                           Latman, P.C. ("Cowan Firm"), William Borchard, Midge Hyman, Baila Celedonia,
                           Christopher Jensen (altogether, the "Cowan Defendants"), Michael Gordon ("Gordon")
                           and Susan Schick (Schick") hereby submit their joint letter advising as to the status of
                           this case. The Cowan Defendants are represented by Richard Supple of Hinshaw &
                           Culbertson LLP. Gordon and Schick are represented by Michael Berlin of Greenberg
                           Traurig LLP.. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz
                           & Lathman, PC, Midge Hyman, Christopher Jensen.(rsh) (Entered: 06/19/2013)
  06/18/2013           174 LETTER addressed to Judge Lorna G. Schofield from Richard Supple dated 6/12/2013
                           re: This firm represents the defendant group in this case known as the Cowan Defendants.
                           We have received plaintiff Amy Gurvey's "status" letter to the Court, dated yesterday, and
                           respectfully request that the Court schedule a conference to discuss moving this matter
                           forward. The Cowan Defendants dispute virtually everything in Gurvey's letter, which
                           was not responsive to the Court's order. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.(rsh)
                           (Entered: 06/19/2013)
  06/19/2013           175 LETTER addressed to Judge Lorna G. Schofield and Magistrate Judge Henry B. Pitman
                           from Amy R. Gurvey dated 6/11/2013 re: Plaintiff prays that her Status Letter be
                           accepted, that Plaintiffs proposed 5AC be authorized for service, that Cowan's motion for
                           Rule 37 sanctions, be denied, and that a scheduling order be issued to compel production
                           of all Cowan's outstanding discovery and depositions, discovery to include but not be
                           limited to, all work and correspondence for Cowan clients in the field of Plaintiffs
                           inventions since 2001, disciplinary proceedings, adverse orders in other litigation's, and
                           all communications hard and electronic with Plaintiffs previous attorneys at S&F.
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                               Plaintiff also seeks four additional weeks prior to scheduling conference to complete
                               review of S&F's electronic files and submit appellants briefs to the Ninth Circuit.
                               Document filed by Amy R. Gurvey.(rsh) (Entered: 06/19/2013)
  07/15/2013           176 OPINION AND ORDER #103404 re: 154 MOTION for Extension of Time To Comply
                           with Def Cowan's Request for Docs, to Further Respond to Court's Jan 14, 2013 Order
                           and Respond to Def Cowan's Motion for Rule 37 Sanctions filed by Amy R. Gurvey, 119
                           CROSS MOTION to Strike Document No. 116 certain matter from the plaintiff's
                           proposed Fifth Amended Complaint CROSS MOTION to Strike Document No. 116
                           certain matter from the plaintiff's proposed Fifth Amended Complaint filed by Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen,
                           William Borchard, 150 CROSS MOTION to Disqualify Counsel Extend Time to Effect
                           Service and for a Writ of Replevin to Mandate Return of Electronic Files from Previous
                           Attorneys Squitieri & Fearon, LLP filed by Amy R. Gurvey. Accordingly, for all the
                           foregoing reasons, plaintiff's motion for leave to amend (Docket Item 116) is denied,
                           defendants' cross-motion to strike (Docket Item 119) is denied, plaintiff's motion to
                           disqualify (Docket Item 150) is denied, plaintiff's motion for leave to serve defendants
                           Michael Gordon and Susan Gordon and to compel discovery (Docket Item 150) is denied
                           l plaintiff's motion for an extension of time to respond to defendants' discovery requests I
                           my January 14, 2013 Order and defendants' motion for sanctions (Docket Item 154) is
                           denied, and plaintiff's motion for sanctions (Docket Item 169) is denied. By no later than
                           August 5, 2013, plaintiff is ordered to show cause why sanctions should not be imposed
                           on her for her improper Rule 26(a)(1) disclosures and her failure to comply with my
                           Orders of October 10, 2012 and January 14, 2013. Finally by no later than August 5,
                           2013, defendants are directed to answer plaintiff's Third Amended Complaint. SO
                           ORDERED. (Signed by Magistrate Judge Henry B. Pitman on 7/15/2013) Copies Sent
                           By Chambers. (rsh) Modified on 7/26/2013 (sdi). (Entered: 07/16/2013)
  07/15/2013                   Set/Reset Deadlines: William Borchard answer due 8/5/2013; Baila Celedonia answer
                               due 8/5/2013; Clear Channel Communications, Inc. answer due 8/5/2013; Michael
                               Gordon answer due 8/5/2013; Dale Head answer due 8/5/2013; Midge Hyman answer
                               due 8/5/2013; Instant Live Concerts, LLC answer due 8/5/2013; Christopher Jensen
                               answer due 8/5/2013; Live Nation, Inc. answer due 8/5/2013; Nexticketing, Inc. answer
                               due 8/5/2013; Susan Schick answer due 8/5/2013; Steve Simon answer due 8/5/2013.
                               (rsh) (Entered: 07/16/2013)
  07/30/2013           177 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Reconsideration
                           of Docket Orders 176, 177. Document filed by Amy R. Gurvey. (Attachments: # 1
                           Affidavit Declaration Legal Memorandum, # 2 Supplement)(Weissbrod, Amy) Modified
                           on 7/31/2013 (db). (Entered: 07/30/2013)
  07/31/2013                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               177 MOTION for Reconsideration of Docket Orders 176, 177. ERROR(S):
                               Supporting Documents are filed separately, each receiving their own document #.
                               (db) (Entered: 07/31/2013)
  07/31/2013           178 REPORT AND RECOMMENDATION re: 132 MOTION to Dismiss the Third Amended
                           Complaint filed by Susan Schick, Michael Gordon. For all the foregoing reasons, I
                           respectfully recommend that the Gordons' motion to dismiss (Docket Item 132) be
                           granted and that plaintiff's cross-motion for an extension of time to complete service on
                           the Gordons (Docket Item 150) be denied. Objections to R&R due by 8/19/2013. (Signed
                           by Magistrate Judge Henry B. Pitman on 7/31/2013) Copies Mailed By Chambers. (ft)
                           Modified on 7/31/2013 (ft). (Entered: 07/31/2013)


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                                                       ID #:536
  08/01/2013           179 NOTICE OF CHANGE OF ADDRESS by John Richard Supple, Jr on behalf of William
                           Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. New Address: Hinshaw & Culbertson LLP, 800 Third Avenue, 13th
                           Floor, New York, New York, USA 10022, (212) 471-6200. (Supple, John) (Entered:
                           08/01/2013)
  08/01/2013           180 ANSWER to 47 Amended Complaint,. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 08/01/2013)
  08/01/2013           181 AFFIDAVIT OF SERVICE of Answer to Third Amended Complaint and Notice of
                           Address Change served on Amy Gurvey on 08/01/13. Service was made by ECF, First
                           Class Mail and Overnight mail. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John)
                           (Entered: 08/01/2013)
  08/01/2013           182 MOTION for Reconsideration to Magistrate's Docket Order #176. Document filed by
                           Amy R. Gurvey.(Weissbrod, Amy) (Entered: 08/01/2013)
  08/01/2013           183 DECLARATION in Support re: 182 MOTION for Reconsideration to Magistrate's
                           Docket Order #176.. Document filed by Amy R. Gurvey. (Attachments: # 1 Supplement
                           Nith Cir Brief of Plaintiff Appellant Gurvey v. Legend Films et al., 12-57268 (9th Cir))
                           (Weissbrod, Amy) (Entered: 08/01/2013)
  08/05/2013           184 DECLARATION in Support re: 182 MOTION for Reconsideration to Magistrate's
                           Docket Order #176.. Document filed by Amy R. Gurvey. (Weissbrod, Amy) (Entered:
                           08/05/2013)
  08/08/2013           185 ENDORSED LETTER addressed to Magistrate Judge Henry B. Pitman from Richard
                           Supple dated 8/6/2013 re: Counsel requests that they be granted until August 21, 2013 to
                           respond to Plaintiffs Declaration and Legal Memorandum, in Further Support of
                           Reconsideration and Excusable Delay in Discovery, dated August 5, 2013, as well as her
                           Notice of Motion for Reconsideration, dated August 1, 2013. ENDORSEMENT:
                           APPLICATION GRANTED. (Responses due by 8/21/2013) (Signed by Magistrate Judge
                           Henry B. Pitman on 8/7/2013) (ft) Modified on 8/8/2013 (ft). (Entered: 08/08/2013)
  08/19/2013           186 OPINION AND ORDER re: 132 MOTION to Dismiss the Third Amended Complaint
                           filed by Susan Schick, Michael Gordon. The Court has carefully reviewed Magistrate
                           Judge Pitman's thorough and well reasoned Report, to which no objections were made,
                           and finds no clear error on the face of the record. Dismissal of Michael Gordon and Susan
                           Gordon from this action is appropriate. Accordingly, the Court AFFIRMS Magistrate
                           Judge Pitman's Report and ADOPTS it in its entirety. The Clerk of Court is directed to
                           close the motion at Docket Number 132 and to terminate Michael Gordon and Susan
                           Gordon from this action., Michael Gordon terminated. (Signed by Judge Lorna G.
                           Schofield on 8/19/2013) (lmb) (Entered: 08/19/2013)
  08/21/2013           187 RESPONSE in Opposition re: 182 MOTION for Reconsideration to Magistrate's Docket
                           Order #176.. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz
                           & Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit A, # 2
                           Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                           Exhibit H)(Supple, John) (Entered: 08/21/2013)
  08/21/2013           188 AFFIDAVIT OF SERVICE of Declaration of J. Richard Supple, Jr. in Response to
                           Plaintiff Amy Gurvey's Notice of Motion for Reconsideration and "Excusable Delay in
                           Discovery" served on Amy R. Gurvey on 08/21/13. Service was made by ECF and
                           overnight mail. Document filed by William Borchard, Baila Celedonia, Cowan,

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                               Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered:
                               08/21/2013)
  08/22/2013           189 LETTER addressed to Judge Lorna G. Schofield from Richard Supple dated 8/22/2013
                           re: I write in response to plaintiff Amy Gurvey's letter of this date. Her application should
                           be denied. Document filed by William Borchard, Baila Celedonia, Clear Channel
                           Communications, Inc., Cowan, Liebowitz & Lathman, PC, Dale Head, Midge Hyman,
                           Instant Live Concerts, LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Inc.,
                           Susan Schick, Steve Simon.(lmb) (Entered: 08/23/2013)
  08/23/2013           190 ENDORSED LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey
                           dated 8/22/2013 re: Plaintiff now requests a stay of 45 days to retain trial and legal ethics
                           counsel to reply to defendants' opposition to Plaintiff's sub judice motion for
                           reconsideration. Defendants have cross-moved for Rule 37 sanction that is ludicrous
                           under these circumstances. ENDORSEMENT: APPLICATION DENIED. Because this
                           case is referred to the Honorable Magistrate Judge Henry Pitman for general pretrial
                           supervision, any request for an extension of time with respect to the motion for
                           reconsideration currently pending before him, must be directed to him. (Signed by Judge
                           Lorna G. Schofield on 8/22/2013) (lmb) (Entered: 08/23/2013)
  08/23/2013           191 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey, dated 8/22/13 re:
                           Plaintiff requests a stay of forty-five(45) days in which to retain trial and legal ethics
                           counsel to reply to defendants' opposition to Plaintiff's sub judice motion for
                           reconsideration.. Document filed by Amy R. Gurvey.(sc) (Entered: 08/26/2013)
  08/28/2013           192 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT -
                           MOTION for Extension of Time to file Reply to Plaintiff's Motino for Reconsider and for
                           the Court to Issue Subpoenas Against Plaintiff's Patent Attorneys. Document filed by
                           Amy R. Gurvey.(Weissbrod, Amy) Modified on 8/29/2013 (db). (Entered: 08/28/2013)
  08/29/2013                   ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No.
                               192 HAS BEEN REJECTED. Note to Attorney Amy Rebecca Weissbrod : THE
                               CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                               ECF or otherwise, except where the judge has ordered that a particular letter be
                               docketed. Letters may be sent directly to a judge. (db) (Entered: 08/29/2013)
  08/29/2013           193 ENDORSED LETTER addressed to Magistrate Judge Henry B. Pitman, from Amy R.
                           Gurvey, dated 8/27/2013, re: Plaintiff's herein applies for a 30-day extension of time to
                           submit a formal Reply to Plaintiff's reconsideration motion concerning her proposed 5AC
                           for damages post patent issuance and for Cowan's spoliation of Plaintiff's patent-related
                           files in anticipation of litigation... ENDORSEMENT: Application denied. New factual
                           material cannot be submitted in connection with a motion for reconsideration. (Signed by
                           Magistrate Judge Henry B. Pitman on 8/29/2013) (ja) (Entered: 08/30/2013)
  08/30/2013           194 LETTER addressed to Magistrate Judge Henry B. Pitman from Amy Gurvey, dated
                           8/27/13 re: Plaintiff applies for a 30-day extension of time to submit a formal Reply to
                           Plaintiff 's reconsideration motion concerning her proposed 5AC for damages post patent
                           issance and for Cowan's spoliation of Plaintiff's patent-related files in anticipation of
                           litigation. Document filed by Amy R. Gurvey.(sc) Modified on 9/5/2013 (mj). (Entered:
                           09/03/2013)
  08/30/2013           195 LETTER addressed to Magistrate Judge Henry B. Pitman from Amy R. Weissbrod dated
                           8/30/13 re: "Plaintiff's Application for Signed Subpoenas and Extension of Time" in
                           response to the letter to the Court by Richard Supple, Esq. Document filed by Amy R.
                           Gurvey.(sc) Modified on 9/5/2013 (mj). (Entered: 09/03/2013)


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  01/04/2014           196 LETTER addressed to Magistrate Judge Henry B. Pitman from Amy Weissbrod Gurvey,
                           Plaintiff dated Jan 3 2014 re: Response to Magistrate's Order that Plaintiff explain how
                           her amended complaint pertains to claims upheld by the Second Circuit. Document filed
                           by Amy R. Gurvey. (Attachments: # 1 Exhibit P's Ulcerative Colitis Scan)(Weissbrod,
                           Amy) (Entered: 01/04/2014)
  01/04/2014           197 REPLY MEMORANDUM OF LAW in Support re: 182 MOTION for Reconsideration to
                           Magistrate's Docket Order #176.. Document filed by Amy R. Gurvey. (Attachments: # 1
                           Exhibit Certification of Service, # 2 Exhibit Plaintiff's Medical Report Ulcerative Colitis,
                           # 3 Exhibit 9th Cir Case No 12/57268 Plaintiff's Reply Brief Gurvey v. Legend Films)
                           (Weissbrod, Amy) (Entered: 01/04/2014)
  01/07/2014           198 MEMO ENDORSEMENT on re: 196 Letter, filed by Amy R. Gurvey. ENDORSEMENT:
                           I have never issued any Order in this matter directing plaintiff "to explain how [the]
                           Cowan defendants' [alleged] breach of fiduciary duty, patent malpractice, breach of
                           attorney client privilege and fraud... pertain to Plaintiff's claims" or why plaintiff is
                           entitled to further amend her complaint. In short, the factual predicate for the letter
                           asserted in its first paragraph does not exist. Because I have not requested the attached
                           letter and the attached letter does not constitute any kind of cognizable motion or request
                           for relief, I am taking no action concerning the attached letter. (Signed by Magistrate
                           Judge Henry B. Pitman on 1/7/2014) Copies Sent By Chambers. (tro) (Entered:
                           01/07/2014)
  01/23/2014           199 LETTER addressed to Magistrate Judge Henry B. Pitman from Amy R. Gurvey dated
                           1/22/14 re: PLAINTIFF'S SUB JUDICE MOTION FOR RECONSIDERATION.
                           Document filed by Amy R. Gurvey.(sc) (Entered: 01/24/2014)
  02/25/2014           200 OPINION AND ORDER 104017 re: 182 MOTION for Reconsideration to Magistrate's
                           Docket Order #176, filed by Amy R. Gurvey. By notice of motion dated July 30, 2013,
                           Plaintiff moves for reconsideration of both my July Order and an Order issued by the
                           Honorable Barbara Jones, United States District Judge, now retired, on April 5, 2012
                           (Docket Item 182). Accordingly, for all the foregoing reasons, plaintiff's motion for
                           reconsideration is denied (Docket Item 182). Additionally, defendants' motion for
                           sanctions is granted (Docket Item 147) to the extent that it seeks (1) forfeiture of
                           plaintiff's right to seek enforcement of her discovery requests that were the subject of my
                           January 2013 Order and (2) attorney's fees and costs defendants incurred in making their
                           motion. Defendants are directed to submit contemporaneous billing records and the
                           information necessary to evaluate the reasonableness of their attorneys' billing rates,
                           along with invoices for any costs they have incurred, within twenty-one (21) days of this
                           Order. Plaintiff is directed to submit her response no later than twenty-one (21) days
                           thereafter. Plaintiff is also directed to amend its initial disclosures in compliance with
                           Rule 26(a)(1) no later than twenty-one (21) days of this Order. Plaintiff's failure to
                           comply with these deadlines will result in forfeiture of her right to serve future document
                           requests and may preclude plaintiff from offering any evidence not yet produced at trial
                           or in connection with any motion. The parties are also directed to appear for a follow-up
                           conference in this matter on March 19, 2014 at 9:30 a.m. so that a discovery schedule
                           may be set. Finally, future conduct by plaintiff will not be tolerated. PLAINTIFF IS
                           HEREBY WARNED THAT ANY FURTHER NONCOMPLIANCE WITH THIS
                           ORDER, PAYMENT OF EXPENSES OR ATTORNEY'S FEES IN CONNECTION
                           WITH THIS MOTION OR OTHER OBLIGATIONS IMPOSED BY THE FEDERAL
                           RULES OF CIVIL PROCEDURE OR LOCAL RULES OF THIS COURT MAY
                           RESULT IN SANCTIONS INCLUDING DISMISSAL OF THIS ACTION. SO
                           ORDERED. (Signed by Magistrate Judge Henry B. Pitman on 2/25/2014) Copies Mailed
                           By Chambers. (ja) Modified on 3/5/2014 (nt). (Entered: 02/25/2014)

                                                                                                    EXHIBIT 12
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                                                            SDNY CM/ECFFiled 09/08/23
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                                                           ID #:539
  02/25/2014                   Set/Reset Hearings: Status Conference set for 3/19/2014 at 09:30 AM before Magistrate
                               Judge Henry B. Pitman. (ja) (Entered: 02/25/2014)
  02/28/2014           201 MOTION to Remand to State Court. Document filed by Amy R. Gurvey. Return Date set
                           for 3/19/2014 at 09:30 AM.(Weissbrod, Amy) (Entered: 02/28/2014)
  02/28/2014           202 DECLARATION of Amy R. Weissbrod Gurvey in Support re: 201 MOTION to Remand
                           to State Court.. Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit 2d Cir
                           Order Feb 10 2012, # 2 Exhibit Award of SDNY Arbitrator Aug 4 2009, # 3 Exhibit
                           Medical Rept John Penek MD Feb 21 2014, # 4 Exhibit Ps SSA Disability 2013, # 5
                           Exhibit Reply Ps Motion for Reconsideration to July 2013 Order (Docket #176), # 6
                           Exhibit Ps Letter Response to Order, # 7 Exhibit Ps Resume, # 8 Exhibit Ps Appl for
                           Subpoenas from Patent Attorneys)(Weissbrod, Amy) (Entered: 02/28/2014)
  03/01/2014           203 MOTION re: to remand to Supreme Court of NY, NY County. Document filed by Amy R.
                           Gurvey. (Attachments: # 1 Main Document)(sac) (Entered: 03/03/2014)
  03/03/2014           204 ORDER: It is hereby ORDERED that Plaintiff shall file her memorandum of law, if any,
                           by March 17, 2014; it is further ORDERED that Defendants shall file their opposition, if
                           any, by March 31, 2014; it is further ORDERED that Plaintiff shall file her reply, if any,
                           by April 7, 2014. The clerk is directed to mail a copy of this order to the pro se Plaintiff.
                           Responses due by 3/31/2014. Replies due by 4/7/2014. (Signed by Judge Lorna G.
                           Schofield on 3/3/2014) (ft) (Entered: 03/04/2014)
  03/03/2014                   Transmission to Docket Assistant Clerk. Transmitted re: 204 Scheduling Order to the
                               Docket Assistant Clerk for case processing. (ft) (Entered: 03/04/2014)
  03/04/2014                   Mailed a copy of 204 Scheduling Order, to Amy R. Gurvey 315 Highland Avenue Upper
                               Monclair, NJ 07043 (nt) (Entered: 03/04/2014)
  03/05/2014           205 DECLARATION of J. Richard Supple, Jr. re: 200 Memorandum & Opinion,,,,,,,,.
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                           Affidavit of Service)(Supple, John) (Entered: 03/05/2014)
  03/12/2014           206 FILING ERROR - DEFICIENT DOCKET ENTRY - FIRST MOTION to
                           Amend/Correct 3AC and to File and Serve 6AC based on Defendants' First Document
                           Production. Document filed by Amy R. Gurvey. Return Date set for 3/19/2014 at 09:30
                           AM. (Attachments: # 1 Exhibit Ps Declaration in Support of Motion, # 2 Exhibit 2d Cir
                           Order Feb 10 2012, # 3 Exhibit SDNY Award of Arbitratior Aug 4, 2009, # 4 Exhibit
                           Cowan Emails re Legend, # 5 Exhibit Schick Cowan 2002 Email1, # 6 Exhibit Schick
                           Cowan 2002 Email2, # 7 Exhibit Legend Exec Sum June 2001, # 8 Exhibit legend
                           Financial Press Release, # 9 Exhibit Sandrew Short USPTO Patent List)(Weissbrod,
                           Amy) Modified on 3/13/2014 (db). (Entered: 03/12/2014)
  03/12/2014           207 PLAINTIFF PRO SE'S NOTICE OF MOTION TO FILE & SERVE A SIXTH
                           AMENDED COMPLAINT("6AC") BASED ON COWAN DEFENDANTS' FIRST
                           DOCUMENT PRODUCTION. Document filed by Amy R. Gurvey. (Attachments: # 1
                           Notice of Motion, # 2 Notice of Motion, # 3 Notice of Motion, # 4 Notice of Motion, # 5
                           Notice of Motion)(sc) (Entered: 03/13/2014)
  03/13/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               206 FIRST MOTION to Amend/Correct 3AC and to File and Serve 6AC based on
                               Defendants' First Document Production. ERROR(S): Supporting Documents are
                               filed separately, each receiving their own document #. (db) (Entered: 03/13/2014)

                                                                                                     EXHIBIT 12
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                                                       ID #:540
  03/17/2014           208 MEMORANDUM OF LAW in Support re: 203 MOTION to Remand to State Court.
                           Ordered by Hon. Lorna Schofield (Docket #204). Document filed by Amy R. Gurvey.
                           (Attachments: # 1 Exhibit Ps Certification of Service)(Weissbrod, Amy) (Entered:
                           03/17/2014)
  03/17/2014           209 RULE 26 DISCLOSURE.Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit
                           Ps Previous rule 26(a)(1) disclosures filed in November 9, 2012 (that it does not appear
                           were previously considered))(Weissbrod, Amy) (Entered: 03/17/2014)
  03/17/2014           210 RULE 26 DISCLOSURE.Document filed by Amy R. Gurvey.(Weissbrod, Amy)
                           (Entered: 03/17/2014)
  03/19/2014                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Status
                               Conference held on 3/19/2014. Order to follow. (bh) (Entered: 03/19/2014)
  03/21/2014           211 ORDER: that Defendants shall serve and file their opposition to plaintiff's motion to file a
                           Sixth Amended Complaint (Docket Item 207) no later than 5/5/2014. Plaintiff shall serve
                           and file her reply no later than 5/26/2014. Fact Discovery due by 9/19/2014. If plaintiff
                           intends to rely on expert testimony, she shall make all disclosures required by
                           Fed.R.Civ.P. 26(a)(2) no later than 10/20/2014. If defendants intend to rely on expert
                           testimony, they shall make all disclosures required by Fed.R.Civ.P. 26(a)(2) no later than
                           11/21/2014. Expert Discovery due by 12/22/2014. Additional dispositive motions, if any,
                           due by 1/23/2015. Set Deadlines/Hearing as to 207 MOTION for Leave to File Sixth
                           Amended Complaint: Responses due by 5/5/2014, Replies due by 5/26/2014. (Signed by
                           Magistrate Judge Henry B. Pitman on 3/21/2014) Copies Transmitted By Chambers. (tn)
                           (Entered: 03/21/2014)
  03/23/2014           212 FILING ERROR - DEFICIENT DOCKET ENTRY - FIRST MOTION for
                           Reconsideration of Magistrate's Order Entered 2/25/14. Document filed by Amy R.
                           Gurvey. Return Date set for 4/9/2014 at 09:30 AM. (Attachments: # 1 Exhibit Amended
                           rule 26(a) Disclosure Filed 3-17-14, # 2 Errata Orig Rule 26(a) Disclosure 11-9-12)
                           (Weissbrod, Amy) Modified on 3/24/2014 (db). (Entered: 03/23/2014)
  03/24/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               212 FIRST MOTION for Reconsideration of Magistrate's Order Entered 2/25/14.
                               ERROR(S): Supporting Documents are filed separately, each receiving their own
                               document #. (db) (Entered: 03/24/2014)
  03/24/2014           213 PLAINTIFF PRO SE'S NOTICE OF MOTION FOR RECONSIDERATION OF THE
                           DISTRICT MAGISTRATE'S 2/25/14 ORDER GRANTING DISCOVERY
                           SANCTIONS; re: 200 Memorandum & Opinion. Document filed by Amy R. Gurvey.(sc)
                           (Entered: 03/24/2014)
  03/26/2014           214 NOTICE OF INTERLOCUTORY APPEAL from 176 Memorandum & Opinion,,,,,,, 200
                           Memorandum & Opinion,,,,,,,,. Document filed by Amy R. Gurvey. Form C and Form D
                           are due within 14 days to the Court of Appeals, Second Circuit. (Weissbrod, Amy)
                           (Entered: 03/26/2014)
  03/26/2014                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 214 Notice of Interlocutory Appeal. (tp) (Entered: 03/26/2014)
  03/26/2014                   Appeal Fee Due: for 214 Notice of Interlocutory Appeal. Appeal fee due by 4/9/2014. (tp)
                               (Entered: 03/26/2014)
  03/26/2014                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                               Electronic Files (ONLY) for 214 Notice of Interlocutory Appeal filed by Amy R. Gurvey
                               were transmitted to the U.S. Court of Appeals. (APPELLANT'S COUNSEL IS
                                                                                                    EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                              33/69
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                               RESPONSIBLE FOR THE PHYSICAL SUPPLEMENTAL INDEX FOR ANY AND
                               ALL NON-ECF DOCUMENTS, ONCE THE CASE IS OPENED IN THE SECOND
                               CIRCUIT) (tp) (Entered: 03/26/2014)
  03/28/2014           215 NOTICE OF ECF DOCKETING ERROR. Document filed by Amy R. Gurvey. (sc)
                           (Entered: 03/28/2014)
  03/31/2014           216 DECLARATION of J. Richard Supple, Jr. in Opposition re: 201 MOTION to Remand to
                           State Court.. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz
                           & Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit A, # 2
                           Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                           Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L)(Supple, John)
                           (Entered: 03/31/2014)
  03/31/2014           217 MEMORANDUM OF LAW in Opposition re: 201 MOTION to Remand to State Court..
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 03/31/2014)
  03/31/2014           218 AFFIDAVIT OF SERVICE of Declaration of J. Richard Supple, Jr. with Exhibits A-L and
                           Memorandum of Law in Opposition to Plaintiff's Motion to Remand served on Amy R.
                           Gurvey on 03/31/2014. Service was made by Overnight Mail and ECF. Document filed
                           by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge
                           Hyman, Christopher Jensen. (Supple, John) (Entered: 03/31/2014)
  04/07/2014           219 REPLY MEMORANDUM OF LAW in Support re: 203 MOTION to Remand to State
                           Court.. Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit Rule 11 Ltr
                           Reiterating Discovery Document Requests, # 2 Exhibit Notice Letter to Magistrate that
                           Cowan defs will not comply with discovery April 4, 2014)(Weissbrod, Amy) (Entered:
                           04/07/2014)
  04/09/2014           220 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Esq. dated
                           04/09/2014 re: setting a schedule for Plaintiff Amy Gurvey's appeal of Magistrate Judge
                           Henry Pitman's Order sanctioning Plaintiff and to Object to Plaintiff's improper reply in
                           support of her motion to remand. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: #
                           1 Affidavit of Service)(Supple, John) (Entered: 04/09/2014)
  04/09/2014           221 LETTER addressed to Magistrate Judge Henry B. Pitman from Amy Gurvey, dated
                           4/4/14 re: MAGISTRATE'S 3/19/14 CONFERENCE INSTRUCTIONS/COWAN
                           DEFENDANTS' NOTICE REFUSING TO PRODUCE DISCOVERY DOCUMENTS.
                           Document filed by Amy R. Gurvey.(sc) (Entered: 04/11/2014)
  04/24/2014           222 NOTICE OF STAY OF APPEAL re: 214 Notice of Interlocutory Appeal. A notice of
                           appeal was filed in this case on 3/26/2014. Since at least one motion cited in F.R.A.P. 4(a)
                           (4) has been filed in the district court, this appeal is stayed pending resolution of the
                           motion(s). USCA Case No. 14-0960-cv.] (nd) (Entered: 04/25/2014)
  04/28/2014           223 MOTION for Sanctions Federal Rule of Procedure Rule 11(b)(1) and (2). Document filed
                           by William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan,
                           Liebowitz & Lathman, PC, Does, Michael Gordon, Dale Head, Midge Hyman, Instant
                           Live Concerts, LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Inc., Susan
                           Schick, Steve Simon.(Supple, John) (Entered: 04/28/2014)
  04/28/2014           224 MOTION for Sanctions Fed. R. Civ. P. 11(b)(1), (2) and (3). Document filed by William
                           Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz &
                           Lathman, PC, Does, Michael Gordon, Dale Head, Midge Hyman, Instant Live Concerts,
                           LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Inc., Susan Schick, Steve
                           Simon.(Supple, John) (Entered: 04/28/2014)
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  04/28/2014           225 DECLARATION of J. Richard Supple, Jr., Esq. in Support re: 224 MOTION for
                           Sanctions Fed. R. Civ. P. 11(b)(1), (2) and (3)., 223 MOTION for Sanctions Federal Rule
                           of Procedure Rule 11(b)(1) and (2).. Document filed by William Borchard, Baila
                           Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz & Lathman, PC,
                           Does, Michael Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC,
                           Christopher Jensen, Live Nation, Inc., Nexticketing, Inc., Susan Schick, Steve Simon.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                           6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, #
                           12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17
                           Exhibit Q)(Supple, John) (Entered: 04/28/2014)
  04/28/2014           226 MEMORANDUM OF LAW in Support re: 224 MOTION for Sanctions Fed. R. Civ. P.
                           11(b)(1), (2) and (3)., 223 MOTION for Sanctions Federal Rule of Procedure Rule 11(b)
                           (1) and (2). . Document filed by William Borchard, Baila Celedonia, Clear Channel
                           Communications, Inc., Cowan, Liebowitz & Lathman, PC, Does, Michael Gordon, Dale
                           Head, Midge Hyman, Instant Live Concerts, LLC, Christopher Jensen, Live Nation, Inc.,
                           Nexticketing, Inc., Susan Schick, Steve Simon. (Supple, John) (Entered: 04/28/2014)
  04/28/2014           227 AFFIDAVIT OF SERVICE of Notice of Motion for Sanctions Pursuant to Fed.R.Civ.P.
                           11(b)(1) and 11(b)(2), Notice of Motion for Sanctions Pursuant to Fed.R.Civ.P. 11(b)(1),
                           (2) and (3), Declaration of J. Richard Supple, Jr., Esq., in Support of Defendants' Motions
                           for Sanctions with Exhibits A-Q, and Memorandum of Law in Support of Rule 11
                           Motions for Sanctions Against Plaintiff served on Amy R. Gurvey on April 25, 2014.
                           Service was made by Mail. Document filed by William Borchard, Baila Celedonia, Clear
                           Channel Communications, Inc., Cowan, Liebowitz & Lathman, PC, Does, Michael
                           Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher Jensen,
                           Live Nation, Inc., Nexticketing, Inc., Susan Schick, Steve Simon. (Supple, John)
                           (Entered: 04/28/2014)
  04/28/2014           228 ORDER: It is hereby ORDERED that Plaintiff's appeal of the February 25, 2014 Order,
                           which will be considered as an objection under Rule 72 of the Federal Rules of Civil
                           Procedure, is hereby stayed pending the decision of Magistrate Judge Pitman on the
                           Motion for Reconsideration. SO ORDERED. (Signed by Judge Lorna G. Schofield on
                           4/28/2014) (kgo) (Entered: 04/28/2014)
  05/05/2014           229 DECLARATION of J. Richard Supple in Opposition re: 213 MOTION for
                           Reconsideration re; 200 Memorandum & Opinion,,,,,,,,.. Document filed by William
                           Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. (Attachments: # 1 Exhibit A)(Supple, John) (Entered: 05/05/2014)
  05/05/2014           230 MEMORANDUM OF LAW in Opposition re: 213 MOTION for Reconsideration re; 200
                           Memorandum & Opinion,,,,,,,,. . Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John)
                           (Entered: 05/05/2014)
  05/05/2014           231 DECLARATION of J. Richard Supple in Opposition re: 207 MOTION for Leave to File
                           Sixth Amended Complaint.. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: #
                           1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                           Exhibit G)(Supple, John) (Entered: 05/05/2014)
  05/05/2014           232 MEMORANDUM OF LAW in Opposition re: 207 MOTION for Leave to File Sixth
                           Amended Complaint. . Document filed by William Borchard, Baila Celedonia, Cowan,
                           Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered:
                           05/05/2014)

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  05/12/2014           233 MOTION to Disqualify Counsel . Document filed by Amy R. Gurvey.(Weissbrod, Amy)
                           (Entered: 05/12/2014)
  05/12/2014           234 DECLARATION of Amy R. Weissbrod Gurvey in Support re: 233 MOTION to
                           Disqualify Counsel .. Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit
                           Order Supreme NY August 7 1998 Hon Sheila Abdus-Salaam Index No 118826/97, # 2
                           Exhibit 2d Cir Case No 13-2211-cv Ps Reply Brief, # 3 Exhibit 2d Cir. Case No. 13-
                           2211-cv Ps Opening Brief, # 4 Exhibit 2d Cir Order 462 Fed Appx. 26 Feb 10 2012, # 5
                           Exhibit Award of SDNY Arbitrator August 4 2009)(Weissbrod, Amy) (Entered:
                           05/12/2014)
  05/12/2014           235 FILING ERROR - DEFICIENT DOCKET ENTRY - DECLARATION of Amy R.
                           Weissbrod Gurvey in Support re: 233 MOTION to Disqualify Counsel .. Document filed
                           by Amy R. Gurvey. (Weissbrod, Amy) Modified on 5/13/2014 (db). (Entered:
                           05/12/2014)
  05/12/2014           236 MEMORANDUM OF LAW in Support re: 233 MOTION to Disqualify Counsel . .
                           Document filed by Amy R. Gurvey. (Weissbrod, Amy) (Entered: 05/12/2014)
  05/13/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               235 Declaration in Support of Motion. ERROR(S): (1) Incomplete Document (i.e.
                               No Court Type, No Parties, No Case Number). (2) Use Event Certificate of Service
                               Other located under the Event Type - Service of Process. (db) (Entered: 05/13/2014)
  05/15/2014           237 CERTIFICATE OF SERVICE of notice of Motion, Declaration and Memo of Law
                           Disqualification served on Richard Supple, Esq. on 5/12/2014. Document filed by Amy
                           R. Gurvey. (Weissbrod, Amy) (Entered: 05/15/2014)
  05/16/2014           238 LETTER addressed to Magistrate Judge Henry B. Pitman from Amy R. Weissbrod-
                           Gurvey dated 5/13/14 re: Plaintiff submits this letter to the Court in response to Richard
                           Supple's letter to the Court which stated that the plaintiff refused to sit for deposition; and
                           the plaintiff states that this is a lie; that she cannot sit for deposition until June due to
                           asbestos contamination of her home. Document filed by Amy R. Gurvey.(sc) (Entered:
                           05/19/2014)
  05/21/2014           239 DECLARATION of J. Richard Supple in Support re: 224 MOTION for Sanctions Fed. R.
                           Civ. P. 11(b)(1), (2) and (3)., 233 MOTION to Disqualify Counsel ., 223 MOTION for
                           Sanctions Federal Rule of Procedure Rule 11(b)(1) and (2).. Document filed by William
                           Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Supple,
                           John) (Entered: 05/21/2014)
  05/21/2014           240 REPLY MEMORANDUM OF LAW in Support re: 224 MOTION for Sanctions Fed. R.
                           Civ. P. 11(b)(1), (2) and (3)., 233 MOTION to Disqualify Counsel ., 223 MOTION for
                           Sanctions Federal Rule of Procedure Rule 11(b)(1) and (2). . Document filed by William
                           Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. (Supple, John) (Entered: 05/21/2014)
  05/21/2014           241 AFFIDAVIT OF SERVICE of Declaration of J. Richard Supple and Reply Memorandum
                           of Law served on Amy R. Gurvey on 05/21/2014. Service was made by ECF and
                           Overnight Mail. Document filed by William Borchard, Baila Celedonia, Cowan,
                           Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered:
                           05/21/2014)
  05/26/2014           242 LETTER addressed to Magistrate Judge Henry B. Pitman from Amy Weissbrod Gurvey
                           dated 5/25/2014 re: Plaintiff therefore submits this letter and attachments in further
                           support of her motion for reconsideration and as a Reply to her cross-motion.    Document
                                                                                                    EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                  36/69
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                                                             SDNY CM/ECFFiled 09/08/23
                                                                         NextGen Version 1.7 Page 44 of 206 Page
                                                            ID #:544
                               filed by Amy R. Gurvey. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                               Exhibit 4)(sac) (Entered: 05/29/2014)
  05/29/2014           243 REPLY MEMORANDUM OF LAW in Support re: 233 MOTION to Disqualify Counsel
                           . . Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit Rule 26(a) Disclosures,
                           # 2 Exhibit Defs Works in Progress 2002, # 3 Exhibit May 23 2014 J. Caher NYLJ
                           Supple 2013 Ltr as Chair NYC Bar Comm Ethics and Discipline DDC NYU Law Survey,
                           # 4 Exhibit Cowan Defs Discovered Email May 2003, # 5 Exhibit Cowan Def Schick
                           Emails Feb 2002 Re-formatted October 14, 2002, # 6 Exhibit 2d Cir 462 Fed Appx 26
                           Feb 10 2012, # 7 Exhibit Ps Notice of Rule 11 Sanctions Outstanding Discovery Items
                           March 31 2014, # 8 Exhibit Award of SDNY Arbitrator Aug 4 209, # 9 Exhibit Legend
                           Films 2001 Executive Summary, # 10 Exhibit Gurvey 1-15-02 Principal Contract Date
                           Stamped by Cowan Defs 4-17-02, # 11 Exhibit Cowan Defs Altered Contract Rider Date
                           Stamped May 8, 2002, # 12 Exhibit Cowan USPTO Applications filed for P 5-24-02; 5-
                           22-02, # 13 Exhibit Cowan Ltr to P April 28 2003, # 14 Exhibit Cowan USPTO
                           Withdrawal Form for 1 Appl; Wt Proof of Svc 2003, # 15 Exhibit Ps Reconsid Reply, #
                           16 Exhibit 13-2211-cv Ps Parallal 2d Cir Reply Brief)(Weissbrod, Amy) (Entered:
                           05/29/2014)
  05/29/2014           244 CERTIFICATE OF SERVICE of Ps Reply Cross Motion served on Richard Supple, Esq.
                           on 5/29-2014. Document filed by Amy R. Gurvey. (Weissbrod, Amy) (Entered:
                           05/29/2014)
  07/08/2014           245 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - FINAL
                           MOTION for Certificate of Appealability . Document filed by Amy R. Gurvey. Return
                           Date set for 7/23/2014 at 11:30 PM. (Attachments: # 1 Exhibit 2d Cir July 7 2014 Motion
                           to Consolidate Appeals Interloc Appl 14-960-cv& 13-2211-cv, # 2 Exhibit T-1080, # 3
                           Exhibit USPTO Gen Counsel FOIA June 19, 2014, # 4 Exhibit SDNY 06-1202-cv
                           Docket, # 5 Exhibit 2d Cir Order Feb 10 2012, # 6 Exhibit Award of SDNY Arbitrator
                           August 4 2009, # 7 Exhibit NYLJ May 27 2014)(Weissbrod, Amy) Modified on 7/9/2014
                           (db). (Entered: 07/08/2014)
  07/09/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF DOCUMENT
                               ERROR. Note to Attorney Amy Rebecca Weissbrod. Document No. 245 Letter. This
                               document is not filed via ECF. The Court permits the filing of letters including
                               certain types of letter motions, a Motion for Certificate of Appealability must be
                               formally filed. (db) (Entered: 07/09/2014)
  07/10/2014           246 FINAL MOTION for Certificate of Appealability . Document filed by Amy R. Gurvey.
                           Return Date set for 7/23/2014 at 11:30 PM. (Attachments: # 1 Exhibit Ltr Appl to Hon.
                           Lorna Schofield seeking Certification for Interlocutory Appeal 14-960-cv July 7 2014, #
                           2 Exhibit 2d Motion to Consolidate Appeals 13-2211-cv 14-906-cv July 7 2014, # 3
                           Exhibit Form T-1080, # 4 Exhibit USPTO Gen Counsel FOIA June 19 2014 and P's
                           USPTO Response, # 5 Exhibit, # 6 Exhibit SDNY Docket, # 7 Exhibit Cerification of Re-
                           Service per ECF)(Weissbrod, Amy) (Entered: 07/10/2014)
  07/10/2014           247 CERTIFICATE OF SERVICE. Amy R. Gurvey served on 7/8/2014, answer due 9/8/2014.
                           Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit Reservice Motion to
                           Certify Appealability)(Weissbrod, Amy) (Entered: 07/10/2014)
  07/18/2014           248 CROSS MOTION for Filing Injunction . Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 07/18/2014)
  07/18/2014           249 DECLARATION of J. Richard Supple, Jr. in Opposition re: 246 FINAL MOTION for
                           Certificate of Appealability .. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: #
                                                                                                      EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                  37/69
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                                                                         NextGen Version 1.7 Page 45 of 206 Page
                                                            ID  #:545
                               1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)
                               (Supple, John) (Entered: 07/18/2014)
  07/18/2014           250 MEMORANDUM OF LAW in Opposition re: 246 FINAL MOTION for Certificate of
                           Appealability . and In Support of Defendants' Cross-Motion For A Filing Injunction 248 .
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 07/18/2014)
  07/18/2014           251 AFFIDAVIT OF SERVICE of Notice of Cross-Motion for Filing Injunction; Declaration
                           of J. Richard Supple, Jr. in Opposition to Plaintiff's Motion to Certify Interlocutory
                           Orders for Appeal and In Support of Defendants' Cross-Motion For A Filing Injunction
                           and Memorandum of Law served on Amy Gurvey on 07/18/2014. Service was made by
                           ECF and Overnight Mail. Document filed by William Borchard, Baila Celedonia, Cowan,
                           Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered:
                           07/18/2014)
  07/27/2014           252 FILING ERROR - DEFICIENT DOCKET ENTRY - FIRST MOTION to Stay Defs
                           Deposition Notice of Aug 5 2014 and Reply to Certify Orders and Adjudicate Motions for
                           Interlocutory Appeal 14/960-cv. Document filed by Amy R. Gurvey. Return Date set for
                           8/4/2014 at 11:30 PM. (Attachments: # 1 Exhibit Ps Declaration in Support of Motion, #
                           2 Exhibit Ps Letter to SDNY Withdrawing Reconsideration Motion and Noticing 2d Cir
                           Update on Interlocutory Appeal 14-960-cv, # 3 Exhibit USPTO General Counsel Updated
                           Notice July 21 2014, # 4 Exhibit USPTO General Counsel Notice June 19, 2014, # 5
                           Exhibit 9th Cir 12-57268 FRAP 10(e) Motion Supp Record on Appeal July 24, 2014, # 6
                           Exhibit Ps and D's Rule 26(a) Disclosures 2012, # 7 Exhibit Supple's 2013 Ltr to
                           Presiding Justices in NYS Advocating Suspenion and Disbarment for Ethics Violations, #
                           8 Exhibit 2d Cir Order Feb 10 2012, # 9 Exhibit Award of SDNY Arbitrator Aug 4 2009,
                           # 10 Exhibit Legend's 2001 Exec Sum, # 11 Exhibit Emails Cowan Production Dec 2012,
                           # 12 Exhibit Legend Sandrew AFT Patent filings, # 13 Exhibit Squitieri & Fearon Jan
                           2013 Notice of Retention of 4CDs and 6 boxes Supreme NY 102516-2012, # 14 Exhibit
                           Cert of Svc Motion to Stay Deps and Reply to Certify Orders for Interloc Appeal 14-960-
                           cv)(Weissbrod, Amy) Modified on 7/28/2014 (db). (Entered: 07/27/2014)
  07/28/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               252 FIRST MOTION to Stay Defs Deposition Notice of Aug 5 2014 and Reply to
                               Certify Orders and Adjudicate Motions for Interlocutory Appeal 14/960-cv.
                               ERROR(S): Supporting Documents are filed separately, each receiving their own
                               document #. (db) (Entered: 07/28/2014)
  07/30/2014           258 LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey dated 7/14/14 re:
                           NOTICE OF REQUIRED CASE STATUS UPDATE, from the U.S.C.A. for the Second
                           Circuit. Document filed by Amy R. Gurvey.(sc) (Entered: 08/06/2014)
  07/31/2014           253 FIRST MOTION to Stay of Deposition Notice. Document filed by Amy R. Gurvey.
                           Return Date set for 8/4/2014 at 11:30 PM.(Weissbrod, Amy) (Entered: 07/31/2014)
  07/31/2014           254 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - FIRST
                           MOTION to Stay Ps Declaration in Support. Document filed by Amy R. Gurvey. Return
                           Date set for 8/4/2014 at 11:30 PM. (Attachments: # 1 Exhibit Ps Ltr Withdrawing Motion
                           for Recons, # 2 Exhibit USPTO Gen Counsel Notce July 21 2014, # 3 Exhibit USPTO
                           Gen Counsel Notice June 19 2014, # 4 Exhibit 9th Cir 12-57268 Motion Suppl Record on
                           Appeal, # 5 Exhibit Ps and Ds Rule 26(a) Disclosures 2012, # 6 Exhibit Hinshaw &
                           Culbertson Atty Supple 2013 Ltr to Presiding NYS Justices Advocating Suspension NYU
                           Ethics Survey June 2014, # 7 Exhibit 2d Cir Order Feb 10 2012, # 8 Exhibit SDNY
                           Arbitration Award in Ps Favor August 4 2009, # 9 Exhibit Legend Films Exec Sum 2001,
                           # 10 Exhibit Legend Emails Cowan Production Dec 2012, # 11 Exhibit Legend's Sandrew
                                                                                                       EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                   38/69
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                                                                        NextGen Version 1.7 Page 46 of 206 Page
                                                           ID #:546
                               AFT Patent Filings, # 12 Exhibit Squitieri Notice of Retention of 4CDs and 6 Boxes, # 13
                               Exhibit Cert of Svc)(Weissbrod, Amy) Modified on 7/31/2014 (db). (Entered:
                               07/31/2014)
  07/31/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                               Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document 254 FIRST
                               MOTION to Stay Ps Declaration in Support. Use the event type Declaration in
                               Support of Motion found under the event list Replies, Opposition and Supporting
                               Documents. (db) (Entered: 07/31/2014)
  08/01/2014           255 UNSIGNED ORDER TO SHOW CAUSE filed by Amy R. Gurvey. (Attachments: # 1
                           Main Document, # 2 Main Document)(vn) (Entered: 08/01/2014)
  08/01/2014           256 LETTER from Amy Gurvey dated 7/31/14 re: Plaintiff states that it is her position that
                           the Cowan defendants cannot proceed with depositions and that the jurisdictional and
                           amended complaint issues are paramount; that this letter is a notice of the plaintiff's
                           objections; and that, noting these objections(as indicated) and the change in the law, the
                           plaintiff will rely on the Court to decide if the Cowan defendants have the right to take
                           additional depositions at this time or if an interlocutory appeal is properly adjudicated
                           first. Document filed by Amy R. Gurvey.(sc) (Entered: 08/04/2014)
  08/04/2014           257 MEMO ENDORSEMENT denying 253 Motion to Stay. ENDORSEMENT: TO THE
                           EXTENT PLAINTIFF IS SEEKING TO STAY HER DEPOSITION, THE MOTION IS
                           DENIED. PLAINTIFF IS DIRECTED TO APPEAR FOR HER DEPOSITION ON 8-5-
                           14 AT 9:30 AM (Signed by Magistrate Judge Henry B. Pitman on 8/4/2014) (kgo)
                           Modified on 8/8/2014 (kgo). (Entered: 08/04/2014)
  08/04/2014                   Set/Reset Deadlines: Deposition due by 8/5/2014. (kgo) (Entered: 08/04/2014)
  08/07/2014           259 ORDER AND OPINION re: 246 FINAL MOTION for Certificate of Appealability . filed
                           by Amy R. Gurvey, 201 MOTION to Remand to State Court. filed by Amy R. Gurvey,
                           213 MOTION for Reconsideration re; 200 Memorandum & Opinion, filed by Amy R.
                           Gurvey, 233 MOTION to Disqualify Counsel . filed by Amy R. Gurvey, 203 MOTION to
                           Remand to State Court. filed by Amy R. Gurvey, 207 MOTION for Leave to File Sixth
                           Amended Complaint. filed by Amy R. Gurvey. It is hereby ORDERED that the motions
                           listed herein are denied as moot. ORDERED that, to the extent Plaintiff seeks to
                           withdraw other pending motions, including the motion to remand (Docket Nos. 201, 203)
                           and the motion to file and serve a 6th Amended Complaint (Docket No. 207); they are
                           denied as moot. The Clerk of Court is directed to close the motions at Docket Nos. 213,
                           246 and 233, and at Docket No. 201, 203 and 207. The Clerk of Court is directed to mail
                           a copy of this Order to the pro se Plaintiff. (Signed by Judge Lorna G. Schofield on
                           8/7/2014) (kgo) Modified on 8/7/2014 (kgo). (Entered: 08/07/2014)
  08/07/2014                   Transmission to Docket Assistant Clerk. Transmitted re: 259 Memorandum & Opinion, to
                               the Docket Assistant Clerk for case processing. (kgo) (Entered: 08/07/2014)
  08/07/2014                   Mailed a copy of 259 Memorandum & Opinion, to Amy R. Gurvey 315 Highland Avenue
                               Upper Monclair, NJ 07043. (ca) (Entered: 08/07/2014)
  08/08/2014           260 LETTER addressed to Judge Lorna G. Schofield from Amy R. Weissbrod Gurvey dated
                           8/8/2014 re: Plaintiff's Notice withdrawing July 25 2014 letter withdrawing
                           reconsideration of Magistrate Pitman's orders since 2012. Document filed by Amy R.
                           Gurvey.(sac) (Entered: 08/08/2014)
  08/08/2014           262 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey dated 8/8/14 re: 2ND
                           CIRCUIT INTERLOCUTORY APPEAL. Document filed by Amy R. Gurvey.(sc)
                           (Entered: 08/11/2014)
                                                                                                    EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                  39/69
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                                                                     NextGen Version 1.7 Page 47 of 206 Page
                                                        ID #:547
  08/09/2014           261 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER
                           MOTION for Conference re: 259 Memorandum & Opinion,,,, addressed to Judge Lorna
                           G. Schofield from Amy R. Weissbrod Gurvey dated August 8 2014. Document filed by
                           Amy R. Gurvey. (Attachments: # 1 Exhibit 9th Cir Order 12-57268 August 1 2014, # 2
                           Exhibit 9th Cir Parallel Motion Gurvey v Legend Films 12-57268, # 3 Exhibit USPTO
                           Gen Counsel Notice July 21 2014, # 4 Exhibit USPTO Gen Counsel Notice June 19,
                           2014, # 5 Exhibit 2d Cir Order Feb 10 2012, # 6 Exhibit Award of Arbitrator August 4
                           2009)(Weissbrod, Amy) Modified on 8/11/2014 (db). (Entered: 08/09/2014)
  08/10/2014           263 LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey dated 8/8/2014 re:
                           This is a letter requesting a conference. Document filed by Amy R. Gurvey.
                           (Attachments: # 1 Main Document, # 2 Main Document, # 3 Main Document, # 4 Main
                           Document)(sac) (Entered: 08/12/2014)
  08/11/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                               Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document 261 LETTER
                               MOTION for Conference re: 259 Memorandum & Opinion, addressed to Judge
                               Lorna G. Schofield from Amy R. Weissbrod Gurvey dated August 8 2014. Use the
                               event type Letter found under the event list Other Documents. (db) (Entered:
                               08/11/2014)
  08/11/2014           264 ORDER: It is hereby ORDERED that the motions herein are reinstated. The Clerk of
                           Court is directed to reopen the motions at Docket Nos. 213, 246, 233, 201, 203 and 207.
                           The Clerk of Court is directed to mail a copy of this Order to the pro se Plaintiff. SO
                           ORDERED. (Signed by Judge Lorna G. Schofield on 8/11/2014) (kgo) Modified on
                           8/12/2014 (kgo). (Entered: 08/12/2014)
  08/11/2014                   Transmission to Docket Assistant Clerk. Transmitted re: 264 Order, to the Docket
                               Assistant Clerk for case processing. (kgo) (Entered: 08/12/2014)
  08/12/2014                   Mailed a copy of 264 Order, to Amy R. Gurvey 315 Highland Avenue Upper Monclair,
                               NJ 07043. (ca) (Entered: 08/12/2014)
  08/13/2014           265 ORDER AND OPINION: WHEREAS, by letter dated August 8, 2014 (Docket No. 263),
                           Plaintiff requested a conference before the Court; it is hereby ORDERED that the parties
                           shall appear for a conference on September 2, 2014, at 11:40 a.m. to address the parties'
                           outstanding motions. The Clerk of Court is directed to mail a copy of this Order to the pro
                           se Plaintiff. (Signed by Judge Lorna G. Schofield on 8/13/2014) (kgo) (Entered:
                           08/14/2014)
  08/13/2014                   Set/Reset Hearings: Status Conference set for 9/2/2014 at 11:40 AM before Judge Lorna
                               G. Schofield. (kgo) (Entered: 08/14/2014)
  08/13/2014                   Transmission to Docket Assistant Clerk. Transmitted re: 265 Memorandum & Opinion, to
                               the Docket Assistant Clerk for case processing. (kgo) (Entered: 08/14/2014)
  08/14/2014                   Mailed a copy of 265 Memorandum & Opinion, to Amy R. Gurvey 315 Highland Avenue
                               Upper Monclair, NJ 07043. (ca) (Entered: 08/14/2014)
  08/18/2014           266 LETTER addressed to Magistrate Judge Henry B. Pitman and Judge Lorna G. Schofield
                           from Amy R. Gurvey dated 8/16/2014 re: Plaintiff respectfully requests that in
                           preparation for the status conference, the Court order Mr. Supple to produce all exhibits
                           and Plaintiff's transcript from the deposition; and originals of these exhibits. Mr. Supple
                           has been contacted and has ignored Plaintiff's emails. Document filed by Amy R. Gurvey.
                           (sac) (Entered: 08/20/2014)
  08/26/2014           267 LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey dated 8/25/14 re:
                           SUB JUDICE SDNY MOTIONS FOR RECONSIDERATION OF MAGISTRATE'S
                                                                                                    EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                              40/69
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                                                          ID #:548
                               DISCOVERY ORDER OF JULY 2013, TO FILE AND SERVE A 6AC, FOR REMAND
                               & FOR DISQUALIFICATON OF HINSHAW & CULBERSON LLP. Document filed by
                               Amy R. Gurvey.(sc) (Entered: 08/27/2014)
  08/29/2014           268 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION to Compel Cowan
                           defendants to Produce Discovery Documents. Document filed by Amy R. Gurvey. Return
                           Date set for 9/2/2014 at 09:30 AM. (Attachments: # 1 Exhibit Ps Rule 26(a) Disclosures
                           Nov 2012, # 2 Exhibit Defs rule 26(a) Disclosures Dec 2012, # 3 Exhibit 2d Cir Order
                           Feb 2012, # 4 Exhibit Legend Exec Summary 2001-2, # 5 Exhibit Legend 2002 Emails
                           produced by Cowan Dec 2012, # 6 Exhibit USPTO Gen Counsel Notice June 2014, # 7
                           Exhibit USPTO Gen Counse Notice July 2014, # 8 Exhibit Discovery document, # 9
                           Exhibit Supple's Notice to Hon Luis Gonzalez advocating uniform standards of
                           suspension and disbarment for certain breaches of the ethics rules in NYS)(Weissbrod,
                           Amy) Modified on 9/2/2014 (db). (Entered: 08/29/2014)
  09/02/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               268 MOTION to Compel Cowan defendants to Produce Discovery Documents.
                               ERROR(S): Supporting Documents are filed separately, each receiving their own
                               document #. (db) (Entered: 09/02/2014)
  09/02/2014                   Minute Entry for proceedings held before Judge Lorna G. Schofield: Status Conference
                               held on 9/2/2014. (See Order) (Court Reporter Steve Greenblum) (jcs) (Entered:
                               09/03/2014)
  09/03/2014           269 ORDER denying 201 Motion to Remand to State Court; denying 203 Motion to Remand
                           to State Court; denying 246 Motion for Certificate of Appealability. ORDERED that for
                           the reasons stated on the record, Plaintiff's Motion to Remand (Docket Nos. 201 and 203)
                           is DENIED; it is further ORDERED that Plaintiff's Motion for a Certificate of
                           Appealability (Docket No. 246) is DENIED. The Clerk of Court is directed to terminate
                           the motions at Docket Nos. 201, 203 and 246.The Clerk of Court is further directed to
                           mail a copy of this order to the pro se Plaintiff.(Signed by Judge Lorna G. Schofield on
                           9/03/2014) (ama) (Entered: 09/03/2014)
  09/03/2014                   Transmission to Docket Assistant Clerk. Transmitted re: 269 Order on Motion to Remand
                               to State Court,, Order on Motion for Certificate of Appealability to the Docket Assistant
                               Clerk for case processing. (ama) (Entered: 09/03/2014)
  09/03/2014                   Mailed a copy of 269 Order on Motion to Remand to State Court, Order on Motion for
                               Certificate of Appealability, to Amy R. Gurvey 315 Highland Avenue Upper Monclair, NJ
                               07043. (ca) (Entered: 09/03/2014)
  09/04/2014           270 Plaintiff Pro Se's Notice of MOTION to Compel Discovery and Patent Discovery and
                           Award Plaintiff Rule 37 Sanctions. Document filed by Amy R. Gurvey. (Attachments: # 1
                           Exhibit, # 2 Exhibit, # 3 Exhibit)(rdz) (Entered: 09/05/2014)
  09/15/2014           271 CROSS MOTION for Sanctions Pursuant to Fed.R.Civ.P.37(b)(2). Document filed by
                           William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen.(Supple, John) (Entered: 09/15/2014)
  09/15/2014           272 DECLARATION of J. Richard Supple, Jr. in Opposition re: 270 MOTION to Compel.,
                           271 CROSS MOTION for Sanctions Pursuant to Fed.R.Civ.P.37(b)(2).. Document filed
                           by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge
                           Hyman, Christopher Jensen. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                           4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                           Exhibit J)(Supple, John) (Entered: 09/15/2014)

                                                                                                     EXHIBIT 12
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                                                       ID #:549
  09/15/2014           273 MEMORANDUM OF LAW in Opposition re: 270 MOTION to Compel. and in Support
                           of Defendants' Cross-Motion for Rule 37 Sanctions 271 . Document filed by William
                           Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. (Attachments: # 1 Affidavit of Service)(Supple, John) (Entered:
                           09/15/2014)
  09/16/2014           274 LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey, dated 9/16/14 re:
                           9/2/14 STATUS HEARING TRANSCRIPT INCOMPLETE: NOTICE TO THE COURT.
                           Document filed by Amy R. Gurvey.(sc) (Entered: 09/17/2014)
  09/17/2014           275 TRANSCRIPT of Proceedings re: conference held on 9/2/2014 before Judge Lorna G.
                           Schofield. Court Reporter/Transcriber: Steven Greenblum, (212) 805-0300. Transcript
                           may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 10/14/2014. Redacted
                           Transcript Deadline set for 10/23/2014. Release of Transcript Restriction set for
                           12/19/2014.(McGuirk, Kelly) (Entered: 09/17/2014)
  09/17/2014           276 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a conference proceeding held on 9/2/2014 has been filed by the court
                           reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                           days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                           such Notice is filed, the transcript may be made remotely electronically available to the
                           public without redaction after 90 calendar days...(McGuirk, Kelly) (Entered: 09/17/2014)
  09/29/2014           277 PLAINTIFF PRO SE'S NOTICE OF MOTION FOR RECONSIDERATION OF THE
                           9/2/14 ORDER DENYING CERTIFICATION FOR INTERLOCUTORY APPEAL;
                           REMAND OR TRANSFERW WITHOUT PREJUDICE; AND FRCP 60(b)(6) MOTION
                           TO REINSTATE CLEAR CHANNEL & LIVE NATION DEFENDANTS; re: 269 Order
                           on Motion to Remand to State Court,, Order on Motion for Certificate of
                           Appealability,,,,,,. Document filed by Amy R. Gurvey.(sc) (Entered: 09/30/2014)
  09/30/2014           278 DECLARATION of Amy R. Gurvey in Support re: 277 MOTION for Reconsideration re;
                           269 Order on Motion to Remand to State Court,, Order on Motion for Certificate of
                           Appealability,,,,,,.. Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit 2010-
                           2020 Consent Decree DC District Court ag Live Nation, # 2 Exhibit 2010-2020
                           Competitive Impact Statement DC District Court ag Live Nation)(Weissbrod, Amy)
                           (Entered: 09/30/2014)
  11/05/2014           279 OPINION AND ORDER #104951 re: 213 MOTION for Reconsideration re; 200
                           Memorandum & Opinion filed by Amy R. Gurvey. Accordingly, plaintiff has not offered
                           any valid reason to revisit the conclusions reached in my February Order, and her motion
                           for reargument of that Order (Docket Item 213) is denied in all respects. The Clerk of the
                           Court is directed to mark Docket Item 213 closed. (Signed by Magistrate Judge Henry B.
                           Pitman on 11/5/2014) Copies Sent By Chambers. (lmb) Modified on 11/6/2014 (lmb).
                           Modified on 11/12/2014 (ca). (Entered: 11/05/2014)
  11/10/2014           280 FILING ERROR - DEFICIENT DOCKET ENTRY - FIRST MOTION to Disqualify
                           Judge Pitman. Document filed by Amy R. Gurvey. Return Date set for 11/18/2014 at
                           11:30 PM. (Attachments: # 1 Exhibit Ps Decl in Support of Motion w/Cert of ECF Svc, #
                           2 Exhibit Ps Article 78 Index No 2011/110774 Motion sub Nov 7 2014, # 3 Exhibit 2d
                           Cir Update Case No 14-960-cv Sept 2014, # 4 Exhibit 2d Cir Mandate 13-2211-cv Oct 25
                           2014, # 5 Exhibit Ps Motion Recons and to Reinstaate Clear Channel and Live Nation
                           defs, # 6 Exhibit DOJ US v Ticketmaster&Live Nation Consent Decree 2010, # 7 Exhibit
                           US v, Ticketmaster&LiveNation Competitive Impact Stmt 2010, # 8 Exhibit Ps Transcript
                           Notice Sept 2 2014 Conf, # 9 Exhibit USPTO Gen Counsel FOIA Notice July 2014, # 10
                                                                                                     EXHIBIT 12
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                                                           ID #:550
                               Exhibit 2d Cir Order 462 FedAppx 26 Feb 10 2012, # 11 Exhibit Cowan produx Dec
                               2012 Legend Emails, # 12 Exhibit Squtieri Ltr Admitting to Withholding Ps Files, # 13
                               Exhibit Award SDNy Arbitrator Aug 4 2009)(Weissbrod, Amy) Modified on 11/10/2014
                               (db). (Entered: 11/10/2014)
  11/10/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                               ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                               280 FIRST MOTION to Disqualify Judge Pitman. ERROR(S): Supporting
                               Documents are filed separately, each receiving their own document #. (db) (Entered:
                               11/10/2014)
  11/11/2014           281 FIRST MOTION to Disqualify Judge . Document filed by Amy R. Gurvey. Return Date
                           set for 11/18/2104 at 11:30 PM.(Weissbrod, Amy) (Entered: 11/11/2014)
  11/11/2014           282 FILING ERROR - DUPLICATE DOCKET ENTRY - DECLARATION of Amy
                           Gurvey in Support re: 281 FIRST MOTION to Disqualify Judge .. Document filed by
                           Amy R. Gurvey. (Weissbrod, Amy) Modified on 11/12/2014 (db). (Entered: 11/11/2014)
  11/11/2014           283 DECLARATION of AmyGurvey in Support re: 281 FIRST MOTION to Disqualify
                           Judge ., 280 FIRST MOTION to Disqualify Judge Pitman.. Document filed by Amy R.
                           Gurvey. (Attachments: # 1 Exhibit Ps Article 78 filed 2011 naming Supple&Lieberman as
                           Respondents, # 2 Exhibit 2d Cir Mandate Oct 25 2014, # 3 Exhibit DOJ 2010 Consent
                           Decree US vTicketmasterLive Nation, # 4 Exhibit DOJ Competitive Impact Stmt US v
                           TicketmasterLive Nation, # 5 Exhibit 9th Cir 12-57268 Suppl Record on Appeal, # 6
                           Exhibit 9th Cir 12-57268 Order Aug 1 2014, # 7 Exhibit 2dCir 14-960-cv Update, # 8
                           Exhibit Ps Motion Disqual Def Counsel, # 9 Exhibit Disqual Counsel& Outstanding
                           Discovery, # 10 Exhibit Discovery Motion, # 11 Exhibit NYC Ethics Board DR Violation
                           List, # 12 Exhibit Exh XMotion disqualfication Hinshaw & Culbertson, # 13 Exhibit
                           XMotion Disqual Hinshaw & Culbertson, # 14 Exhibit XMotion Disqualif
                           Hinshaw&Culbertson, # 15 Exhibit XMotion Disquali H&C, # 16 Exhibit 2d Cir Motion
                           to Consolidate Appeals 13-2211-cv 14-960-cv, # 17 Exhibit Motion Consol Appeals 13-
                           2211-cv 14-960-cv, # 18 Exhibit Exh Motion to Disqual H&C, # 19 Exhibit Exh Motion
                           to Disqual H&C, # 20 Exhibit Exh Discovery Order Consold 13-2211 14-960, # 21
                           Exhibit Ehx Motion to Disqual H&C, # 22 Exhibit Exh Mot to Disqual H&C, # 23
                           Exhibit Exh Mot to Disqual H&C, # 24 Exhibit Exh Mot to disqual H&C, # 25 Exhibit
                           Exh Mot to Disqual H&C, # 26 Exhibit xh Mot to Disqual L&C, # 27 Exhibit Exh gug
                           2014 Ltr Req Conf, # 28 Exhibit Exh Ltr re Lack Jx Stay Depos, # 29 Exhibit Ps Motion
                           to File 6AC, # 30 Exhibit Ps Decl in Support 6AC, # 31 Exhibit PsProposed 6AC, # 32
                           Exhibit USPTO Gen Counsel July 2014, # 33 Exhibit Cowan Emails produced Dec 2012
                           re Legend, # 34 Exhibit 2d cir Order Feb 102012, # 35 Exhibit Squitieri 2013 Notice
                           Retaining Case files, # 36 Exhibit SDNY Order Granting Stay to REtain New Atty, # 37
                           Exhibit SDNY Award of Arbitrator Aug 4 2009, # 38 Exhibit USPTO Gen Counsel
                           Payne, # 39 Exhibit USPTO Gen Counsel OED, # 40 Exhibit Ps Motoin Compel
                           Discovery)(Weissbrod, Amy) (Entered: 11/11/2014)
  11/12/2014           284 LETTER MOTION for Conference (pre-motion) addressed to Judge Lorna G. Schofield
                           from J. Richard Supple, Jr. dated 11/12/2014. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Attachments: # 1 Affidavit of Service)(Supple, John) (Entered: 11/12/2014)
  11/17/2014           285 ORDER denying 284 Letter Motion for Conference. APPLICATION DENIED without
                           prejudice to renewal upon disposition of Plaintiff's pending Motion to File a Sixth
                           Amended Complaint. The Clerk of Court is directed to send a copy of this Order to the
                           pro se Plaintiff. (Signed by Judge Lorna G. Schofield on 11/17/2014) (ajs) (Entered:
                           11/17/2014)

                                                                                                   EXHIBIT 12
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                                                          ID #:551
  11/17/2014                   Transmission to Docket Assistant Clerk. Transmitted re: 285 Order on Motion for
                               Conference, to the Docket Assistant Clerk for case processing. (ajs) (Entered:
                               11/17/2014)
  11/17/2014                   Mailed a copy of 285 Order on Motion for Conference, to Amy R. Gurvey 315 Highland
                               Avenue Upper Monclair, NJ 07043. (ca) (Entered: 11/17/2014)
  11/17/2014           286 ENDORSED LETTER addressed to Magistrate Judge Henry B. Pitman from J. Richard
                           Supple, Jr. dated 11/13/2014 re: Defendants respectfully request that their time to answer
                           Gurvey's motion be extended to December 23, 2014 so they can have the time required
                           under Fed. R. Civ. P. ("Rule") 11 to first demand that Gurvey withdraw her motion.
                           ENDORSEMENT: Application granted. (Signed by Magistrate Judge Henry B. Pitman
                           on 11/14/2014) (lmb) Modified on 11/17/2014 (lmb). (Entered: 11/17/2014)
  11/17/2014                   Set/Reset Deadlines: Responses due by 12/23/2014. (lmb) (Entered: 11/17/2014)
  11/20/2014           287 OPINION AND ORDER #105003 re: 233 MOTION to Disqualify Counsel filed by Amy
                           R. Gurvey: Accordingly, for all the foregoing reasons, plaintiff's motion to stay
                           defendants' motions for Rule 11 sanctions and plaintiff's cross-motions (1) to disqualify
                           H&C as counsel for defendants, (2) to award damages pursuant to New York Judiciary
                           Law § 487 and (3) to impose Rule 11 sanctions are denied (Docket Item 233). As to
                           plaintiff's cross-motion to compel payment of outstanding appeals fees, if defendants
                           have not already paid the costs awarded by the Court of Appeals (Docket Item 128), the
                           defendants are ordered to pay plaintiff $377.36 within fourteen (14) days from the date of
                           this Opinion and Order. To the extent plaintiff requests that defendants pay the legal fees
                           and costs associated with this motion, that motion is denied (Pl.'s Notice of Cross-
                           Motion, 10). I shall address plaintiff's cross-motions for the imposition of Rule 37
                           sanctions and to compel discovery in a separate order which will also address plaintiff's
                           subsequent, nearly-identical motion (see Docket Item 270). Finally, plaintiff is directed to
                           cease listing Simon Gerson, Mark Montague and R. Lewis Gable as defendants in future
                           filings in this matter. These individuals were neither named in the Third Amended
                           Complaint nor served with the complaint, and they are not parties to this action. (Signed
                           by Magistrate Judge Henry B. Pitman on 11/20/2014) Copies Transmitted By Chambers.
                           (tn) Modified on 11/24/2014 (soh). (Entered: 11/20/2014)
  11/24/2014           288 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - FIRST
                           MOTION to Amend/Correct 6AC sub judice. Document filed by Amy R. Gurvey. Return
                           Date set for 12/23/2014 at 09:30 AM.(Weissbrod, Amy) Modified on 11/25/2014 (db).
                           (Entered: 11/24/2014)
  11/24/2014                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                               Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document 288 FIRST
                               MOTION to Amend/Correct 6AC sub judice. Use the event type Letter found under
                               the event list Other Documents. (db) (Entered: 11/25/2014)
  11/25/2014           289 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - FIRST
                           MOTION to Amend/Correct 6AC sub judice. Document filed by Amy R. Gurvey. Return
                           Date set for 12/23/2014 at 09:30 AM.(Weissbrod, Amy) Modified on 11/25/2014 (db).
                           (Entered: 11/25/2014)
  11/25/2014           290 FIRST LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey
                           pro se dated 11/23/2104 re: 6AC sub judice amend claims. Document filed by Amy R.
                           Gurvey.(Weissbrod, Amy) (Entered: 11/25/2014)
  12/04/2014           291 MOTION for Leave to Proceed In Forma Pauperis On Appeal. Document filed by Amy
                           R. Gurvey.(tp) (Entered: 12/05/2014)

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  12/19/2014           292 NOTICE RE: PENDING MOTION TO PROCEED IN FORMA PAUPERIS. An appeal
                           in the above-referenced case has been docketed in the Court of Appeals. According to the
                           district court docket sheet or other available information, appellant has moved for leave
                           to proceed in forma pauperis in district court on December 04, 2014. and that motion is
                           pending. The appeal may not move forward until the motion is determined. Please direct
                           the motion to the appropriate judge for determination. Upon the grant or denial of the
                           motion, please enter the order and transmit it to the Court of Appeals.(nd) (Entered:
                           12/19/2014)
  12/23/2014           293 FIRST LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey Pro se
                           dated 12/23/2014 re: 6AC sub judice 22 months. Document filed by Amy R. Gurvey.
                           (Weissbrod, Amy) (Entered: 12/23/2014)
  12/23/2014           294 MOTION for Sanctions Pursuant to Fed. R. Civ.P.11(b)(1), (2) and (3). Document filed
                           by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge
                           Hyman, Christopher Jensen.(Supple, John) (Entered: 12/23/2014)
  12/23/2014           295 DECLARATION of J. Richard Supple, Jr. in Opposition re: 281 FIRST MOTION to
                           Disqualify Judge ., 294 MOTION for Sanctions Pursuant to Fed. R. Civ.P.11(b)(1), (2)
                           and (3).. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit A, # 2
                           Exhibit B)(Supple, John) (Entered: 12/23/2014)
  12/23/2014           296 MEMORANDUM OF LAW in Opposition re: 281 FIRST MOTION to Disqualify Judge
                           ., 294 MOTION for Sanctions Pursuant to Fed. R. Civ.P.11(b)(1), (2) and (3). in Support.
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 12/23/2014)
  12/23/2014           297 AFFIDAVIT OF SERVICE of Notice of Motion for Sanctions Pursuant to
                           Fed.R.Civ.P.11(b)(1), (2) and (3), Declaration of J. Richard Supple in Opposition to
                           Plaintiff's Motion to Disqualify Judge and In Support of Motion for Sanctions and
                           Memorandum of Law in Opposition to Plaintiff's Motion to Disqualify Judge and In
                           Support of Motion for Sanction served on Amy R. Gurvey on 12/23/14. Service was
                           made by ECF and Overnight Mail. Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 12/23/2014)
  01/07/2015           298 ENDORSED LETTER addressed to Magistrate Judge Henry B. Pitman from J. Richard
                           Supple, Jr. dated 12/15/2014 re: The parties' time to make dispositive motions expires on
                           January 23, 2015. I write to request that this date be extended to February 23, 2015.
                           ENDORSEMENT: Application granted., ( Motions due by 2/23/2015.) (Signed by
                           Magistrate Judge Henry B. Pitman on 1/7/2015) (lmb) (Entered: 01/07/2015)
  01/10/2015           299 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - FIRST
                           MOTION to Stay Pending Adjudication of Plaintiffs 6AC and Motion to Compel Cowan
                           Defendants' Production of Documents. Document filed by Amy R. Gurvey.(Weissbrod,
                           Amy) Modified on 1/12/2015 (db). (Entered: 01/10/2015)
  01/12/2015                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                               Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document 299 FIRST
                               MOTION to Stay Pending Adjudication of Plaintiffs 6AC and Motion to Compel
                               Cowan Defendants' Production of Documents. Use the event type Letter found under
                               the event list Other Documents. (db) (Entered: 01/12/2015)
  01/13/2015           300 FIRST LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey Plaintiff pro
                           se dated January 11 2015 re: Stay. Document filed by Amy R. Gurvey.(Weissbrod, Amy)
                           (Entered: 01/13/2015)
                                                                                                  EXHIBIT 12
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  01/21/2015           301 MEMO ENDORSEMENT denying 291 Motion for Leave to Appeal in forma pauperis.
                           ENDORSEMENT: APPLICATION DENIED. Plaintiff seeks to appeal the Court's Order
                           dated September 3, 2014 (Docket No. 269), various orders and actions of Judge Pitman,
                           and various actions of Defendants and their counsel. The Court certifies under 28 U.S.C.
                           § 1915(a)(3) that any appeal would not be taken in good faith, and therefore in forma
                           pauperis status is denied for the purpose of an appeal. See Coppedge v. United States, 369
                           U.S. 438, 444-45 (1962). (Signed by Judge Lorna G. Schofield on 1/21/2015) (mro)
                           (Entered: 01/21/2015)
  01/28/2015           302 OPINION AND ORDER re: 277 MOTION for Reconsideration re; 269 Order on Motion
                           to Remand to State Court,, Order on Motion for Certificate of Appealability,. filed by
                           Amy R. Gurvey. For the foregoing reasons herein, Plaintiff's Motion is DENIED. The
                           Clerk of Court is directed to close the motion at Docket No. 277. (Signed by Judge Lorna
                           G. Schofield on 1/28/2015) (kgo) (Entered: 01/28/2015)
  02/02/2015           303 FIRST NOTICE OF APPEAL from 302 Memorandum & Opinion, 301 Order on Motion
                           for Leave to Appeal in forma pauperis,,. Document filed by Amy R. Gurvey. Form C and
                           Form D are due within 14 days to the Court of Appeals, Second Circuit. (Weissbrod,
                           Amy) (Entered: 02/02/2015)
  02/02/2015                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 303 Notice of Appeal. (tp) (Entered: 02/02/2015)
  02/02/2015                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                               Electronic Files for 303 Notice of Appeal, filed by Amy R. Gurvey were transmitted to
                               the U.S. Court of Appeals. (tp) (Entered: 02/02/2015)
  02/03/2015           304 FILING ERROR - DUPLICATE DOCKET ENTRY - FIRST NOTICE OF
                           INTERLOCUTORY APPEAL from 301 Order on Motion for Leave to Appeal in forma
                           pauperis,, 302 Memorandum & Opinion,. Document filed by Amy R. Gurvey. Form C
                           and Form D are due within 14 days to the Court of Appeals, Second Circuit.
                           (Attachments: # 1 Exhibit Notice of Interlocutory Appeal Docket Nos. 310 302, # 2
                           Exhibit 2d Cir Motion to Appear In forma Pauperis, # 3 Exhibit Supreme NY Index No
                           100163-2015, # 4 Exhibit Exhibits Supreme NY Index No. 100163-2015)(Weissbrod,
                           Amy) Modified on 2/3/2015 (tp). (Entered: 02/03/2015)
  02/03/2015                   ***NOTE TO ATTORNEY REGARDING DEFICIENT APPEAL. Note to Attorney
                               We issbrod, Amy to RE-FILE Document No. 304 Notice of Interlocutory Appeal.
                               Duplicate Filing. Ignore or Re-file the document and select the appropriate Appeal
                               event. (tp) (Entered: 02/03/2015)
  02/20/2015           305 ENDORSED LETTER addressed to Magistrate Judge Henry B. Pitman from J. Richard
                           Supple, Jr. dated 2/19/2014 re: Counsel to defendants request that the time to make
                           dispositive motions be extended to 4/30/2015. ENDORSEMENT: APPLICATION
                           GRANTED. (Motions due by 4/30/2015.) (Signed by Magistrate Judge Henry B. Pitman
                           on 2/20/2015) (tn) (Entered: 02/20/2015)
  02/27/2015           306 LETTER from Amy Gurvey dated 2/25/15 re: Plaintiff informs the Court that, in spite of
                           Judge Schofield's October, 2014 Order, no adjudication of Plaintiff's 6AC has yet been
                           forthcoming from the Magistrate Judge; and that Magistrate Judge Pitman is thereby
                           contended to be defying a Second Circuit order that reversed sua sponte dismissal of
                           Cowan defendants in the first half of the case. Document filed by Amy R. Gurvey.(sc)
                           (Entered: 03/04/2015)
  03/24/2015           307 LETTER addressed to Magistrate Judge Henry B. Pitman from Brian M. Dratch, Esq.
                           dated 3/24/15 re: Status Conference/Notice of Appearance. Document filed by Amy R.
                           Gurvey.(Dratch, Brian) (Entered: 03/24/2015)
                                                                                                    EXHIBIT 12
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                                                       ID #:554
  03/25/2015           308 MEMO ENDORSEMENT on re: 307 Letter re: Status Conference/Notice of Appearance,
                           filed by Amy R. Gurvey. ENDORSEMENT: Unless and until counsel enter an
                           appearance he has no standing to seek any relief. (Signed by Magistrate Judge Henry B.
                           Pitman on 3/25/2015) (kko) (Entered: 03/25/2015)
  04/07/2015           309 NOTICE OF APPEARANCE by Brian Michael Dratch on behalf of Amy R. Gurvey.
                           (Dratch, Brian) (Entered: 04/07/2015)
  04/14/2015           310 LETTER MOTION for Conference addressed to Magistrate Judge Henry B. Pitman from
                           Brian M. Dratch, Esq. dated 4/14/15. Document filed by Amy R. Gurvey.(Dratch, Brian)
                           (Entered: 04/14/2015)
  04/15/2015                   A status conference is set for 4/29/2015 at 02:30 PM in Courtroom 18A, 500 Pearl Street,
                               New York, NY 10007 before Magistrate Judge Henry B. Pitman. (bh) (Entered:
                               04/15/2015)
  04/29/2015                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Status
                               Conference held on 4/29/2015. (bh) (Entered: 04/29/2015)
  04/30/2015           311 ORDER: A conference having been held in this matter on April, 29, 2015, during which
                           discovery and scheduling matters were discussed, for the reasons stated on the record in
                           open court, it is hereby ORDERED that: 1. Plaintiff's motion to reopen discovery is
                           denied. 2. The deadline for initiating the procedures required by Judge Schofield's rules to
                           make a dispositive motion is extended to July 30, 2015. (Signed by Magistrate Judge
                           Henry B. Pitman on 4/30/2015) Copies Sent By Chambers. (lmb) (Entered: 04/30/2015)
  05/06/2015           312 MANDATE of USCA (Certified Copy) as to 303 Notice of Appeal, filed by Amy R.
                           Gurvey, 214 Notice of Interlocutory Appeal filed by Amy R. Gurvey. USCA Case
                           Number 14-0960(L); 15-0285(con). Appellant, pro se, moves for in forma pauperis status
                           and to stay the appeals pending adjudication of her pending motions in district court. This
                           Court has determined sua sponte that it lacks jurisdiction over these appeals because a
                           final order has not been issued by the district court as contemplated by 28 U.S.C. § 1291.
                           See Coopers & Lybrand v. Livesay, 437 U.S. 463, 467 (1978). Upon due consideration, it
                           is hereby ORDERED that the appeals are DISMISSED. It is further ORDERED that
                           Appellant's motions are DENIED as moot. Catherine O'Hagan Wolfe, Clerk USCA for
                           the Second Circuit. Issued As Mandate: 05/06/2015. (nd) (Entered: 05/06/2015)
  07/21/2015           313 OPINION AND ORDER #105712 re: 207 MOTION for Leave to File Sixth Amended
                           Complaint filed by Amy R. Gurvey. Accordingly, for all the foregoing reasons, plaintiff's
                           motion to file a Sixth Amended Complaint (Docket Item 207) is denied in all respects.
                           (As further set forth in this Order) (Signed by Magistrate Judge Henry B. Pitman on
                           7/21/2015) Copies Sent By Chambers. (lmb) Modified on 7/29/2015 (soh). (Entered:
                           07/21/2015)
  07/21/2015           314 OPINION AND ORDER #105711 re: 281 FIRST MOTION to Disqualify Judge . filed by
                           Amy R. Gurvey. Accordingly, for all the foregoing motions, plaintiff's motion to have me
                           recuse myself from this matter (Docket Item 281) is denied in all respects. (As further set
                           forth in this Order) (Signed by Magistrate Judge Henry B. Pitman on 7/21/2015) Copies
                           Sent By Chambers. (lmb) Modified on 7/29/2015 (soh). (Entered: 07/21/2015)
  07/22/2015           315 LETTER MOTION for Conference pre-motion addressed to Judge Lorna G. Schofield
                           from J. Richard Supple, Jr. dated July 22, 2015. Document filed by William Borchard,
                           Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 07/22/2015)
  07/23/2015           316 ORDER denying 315 Letter Motion for Conference. Application DENIED without
                           prejudice to renewal after orders have issued regarding the above-referenced motions for
                                                                                                     EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                               47/69
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                               sanctions. (Signed by Judge Lorna G. Schofield on 7/23/2015) (kl) (Entered: 07/23/2015)
  07/23/2015           317 ENDORSED LETTER addressed to Magistrate Judge Henry B. Pitman from J. Richard
                           Supple, Jr. dated 7/21/2015 re: Defendants respectfully request that their time to request
                           the above-referenced motion conference be extended until August 31, 2015.
                           ENDORSEMENT: Application granted. (Signed by Magistrate Judge Henry B. Pitman
                           on 7/23/2015) (lmb) (Entered: 07/23/2015)
  07/24/2015           318 REPORT AND RECOMMENDATION re: 224 MOTION for Sanctions Fed. R. Civ. P.
                           11(b)(1), (2) and (3). filed by Clear Channel Communications, Inc., Baila Celedonia,
                           Midge Hyman, Nexticketing, Inc., Instant Live Concerts, LLC, Christopher Jensen, Dale
                           Head, Does, Steve Simon, Cowan, Liebowitz & Lathman, PC, Susan Schick, Michael
                           Gordon, Live Nation, Inc., William Borchard, 294 MOTION for Sanctions Pursuant to
                           Fed. R. Civ.P.11(b)(1), (2) and (3). filed by Baila Celedonia, Midge Hyman, Christopher
                           Jensen, Cowan, Liebowitz & Lathman, PC, William Borchard, 223 MOTION for
                           Sanctions Federal Rule of Procedure Rule 11(b)(1) and (2). filed by Clear Channel
                           Communications, Inc., Baila Celedonia, Midge Hyman, Nexticketing, Inc., Instant Live
                           Concerts, LLC, Christopher Jensen, Dale Head, Does, Steve Simon, Cowan, Liebowitz &
                           Lathman, PC, Susan Schick, Michael Gordon, Live Nation, Inc., William Borchard.
                           Accordingly, I respectfully recommend that defendants' motions for sanctions (Docket
                           Items 223, 224 and 294) be granted to the extent that a sanction of $20,000 be imposed
                           on plaintiff, payable to the Clerk of the Court and that this action be stayed until plaintiff
                           pays the sanction. I further recommend that if plaintiff fails to pay the sanction within one
                           year, the action be dismissed with prejudice. Objections to R&R due by 8/10/2015.
                           (Signed by Magistrate Judge Henry B. Pitman on 7/24/2015) Copies Sent By Chambers.
                           (lmb) (Entered: 07/24/2015)
  07/24/2015           347 INTERNET CITATION NOTE: Material from decision with Internet citation re: 318
                           Report and Recommendations. (Attachments: # 1 internet citation) (fk) (Entered:
                           01/05/2016)
  07/24/2015           348 INTERNET CITATION NOTE: Material from decision with Internet citation re: 318
                           Report and Recommendations. (Attachments: # 1 internet citation) (fk) (Entered:
                           01/05/2016)
  08/07/2015           319 NOTICE of Objections to Report and Recommendation of Judge Pitman dated July 24,
                           2015 re: 318 Report and Recommendations,,,,,,. Document filed by Amy R. Gurvey.
                           (Dratch, Brian) (Entered: 08/07/2015)
  08/10/2015           320 LETTER addressed to Judge Lorna G. Schofield from Brian M. Dratch, Esq. dated 8-10-
                           15 re: status conference and/or briefing schedule. Document filed by Amy R. Gurvey.
                           (Dratch, Brian) (Entered: 08/10/2015)
  08/10/2015           321 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr. dated August
                           10, 2015 re: response to plaintiff's letter requesting a "briefing schedule" Docket Entry
                           320 . Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen.(Supple, John) (Entered: 08/10/2015)
  08/10/2015           322 MEMO ENDORSEMENT on re: 320 Letter filed by Amy R. Gurvey. ENDORSEMENT:
                           By August 17, 2015, Plaintiff shall file a letter brief not to exceed four pages explaining
                           the legal and other grounds for the motion / appeals. By August 24, 2015, Defendants
                           shall file a response in the form of a letter brief not to exceed four pages. A premotion
                           conference will be held Sept 1, 2015 at 10:50 AM. (Pre-Motion Conference set for
                           9/1/2015 at 10:50 AM before Judge Lorna G. Schofield.) (Signed by Judge Lorna G.
                           Schofield on 8/10/2015) (kgo) (Entered: 08/11/2015)


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                                                        ID #:556
  08/17/2015           323 LETTER addressed to Judge Lorna G. Schofield from Brian M. Dratch, Esq. dated
                           8/17/15 re: Request to File Motions. Document filed by Amy R. Gurvey.(Dratch, Brian)
                           (Entered: 08/17/2015)
  08/20/2015           324 OPPOSITION BRIEF re: 319 Notice (Other) . Document filed by William Borchard,
                           Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 08/20/2015)
  08/20/2015           325 ORDER denying 270 Motion to Compel; denying 271 Motion for Sanctions; denying 248
                           Motion. Accordingly, Docket Items 248, 270 and 271 are all denied without prejudice to
                           renewal if Judge Schofield rejects my July 24, 2015 Report and Recommendation or if
                           plaintiff otherwise retains the right to pursue her remaining claims. If renewal is
                           appropriate, the parties can renew their motions by simply filing a letter expressing such
                           an intent. (As further set forth in this Order) (Signed by Magistrate Judge Henry B.
                           Pitman on 8/20/2015) Copies Sent By Chambers. (lmb) (Entered: 08/20/2015)
  08/24/2015           326 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr. dated August
                           24, 2015 re: response to plaintiff's letter dated August 17, 2015 323 . Document filed by
                           William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen.(Supple, John) (Entered: 08/24/2015)
  08/24/2015           327 NOTICE OF INTERLOCUTORY APPEAL from 313 Memorandum & Opinion, 314
                           Memorandum & Opinion,. Document filed by Amy R. Gurvey. Form C and Form D are
                           due within 14 days to the Court of Appeals, Second Circuit. (Attachments: # 1
                           Supplement Combined 2d Cir Petition& Notice Interloc Appeal SDNY Docket 313, 314,
                           # 2 Exhibit Writ of Replevin Sup NY 102516/2012 May 6 2013, # 3 Exhibit SDNY
                           Decision of Arbitrator Aug 4 2009, # 4 Exhibit Def counsel Supple Ex Parte Appl
                           Withdrawing Arbitration Jan 30 2008, # 5 Exhibit Sup NY OSC Disqual Hinshaw &
                           Culbertson Pending Sig Aug 24 2015)(Weissbrod, Amy) (Entered: 08/24/2015)
  08/24/2015                   Appeal Fee Due: for 327 Notice of Interlocutory Appeal,,.$505.00 Appeal fee due by
                               9/8/2015. (nd) (Entered: 08/24/2015)
  08/24/2015                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 327 Notice of Interlocutory Appeal,,. (nd) (Entered: 08/24/2015)
  08/24/2015                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                               Electronic Files for 327 Notice of Interlocutory Appeal,, filed by Amy R. Gurvey were
                               transmitted to the U.S. Court of Appeals. (nd) (Entered: 08/24/2015)
  08/25/2015           328 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr. dated August
                           25, 2015 re: Court's permission to move for a filing injunction. Document filed by
                           William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen.(Supple, John) (Entered: 08/25/2015)
  08/25/2015           329 MEMO ENDORSEMENT on re: 328 Letter Court's permission to move for a filing
                           injunction, filed by Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen, William Borchard. ENDORSEMENT: Any response shall be filed by
                           counsel only no later than August 27, 2015, and shall be in the form of a letter brief not to
                           exceed three pages. This contemplated motion will be addressed at the conference
                           scheduled for September 1, 2015. (Signed by Judge Lorna G. Schofield on 8/25/2015)
                           (spo) (Entered: 08/26/2015)
  08/26/2015           330 FILING ERROR - DEFICIENT DOCKET ENTRY - FIRST LETTER MOTION for
                           Extension of Time to File Response to Def App for Injunction and to Adjourn Conf of
                           Sept 1 addressed to Judge Lorna G. Schofield from Amy R.WeissbrodGurvey dated

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                               August 25 2015. Document filed by Amy R. Gurvey. Return Date set for 8/27/2015 at
                               11:59 PM.(Weissbrod, Amy) Modified on 8/27/2015 (ldi). (Entered: 08/26/2015)
  08/27/2015           331 LETTER RESPONSE in Opposition to Motion addressed to Judge Lorna G. Schofield
                           from J. Richard Supple, Jr. dated August 27, 2015 re: 330 FIRST LETTER MOTION for
                           Extension of Time to File Response to Def App for Injunction and to Adjourn Conf of
                           Sept 1 addressed to Judge Lorna G. Schofield from Amy R.WeissbrodGurvey dated
                           August 25 2015. . Document filed by William Borchard, Baila Celedonia, Cowan,
                           Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered:
                           08/27/2015)
  08/27/2015           332 ORDER granting 330 Letter Motion for Extension of Time to File Response to Def App
                           for Injunction and to Adjourn Conf of Sept 1. Application GRANTED. Plaintiff's
                           response to Defendants' letter brief dated August 25, 2015 (Dkt. No. 328) is hereby
                           extended to September 10, 2015. Plaintiff's response shall be in the form of a letter brief
                           not to exceed three pages. The conference scheduled for September 1, 2015, is hereby
                           adjourned to September 29, 2015, at 11:10 a.m. Any request to withdraw as attorney of
                           record shall comply with Local Civil Rule 1.4. (Signed by Judge Lorna G. Schofield on
                           8/27/2015) (kgo) (Entered: 08/27/2015)
  08/27/2015                   Set/Reset Hearings: Pre-Motion Conference set for 9/29/2015 at 11:10 AM before Judge
                               Lorna G. Schofield. (kgo) (Entered: 08/27/2015)
  08/28/2015           333 FIRST LETTER addressed to Judge Lorna G. Schofield from Amy R. WeissbrodGurvey
                           dated August 28 2015 re: Discharge Franzblau Dratch. Document filed by Amy R.
                           Gurvey.(Weissbrod, Amy) (Entered: 08/28/2015)
  09/11/2015           334 FIRST LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey Plaintiff
                           pro se dated 9/10/2015 re: Opp to Def Preclusion Order. Document filed by Amy R.
                           Gurvey.(Weissbrod, Amy) (Entered: 09/11/2015)
  09/11/2015           335 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - LETTER
                           MOTION to Substitute Attorney. Old Attorney: Brian M. Dratch, New Attorney: Amy
                           Gurvey, Pro se addressed to Judge Lorna G. Schofield from Brian M. Dratch, Esq. dated
                           9/11/15. Document filed by Amy R. Gurvey. (Attachments: # 1 Text of Proposed Order)
                           (Dratch, Brian) Modified on 9/14/2015 (db). (Entered: 09/11/2015)
  09/14/2015           336 ORDER PERMITTING FRANZBLAU DRATCH, P.C. TO WITHDRAW AS COUNSEL
                           FOR PLAINTIFF granting 335 Letter Motion to Substitute Attorney. It is hereby
                           ORDERED that FRANZBLAU DRATCH, P.C. be and is hereby discharged as counsel
                           for plaintiff; and it is further ORDERED that plaintiff, Amy R. Gurvey will appear pro se
                           as of the date of this Order. (As further set forth in this Order.) Attorney Brian Michael
                           Dratch terminated. (Signed by Judge Lorna G. Schofield on 9/14/2015) (kgo) (Entered:
                           09/14/2015)
  09/14/2015           337 MEMO ENDORSEMENT on re: 334 Letter filed by Amy R. Gurvey. ENDORSEMENT:
                           This letter is not responsive to Defendants' letter brief dated August 25, 2015, which
                           seeks an injunction against Plaintiff, and exceeds the three-page limit set by the August
                           27, 2015, Order. Accordingly, it will not be considered by this Court. To the extent
                           Plaintiff attempts to raise new motions, Plaintiff shall direct those motions to Judge
                           Pitman in the first instance. (Signed by Judge Lorna G. Schofield on 9/14/2015) (kgo)
                           (Entered: 09/14/2015)
  09/17/2015           338 OPINION AND ORDER re: 224 MOTION for Sanctions Fed. R. Civ. P. 11(b)(1), (2) and
                           (3). filed by Clear Channel Communications, Inc., Baila Celedonia, Midge Hyman,
                           Nexticketing, Inc., Instant Live Concerts, LLC, Christopher Jensen, Dale Head, Does,
                           Steve Simon, Cowan, Liebowitz & Lathman, PC, Susan Schick, Michael Gordon, Live
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                               Nation, Inc., William Borchard, 294 MOTION for Sanctions Pursuant to Fed. R.
                               Civ.P.11(b)(1), (2) and (3). filed by Baila Celedonia, Midge Hyman, Christopher Jensen,
                               Cowan, Liebowitz & Lathman, PC, William Borchard, 223 MOTION for Sanctions
                               Federal Rule of Procedure Rule 11(b)(1) and (2). filed by Clear Channel
                               Communications, Inc., Baila Celedonia, Midge Hyman, Nexticketing, Inc., Instant Live
                               Concerts, LLC, Christopher Jensen, Dale Head, Does, Steve Simon, Cowan, Liebowitz &
                               Lathman, PC, Susan Schick, Michael Gordon, Live Nation, Inc., William Borchard. For
                               the foregoing reasons, the Report's recommendation that Plaintiff be sanctioned by
                               requiring her to pay $20,000 to the Clerk of Court is REJECTED, and the sanctions
                               outlined in numbered paragraphs 1 through 10 above are imposed. The remainder of the
                               Report is ADOPTED. The Clerk of Court is respectfully directed to close Docket
                               Numbers 223, 224 and 294. (As further set forth in this Opinion.) (Signed by Judge Lorna
                               G. Schofield on 9/17/2015) (kgo) (Entered: 09/17/2015)
  09/17/2015                   Case Stayed. (rjm) (Entered: 09/23/2015)
  09/18/2015           339 ORDER: WHEREAS, a pre-motion conference has been scheduled for September 29,
                           2015. It is hereby ORDERED that, in light of the Order and Opinion dated September 17,
                           2015, the conference is canceled, and the pre-motion letters are construed as motions and
                           denied as moot. (As further set forth in this Order.) (Signed by Judge Lorna G. Schofield
                           on 9/18/2015) (kgo) (Entered: 09/18/2015)
  09/18/2015           340 ORDER: In light of Judge Schofield's Order dated September 17, 2015 (Docket Item
                           338), plaintiff is ORDERED not to make any submissions directly to my chambers either
                           by fax, mail, courier or in any other manner that does not comply with Judge Schofield's
                           Order. Any submissions delivered to my chambers that have not been approved for filing
                           by the special master and have not been filed through the Pro Se Office will not be
                           considered and will be discarded. (Signed by Magistrate Judge Henry B. Pitman on
                           9/18/2015) Copies Sent By Chambers. (spo) (Entered: 09/18/2015)
  09/18/2015           341 LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey, dated 9/17/15 re:
                           Plainitff advises the Court that the plaintiff moves for a stay of the instant proceedings
                           pending adjudication before the state courts of New York as to whether there existed
                           collusion between the plaintiff's previous lawyer, Lee Squitieri Esq., and defense counsel
                           who were partners at Hinshaw & Culbertson, LLP, and previously held NYS executive
                           DDC and ethics positions. Document filed by Amy R. Gurvey.(sc) (Entered: 09/21/2015)
  09/23/2015           342 MEMO ENDORSEMENT on re: 341 LETTER addressed to Judge Lorna G. Schofield
                           from Amy R. Gurvey, dated 9/17/15 re: Plainitff advises the Court that the plaintiff moves
                           for a stay of the instant proceedings pending adjudication before the state courts of New
                           York as to whether ther e existed collusion between the plaintiff's previous lawyer, Lee
                           Squitieri Esq., and defense counsel who were partners at Hinshaw & Culbertson, LLP,
                           and previously held NYS executive DDC and ethics positions. Document filed by Amy
                           R. Gurvey. ENDORSEMENT: As this case is stayed by the Opinion and Order dated
                           September 17, 2015 ("September 17 Opinion"), this filing will not be considered.
                           Plaintiff is directed to review and comply with the September 17 Opinion. (Signed by
                           Judge Lorna G. Schofield on 9/23/2015) (rjm) (Entered: 09/23/2015)
  09/29/2015           343 NOTICE OF APPEAL from 338 Memorandum & Opinion. Document filed by Amy R.
                           Gurvey. Filing fee $ 505.00, receipt number 465401135865. Form D-P is due within 14
                           days to the Court of Appeals, Second Circuit. (tp) (Entered: 09/29/2015)
  09/29/2015                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 343 Notice of Appeal. (tp) (Entered: 09/29/2015)
  09/29/2015                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                               Electronic Files for 343 Notice of Appeal filed by Amy R. Gurvey were transmitted to the
                                                                                                    EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                              51/69
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                               U.S. Court of Appeals. (tp) (Entered: 09/29/2015)
  10/05/2015           344 MANDATE of USCA (Certified Copy) as to 327 Notice of Interlocutory Appeal,, filed by
                           Amy R. Gurvey. USCA Case Number 15-2703. Appellant moves to withdraw her appeal
                           pursuant to FRAP 42(b). IT IS HEREBY ORDERED that the motion is GRANTED..
                           Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate:
                           10/05/2015. (nd) (Entered: 10/06/2015)
  01/21/2016           349 MANDATE of USCA (Certified Copy) USCA Case Number 15-2724. Petitioner, pro se,
                           has filed a petition for a writ of mandamus and moves to consolidate this proceeding with
                           the appeal in Gurvey v. Cowan, Liebowitz & Latman PC, 2d Cir. 15-3049. Upon due
                           consideration, it is hereby ORDERED that the mandamus petition is DENIED because
                           Petitioner has not demonstrated a judicial usurpation of power or clear abuse of discretion
                           to justify issuance of the writ. See In re Zyprexa Prods. Liab. Litig., 594 F.3d 113, 118-19
                           (2d Cir. 2010). It is further ORDERED that the motion to consolidate is DENIED as
                           moot.. Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As
                           Mandate: 01/21/2016. (nd) (Entered: 01/21/2016)
  01/21/2016           350 MANDATE of USCA (Certified Copy) as to 343 Notice of Appeal filed by Amy R.
                           Gurvey. USCA Case Number 15-3049. Appellant, pro se, moves to consolidate this
                           appeal with In re Amy R. Gurvey, 2d Cir. 15-2724. This Court has determined sua sponte
                           that it lacks jurisdiction over this appeal because a final order has not been issued by the
                           district court as contemplated by 28 U.S.C. § 1291, and the orderappealed from does not
                           fall within the collateral order doctrine. See Securities & Exch. Comm'n v. Smith, 710 F.3d
                           87, 96 (2d Cir. 2013) (holding that an order imposing sanctions under Fed. R. Civ. P. 11
                           does not fall within the collateral order doctrine). Upon due consideration, it is hereby
                           ORDERED that the appeal is DISMISSED. It is further ORDERED that Appellant's
                           motion is DENIED as moot.. Catherine O'Hagan Wolfe, Clerk USCA for the Second
                           Circuit. Issued As Mandate: 01/21/2016. (nd) (Entered: 01/21/2016)
  02/10/2016           351 LETTER MOTION to Reopen Case addressed to Judge Lorna G. Schofield from Amy
                           Gurvey Plaintiff pro se dated FEb 9 2016. Document filed by Amy R. Gurvey.
                           (Attachments: # 1 Exhibit Governors Chamber & AD #5775, # 2 Exhibit USPTO Gen
                           Counsel Cowan Investigation 2014, # 3 Exhibit Supreme NY Order Compelling
                           Squitieri's files 102516/2013, # 4 Exhibit Squitieri withholding emails Jan 2013, # 5
                           Exhibit Arbitration Award ag Cowan 2009, # 6 Exhibit 2d Cir order 2-10-12)(Weissbrod,
                           Amy) (Entered: 02/10/2016)
  02/11/2016           352 ORDER denying 351 Letter Motion to Reopen Case. Application DENIED. To the extent
                           Plaintiff seeks reconsideration of the Opinion and Order dated September 17, 2015
                           ("September Opinion"), that motion is untimely. Local Rule 6.3 states that "a notice of
                           motion for reconsideration...shall be served within fourteen (14) days after the entry of
                           the Court's determination...." Plaintiff's letter also does not present any meritorious
                           argument for vacating the September Opinion. Plaintiff's remaining requests are denied as
                           this case is stayed until Plaintiff complies with the September Opinion. Plaintiff is
                           directed to review and comply with the September Opinion. Among other things, the
                           September Opinion revokes Plaintiff's ECF filing privileges and requires her to make all
                           filings through the Pro Se Office. (Signed by Judge Lorna G. Schofield on 2/11/2016)
                           (mro) (Entered: 02/11/2016)
  03/15/2016           353 NOTICE OF MOTION; re: to Remand Case to State Court etc. Document filed by Amy
                           R. Gurvey. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                           6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit)(sc) (Entered: 03/16/2016)
  03/18/2016           354 ORDER denying 353 Motion to Remand to State Court. It is hereby ORDERED that
                           Plaintiff's motion filed on March 15, 2016 is DENIED. In filing this motion, Plaintiff has
                           failed to comply with the procedures outlined in the September Order. Plaintiff is again
                                                                                                        EXHIBIT 12
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                               directed to review and comply with the September Opinion. Plaintiff is warned that
                               continued failure to comply with Court Orders may result in additional sanctions or other
                               prejudice. The Clerk of Court is directed to mail a copy of this Order to the pro se
                               Plaintiff and to terminate docket number 353. (As further set forth in this Order.) (Signed
                               by Judge Lorna G. Schofield on 3/18/2016) (kgo) (Entered: 03/18/2016)
  03/18/2016                   Transmission to Docket Assistant Clerk. Transmitted re: 354 Order on Motion to Remand
                               to State Court,,, to the Docket Assistant Clerk for case processing. (kgo) (Entered:
                               03/18/2016)
  03/21/2016                   Mailed a copy of 354 Order on Motion to Remand to State Court, to Amy R. Gurvey 315
                               Highland Avenue Upper Montclair, NJ 07043. (ca) (Entered: 03/21/2016)
  03/21/2016           355 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey, dated 3/21/16 re:
                           Plaintiff writes in response to docket entry #354; that the plaintiff contends that there are
                           no grounds for the Court to attempt to enforce a previous motion after jurisdiction of the
                           Court was already lacking; and that there are no grounds to charge the plaintiff for the
                           Court's reversible error in not remanding this case 2 1/2 years ago. Document filed by
                           Amy R. Gurvey.(sc) Modified on 3/22/2016 (sc). (Entered: 03/22/2016)
  03/22/2016           356 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr. dated
                           03/22/2016 Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen.(Supple, John) (Entered: 03/22/2016)
  03/23/2016           357 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey dated 3/23/16 re:
                           REPLY TO COWAN AND RICHARD SUPPLE, ESQ. LETTER OPPOSITION(DKT
                           #356). Document filed by Amy R. Gurvey.(sc) (Entered: 03/23/2016)
  03/23/2016           358 ORDER. It is hereby ORDERED that Defendants March 22 application is DENIED.
                           Pursuant to the September Order, this case will be dismissed if Plaintiff fails to deposit
                           $10,000 by September 17, 2016. It is further ORDERED that in light of the September
                           Opinion barring Plaintiff from filing submissions without approval by the special master,
                           any submission to the Court that does not comply with the September Opinion will be
                           disregarded. Defendants need not respond to any filings that fail to comply with the
                           September Order. The Clerk of Court is directed to mail a copy of this Order to the pro se
                           Plaintiff. (Signed by Judge Lorna G. Schofield on 3/23/2016) (rjm) (Entered: 03/24/2016)
  03/23/2016                   Transmission to Docket Assistant Clerk. Transmitted re: 358 Order to the Docket
                               Assistant Clerk for case processing. (rjm) (Entered: 03/24/2016)
  03/24/2016                   Mailed a copy of 358 Order, to Amy R. Gurvey 315 Highland Avenue Upper Montclair,
                               NJ 07043. (ca) (Entered: 03/24/2016)
  05/31/2016                   ***DELETED DOCUMENT. Deleted document number 359 Motion for Leave to
                               Appeal. The document was incorrectly filed in this case. (sc) (Entered: 06/23/2016)
  09/19/2016           359 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple dated
                           09/19/2016 re: Plaintiff's failure to comply with the September 17, 2015 Sanctions Order.
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen.(Supple, John) (Entered: 09/19/2016)
  09/21/2016                   CASHIERS OFFICE CRIS DEPOSIT dated 9/17/15, from Judge Judge Lorna G.
                               Schofield, $10,000.00 from AMY WEISSBROD deposited on 9/16/16, Receipt Number
                               465401162237 and placed into CRIS on 9/21/16. (dig) (Entered: 09/21/2016)
  10/13/2016           360 LETTER addressed to Judge Lorna G. Schofield from Richard Supple dated October 13,
                           2016 re: Requesting that the Court schedule a pre-motion conference. Document filed by
                           William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan,
                           Liebowitz & Lathman, PC, Does, Michael Gordon, Dale Head, Midge Hyman, Instant
                                                                                                       EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                  53/69
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                               Live Concerts, LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Inc., Susan
                               Schick, Steve Simon.(Supple, John) (Entered: 10/13/2016)
  10/13/2016           361 AFFIDAVIT OF SERVICE of Letter to the Honorable Lorna G. Schofield from J.
                           Richard Supple, Jr. dated October 13, 2016 served on Amy R. Gurvey, Plaintiff Pro Se on
                           October 13, 2016. Service was made by Overnight Mail. Document filed by William
                           Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz &
                           Lathman, PC, Does, Michael Gordon, Dale Head, Midge Hyman, Instant Live Concerts,
                           LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Inc., Susan Schick, Steve
                           Simon. (Supple, John) (Entered: 10/13/2016)
  10/17/2016           362 ORDER: ORDERED that the Opinion is hereby amended to provide that Plaintiff may
                           file (i) a responsive submission, (ii) any request for additional time or for an adjournment,
                           or (iii) any submission specifically ordered by the Court, without submitting it to the
                           special master. ORDERED that Plaintiff shall file a response to Defendant's pre-motion
                           letter no later than November 7, 2016, which shall comply with the Court's Individual
                           Rule III.A.1, and which shall include a description of any cross-motion for summary
                           judgment that Plaintiff may seek to file (which cross-motion, if any, shall be deemed a
                           responsive filing). ORDERED that a pre-motion conference shall be held on November
                           15, 2016, at 5:00 p.m. In accordance with Federal Rule of Civil Procedure 53(b)(1), the
                           Court hereby GIVES NOTICE of its intent to appoint a Special Master who, after
                           becoming familiar with the case, will review any proposed motions or other submissions
                           by Plaintiff not excluded by the amendment to the Opinion above and will determine
                           whether such submissions are frivolous or otherwise patently improper. ORDERED that
                           the parties shall file any suggestion of candidates who are willing to be appointed and any
                           other comment regarding this notice of intent no later than November 7, 2016. The Clerk
                           of Court is directed to mail a copy of this Order to the pro se Plaintiff and to deliver a
                           copy to the Pro Se Intake Unit in Room 200 at the Daniel Patrick Moynihan United States
                           Courthouse. (As further set forth in this Order) (Pre-Motion Conference set for
                           11/15/2016 at 05:00 PM before Judge Lorna G. Schofield.) (Signed by Judge Lorna G.
                           Schofield on 10/17/2016) (kl) (Entered: 10/17/2016)
  10/17/2016                   Transmission to Docket Assistant Clerk. Transmitted re: 362 Order, Set Hearings, to the
                               Docket Assistant Clerk for case processing. (kl) (Entered: 10/17/2016)
  10/18/2016                   Mailed a copy of 362 Order, Set Hearings, to Amy R. Gurvey 315 Highland Avenue
                               Upper Montclair, NJ 07043. (ca) (Entered: 10/18/2016)
  11/04/2016           363 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr. dated
                           November 4, 2016 re: Pursuant to Your Honor's order of 10-17-16. Document filed by
                           William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan,
                           Liebowitz & Lathman, PC, Does, Michael Gordon, Dale Head, Midge Hyman, Instant
                           Live Concerts, LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Inc., Susan
                           Schick, Steve Simon.(Supple, John) (Entered: 11/04/2016)
  11/04/2016           364 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey dated 11/4/16 re:
                           Plaintiff requests that the Court grant her a one week adjournment of both the 11/7/16
                           letter response date and 11/15/16 conference date on Defense Attorney Richard Supple's
                           letter that he intends to move for summary judgment; and that Mr. Supple's letter states
                           that he is available 11/14/16, 11/15/16, and 11/21/16-11/23/16 or any day during the week
                           of 11/28/16 etc. Document filed by Amy R. Gurvey.(sc) (Entered: 11/07/2016)
  11/07/2016           365 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr. dated
                           November 7, 2016 re: Response to Plaintiff's Request for a one week adjournment of time
                           to respond to defendants' letter request for permission to make a summary judgment
                           motion and further request to postpone the now-scheduled 11-15-16 hearing. Document
                           filed by William Borchard, Baila Celedonia, Clear Channel Communications, Inc.,
                                                                                                     EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                54/69
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                                                           ID #:562
                               Cowan, Liebowitz & Lathman, PC, Does, Michael Gordon, Dale Head, Midge Hyman,
                               Instant Live Concerts, LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Inc.,
                               Susan Schick, Steve Simon.(Supple, John) (Entered: 11/07/2016)
  11/08/2016           366 LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey re:
                           Plaintiff requests that the Court, based on the foregoing(as indicated), deny the
                           defendants' application to move for summary judgment; that the plaintiff's application to
                           move for summary judgment be granted; and that the defendants' choices for special
                           master be rejected. Document filed by Amy R. Gurvey.(sc) (Entered: 11/09/2016)
  11/10/2016           367 ORDER: It is hereby ORDERED that Plaintiff's letter received by the Court on
                           November 8, 2016, is accepted even though it was received one day late, and her request
                           to adjourn the due date for said letter is therefore GRANTED nunc pro tunc. It is further
                           ORDERED that the conference currently scheduled for November 15, 2016, is adjourned
                           to November 29, 2016, at 5:00 p.m. It is further ORDERED that Defendants shall email a
                           copy of this Order to the pro se Plaintiff. The Clerk of Court is directed to mail a copy of
                           this Order to the pro se Plaintiff. Pre-Motion Conference set for 11/29/2016 at 05:00 PM
                           before Judge Lorna G. Schofield. (Signed by Judge Lorna G. Schofield on 11/10/2016)
                           (kgo) (Entered: 11/10/2016)
  11/10/2016                   Transmission to Docket Assistant Clerk. Transmitted re: 367 Scheduling Order,,, to the
                               Docket Assistant Clerk for case processing. (kgo) (Entered: 11/10/2016)
  11/10/2016                   Mailed a copy of 367 Scheduling Order, to Amy Weissbrod Gurvey.(sbr) (Entered:
                               11/10/2016)
  11/29/2016                   Minute Entry for proceedings held before Judge Lorna G. Schofield: Pre-Motion
                               Conference held on 11/29/2016. (Court Reporter Khris Sellin) (Lewis, Barton) (Entered:
                               12/12/2016)
  12/01/2016           368 ORDER: Defendants shall file any motion for summary judgment, not to exceed thirty
                           (30) pages, by January 4, 2017. Plaintiff shall file her opposition and cross-motion for
                           summary judgment, not to exceed thirty-five (35) pages, by February 17, 2017.
                           Defendants shall file their reply and opposition to Plaintiff's cross-motion for summary
                           judgment, not to exceed ten (10) pages, by March 3, 2017. Plaintiff shall file her reply in
                           support of its cross-motion, not to exceed five (5) pages, by March 17, 2017, and as
                           further set forth in this order. The Clerk of Court is directed to mail a copy of this Order
                           to the pro se Plaintiff. (Cross Motions due by 2/17/2017. Motions due by 1/4/2017.
                           Responses due by 3/3/2017. Replies due by 3/17/2017.) (Signed by Judge Lorna G.
                           Schofield on 12/1/2016) (tn) (Entered: 12/01/2016)
  12/01/2016                   Transmission to Docket Assistant Clerk. Transmitted re: 368 Order, to the Docket
                               Assistant Clerk for case processing. (tn) (Entered: 12/01/2016)
  12/21/2016           369 LETTER MOTION for Leave to File Excess Pages requesting permission to submit nine
                           total declarations and twenty-five total exhibits in support of defendants' summary
                           judgment motion, due to be filed on or before January 4, 2017. addressed to Judge Lorna
                           G. Schofield from J. Richard Supple, Jr., Esq. dated December 20, 2016. Document filed
                           by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge
                           Hyman, Christopher Jensen.(Supple, John) (Entered: 12/21/2016)
  12/21/2016           370 MEMO ENDORSEMENT with respect to 369 Letter Motion for Leave to File Excess
                           Pages. ENDORSEMENT: Plaintiff shall file any response to this letter no later than
                           December 27, 2016. The Clerk of Court is directed to mail a copy of this Order to the pro
                           se Plaintiff. (Signed by Judge Lorna G. Schofield on 12/21/2016) (kgo) (Entered:
                           12/21/2016)

                                                                                                     EXHIBIT 12
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                                                    ID #:563
  12/23/2016           371 LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey, dated
                           12/23/16 re: RESPONSE TO RICHARD SUPPLE'S LETTER APPLICATION RE
                           EXPANDED EXHIBITS, AD ORDER ENTERED 4/21/16 & SUPREME NY INDEX
                           NO. 100163-2015. Document filed by Amy R. Gurvey.(sc) (Entered: 12/26/2016)
  01/03/2017           372 ORDER granting 369 Letter Motion for Leave to File Excess Pages. It is hereby
                           ORDERED that Defendants application submitted on December 21, 2016, is GRANTED.
                           Defendants -- and Plaintiff -- each may submit up to nine (9) declarations. Each
                           declaration shall not to exceed ten (10) double-spaced pages. Defendants -- and Plaintiff -
                           - each may submit up to twenty-five (25) exhibits provided that the exhibits collectively
                           per side do not exceed 225 pages in total. Plaintiff will have the opportunity to respond to
                           the merits of the Defendants' submissions in her opposition and cross-motion for
                           summary judgment. The Clerk of Court is directed to mail a copy of this Order to the pro
                           se Plaintiff. (Signed by Judge Lorna G. Schofield on 1/3/2017) (kgo) (Entered:
                           01/04/2017)
  01/03/2017                   Transmission to Docket Assistant Clerk. Transmitted re: 372 Order on Motion for Leave
                               to File Excess Pages,,,, to the Docket Assistant Clerk for case processing. (kgo) (Entered:
                               01/04/2017)
  01/04/2017                   Mailed a copy of 372 Order on Motion for Leave to File Excess Pages, to Amy R.
                               Gurvey. (vj) (Entered: 01/04/2017)
  01/04/2017           373 TRANSCRIPT of Proceedings re: Hearing held on 4/29/2015 before Magistrate Judge
                           Henry B. Pitman. Court Reporter/Transcriber: Shari Riemer, (518) 581-8973. Transcript
                           may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 1/25/2017. Redacted
                           Transcript Deadline set for 2/6/2017. Release of Transcript Restriction set for 4/4/2017.
                           (jwh) Modified on 4/12/2017 (anc). (Entered: 01/04/2017)
  01/04/2017           374 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Hearing proceeding held on 4/29/2015 has been filed by the court
                           reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                           days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                           such Notice is filed, the transcript may be made remotely electronically available to the
                           public without redaction after 90 calendar days...(jwh) (Entered: 01/04/2017)
  01/04/2017           375 MOTION for Summary Judgment . Document filed by William Borchard, Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.
                           (Supple, John) (Entered: 01/04/2017)
  01/04/2017           376 DECLARATION of J. Richard Supple, Jr. in Support re: 375 MOTION for Summary
                           Judgment .. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit 1, # 2
                           Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                           Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11)(Supple, John) (Entered:
                           01/04/2017)
  01/04/2017           377 DECLARATION of Mark Montague in Support re: 375 MOTION for Summary
                           Judgment .. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit 1, # 2
                           Exhibit 2)(Supple, John) (Entered: 01/04/2017)
  01/04/2017           378 DECLARATION of J. Christopher Jensen in Support re: 375 MOTION for Summary
                           Judgment .. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen. (Attachments: # 1 Exhibit 1, # 2
                                                                                                       EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                  56/69
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                               Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Supple, John)
                               (Entered: 01/04/2017)
  01/04/2017           379 DECLARATION of Midge Hyman in Support re: 375 MOTION for Summary Judgment
                           .. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 01/04/2017)
  01/04/2017           380 DECLARATION of Baila Celedonia in Support re: 375 MOTION for Summary
                           Judgment .. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 01/04/2017)
  01/04/2017           381 DECLARATION of William Borchard in Support re: 375 MOTION for Summary
                           Judgment .. Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz &
                           Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 01/04/2017)
  01/04/2017           382 AFFIDAVIT of Susan Gordan in Support re: 375 MOTION for Summary Judgment ..
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 01/04/2017)
  01/04/2017           383 RULE 56.1 STATEMENT. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen. (Supple, John)
                           (Entered: 01/04/2017)
  01/04/2017           384 MEMORANDUM OF LAW in Support re: 375 MOTION for Summary Judgment . .
                           Document filed by William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman,
                           PC, Midge Hyman, Christopher Jensen. (Supple, John) (Entered: 01/04/2017)
  01/09/2017           385 LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey dated
                           1/8/2017 re: Plaintiff respectfully submits the instant addendum based on the governing
                           change in the Judiciary Law 1240 relevant to the issues discussed at the conference in the
                           lawsuit held on November 29, 2016. Document filed by Amy R. Gurvey.(rdz) (Entered:
                           01/10/2017)
  01/11/2017           386 MEMO ENDORSEMENT on re: 385 Letter, filed by Amy R. Gurvey. ENDORSEMENT:
                           This letter will be disregarded because it does not comply with the Court's previous
                           Orders. During the conference on November 29, 2016, Plaintiff raised the issue of
                           whether counsel for Defendants must be disqualified. Plaintiff was informed that if she
                           wanted to file a motion to disqualify, the Court would appoint a special master, which
                           would begin to use the $10,000 in funds that Plaintiff was required to deposit, as set forth
                           in the Orders dated September 17, 2015, and October 17, 2016. At the conference,
                           Plaintiff represented that she only sought to file a response to Defendants' motion for
                           summary judgment and file cross-motion for summary judgment. Consequently, the
                           Court did not appoint a special master. If Plaintiff seeks to file additional motions,
                           Plaintiff shall seek permission from the Court so that the Court may appoint a special
                           master. Plaintiff is warned that continued failure to comply with the Court's Orders may
                           result in prejudice or additional sanctions. (Signed by Judge Lorna G. Schofield on
                           1/11/2017) (kgo) (Entered: 01/11/2017)
  01/16/2017           387 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey, dated 1/16/17 re:
                           (SUMMARY JUDGMENT SCHEDULING ORDER) - Plaintiff requests a four-week
                           extension to research and submit the State Briefs and file her Cross-Motion for Summary
                           Judgment and opposition to the Cowan defendants' moving papers. Document filed by
                           Amy R. Gurvey.(sc) (Entered: 01/17/2017)
  01/18/2017           388 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr. dated
                           01/18/2017 re: in response to Plaintiff's Letter dated 01/16/2017. Document filed by
                           William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen.(Supple, John) (Entered: 01/18/2017)
                                                                                                     EXHIBIT 12
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  01/19/2017           389 LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey, dated
                           1/19/17 re: SUMMARY JUDGMENT SCHEDULING ORDER/ RESPONSE TO
                           SUPPLE'S EMAIL LETTER RESPONSE - DOCKET #388. Document filed by Amy R.
                           Gurvey.(sc) (Entered: 01/19/2017)
  01/19/2017           390 ORDER: It is hereby ORDERED that Plaintiff's request to extend her deadline to file her
                           opposition and cross-motion for summary judgment is DENIED. The briefing schedule so
                           ordered on December 1, 2016, established a generous briefing period and gives Plaintiff
                           more than six weeks to prepare and file her opposition and cross-motion for summary
                           judgment. The briefing deadlines shall be adhered to strictly. ORDERED that Defendants'
                           request to sanction Plaintiff is DENIED. Plaintiff's request is for an extension to her
                           briefing deadline, not a request to file a motion to disqualify, and sanctions are not
                           warranted at this time. The Clerk of Court is directed to mail a copy of this Order to the
                           pro se Plaintiff. (Signed by Judge Lorna G. Schofield on 1/19/2017) (kgo) (Entered:
                           01/19/2017)
  01/19/2017                   Transmission to Docket Assistant Clerk. Transmitted re: 390 Order,,,, to the Docket
                               Assistant Clerk for case processing. (kgo) (Entered: 01/19/2017)
  01/20/2017                   Mailed a copy of 390 Order to Amy R. Gurvey 315 Highland Avenue Upper Montclair,
                               NJ 07043 with Return Receipt Requested. (rro) (Entered: 01/20/2017)
  01/20/2017           391 LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey dated
                           1/19/17 re: MOTION TO RECONSTRUCT/ CORRECT RECORD FRAP RULE 10(e).
                           Document filed by Amy R. Gurvey.(sc) (Entered: 01/23/2017)
  01/31/2017           392 ORDER: that Plaintiff's motion to correct the record is DENIED as moot. Themajority of
                           the documents that Plaintiff raised in her letter were located and will be scanned and
                           placed on the docket in electronic form. The remaining documents do not appear to be
                           material to the remaining claims at issue in this case -- attorney malpractice and breach of
                           fiduciary duty -- or should not be filed. For example, the arbitration documents
                           mentioned, the pre-arbitration and post-hearing briefs, are not typically filed on the
                           docket because they are submitted to the arbitrator and not to this Court. It is further
                           ORDERED that if there are specific documents cited by Defendants in their motion for
                           summary judgment for which there is a docket entry but which are not available on the
                           docket, Plaintiff may submit a letter, no longer than one page, listing those documents
                           and the citation to the document in Defendants' summary judgment papers. The Clerk of
                           Court is directed to mail a copy of this Order to the pro se Plaintiff. SO ORDERED.
                           (Signed by Judge Lorna G. Schofield on 1/31/2017) (anc) (Entered: 01/31/2017)
  01/31/2017                   Transmission to Docket Assistant Clerk. Transmitted re: 392 Order to the Docket
                               Assistant Clerk for case processing. (anc) (Entered: 01/31/2017)
  01/31/2017                   Mailed a copy of 392 Order to Amy R. Gurvey 315 Highland Avenue Upper Montclair,
                               NJ 07043. (rro) (Entered: 01/31/2017)
  02/07/2017           393 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey, dated 2/6/17 re:
                           Plaintiff informs the Court that it has still not replaced Docket ##15-25 per the Court's
                           Order #392, impeding the plaintiff's ability to prepare her case; and that these entries are
                           empirically relevant to the patent retainer agreement made by the Cowan defendants in
                           December of 2001 etc. Document filed by Amy R. Gurvey.(sc) (Entered: 02/08/2017)
  02/13/2017           394 MEMO ENDORSEMENT on re: 393 Letter, filed by Amy R. Gurvey. ENDORSEMENT:
                           Docket numbers 15-24 were scanned and links were placed on the docket last week.
                           Docket number 25 has not been located, but was originally filed by Plaintiff. (Signed by
                           Judge Lorna G. Schofield on 2/13/2017) (mro) (Entered: 02/13/2017)

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  02/17/2017           396 PLAINTIFF PRO SE'S MEMORANDUM OF LAW IN SUPPORT OF CROSS-
                           MOTION FOR SUMMARY JUDGMENT & IN OPPOSITION TO DEFENDANTS'
                           MOTION-IN-CHIEF. Document filed by Amy R. Gurvey. (sc) (Entered: 02/21/2017)
  02/17/2017           397 PLAINTIFF'S RULE 56.1 STATEMENT IN SUPPORT OF PLAINTIFF'S MOTION
                           FOR SUMMARY JUDGMENT. Document filed by Amy R. Gurvey. (sc) (Entered:
                           02/21/2017)
  02/17/2017           398 (Affirmation)PLAINTIFF'S OPPOSITION TO DEFENDANTS' RULE 56.1
                           STATEMENT; re: 383 Rule 56.1 Statement. Document filed by Amy R. Gurvey.
                           (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(sc) (Entered:
                           02/21/2017)
  02/21/2017           395 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr., Esq. dated
                           February 21, 2017 re: plaintiff's deadline to file opposition to defendants summary
                           judgment motion, and cross-motion for summary judgment. Document filed by William
                           Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz &
                           Lathman, PC, Michael Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC,
                           Christopher Jensen, Live Nation, Inc., Nexticketing, Inc., Susan Schick, Steve Simon.
                           (Supple, John) (Entered: 02/21/2017)
  02/22/2017           399 MEMO ENDORSEMENT on re: 395 Letter re: plaintiff's deadline to file opposition to
                           defendants summary judgment motion, and cross-motion for summary judgment, filed by
                           Clear Channel Communications, Inc., Baila Celedonia, Midge Hyman, Nexticketing, Inc.,
                           Instant Live Concerts, LLC, Christopher Jensen, Dale Head, Steve Simon, Cowan,
                           Liebowitz & Lathman, PC, Susan Schick, Michael Gordon, Live Nation, Inc., William
                           Borchard. ENDORSEMENT: Application DENIED as MOOT in light of Plaintiff's
                           memorandum of law in opposition and in support of her cross-motion for summary
                           judgment filed on February 17, 2017, and docketed on February 21, 2017. (Signed by
                           Judge Lorna G. Schofield on 2/22/2017) (cla) (Entered: 02/22/2017)
  03/03/2017           400 MEMORANDUM OF LAW in Support re: 375 MOTION for Summary Judgment . and
                           In Opposition to Plaintiff's Cross-Motion for Summary Judgment. Document filed by
                           William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman,
                           Christopher Jensen. (Attachments: # 1 Declaration of J. Richard Supple, Jr. in Opposition
                           to Plaintiff's Cross-Motion for Summary Judgment and In Further Support of Defendants'
                           Motion for Summary Judgment, # 2 Exhibit 1 to Declaration, # 3 Exhibit 2 to
                           Declaration, # 4 Exhibit 3 to Declaration, # 5 Exhibit 4 to Declaration, # 6 Exhibit 5 to
                           Declaration, # 7 Defendants' Response to Plaintiff's Rule 56.1 Statement, # 8 Affidavit of
                           Service)(Supple, John) (Entered: 03/03/2017)
  03/17/2017           401 PLAINTIFF PRO SE'S AFFIDAVIT REPLY of Amy R. Gurvey IN SUPPORT OF
                           PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT AND RESPONSE TO
                           DEFENDANTS' OPPOSITION TO PLAINTIFF'S MOTION; re: 375 MOTION for
                           Summary Judgment . Document filed by Amy R. Gurvey. (Attachments: # 1 Exhibit, # 2
                           Exhibit, # 3 Exhibit, # 4 Exhibit)(sc) (Entered: 03/20/2017)
  03/23/2017           402 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr., Esq. dated
                           March 23, 2017 re: Objection to Plaintiff's Affidavit Reply in Further Support of
                           Plaintiff's Motion for Summary Judgment and in Response to Defendants' Opposition to
                           Plaintiff's Motion dated 3-17-17. Document filed by William Borchard, Baila Celedonia,
                           Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen.(Supple, John)
                           (Entered: 03/23/2017)
  03/27/2017           403 LETTER addressed to Judge Lorna G. Schofield from Amy R. Weisbrod Gurvey, dated
                           3/24/17 re: Plaintiff responds to a post-submission summary judgment letter from
                           Richard Supple, attorney for Cowan defendants; and she writes that this case
                                                                                                   EXHIBIT 12
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                               demonstrates how, with advents in technology, the public will not be able to switch gears
                               and make a living in the current market until the Court mandates complete loyalty and
                               confidentiality by patent attorneys. Document filed by Amy R. Gurvey.(sc) (Entered:
                               03/28/2017)
  04/06/2017           404 LETTER addressed to Judge Lorna G. Schofield from Amy R. Weissbrod Gurvey, dated
                           3/24/17 re: Plaintiff writes in response to a post-submission summary judgment letter
                           from Richard Supple, attorney for the Cowan defendants; and she writes that Mr. Supple
                           has no right to a post submission letter, because he was improperly granted the right to
                           submit expanded affirmations from the Cowan defendants' individual partners and
                           attorneys who did not appear to give testimony at the arbitration in 2009 in defiance of
                           served subpoenas. Document filed by Amy R. Gurvey.(sc) (Entered: 04/06/2017)
  04/09/2017           405 LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey dated
                           4/8/2017 re: Plaintiff's Opposition and Motion for Summary Judgment. Document filed
                           by Amy R. Gurvey.(sac) (Entered: 04/10/2017)
  04/12/2017                   Terminate Transcript Deadlines re: 373 . (anc) (Entered: 04/12/2017)
  04/30/2017           406 LETTER addressed to Judge Lorna G. Schofield from Amy Weissbrod Gurvey, dated
                           4/20/17 re: PLAINTIFF'S OPPOSITION AND MOTION FOR SUMMARY
                           JUDGMENT. Document filed by Amy R. Gurvey.(sc) (Entered: 05/01/2017)
  06/25/2017           407 LETTER from Amy Weissbrod Gurvey, dated 6/24/17 re: NOTICE OF CHANGE OF
                           EMAIL ADDRESS - Pro Se Investor/Pqtentee Amy Gurvey informs the Court of her new
                           email address as follows: amyg@livefio.com. Document filed by Amy R. Gurvey.(sc)
                           (sc). (Entered: 06/26/2017)
  07/06/2017           408 OPINION AND ORDER re: 375 MOTION for Summary Judgment . filed by Baila
                           Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman, Christopher Jensen,
                           William Borchard. Defendants move for summary judgment on the remaining claims of
                           attorney malpractice and breach of fiduciary duty. Plaintiff cross-moves for summary
                           judgment as to a number of claims that are not pending in this case. (As further set forth
                           in this Order.) For the foregoing reasons, Defendants' motion for summary judgment is
                           GRANTED, and Plaintiff's cross-motions are DENIED. Any of Plaintiff's claims or
                           arguments not addressed herein have been considered and rejected. The Clerk of Court is
                           directed to close the motion at Docket No. 375 and close this case. (Signed by Judge
                           Lorna G. Schofield on 7/6/2017) (cf) (Entered: 07/06/2017)
  07/06/2017                   Transmission to Judgments and Orders Clerk. Transmitted re: 408 Memorandum &
                               Opinion to the Judgments and Orders Clerk. (cf) (Entered: 07/06/2017)
  07/07/2017           409 CLERK'S JUDGMENT: It is, ORDERED, ADJUDGED AND DECREED: That for the
                           reasons stated in the Court's Opinion and Order dated July 6, 2017, Defendants' motion
                           for summary judgment is granted and Plaintiff's cross-motions are denied. Any of
                           Plaintiff's claims or arguments not addressed have been considered and rejected;
                           accordingly, the case is closed. (Signed by Clerk of Court Ruby Krajick on 7/7/2017)
                           (Attachments: # 1 Right to Appeal, # 2 Right to Appeal) The Clerks Office Has Mailed
                           Copies. (km) (Entered: 07/07/2017)
  07/07/2017                   Terminate Transcript Deadlines (km) (Entered: 07/07/2017)
  07/07/2017                   Transmission to Docket Assistant Clerk. Transmitted re: 409 Clerk's Judgment to the
                               Docket Assistant Clerk for case processing. (km) (Entered: 07/07/2017)
  07/07/2017                   Mailed a copy of 409 Clerk's Judgment 408 Memorandum & Opinion to Amy R. Gurvey,
                               315 Highland Avenue, Upper Monclair, NJ 07043. (rro) (Entered: 07/07/2017)

                                                                                                      EXHIBIT 12
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                                                            SDNY CM/ECFFiled 09/08/23
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                                                           ID #:568
  07/07/2017           410 OPINION AND ORDER: It is hereby ORDERED that pro se Plaintiff Amy R. Gurvey
                           shall not call or contact Chambers directly, but instead shall communicate with the Court
                           solely through the Pro Se Office. Plaintiff is reminded that, per the Order dated
                           September 17, 2015, "Plaintiff will receive the balance of the funds she deposited [with
                           the Court], if any, after this case is closed and all appeals have been exhausted." If
                           Plaintiff requires further assistance, she may contact the Legal Assistance Clinic, which is
                           a free legal clinic staffed by attorneys and paralegals to assist those who are representing
                           themselves in civil lawsuits in the Southern District of New York. Additional information
                           about the Legal Assistance Clinic is available on the Southern District of New Yorks
                           website: http://www.nysd.uscourts.gov/prose?clinic. (Signed by Judge Lorna G.
                           Schofield on 7/7/2017) (ras) (Entered: 07/07/2017)
  07/10/2017           411 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey, dated 7/7/17 re:
                           (ORDER OF REFUND OF PLAINTIFF'S $10,000.00 FUNDS) - The plaintiff requests
                           that the $10,000.00 placed in an interest-bearing account be ordered returned etc.
                           Document filed by Amy R. Gurvey.(sc) (Entered: 07/11/2017)
  07/11/2017           412 LETTER addressed to Judge Lorna G. Schofield from J. Richard Supple, Jr., Esq. dated
                           July 11, 2017 re: in opposition to plaintiff Amy R. Gurvey's request that the Court modify
                           its order, dated September 17, 2015 [Docket No. 338]. Document filed by Cowan,
                           Liebowitz & Lathman, PC, Christopher Jensen.(Supple, John) (Entered: 07/11/2017)
  07/14/2017           413 LETTER addressed to Judge Lorna G. Schofield from Amy Weisbrod Gurvey dated
                           7/7/17 re: (HEARING 11/29/16 - REFUND OF PLAINTIFF'S $10,000.00 FUNDS/
                           RECONSIDERATION) - Plaintiff requests that the Court advise if this Court will require
                           a special master to entertain a motion for reconsideration of its summary judgment order
                           entered on 7/6/17. Plaintiff. Document filed by Amy R. Gurvey.(sc) (Entered:
                           07/17/2017)
  07/18/2017           414 ORDER: It is hereby ORDERED that Plaintiff's motion for reconsideration need not be
                           reviewed prior to filing by a special master; ORDERED that, no later than August 1,
                           2017, Plaintiff may file either a motion for reconsideration of the July 6th Order, or a
                           letter stating that she would like the Court to deem her letter filed July 14, 2017 as such a
                           motion. If Plaintiff elects the former, the motion may be made as a formal motion with a
                           memorandum of law not to exceed eight double-spaced pages, or may be made as a letter
                           motion not to exceed 4 single spaced pages. Pro se Plaintiff shall file her motion or letter
                           through the Pro Se Intake Office. ORDERED that Plaintiff's application to modify the
                           Courts' September 17, 2015, Order is denied. Motions due by 8/1/2017. (Signed by Judge
                           Lorna G. Schofield on 7/18/2017) (kgo) (Entered: 07/18/2017)
  08/01/2017           415 LETTER addressed to Judge Lorna G. Schofield from Amy R. Gurvey, dated 7/31/17 re:
                           1)RECONSIDERATION OF 7/6/17 -SJ DECISION & ORDER 2) REFUND OF
                           PLAINTIFF'S $10,000.00 DEPOSIT BECAUSE NO SPECIAL MASTER WAS HIRED.
                           Document filed by Amy R. Gurvey.(sc) (Entered: 08/02/2017)
  08/01/2017           416 AFFIDAVIT of Amy R. Gurvey IN SUPPORT OF PLAINTIFF'S MOTION FOR
                           RECONSIDERATION AND RELIEF FROM JUDGMENT(Local Rule 6.3, FRCP RULE
                           60(b)) re: 415 Letter. Document filed by Amy R. Gurvey. (sc) (Entered: 08/02/2017)
  08/09/2017           417 ORDER: WHEREAS, on August 1, 2017, Plaintiff moved for reconsideration of the
                           Order. It is hereby ORDERED that Plaintiff's motion is DENIED. The Court disregards
                           the motion and accompanying affidavit to the extent that they contradict the factual
                           allegations in the Complaint and Plaintiff's own prior sworn statements. See Rojas v.
                           Roman Catholic Diocese of Rochester, 660 F.3d 98, 106 (2d Cir. 2011); Moll v.
                           Telesector Res. Grp., Inc., 760 F.3d 198, 205 (2d Cir. 2014). (Signed by Judge Lorna G.
                           Schofield on 8/9/2017) (kgo) (Entered: 08/09/2017)
                                                                                                     EXHIBIT 12
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                                                         ID #:569
  08/09/2017           418 MEMO ENDORSEMENT on re: 411 Letter request that the $10,000.00 placed in an
                           interest-bearing account be ordered returned, filed by Amy R. Gurvey. ENDORSEMENT:
                           Application GRANTED. Judgment for Defendants having been entered, and pro se
                           Plaintiff's motion for reconsideration having been denied, the Clerk of Court is directed to
                           return the $10,000 plus interest, if any, to pro se Plaintiff. (Signed by Judge Lorna G.
                           Schofield on 8/9/17) (yv) (Entered: 08/10/2017)
  08/28/2017                   CASHIERS OFFICE REGISTRY DISBURSEMENT as per 418 Memo Endorsement,
                               dated 8/9/2017, from Judge Judge Lorna G. Schofield, on 8/8/2017 disbursed to pay Amy
                               Weissbrod Gurvey $10,040.00 Check No. 01070415 dated 8/18/2017 FEDEX#
                               810306522762 (cla) (Entered: 08/28/2017)
  09/01/2017           419 NOTICE OF APPEAL from 417 Order, 418 Memo Endorsement and the final and
                           interlocutory orders entered since 2/10/2012 Mandate (See pdf). Document filed by Amy
                           R. Gurvey. Filing fee $ 505.00, receipt number 465401189944. Form D-P is due within
                           14 days to the Court of Appeals, Second Circuit. (tp) (Entered: 09/05/2017)
  09/05/2017                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 419 Notice of Appeal. (tp) (Entered: 09/05/2017)
  09/05/2017                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                               Electronic Files for 419 Notice of Appeal, filed by Amy R. Gurvey were transmitted to
                               the U.S. Court of Appeals. (tp) (Entered: 09/05/2017)
  11/28/2017           420 TRANSCRIPT of Proceedings re: CONFERENCE held on 11/29/2016 before Judge
                           Lorna G. Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300.
                           Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 12/19/2017. Redacted
                           Transcript Deadline set for 12/29/2017. Release of Transcript Restriction set for
                           2/26/2018.(McGuirk, Kelly) (Entered: 11/28/2017)
  11/28/2017           421 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a CONFERENCE proceeding held on 11/29/16 has been filed by the
                           court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days...(McGuirk, Kelly)
                           (Entered: 11/28/2017)
  06/13/2018           422 LETTER from Amy Weissbrod Gurvey, dated 3/27/17 re: DISQUALIFICATION
                           MOTION OPPOSING COUNSEL. Document filed by Amy R. Gurvey.(sc) (Entered:
                           06/14/2018)
  11/26/2018           423 MOTION & MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S MOTION
                           FOR AN INDICATIVE RULING BASED ON NEW EVIDENCE AND
                           CONTROLLING CHANGE IN THE LAW UNDER FED.R.CIV.P. 60,62.1. Document
                           filed by Amy R. Gurvey. (sc) (Entered: 11/26/2018)
  01/25/2019           424 MANDATE of USCA (Certified Copy) as to 419 Notice of Appeal, filed by Amy R.
                           Gurvey. USCA Case Number 17-2760. Ordered, Adjudged and Decreed that the judgment
                           of the District Court is AFFIRMED. Catherine O'Hagan Wolfe, Clerk USCA for the
                           Second Circuit. Issued As Mandate: 01/25/2019. (nd) (Entered: 01/25/2019)
  01/25/2019                   Transmission of USCA Mandate to the District Judge re: 424 USCA Mandate,. (nd)
                               (Entered: 01/25/2019)

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                                                        ID #:570
  01/29/2019           425 ORDER: It is hereby ORDERED that the motion for an indicative ruling is DENIED as
                           moot. The Clerk of Court is directed to mail a copy of this Order to pro se Plaintiff.
                           (Signed by Judge Lorna G. Schofield on 1/29/2019) (ne) Transmission to Docket
                           Assistant Clerk for processing. (Entered: 01/29/2019)
  01/30/2019                   Mailed a copy of 425 Order, to Amy R. Gurvey 315 Highland Avenue Upper Monclair,
                               NJ 07043. (aea) (Entered: 01/30/2019)
  03/11/2019           426 Costs Taxed as to 424 USCA Mandate, USCA Case Number 17-2760. in the amount of
                           $1415.10. on 3/11/2019 in favor of Cowan, Liebowitz & Latman, P.C., Clear Channel
                           Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC, Nexticketing,
                           Incorporated, William Borchard, Midge Hyman, Baila Celedonia, Christopher Jensen,
                           Dale Head, Steve Simon, Nicole Ann Gordon, Susan Schick, Defendants Appellees
                           against Amy Rebecca Gurvey, Plaintiff - Appellant,. (nd) (Entered: 03/11/2019)
  02/06/2020           427 NOTICE OF MOTION TO VACATE SDNY ORDERS AS TO DEFENDANT LIVE
                           NATION[FRCP 60(b)(6)][NOTE: Plaintiff's previous motion filed 4/22/10 to vacate
                           3/17/09 order dismissing the defendant, Live Nation, Inc. was never adjudicated]
                           RETURN DATE: 2/21/20. Document filed by Amy R. Gurvey. (Attachments: # 1
                           Exhibit, # 2 Exhibit, # 3 Exhibit).(sc) (Entered: 02/07/2020)
  02/13/2020           428 MEMO ENDORSEMENT denying 427 Motion to Vacate. ENDORSEMENT: This
                           motion to vacate is DENIED. There is no April 22, 2010, motion on the docket. In any
                           case, this motion to vacate is untimely. Federal Rule of Civil Procedure 60(c)(1) requires
                           that any motion to vacate, under Rule 60(b)(6), "be made within a reasonable time." It's
                           been over a decade since the March 17, 2009, order was entered. Even if the April 22,
                           2010, motion to vacate were filed, that motion was also not reasonably prompt, because it
                           would have been filed over a year after the March 17, 2009, Order. Cf. Fed. R. Civ. P.
                           60(c)(1) (Rule 60 motions generally should not be made "more than a year after the entry
                           of the... order" being challenged.) This action has been appealed several times to the
                           Second Circuit, and has been resolved and closed. The Clerk of Court is respectfully
                           directed to close Dkt. No. 427, and to mail a copy of this Order to Plaintiff. (Signed by
                           Judge Lorna G. Schofield on 2/13/2020) (cf) Transmission to Docket Assistant Clerk for
                           processing. (Entered: 02/13/2020)
  02/13/2020                   Mailed a copy of 428 Order on Motion to Vacate, to Amy R. Gurvey 315 Highland
                               Avenue Upper Monclair, NJ 07043..(vba) (Entered: 02/13/2020)
  03/04/2020           429 NOTICE OF MOTION TO RECONSIDER DENIAL OF U.S.
                           PATENTEE/PLAINTIFF'S MOTION TO VACATE SDNY ORDERS BASED ON
                           FAILURE TO ADJUDICATE THE APRIL 2010 AMENDED COMPLAINT STATING
                           DAMAGES FOR PATENT INFRINGEMENT, AIDING & ABETTING
                           INFRINGEMENT & CLAYTON ANTITRUST VIOLATIONS [35:271, 271(b),285, 286;
                           15:18], re; 428 Order on Motion to Vacate. Document filed by Amy R. Gurvey.(sc)
                           (Entered: 03/04/2020)
  03/09/2020           430 ORDER denying 429 Motion for Reconsideration. Application for reconsideration
                           DENIED. Plaintiff does not raise any new information compelling a different result on
                           her Motion to Vacate the March 17, 2009, Order dismissing Defendant Live Nation (Dkt.
                           No. 65): 1. Contrary to Plaintiff's claim that the Order dismissing Live Nation -- which
                           she is now challenging -- was dated April 24, 2009, the dismissal Order was dated March
                           17, 2009 (Dkt. No. 65). Accordingly, as this Court's February 13, 2020, Order explains:
                           even if Plaintiff had filed an April 22, 2010, motion to vacate the March 17, 2009, order,
                           any such motion would "not [have been] reasonably prompt, because it would have been
                           filed over a year after the March 17, 2009, Order. Cf. Fed. R. Civ. P. 60(c)(1) (Rule 60
                           motions generally should not be made "more than a year after the entry of the... order"
                                                                                                   EXHIBIT 12
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                               being challenged.)" 2. Any appeal of the March 17, 2009 Order is not timely. See Fed. R.
                               App. P. 4; Gurvey v. Cowan, Liebowitz & Latman, P.C., 462 F. App'x 26, 30 n.5 (2d Cir.
                               2012) ("Gurvey I") (finding that Second Circuit did not have jurisdiction to consider
                               appeal of the March 17, 2009, Order, because Plaintiff did not timely include the Order in
                               her notice of appeal). The issues in this action have been fully adjudicated and appealed
                               twice. See Gurvey I, 462 F. App'x 26; Gurvey v. Cowan, Liebowitz & Latman, P.C., 757
                               F. App'x 62 (2d Cir. 2018), cert. denied, 140 S. Ct. 161, 205 L. Ed. 2d 52 (2019), reh'g
                               denied, No. 18-8930, 2019 WL 6257536 (U.S. Nov. 25, 2019). 3. None of the documents
                               Plaintiff attaches below are the April 22, 2010 filings she references. Among the
                               attachments, the one closest in time is a May 10, 2010, notice of motion to vacate the
                               April 24, 2009, Order. Both Judge Jones in a reconsideration Order (Dkt. No. 80) and the
                               Second Circuit conclusively reviewed the April 24, 2009, Order. 4. The January 28, 2020,
                               Amended Final Judgment and Consent Decree, in the Department of Justice's antitrust
                               action against Live Nation Entertainment, Inc. (available at
                               https://www.justice.gov/atr/case-document/file/1241016/download),does not bear on the
                               issues below or warrant vacatur of Orders in this action. Accordingly, reconsideration of
                               the February 13, 2020, Order (Dkt. No. 428) -- denying Plaintiff's untimely motion to
                               vacate -- is DENIED. If Plaintiff files frivolous materials, an injunction may be imposed,
                               requiring Plaintiff seek permission first before filing anything further on the docket. The
                               Clerk of Court is respectfully directed to close Dkt. No. 429, and to mail a copy of this
                               Order to Plaintiff. (Signed by Judge Lorna G. Schofield on 3/9/2020) (cf) Transmission to
                               Docket Assistant Clerk for processing. (Entered: 03/09/2020)
  03/09/2020                   Mailed a copy of 430 Order on Motion for Reconsideration,to Amy R. Gurvey 315
                               Highland Avenue Upper Monclair, NJ 07043. (aea) (Entered: 03/09/2020)
  03/19/2020           431 NOTICE OF APPEAL TO THE FEDERAL CIRCUIT from all Orders through 430 Order
                           on Motion for Reconsideration. Form 7 and Form 22 are due within 14 days. Document
                           filed by Amy R. Gurvey. (tp) (Entered: 03/23/2020)
  03/19/2020                   Appeal Fee Due: for 431 Notice of Appeal to the Federal Circuit. Appeal fee due by
                               4/2/2020. (tp) (Entered: 03/23/2020)
  03/23/2020                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals for the Federal Circuit re: 431 Notice of Appeal to the Federal Circuit. (tp)
                               (Entered: 03/23/2020)
  03/23/2020                   Appeal Record Sent to USCA Federal Circuit (Electronic File). Certified Indexed record
                               on Appeal Electronic Files for 431 Notice of Appeal to the Federal Circuit filed by Amy
                               R. Gurvey were transmitted to the U.S. Court of Appeals for the Federal Circuit. (tp)
                               (Entered: 03/23/2020)
  03/30/2020                   USCA Case Number 20-1620 from the USCA Federal Circuit assigned to 431 Notice of
                               Appeal to the Federal Circuit filed by Amy R. Gurvey. (tp) (Entered: 03/30/2020)
  04/15/2020                   USCA Appeal Fees received $ 505.00 receipt number 465401257531 on 4/14/2020 re:
                               431 Notice of Appeal to the Federal Circuit filed by Amy R. Gurvey. (tp) (Entered:
                               04/21/2020)
  06/23/2020           432 ORDER of USCA (Certified Copy) as to 431 Notice of Appeal to the Federal Circuit filed
                           by Amy R. Gurvey. USCA Case Number 2020-1620. Accordingly, IT IS ORDERED
                           THAT: (1) The court accepts Ms. Gurvey's reply (ECF No. 29) for filing. (2) The appeal
                           and all filings are transferred to the United States Court of Appeals for the Second Circuit
                           pursuant to 28 U.S.C. § 1631. Peter R. Marksteiner, Clerk USCA for the Federal Circuit.
                           Certified: 06/23/2020..(nd) (Entered: 06/23/2020)


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  09/02/2020           433 ORDER of USCA (Certified Copy) as to 431 Notice of Appeal to the Federal Circuit filed
                           by Amy R. Gurvey. USCA Case Number 2020-1620. Appellant Amy R. Gurvey filed a
                           petition for rehearing en banc. The petition was first referred as a petition for rehearing to
                           the panel that heard the appeal, and thereafter the petition for rehearing en banc was
                           referred to the circuit judges who are in regular active service. Upon consideration
                           thereof, IT IS ORDERED THAT: The petition for panel rehearing is denied. The petition
                           for rehearing en banc is denied. Peter R. Marksteiner, Clerk USCA for the Federal
                           Circuit. Certified: 09/02/2020..(nd) (Entered: 09/02/2020)
  09/30/2020                   USCA Case Number 20-1986 from the U.S. Court of Appeals, 2nd Circ. assigned to 431
                               Notice of Appeal to the Federal Circuit filed by Amy R. Gurvey..(nd) (Entered:
                               09/30/2020)
  09/30/2020                   Appeal Record Sent to USCA (Electronic File). USCA Case Number 20-1986, Certified
                               Indexed record on Appeal Electronic Files for 431 Notice of Appeal to the Federal Circuit
                               filed by Amy R. Gurvey were transmitted to the U.S. Court of Appeals..(nd) (Entered:
                               09/30/2020)
  04/01/2021           434 MANDATE of USCA (Certified Copy) as to 431 Notice of Appeal to the Federal Circuit
                           filed by Amy R. Gurvey. USCA Case Number 20-1986. Appellees move to dismiss the
                           appeal and for sanctions. Upon due consideration, it is hereby ORDERED that Appellees'
                           motion is DENIED. It is further ORDERED that the appeal is DISMISSED because it
                           "lacks an arguable basis either in law or in fact". Neitzke v. Williams, 490 U.S. 319, 325
                           (1989); see also Pillay v. INS, 45 F.3d 14, 17 (2d Cir. 1995) (holding Court has inherent
                           authority to dismiss an appeal that lacks an arguable basis in law or fact). Appellants
                           mandamus petition, which was transferred to this Court as part of this appeal from the
                           United States Court of Appeals for the Federal Circuit, is DENIED because mandamus
                           may not be used as a substitute for an appeal... Catherine O'Hagan Wolfe, Clerk USCA
                           for the Second Circuit. Issued As Mandate: 04/01/2021..(nd) (Entered: 04/01/2021)
  11/22/2021           435 MOTION UNDER FRCP RULES 60(b)(6) & 15 TO VACATE JUDGMENT &
                           REPLEAD AN AMENDED COMPLAINT POST JUDGMENT, re: for Reconsideration
                           of re; 409 Clerk's Judgment. Document filed by Amy R. Gurvey.(sc) (Entered:
                           11/22/2021)
  12/02/2021           436 MEMO ENDORSED ORDER denying 435 MOTION for Reconsideration re; 409
                           Clerk's Judgment filed by Amy R. Gurvey. ENDORSEMENT: Application DENIED as
                           untimely. Plaintiff seeks to vacate the judgment entered on July 7, 2017, under Rule
                           60(b). Plaintiff's motion is based largely on new evidence, the evidence of a patent. Rule
                           60(c)(1) provides that a motion under Rule 60(b) for reasons of newly discovered
                           evidence must be filed "no more than a year after the entry of the judgment." Here,
                           Plaintiff filed the motion more than four years after the entry of judgment. To the extent
                           Plaintiff's motion is based on other reasons under Rule 60(b)(6)'s catch-all provision, it
                           still must be "made within a reasonable time." Fed. Rule. 60(c)(1) ("A motion under Rule
                           60(b) must be made within a reasonable time...."). Plaintiff's motion is devoid of facts or
                           argument to support finding that it was made within a reasonable time. Because Plaintiff's
                           Rule 60(b) motion to vacate is denied as untimely, Plaintiff's motion for leave to amend is
                           also denied. "It is well established that a party seeking to file an amended complaint post-
                           judgment must first have the judgment vacated or set aside pursuant to Fed. R. Civ. P.
                           59(e) or 60(b)." Metzler Inv. GmbH v. Chipotle Mexican Grill, Inc., 970 F.3d 133, 142
                           (2d Cir. 2020) (internal quotation marks omitted). The Clerk of Court is respectfully
                           directed to close the motion at Dkt. No. 435 and to mail a copy of this Order to Plaintiff.
                           (Signed by Judge Lorna G. Schofield on 12/2/2021) (mml) Transmission to Docket
                           Assistant Clerk for processing. (Entered: 12/02/2021)

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  12/02/2021                   Mailed a copy of 436 Order on Motion for Reconsideration to Amy R. Gurvey at 315
                               Highland Avenue, Upper Monclair, NJ 07043. (kh) (Entered: 12/02/2021)
  12/22/2021           437 LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey, dated 12/21/21 re:
                           "MOTION FOR RECONSIDERATION" -Plaintiff has been hospitalized since early
                           December 2020(please see doctor's note attached) and requests that the Court accept this
                           motion for reconsideration of the Court's order entered 12/2/21 as within time etc. Please
                           be advised that Plaintiff was represented by counsel early in the litigation and is not pro
                           se by choice. Based on the now established liaison between Cowan's attorney, Mr Supple,
                           and the plaintiff's attorney, Lee Squitieri Esq., the plaintiff was forced to continue the
                           case pro se after Mr. Squitieri was somehow granted unilateral withdrawl in 2010
                           suspiciously within six months after the first US patent issued. There can be no prejudice
                           to the defendants if Plaintiff's motion is granted. Document filed by Amy R. Gurvey.(sc)
                           (Entered: 12/28/2021)
  12/29/2021           438 MEMO ENDORSEMENT on re: 437 Letter,,, filed by Amy R. Gurvey.
                           ENDORSEMENT: Application DENIED as untimely for the reasons stated in the Order
                           at Dkt. No. 436 as to the Rule 60(b) request, untimely under Rule 59 because more than
                           twenty-eight days have passed since the entry of judgment as explained in the Order at
                           Dkt. No. 436 and untimely under Local Rule 6.3 because more than fourteen days have
                           passed since the order sought to be reconsidered was entered. Plaintiff offers no
                           explanation why her hospitalization, which took place for less than half of the fourteen
                           days, left her unable to respond within the fourteen-day period. In any event, Plaintiff's
                           letter is a request for reconsideration of an Order denying a request for reconsideration,
                           and there is no basis for requesting reconsideration ad infinitum. If Plaintiff files frivolous
                           materials, an injunction may be imposed, requiring Plaintiff to seek permission first
                           before filing anything further on the docket. The Clerk of Court is respectfully directed to
                           mail this Order to pro se Plaintiff. So Ordered. (Signed by Judge Lorna G. Schofield on
                           12/29/2021) (js) Transmission to Docket Assistant Clerk for processing. (Entered:
                           01/03/2022)
  12/31/2021           439 NOTICE OF APPEAL TO THE FEDERAL CIRCUIT from 436 Order on Motion for
                           Reconsideration. Document filed by Amy R. Gurvey. (tp) (Entered: 01/04/2022)
  01/03/2022                   Mailed a copy of 438 Memo Endorsement to Amy R. Gurvey at 315 Highland Avenue,
                               Upper Monclair, NJ 07043. (kh) (Entered: 01/03/2022)
  01/04/2022                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals Federal Circuit re: 439 Notice of Appeal to the Federal Circuit. (tp) (Entered:
                               01/04/2022)
  01/04/2022                   Appeal Record Sent to USCA Federal Circuit(Electronic File). Certified Indexed record
                               on Appeal Electronic Files for 439 Notice of Appeal to the Federal Circuit filed by Amy
                               R. Gurvey were emailed to the U.S. Court of Appeals for the Federal Circuit. (tp)
                               (Entered: 01/04/2022)
  01/05/2022                   Deficient Pro Se Payment of Fee Received: Incorrect Payment Type received by the
                               Finance Department on 01/04/2022, in the amount of $505.00. Payment will be held by
                               the Finance Office pending further order of the Court. (stt) (Entered: 01/05/2022)
  01/06/2022           440 NOTICE OF DOCKETING & USCA Case Number 2022-1331 from the U.S. Court of
                           Appeals for the Federal Circuit assigned to 439 Notice of Appeal to the Federal Circuit
                           filed by Amy R. Gurvey. (tp) (Entered: 01/06/2022)
  01/06/2022                   USCA Case Number 2022-1331 from the USCA Federal Circuit assigned to 439 Notice
                               of Appeal to the Federal Circuit filed by Amy R. Gurvey. (tp) (Entered: 01/06/2022)

                                                                                                      EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                   66/69
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                                                          SDNY CM/ECFFiled  09/08/23
                                                                       NextGen Version 1.7 Page 74 of 206 Page
                                                         ID #:574
  02/18/2022           441 ORDER: It is hereby ORDERED that the Clerk of Court shall return the improper
                           payment. Plaintiff is advised that to cure the improper payment, Plaintiff shall make the
                           payment using one of the appropriate payment methods listed on the Court's website. The
                           Clerk of Court is respectfully directed to mail this Order to pro se Plaintiff. (Signed by
                           Judge Lorna G. Schofield on 2/18/2022) (mml) Transmission to Docket Assistant Clerk
                           for processing. Transmission to Finance Unit (Cashiers) for processing. (Entered:
                           02/18/2022)
  02/18/2022                   Mailed a copy of 441 Order to Amy R. Gurvey at 315 Highland Avenue, Upper Monclair,
                               NJ 07043. (kh) (Entered: 02/18/2022)
  03/09/2022                   USCA Appeal Fees received $ 505.00 receipt number 465401294868 on 3/9/2022 re: 439
                               Notice of Appeal to the Federal Circuit filed by Amy R. Gurvey..(wb) (Entered:
                               03/09/2022)
  03/09/2022           442 *** STRICKEN DOCUMENT. Document number 442 has been stricken from the
                           case record. The document was stricken from this case pursuant to 444 Order.
                           LETTER addressed to Judge Lorna G. Schofield from Amy Gurvey, dated 3/6/22 re:
                           MOTION TO VACATE OR RECONSIDER ORDER ENTERED 12/2/21 DENYING A
                           REPLEADED AMENDED COMPLAINT POST JUDGMENT AND PATENT
                           ISSUANCE, TO RECUSE JUDGE & VACATE ORDERS RETROACTIVE TO 2016.
                           Document filed by Amy R. Gurvey.(sc) Modified on 3/10/2022 (tg). (Entered:
                           03/09/2022)
  03/09/2022           443 *** STRICKEN DOCUMENT. Document number 443 has been stricken from the
                           case record. The document was stricken from this case pursuant to 444 Order.
                           LETTER addressed to Judge P. Kevin Castel from A. Gurvey, dated 3/7/22 re: I have just
                           discovered that without notice to me or any opportunity to be heard, my name was
                           removed from the roster of SDNY attorneys sometime during the pendency of this 13-
                           year patent and anti-trust litigation to prejudice my strict liability infringement rights and
                           my absolute right to amend my Complaint post patent issuance during the lawsuit.
                           06cv1202 etc. I am sending a copy of this letter to the new Chief Judge of the SDNY,
                           Hon. Laura Taylor Swain, to the 2nd Circuit Disciplinary Board, to the U.S. Attorney for
                           the SDNY, and appending it with relevant documents to Judge Loran Schofield with a
                           motion to replead etc. Document filed by Amy R. Gurvey.(sc) Modified on 3/10/2022
                           (tg). (Entered: 03/09/2022)
  03/09/2022                   Supplemental ROA Sent to USCA (Electronic File). Certified Supplemental Indexed
                               record on Appeal Electronic Files for 443 Letter, filed by Amy R. Gurvey, 442 Letter,
                               filed by Amy R. Gurvey, 440 Notice (Other) filed by Amy R. Gurvey, 441 Order, USCA
                               Case Number 2022-1331, were transmitted to the U.S. Court of Appeals. (tp) (Entered:
                               03/09/2022)
  03/10/2022           444 ORDER: It is hereby ORDERED that the letter is stricken from the docket because it
                           pertains to an attorney disciplinary matter handled by the Grievance Committee. The
                           Clerk of Court is respectfully directed to (1) strike the entries and letters at Dkt. Nos. 442
                           and 443 from the record and (2) ensure the letter reaches the Grievance Committee, if it
                           has not already. (Signed by Judge Lorna G. Schofield on 3/10/2022) (tg) Transmission to
                           Attorney Services/Help Desk. Transmission to Office of the Clerk of Court for
                           processing. (Entered: 03/10/2022)
  03/15/2022           445 LETTER addressed to Judge Lorna G. Schofield from A. Gurvey, dated 3/6/22 re:
                           "MOTION TO VACATE OR RECONSIDER ORDER ENTERED 12/2/21 DENYING A
                           REPLEADED AMENDED COMPLAINT POST JUDGMENT & PATENT ISSUANCE,
                           TO RECUSE JUDGE AND VACATE ORDERS RETROACTIVE TO 2016." Document
                           filed by Amy R. Gurvey.(sc) (Entered: 03/16/2022)
                                                                                                      EXHIBIT 12
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?13091837851855-L_1_0-1                                                 67/69
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                                                                         NextGen Version 1.7 Page 75 of 206 Page
                                                            ID #:575
  03/17/2022           446 MEMO ENDORSEMENT on re: 445 Letter, filed by Amy R. Gurvey ENDORSEMENT:
                           Plaintiff's application for reconsideration of the Court's December 2, 2021, Order denying
                           Plaintiff's prior motion for reconsideration is denied for the reasons stated in the
                           December 29, 2021, Order. Plaintiff was advised that there is no basis for requesting
                           reconsideration ad infinitum. The remainder of Plaintiff's arguments in this application
                           are without merit. The December 29, 2021, Order advised Plaintiff for the second time
                           that if Plaintiff files baseless materials, an injunction may be imposed, requiring Plaintiff
                           to seek permission first before filing anything further on the docket. The Second Circuit
                           has identified five factors relevant to the decision to impose a filing injunction: "(1) the
                           litigant's history of litigation and in particular whether it entailed vexatious, harassing or
                           duplicative lawsuits; (2) the litigant's motive in pursuing the litigation," including
                           whether the litigant has "an objective good faith expectation of prevailing[]; (3) whether
                           the litigant is represented by counsel; (4) whether the litigant has caused needless expense
                           to other parties or has posed an unnecessary burden on the courts and their personnel; and
                           (5) whether other sanctions would be adequate to protect the courts and other parties."
                           Vassel v. Firststorm Props. 2 LLC, 750 F. App'x 50, 52 (2d Cir. 2018) (summary order)
                           (quoting Safir v. U.S. Lines Inc., 792 F.2d 19, 24 (2d Cir. 1986) (internal quotation marks
                           omitted)). Though the Court is reluctant to impose an injunction, each factor counsels in
                           favor of imposing a filing bar. Plaintiff has a history of meritless litigation, in this case
                           and others. See Gurvey v. DiFiore, No. 19 Civ. 4739, 2021 WL 4480553, at *6 (E.D.N.Y.
                           Sept. 30, 2021). Second, Plaintiff has already been instructed not to file motions for
                           reconsideration of orders denying a motion for reconsideration. Third, Plaintiff, an
                           attorney, is not entitled to any special solicitude as a pro se litigant. See id. Fourth,
                           Plaintiff's repeated meritless lawsuits are a needless imposition on defendants and burden
                           on the courts. Fifth, other sanctions cannot adequately protect the courts and the other
                           parties. Plaintiff is barred from filing without prior leave of the Court (1) any further
                           documents in this case except for those captioned for the Second Circuit and (2) any
                           further actions in the Southern District of New York against the Defendants arising out of
                           the events alleged in the Third Amended Complaint. (Signed by Judge Lorna G.
                           Schofield on 3/17/2022) (ks) (Entered: 03/17/2022)
  04/15/2022           447 ORDER of USCA (Certified Copy) as to 439 Notice of Appeal to the Federal Circuit filed
                           by Amy R. Gurvey. USCA Case Number 2022-1331. IT IS ORDERED THAT: The
                           appeal and all filings are transferred to the United States Court of Appeals for the Second
                           Circuit pursuant to 28 U.S.C. § 1631 Peter R. Marksteiner, Clerk USCA for the Federal
                           Circuit. Certified: 04/15/2022..(nd) (Entered: 04/15/2022)
  05/10/2022                   Appeal Record Sent to USCA (Electronic File). USCA Case Number 22-840, Certified
                               Indexed record on Appeal Electronic Files for 439 Notice of Appeal to the Federal Circuit
                               filed by Amy R. Gurvey were transmitted to the U.S. Court of Appeals..(nd) (Entered:
                               05/10/2022)
  05/25/2022           448 ORDER of USCA (Certified Copy) as to 439 Notice of Appeal to the Federal Circuit filed
                           by Amy R. Gurvey USCA Case Number 2022-1331. Amy R. Gurvey filed a petition for
                           panel rehearing and a document construed as a supplement to the petition [ECF No. 24].
                           Upon consideration thereof, IT IS ORDERED THAT: The petition for panel rehearing is
                           denied. Peter R. Marksteiner, Clerk USCA for the Federal Circuit. Certified: 5/25/2022.
                           (tp) (Entered: 05/25/2022)
  08/18/2022           449 MANDATE of USCA (Certified Copy) as to 439 Notice of Appeal to the Federal Circuit
                           filed by Amy R. Gurvey. CAFC Case Number 22-1331; USCA Case Number 22-0840. A
                           notice of appeal was filed on April 15, 2022. Appellant's Form D-P was due May 3, 2022.
                           The case is deemed in default. IT IS HEREBY ORDERED that the appeal will be
                           dismissed effective June 1, 2022 if the form is not filed by that date. Catherine O'Hagan

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                               Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate: 8/18/2022. (tp) (Entered:
                               08/18/2022)
  08/18/2022                   Transmission of USCA Mandate/Order to the District Judge re: 449 USCA Mandate. (tp)
                               (Entered: 08/18/2022)
  04/28/2023           450 LETTER addressed to Judge Lorna G. Schofield from A. Gurvey, dated 4/25/23 re:
                           "LETTER REQUESTING PERMISSION"- I enclose a letter requested by the Appellate
                           Division Third Department addressed to Attorney Membership Office Anthony Moore,
                           Esq. that establishes that the preclusion order issued by the Court in March 2022 was
                           unwarranted, and again targeted the wrong parties in this action. Document filed by Amy
                           R. Gurvey. (Attachments: # 1Letter Part 2, # 2 Letter Part 3)(sc) (Entered: 05/01/2023)
  05/01/2023           451 LETTER addressed to Judge Lorna G. Schofield from A. W. Gurvey, dated 4/25/23 re:
                           "LETTER REQUESTING PERMISSION" - There is not one attorney I have contacted
                           who disputes that I have been treated abominably by this Court. Almost all have conflicts
                           with infringers, making it more urgent that I get a hearing of my patents and on the unfair
                           competition and continuing antitrust violations by defendant Live Nation. Document filed
                           by Amy R. W. Gurvey.(sc) (Entered: 05/01/2023)
  05/01/2023           452 LETTER addressed to Judge Lorna G. Schofield from A. Gurvey, dated 4/25/23 re:
                           "LETTER REQUESTING PERMISSION"- I am constitutionally entitled to a hearing on
                           my patents under the Fifth Amendment by the SDNY. Even if I was admitted in NYS and
                           had been legitimately sanctioned for six months as an attorney in a HUD housing case,
                           which I was not etc., that has nothing to do with denying me a hearing on my patents in
                           defiance of the 5th Amendment for thirteen years. Document filed by Amy R. Gurvey.(sc)
                           (Entered: 05/02/2023)
  06/05/2023           453 NOTICE OF DOCKETING. USCA Case No. 2023-134. A petition for writ of mandamus
                           has been filed and assigned the above Federal Circuit case number. The court's official
                           caption is included as an attachment to this notice. Unless otherwise noted in the court's
                           rules, the assigned docket number and official caption or short caption must be included
                           on all documents filed with this Court. It is the responsibility of all parties to review the
                           Rules for critical due dates. The assigned deputy clerk is noted below and all case
                           questions should be directed to the Case Management section at (202) 275-8055..(nd)
                           (Entered: 06/05/2023)
  08/16/2023           454 ORDER of USCA (Certified Copy) USCA Case Number 2023-0134. Amy R. Gurvey
                           petitions for a writ of mandamus to "disqualif[y]" the magistrate judge and district court
                           judge, vacate the district court's orders "retroactive to 2012," and direct that her case be
                           transferred. ECF No. 2-1 at 21-22. IT IS ORDERED THAT: The petition is dismissed.
                           Jarrett B. Perlow, Clerk USCA for the Federal Circuit. Certified: 08/16/2023..(nd)
                           (Entered: 08/16/2023)



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                                                     Report          Criteria:         HBP
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                                                                         CIVIL RIGHTS COMPLAINT
                                                                         FOR DAMAGES [42 USC §§ 1983,
                                                                         1988], INJUNCTIVE RELIEF
                                                                         UNDER FOIA[ 5 USCA§ 552]
                                                                         DECLARATORY RELIEF AND
                                                                         DEMAND FOR A JURY TRIAL
                           Plaintiff pro se,

                           -v-

STATE OF NEW YORK, CITY OF NEW YORK,
Appellate Division First Dept., Appellate Division First
Dept. Disciplinary Committee ("DDC"), NYCINYS Ethics
Boards for Attorney Discipline, NYS Commission on Judicial
Conduct ("Commission"), NYS Office of Court Administration ("OCA"),
Hon(s). Jonathan Lippman, Luis Gonzalez, Robert Tembeckjian,
Thomas Cahill, Alan Friedberg, Hal Lieberman, Richard Supple,
Mary Jo Hamilton, James T. Shed, Paul Curran (deceased),
Jorge Do Pico, Naomi Goldstein, Sherry Cohen,
Halliburton Fales, Raymond Vallejo, Orlando Reyes,
DDC Hearing Panel IV), and DOES I-X, Inclusive,

                           Defendants.

--------------------------------------------------------------------)C


                                    I.       STATEMENT OF THE CASE

         1.       This civil rights lawsuit is being filed by Plaintiff pro se Amy Weissbrod-Gurvey,

a USPTO inventor and resident ofNJ who has been issued US patents in premium e)Cpanded

ticketing operations, apparatuses and digital editing, conversion and authenticated real time

distribution of event content 1. Plaintiff s first patents were delayed for USPTO prosecution for

an unprecedented 7 years, i.e., from 2002- 2009, because ofthe inequitable patent misconduct,


1 Gurvey US Patent Nos. 7,603, 321;D 610947S. Plaintiffhas been on inactive attorney status
in CA since ~996and-formal1~r-~~~·~_~·~m the Third Dept. in NYS as of2001, before times
relevant to this lawsuit.              -



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            fraud, breach of fiduciary duty and conspiracy to commit patent theft with other clients

            undertaken by her NY patent attorneys and managing partners at Cowan Liebowitz & Latman,

            PC. Plaintiffs ongoing DR violations against the Cowan firm that were filed as proper

            grievances with defendants starting in 2004, were consistently whitewashed in contended

            violation of Equal Protection and DDC's standard disciplinary protocols [NY's Judiciary Law §

            487,22 NYCRR 600, et seq., 22 NYCRR 1200 et seq.]

                    2.     Cowan's USPTO withdrawal form seeking unilateral withdrawal from Plaintiffs

            patent representation was allegedly filed in 2003 conceding to an admitted "conflict of interest"

            as the grounds, but there is no proof of service at the USPTO and Cowan did not serve Plaintiff

            with that notice. This is a per DR violation. At this time, Cowan had done virtually zero patent

            work over 17 months and was withholding what Cowan knew to be essential services to protect

           Plaintiffs inventions and valuable priority dates such as filing timely follow-up applications for

           expedited prosecution. Had these applications been filed as is the proper standard of care to

           protect an inventor's rights, it would have resulted in Plaintiff getting at least the same and

           possibly more comprehensive issued US and PCT patent claims by no later 2004. Instead,

           Plaintiff patent enforcement rights were also unduly delayed for 7 years, demonstrating the huge

           damages that Plaintiff and her technology company suffered and continue to sustain based on

           Cowan's inequitable patent misconduct.

                    3.    Plaintiff had in fact given Cowan her long form drafts, schematics, drawings,

           specification and draft claims to edit and file early in 2002 after Cowan accepted Plaintiff s

           $50,000 retainer in December, 200t But Cowan never did virtually any work and instead gave

           the detailed contents of Plaintiff s patent drafts and ideas to others. Cowan also improperly

           never sent Plaintiff a formal retainer agreement as is required in NYS and kept delaying after




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 promise a retainer would be sent. In essence, Cowan thereafter unlawfully abandoned Plaintiff

 after stealing her patent retainer and ideas under false pretenses, use the delay time to assist other

 clients, and delay Plaintiff s enforcement rights against them.

         4      At the time Cowan's withdrawal form was allegedly filed in 2003, Plaintiffs two

 provisional applications that Cowan had filed in May 2002 were about to lapse into the public

 domain. These provisional applications were in the form of text summaries only and did not

 include the contents of Plaintiffs 50-page drafts, demonstrating that Cowan had done virtually

 no work worth more than $1,500. The incriminating evidence is demonstrating by the fact that a

 week later, on May 5, 2003, excerpts from Plaintiffs confidential inventions, novel terms of art

 created by Plaintiff, and long-form patent drafts that had been at the firm for 17 months, were

 published in the New York Times Business Section with Cowan's other client Clear Channel

 taking credit for Plaintiffs ideas in introducing a new company, Instant Live Concerts, LLC. A

 second subsidiary outsourcing Plaintiff s ticketing inventions was also enabled through Cowan

 fraud and tortious misconduct. NexTicketing, Inc. was subsequently formed by Clear Channel in

 2005, and then used to feed outsourced ticketing systems integrating Plaintiffs inventions to

 Instant Live after it was acquired by Live Nation. Live Nation then precluded Plaintiff and other

 companies from entering its .dominant share of live event venues

        5.      Verbatim terms of such as "to capture otherwise lost live content" taken directly

from Plaintiffs confidential files and draft applications at the firm were printed in the New York

 Times article and another Cowan client, Phish, had its interview sound bites also printed. The

New York Times is another trademark client of the Cowan firm; and Plaintiffs calls to the free-




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 lance reporter, Matthew Mirapol, were never returned. 2 Plaintiff then discovered that Cowan

 was in dire financial condition and its two rainmaking 'patent partners, Michael Wolfson, Esq.

 and William Dippert, Esq. had exited the firm. Plaintiff also discovered that a Cowan senior

 associate, Susan Schick, had been unlawfully disseminating emails that Plaintiffs inventions

 "were a Cowan patent project", in essence breaching Plaintiffs attorney client-privilege. At

 times relevant, Schick was engaged to the bass guitarist of Phish, Michael Gordon, and is now

 married to him. Schick has since left the firm.

         6.      The nature and source of Cowan's admitted conflict as stated on its attempted

 USPTO 2003 withdrawal form was never thereafter disclosed by Cowan or compelled by

 defendants in response to Plaintiff s otherwise proper DR grievances that were filed starting in

 2004. This demonstrates defendants' per se violations of equal protection and deviations from

 its standard disciplinary protocols.

        7.      As ultimately confirmed by the USPTO, Cowan, in fact, inserted non-existent

 attorney customer numbers and a Washington DC address on the federal withdrawal form,

thereby engaging in federal fraud as defined under the False Claims Act, 31 USC §3 729. Cowan

also did not completely withdraw and filed no withdrawal from a second patent application filed

for Plaintiff in her sole name, thereby causing the USPTO Commissioner to take Plaintiff s

applications for prosecution in due course until the matters pertaining to Cowan's improper

withdrawal tactics were resolved to USPTO's satisfaction.

        8.      A USPTO investigation thereafter ensued and in fact continues, per a 2014 notice

Plaintiff received from the USPTO General Counsel. To this date, defendants never even cited

Cowan for DR violations, never compelled return Plaintiffs non-public patent files or her


2Cowan's written notes and orders pertaining to issuance and placement the article remain
outstanding in SDNY discovery.


                                                   4
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 unearned retainer of $50,000, or even offered Plaintiffs fee mediation which is defendants'

 standard practice.   Plaintiff has no idea when the USPTO OED investigation was formally

 opened.

         9.     Cowan's misconduct by both its patent attorneys and managing partners was the

 subject of ongoing grievances filed by Plaintiff at defendant DDC including documentary proof

 that Cowan intentionally purged relevant patent files from Plaintiff's e-directories and altered

 patent evidence between 2002-09 in violation of Micron Technology v. Rambus, 645 F. 3d 1311

 (D. Del 2013). Cowan and its defense attorney, defendant Richard Supple, herein, also

 unlawfully submitted altered patent evidence to SDNY for more than 5 years, engaging in further

 DR violations. In 2013, Plaintiff discovered that Cowan altered and withheld patent files

 between 2002-2004 were purged "at other client's instructions"; and Cowan had integrated the

 contents of Plaintiff s digital conversion algorithms into a PCT application filed on May 6, 2002

 for but another client, Legend Films of San Diego.

        10.     Because the Legend PCT was filed prior to the two provisionals Cowan filed for

Plaintiff later in May, 2002, Plaintiff lost patent claims to Legend. In 2014, the USPTO General

 Counsel noticed that Cowan lawyers are under ongoing investigation for potentially criminal

 misconduct in connection with Plaintiffs patent retainer.

        11.     Plaintiffs previous attorney, Squitieri & Fearon, LLP, retained to prosecute all

Plaintiffs damage claims against Cowan, in 2009, in fact got some of these incriminating emails

that Cowan had purged in 2002-4. Squitieri got the emails from defendant Richard Supple.

However, the versions that Squitieri got proved that Cowan and Supple had unilaterally altered

certain of the the documents and made photocopies with changes self-serving to Cowan. An




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 example is a rider that was date stamped by Cowan as found by SDNY Arbitrator on April 17,

 2002 when Plaintiff also signed it, ,but the date stamp was thereafter changed to May 8, 2002.

         12.     In addition, after Squitieri assisted Plaintiff in winning binding SDNY arbitration

 both he and defendant Supple refused to docket the Arbitration Award in Plaintiff's favor on all

 counts. Thereafter Cowan and Supple removed the date stamped copy of Plaintiff's 4AC

 complaint from the SDNY file room. The date stamp of April 22, 2010 on the 4AC now

 amended to recover for the lost claims in Plaintiff's first issued US patent after 8 years was

 suspiciously one day after Squitieri moved to unilaterally withdraw.

         13.     Thereafter and further suspiciously, Squitier.i refused to return Plaintiff's SDNY

 Case files inclusive of the altered patent documents created by Cowan and Supple. This required

 Plaintiff to enter Supreme Court of NY, NY County in 2012 to get a writ of replevin that was

 granted on April 30, 2013 (Index No. 20121102516). In the meantime, Plaintiff's DR grievances

 against Squitieri seeking return of her case files were also whitewashed by defendants.

         14.    Upon information and belief, the State and City of NY are currently outsourcing

 certain of Plaintiff's inventions that are the subject of Plaintiff's issued US patent claims for the

 City's updated MetroCard technology, and at the new Performing Arts Center at the World

 Trade Center site.

        15.     Moreover, Cowan's former client, Live Nation Entertainment, Inc. (now merged

with Ticketmaster pursuant to the conditional DO] mandates issued before DC District Court in

2010) continue to outsource Plaintiff's inventions including in NY and the merged entity is

unlawfully excluding Plaintiff's inventions from their dominant share of live event venues in

direct violation of the DO] mandates. Plaintiff's inventions were improperly excluded from the




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 Meadowlands in NJ to manage the 2012 Superbowl. 3 All this misconduct traces back to

 Cowan's inequitable patent torts.

         16.     Live Nation and its lawyers at Baker Botts, LLP, defrauded SDNY in 2009 by

 falsely contending that Live Nation and Clear Channel have no NY contacts to confer

 jurisdiction, after they used their Cowan NY lawyers to defraud Plaintiff and get access to

 Plaintiff's confidential inventions. Live Nation and Baker Botts' untruthful motions, are

 ludicrous. As is common knowledge and verifiable from their 10Ks, Live Nation and Clear

 Channel (now reorganized as Clear Channel Radio) own and operate 146 live events venues in

 the tri-state area and 25 major FM radio stations including WLTW 106.7 Lite FM and Z 100,

 both in NYC. However, their two new subsidiaries, Instant Live Concerts and NexTicketing

 were noticed as dissolved in 2011 after Plaintiff got her first issued US patents and Live Nation's

 merger with Ticketmaster was completed. Defendants that were sent the SDNY motion papers

 and Supple's ex parte application to retired Judge Barbara Jones falsely contended that Plaintiff

 had agreed to withdraw her claims against Cowan and therefore Plaintiff should be denied

 arbitration and discovery, was in fact granted the same day on January 30, 2008.      Plaintiff never

 agreed to withdraw any claims.

         17.     SDNY Arbitration was thereby delayed for another 16 until the case was closed,

Plaintiff's award was entered 4 months after case closing, had findings inconsistent with the

ruling of law closing the case, sending Plaintiff s pro se appeal to the Merit Panel of Second

 Circuit after Squitieri withdrew and retained Plaintiff s files. Plaintiff got no discovery

documents until December, 2012 on remand, 7 years after the patent misconduct case was filed.


3 The NJAG was one of the 18 state parties to the DOJ proceedings concerning the merger of

Live Nation and Ticketmaster and the NYAG was not.



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                                                                                                               I

                                             II. PARTIES

             18.     Plaintiff, a USPTO inventor and resident ofNJ, is appearing pro se in this civil

     rights lawsuit by necessity because more than 30 law firms have expressed conflicts of interest

     with the Cowan firm, its defense lawyers defendants Richard Supple and Hal Lieberman herein,

     and potential infringers of Plaintiff s inventions and patents, precluding their legal ability to

     accept Plaintiff's retainer. Plaintiff is therefore entitled to recover her attorneys' fees pursuant to

     42 USC §1988, 5 USC §552. Wilson v. Montana Dept. o[Corrections, 2012 WL 1031498.

             19.    Plaintiff submits this lawsuit on her behalf and on behalf of other innocent victims

     of attorney fraud, federal fraud and DR violations including but not limited to fraud undertaken

     by attorneys against patent inventors. Plaintiff and others have had their otherwise proper DR

     grievances thereafter whitewashed by named defendants herein, and others have had the

     unfortunate experience of having their federal lawsuits dismissed or transferred. SDNY's

     decisions and orders are unanimous that state courts have sole jurisdiction over matters of

     attorney misconduct and that Rooker-Feldman abstention bars a federal lawsuit even based on

     defendants' transgressions of constitutional rights and whitewashing proper attorney DR

     grievances in violation of equal protection. See, e.g., Esposito v. State and City o[NY, 2007WL

     3523910 (SDNY); Bernstein v. State o[NY and AD First Dept. Disciplinary Committee, 07-cv-

     11196 (SDNY); Anderson v. State and City o[NYand the AD First Dept. Disciplinary

     Committee, 07-cv-9599 (SDNY); see Cold Spring Harbor Laboratories v. Ropes & Gray, 2011

     WL 2884893,840 F. Supp. 2d 473 (D. Mass.) (Transferred from EDNY because the State ofMA

     disciplined the patent attorneys and NYS did not).

            20.     In this lawsuit, Plaintiff now claims the benefit of the US Supreme Court's 2013

     decision and order in Gunn v. Minton, 133 S. Ct. 1059 (USSC Tex. 20l3) (Roberts. J.) in filing




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 for damages against defendants pursuant to 42 USC §§ 1983, 1988. Justice Roberts' decision

 and order mandates change in NYS's prevailing attorney discipline protocols; and Plaintiff is

 entitled to the benefit of the law as revised. The US High Court held that attorney misconduct

 claims including DR violations in the patent field that "do not require resolution of a significant

 issue offederal patent law" can no longer be filed in the federal courts and are the state's

 principal responsibility. Justice Roberts went further to emphasize that the states are now

 deemed to have a compelling interest in protecting the rights of inventors, which in NY would

 include defendants' taking mandatory disciplinary action at the Board and DDC levels consistent

 with Equal Protection.

         21.    Plaintiff now rightfully seeks compensatory and consequential damages;

 injunctive relief in the form of a writ of replevin under the Freedom of Information Act, 5

 USCA § 552 ("FOIA") to compel all relevant files pertaining to Cowan lawyers and agents

 defendants Richard Supple and Hal Lieberman, Esq., Plaintiff's other NY lawyers involved in

 the prosecution of her patents and Cowan lawyers (Squitieri & Fearon, LLP, Ted Weisz, Esq.

 Allan Chan, Esq. Charles Ruggiero, Esq. and David Aker, Esq. ) and to Plaintiff's personally;

 declaratory determinations of violations of Plaintiff's constitutional rights; attorneys' fees and

 costs pursuant to 42 USC§§ 1983, 1988, and punitive damages in the Court's discretion against

those defendants, in their individual capacities, who are found to have engaged in malicious and

reprehensive misconduct against Plaintiff's interests.

        22.     At times relevant, defendants were presiding judges at New York State's

Appellate Division ("AD") for the First Judicial Department, presiding supervisory judicial

officers and quasi-judicial officers on staff at the AD First Dept. Disciplinary Committee

("DDC"), judicial and quasi-judicial officers on staff at the NYS and NYC's attorney




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 disciplinary boards (collectively the "Boards"), the NYS Commission on Judicial Conduct

 ("Commission") and at the NYS Office of Court Administration ("OCA") 4 5 .

         23.     At times relevant, defendants consistently violated Plaintiffs rights uficler the

 FOIA and improperly failed to turn over all of Plaintiffs relevant DDC files against Cowan,

 against her previous NY attorney at Squitieri & Fearon, LLP who were retained to prosecute the

 Cowan lawyers, against Allan Chan and Charles Ruggiero, Esq. who were retained to mitigate

 Plaintiff s patent damages, and ended up being called by defendants behind Plaintiff s back and

 told false and disparaging information about Plaintiff unrelated to the case.

         24.    Plaintiff also seeks by FOIA all documents from disciplinary proceedings and

 matters handled by Cowan's defense attorneys, defendants Richard Supple and Hal Lieberman

 herein. These latter files are material because defendants Supple and Lieberman in fact make

 their money by doubling as partners in malpractice insurance defense law firms, but hold

 themselves out as public fiduciaries policing bad attorneys for the public. As concerns Plaintiff,

 defendants Supple and Lieberman as partners at Hinshaw & Culbertson, LLP jointly and

 severally are contended to have violated the ethics rules by failing to make mandatory

 disclosures of their innate conflicts of financial interest when assuming Cowan's defense before

 SDNY in 2006. Defendants accepting a heft ongoing retainer from Cowan's insurance carrier

 and are the only individual making money after 12 years of serious prejudice caused to

 Plaintiff s patents, business and person.

        25.     Plaintiff further contends that starting in 2007 certain defendants in consort with

 defendants Supple and Lieberman and under the administrative auspices of defendant Luis



 4 At times relevant, defendant Hon. Jonathan Lippman was chief counsel of OCA.


 5 Since 2008, OCA databases have been consolidated for all ofNYS within the First Dept.



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 Gonzalez breached their administrative/non-judicial duties by retaliating and abusing process

 against Plaintiff in violation of the First Amendment without jurisdiction or statutory authority.

 Plaintiff somehow found herself the subject of a disciplinary proceeding filed by defendants,

 proscribed by NY law, and without any jurisdiction over Plaintiff.

         26.        Upon information and belief, defendant Supple thereafter collaborated with

 defendants Sherry Cohen, Naomi Goldstein, James T. Shed and others 6in an attempt to falsely

 discredit Plaintiff to get Cowan defendants litigation advantages before SDNY when no

 meritorious defense exists for what they did. Defendants, in fact, have a history of retaliating

 against other supposed "attorneys" who properly report other NY attorneys for violating the DRs,

 as is their ethical obligation under the ABA Model Rules and NY's Constitution, when it suits

 their personal financial or political interests. [See. e.g., Anderson v. State orNY and First Dept.

 Disciplinary Committee, 07-cv-9599 (SDNY)][

         27.        At all relevant times herein, named judicial and quasi-judicial DDC and Board

 defendants herein were bequeathed with both statutory authority and non-delegable

 constitutional obligations under 22 NYCRR 600, e seq., 1200 et seq. and NY's Judiciary Law §

 487, inter alia:

         (a) to discipline NY attorneys for breaching Disciplinary Rules ("DRs") and ethics rules

contrary to the interests of a client;

         (b) to discipline attorneys within their jurisdiction according to governing rules in an

equal and non-arbitrary manner;




6 defendant Paul Curran (now deceased)



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         (c) to timely compel return of unlawfully withheld client files and privileged documents

 particularly after an attorney's unlawful abandonment of a client to minimize any further

 prejudice or damages to the client;

         (d) to offer fee mediation when unearned retainer monies are being unlawfully withheld;

         (e) to comply with governing FOIA requirements and tum over DDC and NYS's

 complete files on any aggrieved client's particular attorney's disciplinary case or investigation;

         (f) to ensure that jurisdiction and statutory authority exist to discipline a reported or

 targeted attorney [Bradley v. Fisher, 13 Wall. 335,20 L.Ed. 646 (1872)];

         (g) to offer verbatim original transcripts from relevant hearings [Cleavinger v. Saxner.

 474 US, 193 106 S. Ct. 496, 88 L. Ed. 2d 507,54 USLW 4048 (1985)];

         (h) to propose ongoing reform measures for attorney discipline throughout NYS;

 and as concerns defendants who are DDC and Board NYS attorneys and judge administrators,

         (i) to comply with all governing statutes and ethics rules at all times and in all capacities

 including, without limitation, to disclose known conflicts of interest that exist or may arise

 between their public responsibilities and any other outside jobs or posts defendants undertake;

 and

         G) to recuse or disqualify themselves when the circumstances require.

        28.     At all times relevant, Plaintiff was continuously and unlawfully denied all

 statutory and standard state redress rights offered by defendants to others as set forth in 27.

 above, and defendants improperly continue to withhold all assistance owing to Plaintiff under

 equal protection through the present date.

        29.     Defendants' disciplinary jurisdiction over Cowan lawyers continues especially in

 the face of Cowan's established patent fraud, conspiracy to steal Plaintiff s inventions with other




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 clients and purging files. But still, defendants have taken zero disciplinary or remedial action to

 assist Plaintiff's cause or even help her mitigate damages. Hatch v. Doms, 338 US 318 (1993)

        30.     Under the US Constitution, NY's Constitution and decisions from the US

 Supreme Court, defendants are under unanimous mandates to discharge their administrative

 duties and non-discretionary functions to Plaintiff and other citizens consistent with Fourteenth

 Amendment and all relevant constitutional guarantees. Quasi-judicial immunity is only available

 to those defendants who properly undertake judicial/purely discretionary tasks and not when

 performing supervisory or administrative functions. There is no Eleventh Amendment immunity

 available to either judicial or quasi-judicial defendants whatsoever for breaching purely

 administrative duties such as failing to record proceedings, withholding verbatim transcripts,

 continuing to preside over a case when jurisdiction is lacking; or engaging in harassment or

abuse of process of an attorney of citizen without jurisdiction or statutory authority. [Bradley v.

Fisher, 13 Wall. 335,20 L.Ed. 646 (1872); Cleavinger v. Saxner, 474 US, 193 106 S. Ct. 496,

88 L. Ed. 2d 507, 54 USLW 4048 (1985); see also, Pierson v. Ray 386 US 547,87 S. Ct. 1213,

18 L. Ed. 2d 288 (1967)]. This is because the US Supreme Court has unanimously held that

immunity attaches to the function and not the office. Forrester v. White 484 US 219, 108 S. Ct.

538 (1988) (O'Connor J.)

        31.     In the face of Gunn v. Minton, 133 S. Ct. 1059 (USSC Tex. 2013), defendants'

duty to assess discipline against patent attorneys in compliance with equal protection is now

mandatory and not discretionary.

        32.     Defendants' disciplinary jurisdiction at the DDC and Board levels is qualified

and limited. Jurisdiction extends only over NY attorneys who have (i) represented a client

before the Courts of the First Dept., (ii) are admitted to the First Dept., (iii) have their law offices




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 in the First Dept., and/or (iv) commit acts of moral turpitude. This places Plaintiffs patent

 lawyers at Cowan Liebowitz & Latman, PC ("Cowan") squarely within the purview of

 defendants' police power; but Plaintiff is not.

         33.      Conversely, because the proper exercise of defendants' disciplinary jurisdiction

 requires that an attorney client relationship existed during the time that DR violations were

 committed [See, Kay v. Ehler, 499 US 423 (1992); see also, Le(emine v. Wideman, 758 F. 3d 551

 (4 th Cir. 2014) (and cased cited therein)], an aggrieved client who is the victim of attorney DR

 violations who happens to have a legal background, went to law school or is an attorney, is not

 subject to defendants' jurisdiction because the aggrieved citizen is not by definition the "attorney"

 in the relevant attorney client relationship.

         34.     In 2014, NY ethics experts including NYU Law professor Stephen Gillers

 proposed reform measures 7 for NY's state-wide attorney disciplinary system conceding that the

 rules are not uniform in the eleven AD departments, and the disparities often result in unfair

 constitutional notice problems to attorneys who represent clients in other departments.

 Currently, all Eleven Departments ofthe AD in NYS have their own DDC Boards and

 governing disciplinary protocols 22NYCRR 600,800 et seq., 1200 et seq. According to

Professor Gillers, several attorneys have been unfairly and improperly disciplined.

         35.    In addition, because the NY Court of Appeals is a Court of limited jurisdiction

and attorney discipline proceedings originate in the AD, there is no guaranteed means for appeal

or recourse against a biased AD or kangaroo court.




7 See NYU Ethics Law Professor Stephen Gillers' Survey published in the June 2014 issue of the

NYU Journal of Legislation and Ethics.


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         36.     In 2013, the Chair of NYC Ethics Board, who is ironically none other than

 defendant Richard Supple herein, rresented to presiding judicial defendants herein Hon(s). Luis

 Gonzalez and Jonathan Lippman his own list of what he considers to be the most serious attorney

 ethics violations. In his appended letter, Supple and NYS Ethics Board Chair Mary Jo Hamilton,

 jointly advocated mandatory suspension or disbarment in all NY Depts. when any of the

 violations on their "no-no-list" were undertaken against a client. That list and the relevant letter

 are appended to this complaint.

        37.     The irony and hypocrisy ofthe current NYS disciplinary system, is demonstrated

 from Supple's own ethics violations contrary to his own "no-no" list while representing Cowan

 defendants in Plaintiff s SDNY lawsuit. 8.

        38.     It is contended herein defendant Supple and his partner defendant Hal Lieberman,

 a former DDC Chief Counsel, got superior access to Plaintiff s confidential grievance

 information, and as Cowan's agent, also got additional access to privileged information Plaintiff

 gave to Cowan lawyers as part of her attorney-client relationship. It is further contended that

 Supple and Lieberman unlawfully misused Plaintiffs confidential and privileged information,

 breached Plaintiffs attorney-client privilege as Cowan's agent, and abused litigation privilege

before SDNY since 2006 by altering material patent evidence and divulging false and

defamation information, some of it privileged, unrelated to the case to outside attorneys and

judge defendants herein to gain unfair litigation advantages for his clients. 9 Supple has done



8 06-cv-1202 (SDNY); 09-2185;10-4111; 14-960-cv (2d Cir.), decision and order at 462 Fed.

Appx. 26 (Feb. 10,2012)


9 An example is that as part of attorney client privilege, Plaintiff told Cowan partners William

Borchard and Arthur Greenbaum that her HUD tenant attorney since 1999 had suffered a


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 nothing for 9 years but lie to the Court, engaging in frivolous litigation and false swearing in

 support of 14 sanctions motions to prevent Plaintiff's discovery of further incriminating

 documents from coming to the forefront. In actuality, defendant Supple and his Cowan clients

 have zero case or defense to Plaintiff s claims.

        39.     For close to 9 years now, Lieberman and Supple, failed to disclose their own

 inherent conflicts of financial interest since taking up Cowan's defense in 2006 after misusing

 their public posts to get inside information and collaborate with defendants herein who

 whitewashing Plaintiffs DDC grievances.

        40.     Before SDNY, defendant Supple falsely swore ex parte to retired Judge Barbara

 Jones that Plaintiff had agreed to withdraw her claims so that he could delay discovery on tort

 claims and an evidentiary hearing on contract claims through arbitration. 10 This is a major "no-

 no" on Supple's own mandatory disciplinary action list.



nervous breakdown, that Supreme NY had already found that the HUD landlords' attorneys
materially forged documents after Plaintiff and her attorney had signed them, that Plaintiff s
attorney was moving to vacate the landlords' forged judgment of possession in the Housing Part,
but that Plaintiff was concerned that her attorney had already failed to file a note of issue in
Supreme Court; and did not append all the relevant documents to his motion to vacate in the
Housing Part.
10 Plaintiff won arbitration against the Cowan firm on all contract counts on August 4,2009,

SDNY Arbitrator found facts relevant to Cowan's conspiracy with other clients to alter
documents and steal Plaintiffs inventions, but the Arbitration Award in Plaintiffs favor was not
entered until after Judge Jones had improperly closed the case on April 27, 2009, sending
Plaintiffs pro se appeal to the Merit Panel of Second Circuit in 2011 and mandating reversal of
the order. (462 Fed. Appx. 26. Feb 10, 2012)(2d Cir.). That patent issued to Plaintiff after the
case was closed meant that an independent grounds for jurisdiction existed to sue Cowan's
clients Clear Channel and Live Nation based on their unauthorized and unlawful use of


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         41.      The hypocrisy of NY's disciplinary system and those who administer it should not

 be clear, that when the financial or political interests of defendants are at stake, that the current

 system operates to protect attorneys and not the public, particularly. In addition, it defies the US

 Supreme Court mandates and does not special allowances to protect patent inventors, as is now

 the law.

         42.      There is the additional constitutional problem in NYS that the presiding justice of

 the AD doubles as the supervising administrator of the DDC, such that if defendants improperly

 whitewash a client's grievances, the same justice will preside over an appeal to the legal

 malpractice lawsuit that must now, under Gunn v. Minton, supra, be adjudicated in the state

 court. This is precisely why in California and most other states, the judicial appeals functions

 that govern the court system, are kept separate from the attorney disciplinary system.

        43.       Declaratory determination of Supple and Lieberman's per se violations of

Plaintiff's constitutional rights are sought in this lawsuit and their failure to disclose financial

 conflicts of interest and abusing litigation privilege in violation of the DRs. Other Hinshaw

partners were in fact already held personally liable to opposing attorneys in complex litigation

for abusing litigation privilege, dissemination untruthful and confidential information not related

to the case. Edelman Combs & Latturner v. Hinshaw & Culbertson, LLP, 338 Ill. App. 3d 156,

798 NE 2d 740 (2003); US Express Lines v. Higgins, 281 F. 3d 383 (3d Cir. 2002); Antonelli v.

Westville Holdings, 2012 WL 280722 (Bkrtcy DNJ 2012).




Plaintiffs inventions after Cowan's dissemination of Plaintiffs trade secrets to them before her
patents issued.


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         44.    Plaintiff has been the subject of defamation, untruthful ridicule, and the sine qua

 non, abuse of process from defendants but suspiciously instituted only after she filed the

 Cowan lawsuit in 2006.


        45.     As emphasized by Justice Roberts in Gunn v. Minton, supra, the inventor is in a

 precarious Catch 22 situation that must be considered by the State. This is because in order to

 win damages in an attorney malpractice lawsuit, the client must show case within a case liability,

 i.e., but for the attorney's misconduct, the client would have won the underlying lawsuit, or in

 this case, would have gotten issued patents. Ergo, until a patent inventor has an issued US

 patent, the attorney can always contend that the subject matter of the invention was not

 patentable and therefore, proffer a defense that could result in premature dismissal of the case.

 Moreover, by the time a patent may issue to prove the attorneys' misconduct, the statute of

 limitation may have already run.

        46.     In the instant case, however, Plaintiff got her first patent based on the inventions

 Cowan was given to protect after an unprecedented 8 years. That patent was missing claims

 owing to Plaintiff and priority dates, proving damages directly attributable to Cowan's

misconduct and breach of duty. The misconduct has spiraled to reveal more serious culpability

and criminal fraud than Plaintiff could have imagined. Plaintiff had the wherewithal, however,

to file her lawsuit to maintain statutes of limitation and expressly stipulate that an amendment

would be allowed after patent claims issued to Plaintiff, when she would be able to show

concrete damages causally related to the attorneys' misconduct.

        47.     Had defendants complied with Plaintiff s constitutional rights, Plaintiff s SDNY

might have been avoided altogether; as her damages could have been remediated at an earlier

time.



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         48.    Ergo, Plaintiff's damages, for which defendants are contended jointly and

 severally liable, are at minimum 7-10 'years of lost patent royalties, rights of patent enforcement,

 customization contract and service retainers from Cowan's clients and others such as Apple, who

 are using and continuing to outsource Plaintiff's inventions by virtue of Cowan's early and

 inequitable torts and dissemination of her inventions, trade secrets and ideas.

         49.    Plaintiff contends that defendants are also unlawfully using Plaintiff's issued US

 patent claims without payment.

         50.    Plaintiff now incorporates by reference the Docket from her lawsuit against the

 Cowan firm by reference as if fully set forth in full hereat. The Dockets include SDNY Case

 Nos. 06-cv-1202; and Second Circuit Appeals Nos. 9-2195; 10-4111, 14-960 -cv. 11



                         FIRST CLAIM FOR RELIEF
         DEPRIVATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.c. § 1983


        51.     Plaintiff repeats, reiterates and realleges each and every allegation contained in

 paragraphs "1" through "50" with the same force and effect as if fully set forth herein.

        52.     All of the aforementioned acts of defendants, their supervisors, agents, servants

 and employees, were carried out under the color of state law.




        11 In its November, 2014 decision and order in response to Plaintiff's Petition for

 Rehearing (13-221-cv) Second Circuit also held that Plaintiff's ethics damage claims against
 defendants Richard Supple and Hal Lieberman herein that allege serious DR violations,
 defamation and abuse of litigation privilege while they were defending Cowan lawyers before
 SDNY since 2006 , is properly the subject of a separate appeal (14-906-cv) (pending)




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         53.     All of the aforementioned acts deprived Plaintiff WEISSBROD of the rights,

 privileges and immunities guaranteed to citizens of the United States by the First, Fourth, Fifth,

 Eighth and Fourteenth Amendments to the Constitution of the United States of America, and in

 violation of 42 U.S.c. § 1983.

         54.     The acts complained of were carried out by the aforementioned individual

 Defendants in their capacities as judicial officers and quasi-judicial officers, with all of the actual

 andlor apparent authority attendant thereto.

         55.     The acts complained of were carried out by the aforementioned individual

 defendants in their capacities as judicial and quasi-judicial officers, all under the supervision of

 presiding justices of the AD First Judicial Dept..

         56.     Defendants, collectively and individually, while acting under color of state law,

 engaged in conduct that is forbidden by the Constitution of the United States and the

 Constitution of the State of NY, and decisions and orders from the US Supreme Court that have

 interpreted them.



                        SECOND CLAIM FOR RELIEF
 RESPONDEAT SUPERIOR LIABILITY OF THE STATE AND CITY OF NEW YORK


          57.   Plaintiff incorporates by reference the allegations set forth in all preceding

 paragraphs 1-56 as if fully set forth herein.

          58.   The conduct of individual defendants and each of them, occurred while they were

judicial and quasi-judicial officers of the State of NY and City of NY, and defendants State of

 NY and City of NY are liable to Plaintiff pursuant to the state common law doctrine of

 respondeat superior for the acts and omissions of defendants herein complaint of.




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        59.    As a result of the acts and omissions of defendant, Plaintiff was damaged in her

 patent intellectual property rights, business rights, professional reputation, career and personal

 rights, and emotional injury, costs and expenses, and is entitled to recover compensatory and

 consequential damages, attorneys' fees and costs pursuant to 42 USC§§ 1983, 1988, and punitive

 damages for defendants egregious and reprehensible retaliatory misconduct in the form of abuse

 of process in the absence of jurisdiction and statutory authority in the discretion of this Court.


                                      TIDRDCLAIM
                               DECLARATORY DETERMINATIONS

       60.     Plaintiff incorporates by reference the allegations set forth in all preceding

 paragraphs 1-59 as if fully set forth hereat.

       61.    Plaintiff contends that the protocols used by defendants and each of them by

 whitewashing Plaintiffs otherwise proper DR grievances, applying arbitrary and not equal

 protocols to her DR grievances against the Cowan firm, withholding standard disciplinary action,

retaliating against Plaintiff for filing otherwise proper DR grievances, and abusing process

against Plaintiff without jurisdiction or statutory authority, jointly and severally violated

Plaintiff s rights and immunities under the Constitution of the United States and New York State

and Plaintiff seeks declaratory findings from this Court that her constitutional rights were

violated by defendants.

      62.     Plaintiff seeks further declaratory determinations that judicial and quasi-judicial

officers who fail to disclose their quasi-judicial assignments and/or voluntary posts as public

fiduciaries and hold conflicting jobs in the private setor, violate the DRs when they fail to make

proper disclosures of inherent conflicts of fmancial interest.




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          63. Plaintiff seeks further declaratory determinations that a system that positions the

 Presiding Justice over the Appellate Division of the NYS Court Systems and dually positions the

 same Presiding Justice as a supervisory over the DDC in that Dept. violates a the Fifth and

 Fourteenth Amendment rights of any citizen who if the victim of attorney DR violations and is

 then forced to file suit to recover damages.

     64.          Plaintiff seeks further declaratory determinations that as a patent inventor she has

 specific DR recourse rights before the State including having her non-public patent files

 immediately returned with any unearned portion of a patent retainer.

                                         FOURTH CLAIM
                                     INJUNCTIVE RELIEF/ FOIA

     65.     Plaintiff restates the allegations of paras. 1-64 as if fully set forth here at.

    66.      Plaintiff seeks an order under FOIA against defendants to produce all her DDC and

 State files pertaining to her personally, and to the following attorneys: Cowan Liebowitz &

Latman attorneys, past and present; Squitieri & Fearon attorneys, past and present; Allan Chan,

Esq., Ted Weisz, Esq., Charles Ruggiero, Esq., Ohlandt Greeley Ruggiero and Perle, Richard

Supple, Hal Lieberman, Hinshaw & Culbertson, LLP and all its attorneys past and present.



                                     FIFTH CLAIM
                                     NEGLIGENCE
                        UNDER THE LAWS OF THE STATE OF NEW YORK

          67.     Plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs 1-66 as if fully set forth herein.

       68. Defendants owed Ms. WEISSBROD a duty of care to ensure she be given equal

protection of NY's Judiciary Law and that she be free from retaliation for filing otherwise proper

DR grievances against NY attorneys.



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          69.     Defendants breached the duty of care, when, inter alia, they whitewashed her

 ongoing grievances, defied the prevailing law and change of the law mandated by the US

 Supreme Court.

          70.     The acts and conduct of the defendants were the direct and proximate cause of

 injury and damages to Plaintiff s patents, business, professional reputation and career and

 violated her statutory and common law rights as guaranteed by the laws and Constitutions of the

 United State and the State of New York.

         71.      As a result of the foregoing, Plaintiff was otherwise damaged and injured in her

 proprietary intellectual property rights, business interest, professional reputation and career.



                              SIXTH CLAIM
     INTENTIONAL AND/OR NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
               UNDER THE LAWS OF THE STATE OF NEW YORK



         72.        Plaintiff incorporates by reference the allegations set forth in all preceding

 paragraphs 1-71 as if fully set forth herein.

         73.     By the actions described above, defendants' malicious and reprehensible

 misconduct intentionally and/or negligently caused severe emotional distress to plaintiff. The

 acts and conduct of the defendants were the direct and proximate cause of injury and damage to

 the plaintiff and violated her statutory and common law rights as guaranteed by the laws and

 Constitutions of the United States and State of New York.

                                          SIXTH CLAIM
                                       PUNITIVE DAMAGES
     74. Plaintiff incorporates by reference the allegations set forth in all preceding paragraphs 1-

 73 as if fully set forth hereat.




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          75. As a result of defendant's abuse of process starting in 2007 by filing a formal DR

  proceeding against Plaintiff without jurisdiction or statutory authority, Plaintiff suffered specific

  and serious damages to her patents and intellectual property, business, professional reputation,

  career and person.

          76. Defendants misconduct was reprehensible, malicious and egregious by any objective

  standard and warrants punitive damages as well as a mandatory retraction.

           77.     Plaintiff is entitled to an award of punitive damages in the maximum amount

 allowable by law against defendants in their official and individual capacities.

                                   SIXTH CAUSE OF ACTION
                     MISAPPROPRIATION PATENT INFRINGEMENT DAMAGES


          78. Plaintiff realleges the allegations set forth in paras. 1-77 as if fully set forth here at.

          79. To the extent that defendants are found be unlawfully using any of Plaintiff inventions,

 trade secrets or ideas, based on misuse or redirection of Plaintiffs confidential DDC information

 or infringing any of Plaintiff s issued patents Plaintiff must be awarded damages from

 defendants for their unlawful uses, plus attorneys' fees and costs and costs of suit.



                                              JURY DEMAND

           80      Plaintiff demands a trial by jury in this action on each and everyone of her damage

   claims.

           WHEREFORE, Plaintiff demands judgment against the defendants individually and

 jointly in their official and individual capacities and prays for relief as follows:

     a.          That she be compensated for defendants' violation of her constitutional rights,
                 compensatory and consequential damages to her patents, business,
                 professional reputation, career, mental anguish and humiliation and judgment




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                             be rendered against defendants in their official and individual capacities as
                             appropriate;

                       b.    That she be awarded injunctive relief and a writ of replevin for her personal
                             files and all attorney files sought in this action that are related to Plaintiffs
                             declaratory and damage claims herein;

                       c.    That she be awarded declaratory determinations of defendants' violations of
                             her constitutional rights;

                       d.    That she be awarded punitive damages against individual defendants; and

                       e.    That she be compensated for attorneys' fees and the costs and disbursements
                             of this action; and

                       f.    That Plaintiff be granted such other further and different relief as the Court
                             may seem just and proper.
                                                                                      I
                    Dated:      Montclair, NJ
                                January 29,2015




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                               EXHIBIT 14


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                               EXHIBIT 16




                               EXHIBIT 16


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                               EXHIBIT 17




                               EXHIBIT 17


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In re Gurvey, 27 N.Y.3d 1052 (2016)
53 N.E.3d 752, 33 N.Y.S.3d 873, 2016 N.Y. Slip Op. 76108




                   27 N.Y.3d 1052
            Court of Appeals of New York.
                                                             *1053 Motion for leave to appeal dismissed for failure to
   In the Matter of Amy R. GURVEY (admitted as               establish timeliness as required by section 500.22(b)(2) of
     Amy Rebecca Weissbrod), an Attorney and                 the Rule of Practice of the Court of Appeals (22 NYCRR
   Counselor–at–Law. Departmental Disciplinary               500.22[b][2] ).
    Committee for the First Judicial Department,
                    Respondent,
            Amy R. Gurvey, Appellant.
                                                             Judge ABDUS–SALAAM took no part.
                        June 9, 2016.
                                                             All Citations
Opinion
                                                             27 N.Y.3d 1052, 53 N.E.3d 752, 33 N.Y.S.3d 873 (Mem),
                                                             2016 N.Y. Slip Op. 76108
Reported below, 2016 N.Y. Slip Op. 71048(U), 2016 WL
1590343.
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Ei4                                               SUPREME COURT OF THE STATE OF NEW YORK
                                                               NEW YORK COUNTY
                                                      HON. GERALD LEBOVITS
                                                                                                 J.S.C.
                                        PRESENT:                                                                                 PART          ?-
                                                                                                     Justice


                                         Index Number : 100163/2015                                                              INDEX NO.
                                         WEISSBROD-GURVEY, AMY
                                                                                                                                 MOTION DATE
                                         VS

                                         STATE OF NEW YORK                                                                       MOTION SEQ. NO.
                                         Sequence Number: 005
                                         DISMISS
                                        The following papers, numbered 1 to   r ,   were read on this motion to/for
                                        Notice of Motion/Order to Show Cause — Affidavits — Exhibits                              I No(s).
                                        Answering Affidavits — Exhibits                                                          I No(s).
                                        Replying Affidavits                                                                       I No(s).     6-7
                                        Upon the foregoing papers, it Is ordered that this motion is
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       FOR THE FOLLOWING REASON(S):




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                                                                                                                                        YORK
                                        Dated:                                                                                                          , J.S.C.
                                                                                                                      HON. GE At LD LEBOVITS
                                                                                                                                                       J.S.C.
      1. CHECK ONE:                                                                       0   CASE DISPOSED                      X    NON-FINAL DISPOSITION
      2. CHECK AS APPROPRIATE:                                                MOTION IS: RigRANTED             E DENIED      GRANTED IN PART        H OTHER
      3. CHECK IF APPROPRIATE'                                                            El SETTLE ORDER                         E SUBMIT ORDER
                                                                                          El DO NOT POST          H FIDUCIARY APPOINTMENT      H REFERENCE

                                                                                                                                         EXHIBIT 18
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    NEW YORK STATE SUPREME COURT
    NEW YORK COUNTY: PART 7

    AMY WEISSBROD-GURVEY,                                                       Index No. 100163/15
                                                                                DECISION/ORDER
                                   Plaintiff,

                   - against -

    STATE OF NEW YORK, CITY OF NEW YORK,
    Appellate Division First Dept., Appellate Division First Dept.
    Disciplinary Committee ("DDC"), NYC/NYS Ethics Boards for
    Attorney Discipline, NYS Commission on Judicial Conduct
    ("Commission"), NYS Office of Court Administration ("OCA"),
    Hon(s). Jonathan Lippman, Luis Gonzalez, Robert Tembeckjian,
    Thomas Cahill, Alan Friedberg, Hal Lieberman, Richard Supple,
    Mary Jo Hamilton, James T. Shed, Paul Curran (deceased), Jorge
    Do Pico, Naomi Goldstein, Sherry Cohen, Halliburton Fales,
    Raymond Vallejo, Orlando Reyes, DDC Hearing Panel (IV),
    DOES I-X, Inclusive, Hinshaw & Culbertson, L.L.P., and
                                                                          FILED
    Hon. Gail Prudenti, Chief Counsel of the NYS Office of                     AUG 2 9 2016
    Court Administration
                                                                                       OFFICE
                                                                         COUNTYNEW
                                                                                CLERKRK
                                                                                   Y0
                                  Defendants.


    Gerald Lebovits, J.

           This court consolidates for disposition motion sequence numbers 005, 006, 007, 008,
    010, and 012.

           In motion 005, defendants the State of New York (State); the New York Supreme Court;
    Appellate Division, First Department; the Departmental Disciplinary Committee (DDC); and the
    New York State Commission on Judicial Conduct (collectively, State Defendants) move to
    dismiss this action.

           In motion 006, defendants J. Richard Supple, Hal R. Lieberman, and Hinshaw &
    Culbertson, L.L.P. (H&C) move, under CPLR 3211 (a) (1), (a) (5), and (a) (7), to dismiss the
    complaint and for an injunction preventing plaintiff Amy Weissbrod-Gurvey from filing further
    claims against them without leave of court.

            Plaintiff cross-moves for the following relief:
           (1) a default judgment against defendant City of New York (City), awarding her damages
    for unfair competition and unauthorized use and outsourcing of patented and patent-pending
    technology;

           (2) a default judgment against the City and State for allegedly misappropriating plaintiff's




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    patents and proprietary technology through the "DDC defendants"' who allegedly aided and
    abetted notice of plaintiff's Judiciary Law § 487 treble-damage claims against her New York
    attorneys by breaching her constitutional rights to equal protection remedies under Judiciary Law
    §§ 90 and 487 in matters pertaining to plaintiff's federally protected property rights and not
    timely compelling return of plaintiff's client files;

            (3) a default judgment against the State and the DDC defendants for mandamus and
    declaratory relief, because Attorney General (AG) notices that it is representing only certain New
    York agency defendants. Plaintiff seeks mandamus and declaratory relief to compel the State
    Defendants to comply with plaintiff's mandatory right to equal protection under the United
    States Constitution;

            (4) a default judgment on mandamus claims against all DDC defendants to compel
    plaintiff's New York patent attorneys to offer standard remedial protocols, guaranteed under
    Judiciary Law §§ 90 and 487, to return her files and order mediation on plaintiff's $50,000 stolen
    retainers; and to produce all internal communications pertaining to plaintiff's Disciplinary Rule
    (DR) grievances, all communications among defendants herein, and verbatim audio transcripts
    from a June 22, 2011, hearing as required by the United States Supreme Court;

            (5) a default judgment against the individual DDC defendants Jorge DoPico, James T.
    Shed, Thomas Cahill, Naomi Goldstein, Alan Friedberg, Sherry Cohen, Halliburton Fales,
    Raymond Vallejo, and Orlando Reyes in their official and individual capacities for all mandamus
    and 42 USC §§ 1983 and 1988 damage claims, attorney fees and costs stated in plaintiff's
    complaint, because defendants are in default, they are not represented by the AG, and they do not
    dispute that they breached mandatory and non-discretionary constitutional duties owing to
    plaintiff while acting under color of state law;

            (6) a default judgment against former DDC chief counsel Supple and Lieberman on the
    same claims as in item 5 above because they did not address their individual breaches of
    constitutional duty when they were DDC chief counsel and state employees at times relevant and
    because Supple falsely averred under oath that he was not a public servant at times relevant when
    public records are clear that he was and still is, and because he comes to this case with unclean
    hands, including for not disclosing conflicts of financial interest;

            (7) denying the motion of Supple, Lieberman, H&C, and State to dismiss the complaint
    and for sanctions;

           (8) awarding plaintiff sanctions against Supple, Lieberman, and H&C for engaging in
    frivolous litigation and continuing defense of the Cowan Liebowitz & Latman, PC, law firm
    (Cowan) before the Southern District of New York for nine years without merit, for engaging in
    unprivileged communications with plaintiff's lawyer, and for filing untruthful ex parte motion

           'Plaintiff does not identify the so-called "DDC defendants."


                                                   2




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    papers; and

           (9) awarding plaintiff attorneys' fees and costs under 42 USC § 1988 because she has
    standing to represent the public interest in matters pertaining to mandatory relief that the State
    must offer when citizens are victims of attorney misconduct.

            In motion 007, plaintiff seeks (1) a default judgment against the City and setting this
    matter down for inquest on unfair competition damages and wrongful patent use damages stated
    in plaintiffs amended complaint;

            (2) a default judgment against the City because it continues to engage in unfair patent and
    trade secrets competition with plaintiff, has outsourced plaintiff's patented and patent-pending
    secondary ticketing inventions for DMV/TVB, MetroCard, distribution of city hospital records
    and voting systems without authorization, license or payment; and failed to answer either
    plaintiff's original complaint or amended complaint after proper service on January 30, 2015 and
    April 24, 2015;

            (3) a default judgment against the City because, having been served with plaintiff's
    additional cross-motion noticing intent to enter default on July 1, 2015, the City still did not
    serve and file an answer, and, on July 15, 2015, during a hearing before a Referee in Room 130,
    it did not deny plaintiff's proper service of the summons and amended complaint and made no
    submission of any kind in this lawsuit for the past six months;

            (4) a default judgment against the City because it obtained unlawful access and lead time
    to outsource plaintiff's patents and proprietary technology from ongoing torts and equal
    protection violations undertaken by other state DDC employee co-defendants Supple,
    Lieberman, Cahill, Shed, Goldstein, DoPico, Cohen, Fales, Vallejo, and Reyes and because, in
    defiance of equal protection of the Judiciary Law, the DDC defendants have still not compelled
    production of plaintiff's patents files from her lawyers at Cowan and Squitieri & Fearon, LLP
    (S&F) since 2003. Defendants supposedly have also not ordered mediation to adjudicate return
    of plaintiff's stolen $50,000 patent retainer, and defendants have not ordered the New York firms
    under their jurisdiction to resurrect what they admit are plaintiff's purged and altered client files
    in a patent case;

           (5) entering default against the State and DDC defendants on the issue of mandamus and
    defendants' mandatory duty immediately to compel the return of plaintiff's patent and client files
    from New York attorneys under their jurisdiction under the Judiciary Law to prevent any further
    prejudice to plaintiff's enforcement rights and to order mediation on the issue of plaintiff's stolen
    $50,000 patent retainer;

             (6) entering sanctions against the City and its attorney, Corporation Counsel, under 22
    NYCRR 130-1.1 et seq. for unlawfully threatening DDC disciplinary action against plaintiff in
    March 2015 for pursuing her redress rights in this lawsuit because threatening DDC prosecution
    is itself a DR violation and plaintiff is an inventor/entrepreneur and not a practicing attorney; and

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            (7) ordering that defendants pay plaintiff attorney fees and costs.

            The City cross-moves to dismiss this action.

            In motion 008, plaintiff seeks (1) a default judgment against New York State Office of
    Court Administration (OCA), then-Chief Administrative Judge Hon. Gail Prudenti, and
    individual DDC defendants Cahill, Shed, Friedberg, DoPico, Goldstein, Cohen, Fates, Vallejo,
    and Reyes for mandamus and declaratory determination in plaintiffs amended complaint and as
    to individual DDC defendants, granting plaintiff 42 USC §§ 1983 and 1998 damages, attorney
    fees, and costs against defendants in their official and individual capacities;

            (2) a default judgment against OCA and DDC individual defendants and ordering that
    defendants immediately produce in hard and electronic format all of plaintiffs OCA files,
    attorney-membership files, attorney-retirement files, and computer files from the Third
    Department, First Department DDC, files, notes, memoranda, admonition notice, petitions,
    motions, documents and correspondence, attorney grievances filed by plaintiff as a citizen at
    DDC First Department responses to plaintiff's grievances, actions taken on plaintiff's
    grievances, grievances filed against plaintiff, if any, documents surrounding DDC individual
    defendants preparing and mailing of an admonition notice to plaintiff in 2005, and the names of
    all DDC employees, chief counsel and attorney volunteers who took part in preparation and
    prosecution of the admonition, and a subsequent petition based on the admonition that was
    mailed and never served according to the CPLR to plaintiff c/o a PO Box two years later in 2007,
    and documents, internal correspondence and communications that pertain to the preparation of
    the petition, and all documents that pertain to plaintiff and contain the names of at least one of
    defendants, now deceased Paul Curran, Lieberman, Supple, H&C, Cowan, S&F, the Lawyers'
    Fund, Jay Stuart Dankberg, Eliot Cherson, Harold McGuire, Hearing Panel IV, and Ubiqus
    Transcription Services of NY (Ubiqus);

             (3) compelling that DDC individual defendants produce: (a) the original signature copy
    of an affirmation allegedly signed by Curran, an alleged photocopy of which was submitted in
    support of DDC defendants' 2007 petition mailed to a PO Box, and all Curran and DDC files
    surrounding preparation of the alleged affirmation, (b) all documents and investigations on
    which individual DDC and OCA defendants premise DDC First Department's jurisdiction over
    plaintiff, including State of California inactive status membership files; and (c) all documents
    pertaining to previous HUD housing proceedings before the City's Housing Part (L&T Index No
    60941/97) and Supreme Court, New York County (Index No. 118826/97) and plaintiffs
    attorney's documents and transcripts therein; and a HUD's previous prosecution of plaintiff's
    HUD landlords Hudson Towers Housing and owner Lefrak Organization between 1985-1986 in
    other federal and state proceedings 10 years before plaintiff was offered a Medicare-approved
    lease to attend medical school;

           (4) a default judgment on plaintiffs declaratory determination causes of action and
    finding that DDC individual defendants acting under color of state law violated plaintiff's

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    constitutional rights to equal protection of Judiciary Law §§ 90 and 487 and a United States
    Supreme Court's decision in Gunn v Minton for failing timely to compel plaintiff's attorneys
    Cowan and S&F to return plaintiff's files and non-public patent files and order mediation on the
    Cowan law firm's DR violations, theft of plaintiff's $50,000 patent retainer, failing to disclose
    known conflicts of interest with other clients; and unlawful unilateral abandonment of plaintiff's
    patent representation in 2003 for an admitted "conflict of interest" and never disclosing the
    source and nature of its conflict; and purging, erasing the relevant files "at other clients'
    instructions";

            (5) determinations against OCA and DDC individual defendants that their joint and
    several targeting of plaintiff without jurisdiction or statutory authority establishes that the
    disciplinary protocols used by the State, DDC, OCA, and individual DDC defendants are
    arbitrary and not equally applied as the Equal Protection Clause requires and that plaintiff is
    entitled to recover 42 USC §§ 1983 and 1988 damages and attorney fees and costs for
    defendants' violations of her constitutional rights;

            (6) a default judgment on plaintiff's declaratory determination causes of action and
    finding that the DDC defendants acting under color of state law deprived plaintiff of her First
    Amendment right to petition and have her DR grievances against New York attorneys processed
    according to equal protection of the Judiciary Law, particularly because the attorneys caused
    undue forfeiture of plaintiff's federally protected property rights in and to her patents and in and
    to continued HUD Medicare disability housing and wait list procedures;

            (7) a default judgment on plaintiff's declaratory determination causes of action and
    finding that the DDC individual defendants had an improper motive to harass plaintiff because
    the State, City, and AG have outsourced and continue to use plaintiff's patents and delayed
    patentable disclosures at the USPTO without authorization, license, or payment;

             (8) a default judgment on plaintiffs declaratory determination causes of action and
    finding that the individual DDC defendants denied plaintiff due process of law by forging and
    photocopying a signature allegedly belonging to Curran; and, in violation of the best-evidence
    rule, refused to produce the original signature copy between 2007-2012, and thereby owe
    plaintiff damages under 42 USC § 1983 for abuse of process, fraud, and deceit, engaging in
    frivolous litigation, and forging court documents;

            (9) a default judgment on plaintiff's declaratory determination causes of action and
    finding that the DDC individual defendants acting under color of state law violated plaintiff's
    right to due process and the United States Supreme Court's decision in Cleavinser v Saxner and
    owe plaintiff 42 USC §§ 1983 and 1988 damages for failing to produce the original audiotapes
    from a DDC Panel IV hearing conducted on June 22, 2001, and instructing its transcription
    service, Ubiqus, to allow plaintiff access only to edited written transcripts and to withhold the
    original audio recordings;

           (10) a default judgment against the DDC individual defendants because other co-DDC

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    defendants Supple and Lieberman who were State employees and DDC chief counsel at times
    relevant and supervised other individual DDC defendants herein, harbored irreconcilable
    conflicts of financial interest as a matter of law, when in 2007, in violation of the DRs,
    defendants assumed the defense of the same Cowan lawyers whom plaintiff properly reported for
    DR violations starting in 2003, did not disclose their known conflicts of financial interest, and
    misused plaintiff's confidential DDC information they had superior access to, to engage in
    frivolous litigation before SDNY, abuse litigation privilege, continue defense of a frivolous
    lawsuit without merit, collect ongoing stable legal fees for 10 years, and to get the Cowan
    defendants unfair litigation advantages that do not exist in law;

            (11) a default judgment because the State, being the employer of the individual OCA and
    DDC defendants herein, had and still have an interest in the subject matter of plaintiff's patents,
    outsourced them, and therefore had an ulterior motive to get OCA and the individual DDC
    defendants to harass plaintiff to jeopardize her enforcement rights before the federal and state
    courts;

            (12) mandamus that individual DDC defendants comply with equal protection of the
    Judiciary Law and compel immediate production of plaintiff's files and non-public patent files in
    both hard and electronic format from both the Cowan and S&F law firms for the period
    December 2001 to 2014, and also order resurrection of any files purged or erased, withdraw the
    unlawful and frivolous petition mailed to plaintiff in 2007, and enter a formal written apology in
    the New York Law Journal and the New York Times;

            (13) finding that the State is liable under respondeat superior for the misconduct of
    individual DDC and OCA defendants under 42 USC §§ 1983 and 1988 for breathes of plaintiff's
    constitutional rights to equal protection, due process and the right to petition under the First
    Amendment, defamation, and abusing litigation privilege on matters unrelated to the case at bar;

          (14) ordering that defendants pay plaintiffs attorney fees and costs and that an inquest on
    damages for which the State is liable be transferred to the New York Court of Claims; and

            (15) ordering withdrawal of defendants' 2007 petition and vacatur of state
    orders improperly procured based on individual DDC defendants' and OCA's misconduct and
    constitutional violations.

             In motion 010, defendants Friedberg, Dopico, Goldstein, Vallejo, and Reyes
    (collectively, State Attorneys) move under CPLR 3211 (a) (2), (5), (7), and (8) to dismiss the
    action on the grounds of lack of personal jurisdiction based on insufficient service of process,
    lack of subject-matter jurisdiction, collateral estoppel, res judicata, statute of limitations, and
    failure to state a cause of action.

            Defendants Supple, Lieberman, and H&C cross-move for an order (1) denying plaintiff's
    motion for leave to file an amended complaint; (2) granting movants' sanctions against plaintiff;
    and (3) granting movants an injunction preventing plaintiff from filing further claims against

                                                      6




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    them without leave of court.

           In motion 012, plaintiff seeks an order (1) granting her leave to serve an amended
    complaint to add additional civil-rights damage claims against defendants based on a change of
    the law mandated by the Federal Circuit in NeuroRepair, Inc. v Nath Law Group;

           (2) granting plaintiff leave to file and serve an amended complaint for the DDC
    defendants engaging in plaintiff's retaliatory harassment in violation of the First Amendment
    through recently confirmed unilateral and unnoticed falsification and forgery of plaintiff's Third
    Department state bar retirement records without jurisdiction or statutory grounds over plaintiff;

            (3) granting plaintiff leave to file and serve an amended complaint to add claims for
    mandamus relief compelling defendants to comply with plaintiff's right to equal protection of the
    Judiciary Law and the United States Supreme Court and Federal Circuit decisions, and order
    mediation against plaintiffs patent attorneys on the stolen portion of plaintiff's $50,000 retainer
    and compel the return and resurrection of plaintiffs unlawfully withheld and purged client patent
    and litigation files;

            (4) granting plaintiff leave to file an amended complaint against DDC defendants to add
    claims for special damages to plaintiff's business, career, and professional reputation, claims for
    intentional infliction of emotional distress and punitive damages because certain DDC
    defendants did not disclose their state executive and supervisory posts over DDC staff attorneys
    and, without making mandatory disclosures of conflicts of financial interest, were representing
    plaintiffs patent attorneys in the District Court for the Southern District of New York for nine
    years on retainer from the malpractice-insurance carrier;

            (5) granting plaintiff an extension of time to serve personally individual DDC staff
    attorney defendants based on defendants' falsification and forgery of documents placed into
    plaintiff's Third Department state bar files;

           (6) entering damages against the DDC staff defendants who remain in default and are not
    noticed as represented by the AG;

           (7) converting the instant lawsuit to an e-filing case; and

           (8) awarding plaintiff civil rights attorneys' fees and costs under 42 USC § 1988 to bring
    this motion.

    Discussion

            In her complaint, plaintiff seeks (1) compensation for defendants' violation of her
    constitutional rights, compensatory and consequential damages to her patents, business,
    professional reputation, and career, mental anguish and humiliation, and judgment against
    defendants in their official and individual capacities as appropriate; (2) injunctive relief and a

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    writ of replevin for her personal files and all attorney files sought in this action that are related to
    plaintiff's declaratory and damage claims herein; (3) declaratory determinations of defendants'
    violations of her constitutional rights; (4) punitive damages against individual defendants; and
    (5) attorneys' fees and the costs and disbursements of this action.

    Motion 005

            The State Defendants' motion to dismiss the complaint is granted. "It is well settled that
    the Court of Claims has exclusive jurisdiction over actions for money damages against the State,
    State agencies, or State officials acting in their official capacities in the exercise of governmental
    functions." (Bertoldi v State ofNew York, 275 AD2d 227, 228 [1st Dept 2000], lv denied 96
    NY2d 706 [2001]; accord Morell v Balasubramanian, 70 NY2d 297, 300 [1987] ["Since the
    adoption of the Court of Claims Act (L 1929, ch 467) the State has been subject to suit for
    damages, but only in the Court of Claims"].)

           Moreover, because the resolution of plaintiff's allegations "revolve[s] around analysis
    and application of patent law, subject matter jurisdiction lies exclusively in the federal courts."
    (Graf von Kageneck v Cohen, Pontani, Lieberman & Pavane, 301 AD2d 363, 363 [1st Dept
    2003] [citing 28 USC § 1338 [a].)

    Motion 006

            The motion by Supple, Lieberman, and H&C to dismiss the complaint and for an
    injunction preventing plaintiff from filing further claims against them without leave of court is
    granted.

            Movants have demonstrated entitlement to judgment based on the doctrine of collateral
    estoppel. The claims here have been addressed in other proceedings. (See Matter of Gurvey, 102
    AD3d 197, 200 [1st Dept 2012], lv dismissed 20 NY3d 1085, reconsideration denied 21 NY3d
    968 [2013].) In Matter of Gurvey, the Court found that plaintiff's tenancy litigation resulted in
    two Civil Court decisions and one Supreme Court decision imposing monetary sanctions. Her
    conduct was "indicative of harassment and an abuse of the judicial process" and "mean spirited
    and vexatious," and that her "inappropriate use of the courts" resulted in "needless expense in the
    defense of a frivolous lawsuit." She was sanctioned for "years of vituperative litigation,"
    frivolous motion practice, and intentional misrepresentations to the court. In April 2005, the
    Departmental Disciplinary Committee (DDC) issued a letter of admonition based on one of the
    sanction decisions. When she demanded that the admonition be vacated, the DDC commenced a
    collateral-estoppel proceeding based on all three sanction decisions. (102 AD3d at 198.)

            On March 18, 2008, the Appellate Division granted the DDC's collateral-estoppel
    petition and remanded the matter to the DDC for a sanctions hearing. Plaintiff moved for
    reconsideration and leave to appeal to the Court of Appeals, and the Appellate Division denied
    both motions. On September 14, 2010, the Court of Appeals denied her motion for leave to
    appeal.

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            At the sanctions hearing, plaintiff challenged the jurisdiction of the Court and the DDC
    on the grounds that she has never maintained a law office within the First Department, that she
    has not practiced law since 2002, and that the sanctions imposed against her arose from her
    conduct as a party-litigant, not as an attorney. On December 15, 2011, the hearing panel issued a
    report recommending that plaintiff be publicly censured. The DDC sought an order to disaffirm
    the Panel's recommendation and suspend plaintiff for one year. The Appellate Division agreed
    with the DDC, finding that her pursuit of frivolous and vexatious litigation, as well as her
    misrepresentations to the court, warranted suspension. She was given a six-month suspension.
    Plaintiff appealed to the Court of Appeals, which dismissed her appeal upon the ground that no
    substantial constitutional question was directly involved. (20 NY3d 1085 [2013]).

            Plaintiff's claims were also addressed in Weissbrod v Gonzalez (13 Civ 2565) (see
    exhibit W to affirmation of Marian C. Rice, Esq.), which was affirmed (576 Fed Appx 18 [2d Cir
    2014]) for substantially the reasons set forth by the District Court in its May 2, 2013 order,
    finding that the claims against the defendants in their individual and official capacities were
    properly dismissed on the ground of absolute and sovereign immunity.

            The request for an injunction against filing claims without leave of court is granted. (See
    Dimery v Ulster Say. Bank, 82 AD3d 1034, 1035 [2d Dept] [observing that record reflects that
    the plaintiff abused the judicial process through vexatious litigation and that it was proper for the
    Supreme Court to enjoin the plaintiff from bringing any further motions regarding the subject
    matter of the instant action without its permission], appeal dismissed 17 NY3d 774 [2011]; see
    also Matter of Marion C. W. [Lisa KJ, 135 AD3d 777, 779-780 [2d Dept 2016] ["[C]ourt
    properly determined that the petitioners forfeited the right to free access to the courts by abusing
    the judicial process with repeated motions seeking to relitigate matters previously decided
    against them, and, therefore, required them to obtain leave of the court before filing further
    motions or commencing new proceedings regarding Marion C.W. or the trust."].)

            This litigation is consistent with plaintiffs past practice of engaging in the "pursuit of
    frivolous and vexatious litigation." (See Matter of Gurvey, 102 AD3d at 200). For example,
    among numerous other things, plaintiff seeks (1) all internal communications pertaining to
    plaintiff's DR grievances and all communications among defendants in this action; (2) a default
    judgment against OCA and DDC individual defendants and ordering that defendants
    immediately produce in hard and electronic format all of plaintiff's OCA files, attorney
    membership files, attorney retirement files and computer files from the Third Department, First
    Department DDC, files, notes, memoranda, admonition notice, petitions, motions, documents
    and correspondence, attorney grievances filed by plaintiff as a citizen at DDC First Department,
    responses to plaintiff's grievances; actions taken on plaintiffs grievances, grievances filed
    against plaintiff, if any, documents surrounding the DDC individual defendants preparing and
    mailing of an admonition notice to plaintiff in 2005, and the names of all DDC employees, chief
    counsels and attorney volunteers who took part in preparation and prosecution of the admonition,
    and a subsequent petition based on the admonition that was mailed and never served according to
    the CPLR to plaintiff do a PO Box two years later in 2007, and documents, internal

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    correspondence and communications that pertain to the preparation of the petition; and all
    documents that pertain to plaintiff and contain the names of at least one of defendants Curran,
    Lieberman, Supple, H&C, and Cowan, S&F, the Lawyers' Fund, Jay Stuart Dankberg, Eliot
    Cherson, Harold McGuire, Hearing Panel IV and Ubiqus.

            Additionally, the claims in this action are largely the same as in the federal action entitled
    Gurvey v Cowan, Leibowitz & Latman, et al. (2015 WL 5472893, 2015 US Dist LEXIS 124920
    [SD NY 2015]). In that action, as here, plaintiff sued Cowan and various other defendants
    alleging claims for misappropriation of trade secrets, unfair competition, breach of fiduciary
    duty, attorney malpractice, and violations of the Lanham Act. The court noted that since 2012,
    plaintiff failed to comply with discovery orders, resisted taking her own deposition, and filed a
    multitude of meritless motions and applications.

            The Southern District also noted that rather than pursuing her claims, plaintiff has made
    the following applications, among others: (1) permission to file proposed fourth, fifth, and sixth
    amended complaints; (2) disqualification of defendants' counsel; (3) an extension of time to
    effect service even though plaintiff commenced the action in 2006; (4) reconsideration of orders
    and opinions; (5) remand to state court; (6) purported interlocutory review of Judge Henry
    Pitman's decisions directly by the Second Circuit; (7) sanctions against defendants; and (8)
    judicial recusal. The docket sheet grew by more than 200 entries since the Second Circuit
    remanded the action.

            A report recommended sanctions of $20,000 payable to the Clerk of the Court, reasoning
    that sanctions were appropriate because plaintiff's conduct was willful; plaintiff had engaged in a
    pattern of frivolous motion practice both in this case and in other unrelated cases; and sanctions
    of $8783 and $5700 imposed in unrelated actions had not dissuaded plaintiff from continuing to
    engage in sanctionable conduct. The Southern District cited two decisions equally applicable
    here: (Patterson v Aiken (841 F2d 386, 387 [11th Cir 1988] ["[O]ne acting pro se has no license
    to harass others, clog the judicial machinery with meritless litigation, and abuse already
    overloaded court dockets."] [internal quotation marks and citation omitted]) and Fox v Boucher
    (794 F2d 34, 38 [2d Cir 1986] ("When the litigant is an attorney sanctions are particularly
    appropriate"].)

    Motion 007

            The City's cross-motion to dismiss the complaint is granted. The City argues
    persuasively that the complaint should be dismissed on procedural grounds because plaintiff
    failed to serve the summons on it and that the time within which to do so has expired.

            The City is also entitled to dismissal because the complaint fails to state a cause of action
    against it. The only specific allegation in the complaint as against the City is in paragraph 14,
    which alleges that "[u]pon information and belief, the State and City of NY are currently
    outsourcing certain of Plaintiffs inventions that are the subject of Plaintiffs issued US patent
    claims for the City's updated MetroCard technology, and at the new Performing Arts Center at

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    the World Trade Center site." The City has demonstrated that the Metrocard and Performing Arts
    Center are under the auspices of entities that are not City agencies and that the City is not liable
    for their acts. (See Brennan v City of New York, 59 NY2d 791, 792 [1983].)

            Based on the foregoing, plaintiff's motion is denied. The claims against the defendants
    other than the City are addressed elsewhere in this decision.

    Motion 008

             Plaintiff's motion is denied. To the extent that it is directed against the State Attorneys,
    the issue is addressed in motion 010. As for the OCA Defendants, the claim that they are liable
    for failing to discipline Cowan is unsubstantiated.

    Motion 010

            The State Attorneys move for dismissal on the grounds of lack of personal jurisdiction
    based on insufficient service of process, lack of subject-matter jurisdiction, collateral estoppel,
    res judicata, statute of limitations, and failure to state a cause of action.

             The motion is granted. Service of process was insufficient because the affidavit of
    service failed to comply with the requirements of CPLR 306 (b), which provides that

                   "Whenever service is made pursuant to this article by delivery of
                   the summons to an individual, proof of service shall also include,
                   in addition to any other requirement, a description of the person to
                   whom it was so delivered including, but not limited to, sex, color
                   of skin, hair color, approximate age, approximate weight and
                   height, and other identifying features."

    Paragraph four of the process server's affidavit states: "Staff attorneys of the Appellate Division
    Disciplinary Committee First Dept. Jorge DoPico, Naomi Goldstein, Sherry Cohen, James T.
    Shed, Thomas Cahill, Orlando Reyes, Raymond Vallejo and Halliburton Fales served May 29,
    2015 on Ms. Gloria identified as authorized to accept personal service for all DDC attorneys." It
    lacks a description of "Gloria."

    Cross-Motion

            Defendants Supple, Lieberman, and H&C cross-move for an order (1) denying plaintiff's
    motion for leave to file a second amended complaint; (2) granting movants sanctions against
    plaintiff; and (3) granting movants an injunction preventing plaintiff from filing further claims
    against them without leave of court.

            Although movants request sanctions and a filing injunction, they seek only a filing
    injunction. They state that monetary sanctions are ineffective because "Plaintiff has never paid a

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    single one of them" (memorandum of law at 6) and that "[o]nly a filing injunction will prevent
    further harassment against the H&C parties and abuse of the judicial system" (id at 9).

          The cross-motion is denied as academic because the relief sought is covered by other
    motions decided herewith.

    Motion 012

             Plaintiff's motion is denied on the ground of futility. (See Altman v New York Bd. of
    Trade, Inc., 52 AD3d 396, 397 [1st Dept 2008], Iv dismissed 11 NY3d 912, rearg denied 12
    NY3d 808 [2009].) Citing NeuroRepair, Inc. v Nath Law Group (781 F3d 1340 [Fed Cir 2015]),
    plaintiff seeks leave to amend the complaint based on an alleged change in law, although
    plaintiff has not demonstrated that the purported change in the law would have any bearing in
    this action. The stated issue in NeuroRepair — whether a California state court malpractice case
    involving patent law representation was properly removed to a federal court (id. at 1342) — is
    inapplicable here. Moreover, the proposed amended complaint would not cure the jurisdictional
    defects of the original complaint. The new allegation that employees of the Appellate Division,
    First Department, conspired to forge documents in plaintiff's confidential file in the Appellate
    Division, Third Department, is based on speculation and not adequately supported with evidence.

            Plaintiff fails to demonstrate entitlement to the other requests in motion 012. For
    example, concerning request number five, plaintiff states that "[i]n 2015, the NYS Governor's
    Chamber requested Plaintiff's report on this matter." (Plaintiff's aff, ¶ 32.) In support, plaintiff
    cites exhibit 2 to her affidavit. However, that exhibit is a letter from plaintiff and does not
    substantiate her claims. In request number eight, plaintiff seeks civil-rights attorney fees and
    costs under 42 USC § 1988 in bringing this motion. But plaintiff is not entitled to attorney fees;
    she is not a prevailing party (Matter of Wittlinger v Wing, 289 AD2d 171, 171 [1st Dept 2001],
    affd 99 NY2d 425 [2003]), and she appeared pro se.

           The court has considered plaintiffs other arguments and find them without merit.

           Accordingly, it is

            ORDERED that motion 005 by the State of New York, the New York Supreme Court,
    Appellate Division, First Department, the Departmental Disciplinary Committee, and the New
    York State Commission on Judicial Conduct for dismissal of the complaint is granted, and, as
    against these defendants, the complaint is dismissed with costs and disbursements as taxed by the
    Clerk; and it is further

            ORDERED that motion 006 by defendants J. Richard Supple, Hal R. Lieberman, and
    Hinshaw & Culbertson, L.L.P. for dismissal of the complaint, and for an injunction preventing
    plaintiff Amy Weissbrod-Gurvey from filing further claims against them without leave of court
    is granted, and, as against these defendants, the complaint is dismissed with costs and
    disbursements as taxed by the Clerk; and it is further

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           ORDERED that plaintiff is hereby enjoined from filing any new claims against
    defendants J. Richard Supple, Hal R. Lieberman, and Hinshaw & Culbertson, L.L.P. without first
    obtaining leave of the Administrative Judge of the Supreme Court, Civil Branch, New York
    County; and it is further

           ORDERED that plaintiff's cross-motion is denied; and it is further

           ORDERED that motion 007 by plaintiff is denied; and it is further

            ORDERED that the cross-motion by the City of New York for dismissal of the complaint
    is granted and the complaint is dismissed as against the City with costs and disbursements as
    taxed by the Clerk; and it is further

           ORDERED that motion 008 by plaintiff is denied; and it is further

           ORDERED that motion 010 by defendants Alan W. Friedberg, Jorge Dopico, Naomi F.
    Goldstein, Raymond Vallejo, and Orlando Reyes for dismissal of the complaint is granted and
    the complaint is dismissed as against these defendants with costs and disbursements as taxed by
    the Clerk; and it is further

           ORDERED that the cross-motion by defendants J. Richard Supple, Hal R. Lieberman,
    and Hinshaw & Culbertson, L.L.P. is denied as academic; and it is further

           ORDERED that motion 012 by plaintiff is denied; and it is further

            ORDERED that defendants shall serve a copy of this decision and order with notice of
    entry on plaintiff and the County Clerk's Office, which is directed to enter judgment
    accordingly; and it is further
                                             •   •
                              rte     ." ".
            ORDERED that thet parties appearTor a preliminary conference on September 28, 2016,
    at 10 a.m., in Part 7, room n 1, at 111 Centre Street.

    Dated: August 25, 2016




                          FILED                                J.S.C.
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                               EXHIBIT 19




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                                                               Present;

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          AMY R. WEISSBROD-GURVEY,                                                          6#

                       USPTO Inventor pro se,                 INDEX NO. 101264/2015

          V.                                                  HON. DONNA MILLS
                                                              PART 58

          COWAN, LIEBOWITZ & LATMAN,                          ORDER TO Srlr                       A
          PC, LEGEND FILMS/LEGEND 3D,                                                                     D
          INC., BARRY SANDREW,                                                          AND FEE PAID
          LAWRENCE HUSICK, JEFFREY B.                                                      VT, 4      r 1.5
          YAPP, DAVID MARTIN,                                                     COUNTY CLERKS OFFICE
          AMERICAN FILM                                                                NEW YORK
          TECHNOLOGIES, INC. ;
          SQUITIERI AND FEARON, LLP;
          and DOES I-X, Inclusive,

                                    Defendants.


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1 Plaintiff requests OSC hearing during the week of August 25 2015 because
of sudden death of Plaintiff's father-in-law on August 12. Plaintiff will be
attending family funeral services in Chicago during most of the week of
August 17.
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     let Plaintiff's patent prosecution and litigation attorneys defendants Cowan

     Liebowitz & Latman PC ("Cowan") and Siquitipri & Fearon, L.LP ("Squitieri")
                                      @it\.5e.ploOta 3 2,43
      c)ff e-6-A- .61/vj
     show cause before an IAS Part 58 of the Supreme Court of NY, New York, NY
                  1)1 CeAdk-re           eYn sN
     Countgwhy an order should not be issued and entered:


                   (1)Disqualifying the law firm of Hinshaw & Culbertson, LLP from

                        further representing the Cowan Liebowitz & Latman, PC IP law firm

                        defendant;

                   (2) Granting Plaintiff sanctions against defendant Squitieri & Fearon,

                        LLP for contempt and contumacious defiance of this Court's previous

                        document production order entered April 30, 2013 (Index No.

                        102516/2012);

                   (3) Granting Plaintiff her attorneys' fees and costs; and

                   (4) Granting Plaintiff such other and further relief as the Court deems

                        just and proper.



               PLEASE TAKE FURTHER NOTICE that opposition papers, if any, must

     be mailed compliant with the CPLR and received at least three (3) days prior to the

     return date.


              LET SERVICE of this Order to Show Cause on or before the                    day of

                             2015 by         N-                                      be deemed
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          good and sufficient service hereof.




                                                               •ONNA► M. MILLS, si.S.C.
                                                                  J.S.C.




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     SUPREME COURT OF NEW YORK
     NEW YORK COUNTY


               AMY R. WEISSBROD-GURVEY,

                           Plaintiff-USPTO Inventor pro se,         INDEX NO. 101264/2015

               v.                                                   HON. DONNA MILLS
                                                                    PART 58

               COWAN, LIEBOWITZ & LATMAN,                           USPTO INVENTOR-
               PC, LEGEND FILMS/LEGEND 3D,                          PLAINTIFF'S AFFIDAVIT IN
               INC., BARRY SANDREW,                                 SUPPORT OF ORDER TO
               LAWRENCE HUSICK, JEFFREY B.                          SHOW CAUSE TO
               YAPP, DAVID MARTIN,                                  DISQUALIFY HINSHAW &
               AMERICAN FILM                                        CULBERTSON, LLP AND
               TECHNOLOGIES, INC.                                   ENTER CONTEMPT ORDER
               SQUITIERI AND FEARON, LLP;                           AGAINST SQUITIERI &
               and DOES I-X, Inclusive,                             FEARON, LLP

                                         Defendants.




              USPTO Inventor/Plaintiff Amy Weissbrod-Gurvey, CEO and Senior

     Architect of LIVE-Fi TMTechnologies/LIVE-FiTM Productions, LLC, a Delaware

     patent technology limited liability company and interactive production enterprise

     with offices at 3430 St. Susan Place, Los Angeles, CA and 315 Highland Avenue,


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     Montclair, NJ, declares to the truth of the following statements in support of her

     annexed order to show cause seeking:


          (a) immediate disqualification of the law firm of Hinshaw & Culbertson, LLP

               from further representing defendant NY IP law firm Cowan Liebowitz &

               Latman, PC;

          (b) granting Plaintiff sanctions against defendant Squitieri & Fearon, LLC for

               Squitieri defendant's contempt and contumacious defiance of a prior

               document production order of this Court entered May 6, 2013 (Index No.

               102516/2012) (Exhibit 1);

          (c) granting Plaintiff her attorneys' fees and costs to bring this motion; and

          (d) granting Plaintiff such other and further relief as the Court deems just and

               proper.




      I. CONTROLLING 2013 US SUPREME COURT AND FEDERAL PATENT
                   DECISIONS IN SUPPORT OF ORDER TO SHOW CAUSE

         1. This lawsuit filed in July, 2015 by Order to Show Cause and Complaint was

     duly served on or before July 26, 2015 pursuant to this Honorable Court's order of

     July 22nd. It is premised on the 2013 US Supreme Court and Federal Circuit

     attorney patent misconduct decisions in Gunn v. Minton, 133 S. Ct. 1059 (USSC

     Tex. 2013) (Roberts J.) and Micron Technology v. Rambus, 645 F. 3d 1311 (Fed

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     Cir. 2013) that hold that damage claims for attorney patent misconduct under a

     patent service or litigation retainer are state claims that must be adjudicated before

     the state courts unless the inventor-client's damage claims require resolution of a

     "significant issue of federal patent law". In addition, for any files purged, erased,

     or unilaterally altered by a patent attorney, sanctions must be assessed and

     judgment entered on those claims that would have been established by the erased

     or altered files. Micron Technology v. Rambus, supra. Tens of national cases

     seeking damages for patent attorney breach of fiduciary duty and malpractice are

     now being dismissed without prejudice from the federal district courts for refiling

     in state tribunals because there is no longer federal patent jurisdiction to adjudicate

     these claims. Cold Spring Harbor Laboratories v. Ropes & Gray, 2011 WL

     2884893 (D. Mass 2011); 840 F. Supp. 2d 473 (2012); Protostorm v Antonelli, et

     al., 834 F. Supp. 2d 141 (EDNY 2011)


         2. The instant lawsuit involves significant and ongoing state patent misconduct

     and fraud by two of Plaintiff's patent prosecution and litigation attorneys between

     2001 and 2013 — defendants Cowan Liebowitz & Latman, PC and Squitieri &

     Fearon, LLP, including:


        (a) stealing and converting Plaintiff's $50,000 patent retainer;




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         (b) breaching fiduciary duty and engaging in patent spoliation by erasing,

     unilaterally altering and purging files to conceal known conflicts of interest with

     other patent clients;


         (c) allowing other clients to breach Cowan and Squiteri defendants' fiduciary

     duties to Plaintiff and outsource Plaintiff's inventions;


         (d) unlawfully withholding Plaintiff's non-public patent and litigation files in

     violation of law after making unilateral attempts to abandon Plaintiff's

     representation without notice to her;


         (e) failing to disclose the nature and source of conflicts of interest defendants

     admitted to the USPTO as the grounds for unilateral withdrawal;


         (f ) committing false claims before the USPTO (a federal agency) including

     inserting non-existent attorney customer numbers and addresses on a USPTO

     withdrawal form and not serving the notice to delay Plaintiff's notification that she

     was without counsel;


         (g) withholding essential services under Plaintiff's retainers in violation of the

     standard of care such as failing to exercise Plaintiff's right to expedited

     prosecution of her patents applications, not advising Plaintiff she had those rights

     and they cost $200 per application, and not preventing publication of Plaintiff's

     disclosures in the US;
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         (h) causing an unprecedented 8-year delay of formal US and PCT patent

      issuance to Plaintiff and thereby unduly delaying Plaintiff's patent enforcement

      rights against Cowan defendant's major corporate clients such as Clear Channel,

      Live Nation, Ticketmaster, MLB, Legend Films, and Phish and non-clients Apple,

      Inc., State of NY and City of NY 2 ; and


         (i) engaging in other miscellaneous DR violations prejudicial to Plaintiff's

      patent issuance and enforcement rights.


         3. Based on Gunn v. Minton, supra, Plaintiff was also forced to file one other

      state lawsuit on January 30, 2015 that is now pending before Hon. Paul Wooten in

      Part 7 3 . In that lawsuit, it is claimed and undisputed with certain defendants in

      default, that the State of NY and City of NY engaged in unfair competition against

      Plaintiff's patent interests by outsourcing Plaintiff's issued and still pending US

      patent claims, without authorization or license; but that at the same time, NYS

      employees at the First Dept. DDC were consistently ignoring Plaintiff's otherwise


      NOTE: Apple was able to copy Plaintiff's delayed, published disclosures in 2008
     and cause Plaintiff substantial additional expenses to get Apple's applications
     denied and to abort Apple's outsourcing.

     3 Supreme NY Index No. 100163/2015 filed January 30, 2015. In her OSC
     returnable August 6, 2015, Plaintiff sought consolidate of the two state lawsuits
     before one state tribunal to prevent inconsistent judgments and any further
     prejudice to Plaintiff, an inventor of content-based secondary ticketing
     operations now in unauthorized use by State and City of NY.

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     proper attorney DR grievances against Cowan and Squitieri defendants herein and

     requesting that DDC state staff employees compel return of Plaintiff's non-public

     patent files and mediation on her stolen $50,000 patent retainer. These are

     standard services offered the public under NY's Judiciary law§ 487; and Plaintiff's

     grievances were improperly ignored, thereby delaying notice to her of the scope of

     Cowan and Squitieri defendants' DR violation. Concerning Cowan defendant, in

     NYS the minimum discipline required for stealing or converting retainer funds is

     disbarment.


         4. DDC Chief Counsel and supervisor Hal Lieberman, Esq. who was

     supervising the whitewashing of Plaintiff's and other citizens grievances, was at

     the same time, also serving as a for profit partner at Cowan defendant's instant

     defense firm Hinshaw & Culbertson ("H&C"). During Lieberman's tenant at

     DDC, hundreds of other citizens' grievances were whitewashed in contended

     violation of their right to equal protection of NY's Judiciary Law Section 487.

     Esposito v. State ofNE First Dept. Disciplinary Committee , 2007 WL 3523910

     (SNY 2007); Anderson v. State ofNE First Dept. Disciplinary Committee, 2007 WL

     9599 (SDNY 2007); Bernstein v. State ofNE First Dept. Disciplinary Committee.

     Proskauer Rose Goetz & Mendelsohn, et al., 2007 WL 11196 (SDNY 2007).




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         5. When State DDC did not compel return of her non-public patent files in

      response to Plaintiffs otherwise proper DDC grievances consistently since 2003,

      Plaintiff was forced to enter SDNY and this Court.


         6. In 2006, Lieberman and Richard Supple Supple's private sector law firm,

      H&C, took up Cowan defendant's defense before SDNY without disclosing their

      firm's conflicts of financial interest and that they had played roles in whitewashing

      Plaintiffs grievances. In addition, Supple who assumed the day-to-day defense

      obligations, had superior access to Plaintiff's confidential DDC information and in

      violation of the DRs, misused Plaintiffs information to prejudice her lawsuit.


         7.     A writ against Squitieri defendant, who was representing Plaintiff's interests

      before SDNY against Cowan defendant and was adverse to Part 7 defendants

      H&C, Lieberman and Supple, suspiciously withdrew after Plaintiff won bnding

      arbitration in 2009 after evidentiary hearing. Squitieri defendant then withheld

      Plaintiffs case files for 3 years. On April 30, 2013, this Court in Index No.

      102516/2012 order Squitieri defendant to produce all of Plaintiffs litigation files

      in hard and electronic format since 2006. Squitieri is in contempt of that order and

      has not returned all of Plaintiffs essential files. During his representation of

      Plaitniff s interests against Cowan defendant, however, Squitieri defendant never

      moved for disqualification of H&C from Cowan's representation or to compel



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      Plaintiffs non-public patent files during discovery; that would have allowed

      Plaintiff to move for summary judgment on public records.


         8. Plaintiff won binding SDNY Arbitration against Cowan defendant herein in

      2009 and the findings of fact after the only evidentiary hearing were also somehow

      not docketed by Squitieri. Sorely missing form defendant Squitieri's limited files

      that he did produced in 2013 are his consults with Supple, and his opposition

      papers to Supple's false ex parte application to withdraw arbitration in 2008 based

      on a ridiculous falsehood that Plaintiff had agreed to withdraw her claims against

      Cowan defendant (Exhibit 3). Squitieri did not move to vacate the ex parte order

      entered that day, for sanctions against Supple under Rule 11 for engaging in

      frivolous and untruthful litigation; and then in 2010 Squitieri defendant moved to

      withdraw and retained Plaintiffs files for 3 years although he was paid in full.


         9. The Second Circuit then reversed the dismissal of Cowan defendant by the

      District Court that also mysterious occurred prematurely before entry of the Award

      of Arbitrator. Reversal was entered in response to Plaintiffs pro se appeal

      (Exhibit 4). Second Circuit also held in fn 5 of its order that Squitieri defendant

      failed to file proper notices of appeal to all relevant orders, thereby divesting

      Second Circuit of jurisdiction to hear Plaintiffs appeal against Cowan defendant's

      other patent clients Live Nation, Clear Channel and their new subsidiaries Instant

      Live Concerts, LLC and Next Ticketing for infringement damages. These entities
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     that were original SDNY defendants were all outsourcing Plaintiff's inventions

      based on Cowan defendant's breach of duty as their NY agent.


         10. In addition, when Plaintiff's first US patent claims issued on October 13,

     2009, six months after the (reversed) SDNY order closing the case, Squitieri

      defendant also failed to move for Rule 60(b) relief and amend Plaintiffs complaint

     as he stipulated to do in the 3AC he filed in 2007.


         11. Squitieri then also failed to investigate the unlawful collusion and patent

     theft from Plaintiff at the USPTO and PCT by Cowan defendant with its other

     patent clients at Legend Films; and he missed Plaintiff's statute of limitation.

     However, Cowan defendants' purging and spoliating the files that prove its

     collusion and theft of her inventions and certain patent claims with Legend Films's

      founding officers in exchange for offers of stock interests, were never adjudicated.

     Ergo, because spolation and alteration of patent evidence was undertaken by

     Cowan defendant, and the statutes of limitations on these state damage claims is

     tolled. Micron Technology v. Rambus, 645 F. 3d 1311 (Fed. Cir. 2012), This court

     is the proper forum to compel production of all Plaintiff's withheld and purged

     files including resurrection of any unlawfully erased digital files.


         12. In 2014, the USPTO General Counsel noticed that the Cowan firm has been

     under ongoing investigation for potentially criminal misconduct in connection with


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      Plaintiffs patent retainer (Exhibit 5). USPTO General Counsel also noticed that

      FOIA request is not the proper means to get Plaitniff s non-public patent files from

      Cowan defendants. Cowan defendant's intentional torts include integrating

      Plaintiff's inventions into other clients' patent applications including a PCT patent

      application Cowan defendant filed for Legend Films, omitting Plaintiff's name as

      co-inventor in violation of 37 CFR 1.48(a)4, not disclosing its admitted conflicts of

      interest with other clients, and purging, erasing and altering relevant patent files "at

      the clients' instructions".            5   (Exhibit 6)


          III. IMMEDIATE DISQUALIFICATION OF HINSHAW &
      CULBERTSON LLP ("H&C") AND PARTNERS HAL LIEBERMAN AND
      RICHARD SUPPLE FROM FURTHER REPRESENTING COWAN
      DEFENDANT IS MANDATORY
          13. In 2015, Plaintiff, to protect her patent interests was also forced to file a

      separate Supreme NY lawsuit seeking unfair competition damages against State

      and City of NY. Both State and City unlawfully outsourced Plaintiff's inventions

      4Defendant herein Legend Films LLC, now Legend Films, Inc. and Legend's
      defendant officers. US PCT 02 14192.

      5 Plaintiff in fact introduced Legend's founding officers to Cowan defendant in
      2001; but did not know until Squitieri defendant was compelled by this Court
      to produce all of Plaintiff's unlawfully withheld case files including the limited
      SDNY Arbitration discovery exchanged in 2009 that in 2002 Legend and
      Cowan defendants had entered into illegal agreement with Legend Films
      defendants herein to steal Plaintiff's patent claims, inventions and ideas.
      Cowan defendant then withheld services until Plaintiff's prior $50,000 patent
      retainer and in fact did no work for Plaintiff worth more than $1, 500 and then
      attempted unilateral abandonment of Plaintiff's USPTO representation
      without notice to her in 2003.
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      without authorization or license during the time Plaintiff's grievances were ignored

      by the DDC. (Index No. 100163/2015 pending before Hon. Paul Wooten in Part

      7). Plaintiff's inventions are in the valuable field of content-based secondary

      ticketing operations and upon information and belief are in use by DMV/TVB for

      online parking payments, at used by the State and City for certain voting

      registrations, for the transmission of city hospital records and court files; and for

      new ticketing operations at the WTC site.


         14.'It is contended in that lawsuit that H&C's NY partners Hal Lieberman and

      Richard Supple were state employees and Chief Counsels and executive members

      of the DDC of the First Dept. and the NYC Ethics Board, whose whitewashing of

      Plaintiff's grievances and supervising other DDC staff members to whitewash

      served to delay notice to Plaintiff's of Cowan's intentional torts against Plaintiff's

      interests before the USPTO and their withholding services under Plaintiff's patent

      retainer at competing clients' instructions. (Exhibit 6).


         15. Upon information and belief, H&C partner Lieberman was previously sued

      for equal protection violations of NY's Judiciary law acting under color of state

      law including for ignoring grievances against patent attorneys. See, Esposito v.

      State ofNY, First Dept. Disciplinary Committee , 2007 WL 3523910 (SNY 2007);

      Anderson v. State ofNY, First Dept. Disciplinary Committee, 2007 WL 9599


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      (SDNY 2007); Bernstein v. State ofNY, First Dept. Disciplinary Committee.

      Proskauer Rose Goetz & Mendelsohn, et al., 2007 WL 11196 (SDNY 2007).


         16. Other H&C partners were held personally liable to opposing attorneys in

      complex bankruptcy proceedings for abusing litigation privileges and defaming

      opposing attorneys to federal judges on matters not before the Court. Edelman

      Combs & Latturner v. Hinshaw & Culbertson, LLP, 338 Ill. App. 3d 156, 798 NE

     2d 740 (2003) wherein H&C partner were held personally liable to opposing

      counsel for defamation and abusing litigation privilege on matters unrelated to the

      case at bar; US Express Lines v. Higgins, 281 F. 3d 383 (3d Cir. 2002); Antonelli v.

      Westville Holdings, 2012 WL 280722 (Bkrtcy. DNJ 2012).


         17. Ergo H&C has a long history of litigation abuse and targeting adverse

     counsel to gain unfair litigation advantages that are not owing.


         18. The NY, the law is clear that an attorney's stealing or converting retainer

     funds mandates disbarment; but in Plaintiff's case, no action was taken by the

     DDC under Lieberman's supervision in contended violation both of equal

     protection and the US Supreme Court's decision and order in Gunn v. Minton,

     supra. At the same time, Lieberman was serving as agent of instant private sector

     insurance defense firm H&C and never disclosed his and his firm's obvious

     financial conflicts of interest to the SDNY, to this Court or to Plaintiff.


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          19. It is undisputed that its agent partners Lieberman and Supple concealed their

      known conflicts of financial interest in Plaintiff's patent case in bad faith for the

      past 10 years.


         20. On one hand, Lieberman and Supple, who are defendants in Plaintiff's Part

      7 lawsuit, were chief counsel, executive committee members and public fiduciaries

      at both DDC and NYC Bar Association Ethics Board with the job of policing and

      disciplining according to equal protection and NY's Judiciary Law, NY attorneys

      for DR violations; but on the other hand and at the same time in Plaintiff's case,

      they were private sector partners at the H&C defendant insurance malpractice

      defense law firm defending the same Cowan defendant firm that Plaintiff properly

      reported and in response to which Plaintiff's grievances were whitewashed. It is

      based on H&C's partners conflicts of interest that Plaintiff still does not have her

      non-public patent files after 9 years of litigation before SDNY; and in in spite of an

      ongoing USPTO investigation against Cowan defendant and disciplinary

      proceedings against certain of its partners at the Office of Enrollment and

      Discipline. (Exhibit 5)


         21. Patents endure for 20 years and enforcement rights to inventions may be

      continued and extended. For this reason, the complete files of an inventor's patent

      attorneys is critical to issues of USPTO's prosecution of claims, denial of claims

      and the inventor's enforcement rights of issued claims during that period.
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         22. Richard Supple, Cowan's designated H&C day-to-day defense attorneysince

      2006, and now also representing Cowan in Plaintiff's instant lawsuit for mandamus

      to compel her files and damages based on unlawful withholding, is contended to

      have gotten improper access to Plaintiff's confidential DDC files through

      Lieberman.


         23. Under the US Supreme Court's decision and order in Gunn v. Minton, supra,

     the compelling of unlawfully purged or withheld files is now the State's job.


         24. Cowan defendant's defense firm herein, H&C, never disclosed H&C's

      conflicts of interest to SDNY, to Plaintiff or this Court that is imputed to H&C

      from its partners Lieberman and Supple holding conflicting public interest roles.

     Its NY H&C partners continue to hold conflicting public fiduciary counsel

     positions at DDC and NYC Bar Association's Ethics Board and DDC continues to

     withhold orders to compel return of Plaintiff's files.


         25.            Starting in 2003, Plaintiff reported to Part 7 defendants including

     Lieberman that Cowan defendant had stolen Plaintiff's $50,000 patent retainer.

     Plaintiff contends Part 7 defendants including Lieberman were acting under color

     of state law in violating Plaintiff's right to equal protection of NY's Judiciary Law

      Section 487 in not compelling mediation on refund and that DDC Part 7 defendants

     still have the duty to order that mediation.


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         26. It is undisputed that the mandatory minimum discipline in NYS for retainer

      theft by an attorney is disbarment. This was confirmed by presenters at the OCA

      Commission hearings on Attorney Discipline that took place at 14 Vesey Street,

      last Tues, August 11. However, in response to Plaintiff's proper grievances,

      disbarment proceedings were ever instituted; and no hearings on this issue were

      held. Plaintiff also never received Cowan defendant's responses to her grievances

      in further violation of due process.


         27. In addition, although DDC Part 7 defendants are not permitted to give legal

      advice, they told Plaintiff that her claims against Cowan defendant belonged in

      litigation and she should sue. Lieberman was supervising the DDC staff

      defendants at this time; and then the private sector firm, H&C, where he held a for

      profit partnership interest, took up Cowan's defense without disclosing obvious

      financial conflicts of interest.


         28. In addition, Part 7 defendants Lieberman and Supple as agents for their Part

      7 defendant law firm H&C are the only parties and entities collecting stable fees in
                                                                                              th
      Plaintiff's SDNY lawsuit now on remand from the Second Circuit and in its 10

      year. (Exhibit 4). Yet, Plaintiff still has no discovery compelled from Cowan

      defendants.




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          29. The recent rulings of the US Supreme Court hold that Plaintiff's mandamus

      and damage claims must be adjudicated by the state.


          30. Because there is no independent basis for federal jurisdiction, Plaintiff's

      SDNY lawsuit against Cowan defendant may also be ordered dismissed without

      prejudice for refiling in the State.


         31. Disqualification of H&C and partners Lieberman and Supple from Cowan

      defendant's representation is now mandatory also because H&C, Lieberman and

      Supple are themselves liable to Plaintiff and must be sanctioned for engaging in

      frivolous litigation. They have continued a 9-year untruthful defense on behalf of

      Cowan defendant before a district federal court. (Exhibit 3)


         32.'Cowan defendant, in fact, has no viable defense in law or equity to

      Plaintiff's claims for breach of fiduciary duty, patent malpractice and the sine qua

      non, theft of Plaintiffs patent claims with the instant Legend Films defendants,

      that was established from Squitieri's still incomplete production in 2013 pursuant

      to writ from this Court.


               III. CONTEMPT SANCTIONS MUST BE ENTERED AGAINST
                              SQUITIERI DEFENDANT




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4
                33. Squitieri not only unlawfully withheld Plaintiff's case files for 3 years

            causing damages to her, he defied this Court's order to conceal his breach of

            fiduciary duty and malpractice.


                34. Squitieri defendant he did not docket the SDNY Award of Arbitration in

            Plaintiff's favor on all counts whose findings of fact after evidentiary hearing in

            March 2009 are binding on the new Magistrate on remand. In fact, the new

            Magistrate has rendered factual findings inconsistent with the Arbitration Award

            because it is not docketed, demonstrating prejudice to Plaintiff per se from

            defendant Squitieri's breach of fiduciary duty and malpractice. There is no merger

            of Cowan's breach of a sham business development contract without cause after

            only three weeks as found by Arbitiator, and Cowan's breach of fiduciary duty

            under Plaintiff's patent retainer.
101

                                                             V. DAMAGES


                35. Plaintiff is a USPTO inventor issued her first US patents in 2009 and 2011
•

            in the universally-recognized new field of content-based secondary ticketing and

            registration operations6. Plaintiff's first claims should have issued in 2004,

            however, had Cowan defendant performed according to the standard of care during

            6
             Gurvey US Patent Nos. 7, 603, 321; D647910S; 18 patent applications
           remain pending in the portfolio, several others of which in long form drafts
           were given to Cowan law firm defendants to protect to the full bounds of the
           law in 2001.
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         37. Plaintiff is also entitled to mandatory sanctions against Cowan and Squitieri

      defendants for purging, erasing, altering and withholding her patent electronic files

      and litigation files; and spoliating patent evidence. Patent spoliation is defined as

      any one of purging, erasing and altering any patent evidence. Micron Technology

      v. Rambus, supra.


         38. A proper sanction by this Court is an order to resurrect purged files; and

      enter       judgment on issues that would have been established by spoliated files.

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               WHEREFORE, Plaintiff prays that her order to show cause be granted in

      all respects and that immediately hearing be ordered on the issues of the mandatory

      disqualification of Hinshaw & Culbertson LLP from defendant Cowan's

      representation based on conflict of interest; that a contempt order be issued against

      defendant Squitieri & Fearon, LLP for defying a previous document production

      order of this Court entered May, 2013; and that Plaintiff be awarded her attorneys'

      fees and costs; and such other and further relief as the Court deems just and proper.




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          Sworn to before me this
               l     ay of August, 2015


                                                                       ISSBROD-GURVEY
                                                           t i\S4PTO INVENTOR PRO SE
                                                            PRESIDENT & CEO
                                                            LIVE-Fi TmTechnologies, LLC
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     104millosh-0161kedowilb-illb-dlimil""6" ,
                                                            Upper Montclair, NJ 07043
                   KELSEY DUGAN               I             3430 St. Susan Place
     I              Notary Public                           Los Angeles, CA 90066
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                    PRESENT : DONNA.M. MILLS                                                                           S
                                                                          Justice

                    AMY I?. GURVEY,
                                                                                                                   2516/1:2

                                                         Plaintiff(s                                               ,

                                                                                                   OTiON:SE6; NO.; 002
                                  &.:FEARON,LLP; et al.;,.

                                                         Defendant(s).


                    The following papetS, numbered I                       were read on this motion

                                                                                                   APERS:NUMB'ER

                    .Notice of Motion/Order to Show tause;               rdaVit

                   - Answering Affidavits=. Exhibits
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                    to:produce to plaintiff all available emails and electronic files concerning their

                    representation. of,             betysieen 2007 and' 2010, that are currently aVailable:on all

                    firm servers and operational dektops.by 14 days of the date of Otis Orcl.pr.

                             This constitutes'the deCjiion and order Of the court.

                    Dated:                               30 2.0(3
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                    Check one:                      DISPOSITION                          NON-FINAL DISPOSITION

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•
                                              THE ASSOCIATION OF THE BAR
                                               OF THE CITY OF NEW YORK

                                            Arbitration for Disputes Among Lawyers
•
             In the Matter of the Arbitration between:

             Re:     Amy R. Gurvey,                                              Claimant,
                     -against-
                     Cowan, Liebowitz & Latman, P.C.,                            Respondent.
6


                                                   AWARD OF ARBITRATOR

0
             I, THE UNDERSIGNED ARBITRATOR, having been designated in accordance with the
             arbitration agreement entered into between the above-named parties and dated as of January 15,
             2002, and having been duly sworn, and having heard the proofs and allegations of the parties, do
             hereby, AWARD, as follows:
•
            1. Claimant Amy R. Gurvey ("Gurvey") and respondent Cowan, Liebowitz &Latman, P.C.
            ("Cowan") entered into a Memorandum Agreement as of January 15, 2002 (the "Agreement")
            by which Gurvy was hired as counsel to Cowan, the term commencing on February 15, 2002 and
            ending December 31, 2002. Gurvey's base compensation "for the balance of calendar year 2002"
            was "at the rate of $150,000 per year,-payable every two weeks...."
•
            2. This arbitration was commenced in April 2008 by Gurvey, and the hearings were conducted
            over a two day period, March 23 and 24, 2009. Only two witnesses testified: Gurvey on her own
            behalf and William Borchard, who was called by claimant as an adverse witness. Gurvey's basic
            claim was breach of the Agreement, and Cowan's counterclaim alleged fraudulent inducement by
•           reason of Gurvey's misrepresentations concerning her background, skills and experience. At the
            hearing, Cowan broadened its counterclaim to assert misrepresentations and material omissions
            concerning anticipated billings, receipt of a salary from one of her clients, claims made on her
            resume, sanctions for frivolous litigation misconduct, and her receipt of Social Security disability
            payments.

•           3. In May 2002 Gurvey was terminated by Cowan. Although there is no writing that spells out
            the reasons for the termination--which took place only wpeks after the Agreement was actually
            executed by the parties on or about April 17, 2002--the Managing Partner of Cowan at the time
            of the events in question testified that "[I]t was lot working out at any level." He went on to
            elaborate that Gurvey's fees and billings were inadequate, that she had failed to bring the firm the
•           entertainment practice that it sought and that a $5000 monthly retainer expected from a particular
            client did not materialize.

            4. Gurvey asked to stay on at Cowan through September and was allowed to do so. Her last
            payment from Cowan covered the two week period ending August 15, 2002.

•           5. The Agreement, largely drafted by-Cowan and based on its standard contract of this kind, did
            not provide for termination for cause and did not condition payment of the "base compensation"
            on any performance standards regarding billable hours or "Billing Units" defined in the


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             Agreement. Although the Agreement stated that the parties could conduct a fairness review of
             the base compensation at any time, no such review was requested or conducted.

             6. Gurvey's proofs established that Cowan breached the Agreement by failing to pay the balance
             of her salary due from August 15 through December 31, 2002 at the rate of $150,00 per year,
             which totals $60,250. Although Gurvey also requested "the value of four weeks vacation time,"
             the Arbitrator finds that no additional sum would be owing to Gurvey on account of vacation.
             The Agreement states that she was entitled to "the same vacation rights as other counsel
             (currently 4 weeks per calendar year with no carryover from year to year)." Thus, the value of
             Gurvey's vacation rights are included within her unpaid salary.
•
             7. Cowan raised several defenses to the breach of Agreement claim: that Gurvey failed to
             perform; breached the implied covenant of good faith and fair dealing; and was a "faithless
             servant". After consideration of the proof on these issues, the Arbitrator concludes that there was
             insufficient evidence of Gurvey's nonperformance--which would have had to be tantamount to
O            "lack of consideration" given the terms of the Agreement: no right to terminate for cause and no
             performance or billing standards. The other arguments did not fit the facts presented.

            8. Cowan's counterclaim is denied. Respondent failed to carry its heavy burden of proof on a
            fraud claim, particularly with respect to the elements of materiality and reasonable reliance.
            Further, many of the alleged misrepresentations or omissions were facts and circumstances that
•           Cowan only learned about long after its determination to terminate Gurvey.

             9. Each party shall bear its own legal fees, costs, and expenses of this Arbitration as well as one
             half of the fees of the Arbitrator.

•           10. Gurvey further requested interest "at the statutory rate since August 12, 2002." The
            Arbitrator declines to award interest for that period of time for these reasons: the Agreement
            does not provide for the payment of interest; interest was not sought in Gurvey's demand for
            arbitration, and the Arbitration Rules for Disputes Among Lawyers of The New York City Bar
            Association provide discretion to the Arbitrator. Gurvey did not commence this proceeding until
            approximately six years after her termination. She should not profit by this delay. Consequently,
•           the Arbitrator has determined that Gurvey is entitled to interest on $60,250 (but not interest on
            interest) at the statutory rate from April 16, 2008 to the date of the Award.

            In summary, I AWARD as follows:

            1. Respondent shall pay Claimant the sum of $60,250.00 on Claimant's breach of Agreement
            claim (the "Award").

            2. The only pre judgment interest that Claimant shall recover is interest at the statutory rate
            commencing April 16, 2008 up to but not including the date of this Award, on the amount of the
            Award, but not interest on interest.
•
            3. Post-award interest shall accrue form the date of this Award until paid in full at the statutory
            rate.

            4. Administrative fees of The Association of the Bar of the City of New York, attorney's fees,
            and any costs and expenses shall b e borne by each party to the extent incurred.
•
            5. Each party shall pay one-half of the fees of the Arbitrator.

                                                              2

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•
             6. Respondent's counterclaim is denied.

             This Award is in full settlement of all claims and counterclaims submitted to this Arbitration. All
             claims or counterclaims not expressly granted herein are hereby denied. The Arbitrator will
•            maintain jurisdiction.



            AV.)
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                 t' kf
                       k                                    .)11 )04         Mak4 X5t/44-41,_,
                Date                                          Charlotte Moses Fischman
•




             I, Charlotte Moses Fischman, do hereby affirm upon my oath as Arbitrator that I am the
•
             individual described in and who executed this instrument which is my Award.



                     Date
                           761                               Ait,egt-iL
                                                              Charlotte Moses Fischman
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                          HINSHAW
                               CULBERTSON                     LLP

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                           212471.6210                                                                                               New York. NY 10017
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                           January 28, 2008                                                                                          w.watirmaxierm.ecm
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                           13Y FACSIMITZ TRANSMISSION

                           Hon. Barbara S Jones
                           United States District Judge                                                           f UST,:' SONY
                           United States District Court for the Southern District of New York                     i r•O:. 9. '!-Ir';`IT
                           500 Pearl Street                                                                       :, .
                           New York, New York 10007
•
                                     Re:      Gurvey v. Cowan, Liebowitz & Latman, P.C., et al.
                                              Case No. 06 CV 1202 (RS.0 (77-11C)

                           Dear Judge Jones:

                           This firm represents defendant Cowan, Liebowitz & Latman, P.C. ("Cowan") and I write in
                           response to this Court's order, dated January 23, 2008, which directs "Ldjefendants ... to notify
                           the Court ... whether they intend to supplement, withdraw, or otherwise alter the scope of their
                           pending motions in light of [the Court's) ruling" granting plaintiff leave to file a Third Amended
                           Complaint.

                           Cowan does intend to change the scope of its pending motion before the Court. Specifically, in
                           light of plaintiff's abandonment of her claims based on her employment agreement, Cowan
                                      v -Kw its current motion to compel arbitration. Furthermore, because the Third
                                  -M—ITRE
                           Amended- Complaint adds numerous additional causes of action and six new defendants,
                           including four Cowan partners, the Cowan defendants intend to move against the new complaint
                           on several grounds, including that it violates the statute of limitations and fails to state a claim
                           upon which relief may be granted. We understand that the Clear Channel defendants will
                           supplement their pending motion to dismiss and it seems logical to expect that new defendants
                           Michael Gordon and Susan Schick may make dispositive motions as well.

•                          Tv simplify matters, my firm will accept service of the Third Amended Complaint on behalf of
                           Cowan and the four new individual Cowan defendants identified above. In addition, we believe
                           it makes sense to set a briefing schedule for defendants' motions. Since I will be out of the
                           country during the second half of February and because defendants Gordon and Schick will need




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                            J. Richard Supple.   (JS 3549)

                            cc: Counsel of Record (by fax)




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                                                                                   SO ORDERED
                                                                                   Mist           BARBARA JONES
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           09-2185-cv(L)
           Gurvey v. Cowan, Liebowitz & Latman, P.C., et al.
•

                                             UNITED STATES COURT OF APPEALS
                                                FOR THE SECOND CIRCUIT



•                                                    SUMMARY ORDER
           Rulings by summary order do not have precedential effect. Citation to a summary order filed
           on or after January 1, 2007, is permitted and is governed by Federal Rule of Appellate
           Procedure 32.1 and this court's Local Rule 32.1.1. When citing a summary order in a document
           filed with this court, a party must cite either the Federal Appendix or an electronic database
•          (with the notation "summary order"). A party citing a summary order must serve a copy of it
           on any party not represented by counsel.


     1            At a stated term of the United States Court of Appeals for the Second Circuit, held at the
     2     Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, in the City of New York,
     3     on the 10th day of February, two thousand twelve.
•    4
     5     PRESENT:
     6
     7              AMALYA L. KEARSE,
     8              JOSE A. CABRANES,
•    9              ROBERT D. SACK,
    10                           Circuit Judges.
    11
    12     AMY R. GURVEY,
    13
    14                        PlaintiffAppellant,
•   15
    16                        -v.-                                                     Nos.   09-2185-cv(L)
    17                                                                                        10-4111 (Con)
    18     COWAN, LIEBOWITZ & LATMAN, P.C., CLEAR
    19     CHANNEL COMMUNICATIONS, INC., LIVE
    20     NATION, INC., INSTANT LIVE CONCERTS, LLC,
•   21     NEXTICKETING, INC., WILLIAM
    22     BORCHARD, MIDGE HYMAN, BAILA
    23     CELEDONIA, CHRISTOPHER JENSEN, DALE
    24     HEAD, SIEVE SIMON, MICHAEL GORDON,
    25     and SUSAN SCHICK,
•   26
    27                        DefendantsAppellees.'
    28




           ' The Clerk is directed to amend the official caption as indicated above.
•




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     1      FOR APPELLANT:                                                          Amy R. Gurvey, pro se, Upper
•    2                                                                              Montclair, N.J.
     3
     4      For APPELLEES:                                                          J. Richard Supple, Jr., Hinshaw &
     5                                                                               Culbertson LLP, New York, N.Y.,
     6                                                                              for Cowan, Liebowitz & Latman
     7                                                                               PC, William Borchard, Midge
•    8                                                                               Hyman, Baila Celedonia, and
     9                                                                               Christopher Jensen;
    10
    11                                                                              Samara L. Kline (Melissa
    12                                                                              Armstrong, on the brig, Baker
    13                                                                              Botts LLP, Dallas, Texas,for Live
•
    14                                                                              Nation, Inc., InstantLive
    15                                                                              Concerts, LLC, NexTicketing,
    16                                                                              LLC, and Clear Channel
    17                                                                              Communications, Inc.
    18
•   19              Appeal from a judgment of the United States District Court for the Southern District of New

    20     York (Barbara S. Jones, Judge).

    21

•   22              UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED, AND

    23     DECREED that the judgment of the District Court be AFFIRMED in part and VACATED and

    24     REMANDED in part.
•
    25              Plaintiff-appellant Amy R. Gurvey appeals from the District Court's April 23, 2009 judgment

    26     dismissing her third amended complaint ("TAC") pursuant to Fed. R. Civ. P. 12(b)(6). We assume the

    27     parties' familiarity with the underlying facts and the procedural history of the case, some of which we

    28     briefly reiterate here.

    29                                                     BACKGROUND

    30              In February 2006 Gurvey filed her initial complaint in this action, principally asserting claims of

    31     misappropriation of trade secrets against all defendants named in the complaint, fraud and breach of

    32     fiduciary duty against her attorney, Cowan, Liebowitz & Latman LLC ("Cowan"), and unfair

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     1     competition and interference with prospective economic advantage against Cowan, Clear Channel
•
     2     Communications ("CCC"), InstantLive, and Live Nation, Inc. ("Live Nation"). Gurvey did not serve

     3     the complaint on the defendants at that time.

     4                Four months later, in June 2006, Gurvey filed an amended complaint, which added a subsidiary
•
     5     of CCC as a defendant, as well as, inter alia, claims of malpractice against Cowan. Gurvey served the

     6     first amended complaint on all defendants, and attached a copy of the original complaint.

     7                Later, on March 4, 2008, Gurvey filed her third2 amended complaint, which forms the basis of

     8     this appeal. The TAC added as defendants several partners of and one associate employed by Cowan

     9     (together with Cowan, the "Cowan Defendants"), several executives of the corporate defendants, and

•   10     Michael Gordon, the bass guitarist for the rock band "Phish." The TAC also asserted numerous claims

    11     against various defendants for, inter alia, misappropriation of trade secrets, unfair competition, breach of

    12     fiduciary duty, tortious interference with a contract, tortious interference with prospective economic

    13     relations, attorney malpractice, violations of Section 2 of the Sherman Act,3 violations of state antitrust

    14     laws, and violations of the Lanham Act.4

    15               On April 23, 2009, the District Court dismissed the TAC in its entirety.' Garvey v. Cowan,
•   16     Liebowit& Latman, P. C, No. 06 Civ. 1202, 2009 WL 1117278 (S.D.N.Y. Apr. 24, 2009) ("Gamey Ii").



           2 Gurvey, who filed her initial complaintpev se, moved on October 10, 2006 to file a second amended complaint.   While that
           motion was still pending, Gurvey retained counsel and requested leave to file a third amended complaint. The District Court
•          granted permission to file a third amended complaint, deeming the pro se motion moot. Curvy v. Cowan, Liebowik & Leaman,
           No. 06 Civ. 1202, Docket No. 41, at 2 (S.D.N.Y. Jan. 23, 2008) (order granting permission to file third amended complaint).

           3 15 U.S.C. § 2, et seq.


            15 U.S.C. § 1051, et seq.

           5 On March 16, 2009, the District Court dismissed the action against CCC and Live Nation for lack of personal jurisdiction
           under Fed. R. Civ. P. 12(b)(2). See Gurvey v. Cowan, Liebowit< & Leaman, P.C., No. 06 Civ. 1202, 2009 WL 691056 (S.D.N.Y.
           Mar. 17, 2009) ("Gamy 1"). Although Gurvey claims that this dismissal constituted reversible error, she failed to include in
           her Notice of Appeal her intent to appeal from this order. See Gurvey, No. 06 Civ. 1202, Docket No. 83 (S.D.N.Y. Sept. 23,
           2010) (Notice of Appeal). We therefore do not have jurisdiction to decide her claim that the District Court erred by
           dismissing her claims against CCC and Live Nation for lack of personal jurisdiction. See Shrader v. CSX Tramp., Inc., 70 F.3d
           255, 256 (2d Cir. 1995).
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      1     The court determined that Gurvey's claims of misappropriation of trade secrets, unfair competition, and
•
      2     tortious interference with contract claims were time-barred. The court also determined that her state

      3     and federal antitrust claims, as well as her unjust enrichment claim, had been inadequately pleaded. It

      4     further found that Gurvey's false advertising claims under the Lanham Act were related to the

      5     authorship of her allegedly proprietary ideas and therefore were not properly the subject of an action

      6     under the Lanham Act.

      7             With respect to Gurvey's claims for tortious interference with prospective economic relations,

      8     the court concluded that Gurvey's allegations—that, because Cowan illegally revealed her proprietary

      9    information and trade secrets to CCC and Live Nation, she lost the opportunity to complete a private

•   10      placement offering of securities to be issued by her own company—were too vague to give rise to a

    11     plausible claim for relief. The court determined that the TAC neglected to allege that defendants knew

    12     of Gurvey's private placement opportunity when they allegedly wrongfully interfered with the
•   13     opportunity, and therefore dismissed the tortious interference claim.

    14              Finally, with respect to Gurvey's legal malpractice claims against the Cowan defendants, the

    15     court concluded that Gurvey had offered only "vague and non-actionable challenges" to defendants'
•
    16     legal representation. Gurvey's allegation that defendants had failed to protect the confidentiality of her

    17     trade secrets was not premised on "anything more than speculation" and did not present a challenge to

    18     the actual quality of defendants' legal representation. In addition, Gurvey's allegation of a conflict of
•
    19     interest did not include any detail as to the supposed conflict. Moreover, the court determined that

    20     Gurvey had failed to identify the precise damages she had suffered or how defendants' legal

    21     representation had actually caused these damages. Gurvey's breach of fiduciary duty claims against the
•
    22     Cowan defendants were dismissed for similar reasons.'


           6 The District Court also dismissed Gurvey's claim for an accounting because an accounting is a remedy, not a separate claim.


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          1             On appeal Gurvey argues that the District Court abused its discretion by (1) failing to adjudicate
•
          2   her April 2010 Rule 60(b) motion which, inter alia, sought leave to file a fourth amended complaint; (2)

          3   dismissing her claims against the defendants for misappropriation of her trade secrets, violation of the

•         4   federal and state unfair competition and antitrust laws, tortious interference with her contractual and

          5   business relations, and attorney malpractice and breach of fiduciary duty; (3) not issuing a formal order

          6   with respect to the Cowan defendants' motion to compel arbitration and stay all proceedings pending

•         7   arbitration; (4) failing to enter on the docket and adjudicate her requests to "reinstate" discovery; (5)

          8   granting Live Nation's and CCC's motions to dismiss for lack of personal jurisdiction; (6) finding that

          9   defendants did not engage in unfair competition by issuing false and misleading press releases; and (7)

              dismissing her claims against Cowan for ongoing malpractice and breach of fiduciary duty before the
•
     10
    11        United States Patent and Trademark Office and for tortious interference with her contract with her

    12        previous employer, Legend Films.' Gurvey has also moved to correct the record on appeal, requesting
•   13        that we order the District Court to docket various documents she has unsuccessfully attempted to file

    14        with the District Court during the pendency of this appeal, including a record of a state arbitration

    15        proceeding and a motion filed pursuant to Fed. R. Civ. P. 60(b), and that we order the District Court to
•
    16        permit her to file a fourth amended complaint (which she has also unsuccessfully attempted to file with

    17        the court). The Cowan defendants have petitioned for fees and costs, requesting that Gurvey be

    18        required to pay their expenses associated with the defense of the instant appeal.
•

                Gurvey also appeals from the District Court's denial of her motion for reconsideration of dismissal pursuant to Fed. R. Civ.
              P. 59(a). See Gurvey, No. 06 Civ. 1202, Docket No. 80 (S.D.N.Y: Sept. 20, 2010) (order denying motion to reconsider). In
              adjudicating Gurvey's Rule 59 motion, the District Court found that several of the arguments she made in her motion were
              newly raised. The court accordingly refused to consider those arguments. Gurvey, No. 06 Civ. 1202, Dock& No. 80
              (S.D.N.Y. Sept. 20, 2010) (order denying motion to reconsider); see Nat'l Union Fire Ins. Co. of Pittsbutgh v. Stroh Cos., Inc., 265
•
              F.3d 97, 115 (2d Cir. 2001) (noting that under Local Rule 6.3 of the Southern District of New York, a plaintiff may not raise
              a new argument for the first time in a motion for reconsideration). Because the arguments were not properly presented to
              the District Court, they are not before us now. See Nat'l Union Fire Ins. Co., 265 F.3d at 115-16. To the extent the District
              Court rejected any earlier-raised arguments in its denial of Gurvey's motion for reconsideration, those arguments are
              addressed in tandem with, and subsumed by, our discussion of the court's dismissal of Gurvey's complaint on the merits.

•                                                                              5




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     1                                                     DISCUSSION
•
     2              We review de novo a dismissal of a complaint under Federal Rule of Civil Procedure 12(b)(6),

     3     "construing the complaint liberally, accepting all factual allegations in the complaint as true, and drawing

     4     all reasonable inferences in the plaintiff's favor." Chambers v. Time Warner, Inc., 282 F.3d 147, 152 (2d
•
     5     Cir. 2002). The complaint must plead "enough facts to state a claim to relief that is plausible on its

     6     face." Bell Ad Corp. v. Twomb#, 550 U.S. 544, 570 (2007). Although all allegations contained in the

•    7     complaint are assumed to be true, this tenet is "inapplicable to legal conclusions." Asher)* v. Igbal, 129

     8     S. Ct. 1937, 1949 (2009). A claim will have "facial plausibility when the plaintiff pleads factual content

     9     that allows the court to draw the reasonable inference that the defendant is liable for the misconduct

•   10     alleged." Id.

    11              Having conducted an independent and de novo review of the record in light of these principles,

    12     and for substantially the reasons stated by the District Court in its thorough and well-reasoned opinion

•   13     and order of April 2009, Gurvey II, 2009 WI, 1117278, we affirm the judgment to the extent that it

    14     dismissed Gurvey's claims for misappropriation of trade secrets, unfair competition, and tortious

    15     interference with contract as time-barred, and to the extent that it dismissed her claims for false
•
    16     advertising, violations of state and federal antitrust laws, and tortious interference with prospective

    17     economic relations, for failing to sufficiently plead claims upon which relief may be granted.

    18              However, we vacate the District Court's judgment to the extent that it dismissed Gurvey's
•
    19     claims for attorney malpractice and breach of fiduciary duty against the Cowan defendants. Construing

    20     the TAC liberally, accepting all the factual allegations in the complaint as true, and drawing all

•   21     reasonable inferences in Gurvey's favor, see Bell Atl. Corp., 550 U.S. at 570, we conclude that Gurvey

    22     stated a plausible claim by alleging that the defendants used the information given to them as part of a

    23     confidential attorney-client relationship to their own advantage by disclosing it to other clients who then

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      1     profited therefrom to Gurvey's detriment, see Ulico Cas. Co. v. Wilson, Elcer, Moskowit Edelman & Dicker,
•
      2     56 A.D.3d 1, 10 (1st Dep't 2008).8 We therefore remand the cause for further proceedings before the

      3     District Court on these claims.

•     4             We deny Gurvey's motion to correct the record on appeal, having found that the documents she

      5     asks this Court to consider either were not properly filed with the District Court or concern events that

      6     occurred subsequent to the District Court's dismissal of her claims. See generally Fed. R. App. P. 10(e)

•     7     (setting forth procedure for correction of record on appeal). We alsb deny the request of the Cowan

      8     defendants for an award of appellate costs and fees. See Fed. R. App. P. 38; Schiff v. United States, 919

      9     F.2d 830, 834 (2d Cir. 1990).

•   10              We have reviewed Gurvey's remaining arguments and find them to be without merit.

    11                                                         CONCLUSION

    12              For the foregoing reasons, the judgment of the District Court is hereby AFFIRMED in part and
•   13     VACA1ED in part as specified above. The cause is REMANDED to the District Court for further

    14     proceedings consistent with this order, including discovery on the remaining claims and any possible

    15     dispositive motions that may thereafter ensue.
•
    16

    17                                                            FOR THE COURT,
    18                                                            Catherine O'Hagan Wolfe, Clerk of Court
    19
•




•


           8 The plausibility of this argument is bolstered by Gurvey's allegation that Cowan withdrew from representing Gurvey before
           the United States Patent and Trademark Office due to what Cowan allegedly termed a "conflict of interest."

•
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                                     UNITED STATES PATENT AND TRADEMARK OFFICE
                                             OFFICE OF THE GENERAL COUNSEL

            June 19, 2014

            VIA CERTIFIED MAIL
            RETURN RECEIPT REQUESTED

            Ms. Amy Gurvey
            315 Highland Avenue
•           Upper Montclair, NJ 07043

            RE:      Freedom of Information Act Appeal A-14-00009 (Appeal of Request No. FP-14-00014)

            Dear Ms. Gurvey:
•
            This determination responds to your letter dated May 15, 2014 and received by the United States
            Patent and Trademark Office ("USPTO" or "Agency") on May 22, 2014, and your e-mail dated
            May 22, 2014, appealing the USPTO's decision on your Freedom of Information Act (FOIA)
            Request, No. FP-14-00014. See FOIA Appeal' No. A-14-00009.
•           In your FOIA request, you asked for a copy of:

                     All documents pertaining to my patent applications and portfolio in premium ticket
                     operations and an OED investigation against the first patent firm retained, Cowan
                     Liebowitz & Latman PC.
•
            See FOIA Request No. FP-14-00014.

            On April 7, 2014, the Agency responded to your FOIA request. See Initial Determination (FP-
            14-00014). In response to your request for documents concerning your patent applications and
            portfolio in premium ticket operations, the Agency stated that it indexes and makes available for
•           public inspection and copying all public files concerning issued patents, published applications,
            and reexamination files. See id. at 2. The Agency provided information to you about how to
            access those files online and in person, and how to order copies electronically and by mail. See
            id In regard to your request for documents concerning an investigation of Cowan Liebowitz &
            Latman PC ("CLL") by the USPTO's Office of Enrollment and Discipline ("OED"), the Agency
            produced 151 pages of documents in full, and withheld records contained in open OED
•           investigation files pursuant to FOIA Exemptions 7(A) and 7(C). See id at 1-2.

            The May 15 letter states that the documents produced by the Agency were "soaked with yellow
            staining on all the pages" and "most are stuck together." FOIA Appeal No. A-14-00009. On
            May 22, 2014, the Agency received the May 15 letter and promptly e-mailed you PDF copies of
•           these documents. See E-mail from USPTO FOIA Office dated May 22, 2014.




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           The May 15 appeal letter also contests the Agency's withholding of documents pertaining to
•          OED's pending investigation of CLL. See FOIA Appeal No. A-14-00009. Specifically, it states
           that you are "not seeking OED records that pertain to criminal law enforcement; just
           confirmation that my attorneys failed to perform according to the standard of care for patent
           attorneys." Id. at 2.

           For the reasons explained below, your appeal is denied.
•
           A.       Patent Applications and Portfolio in Premium Ticket Operations

           The Agency's letter of April 7, 2014 previously informed you how to access and order copies of
           public files regarding issued patents, published patent applications, and reexamination files. See
•          Initial Determination (FP-14-00009) at 2. Because these files are indexed and open to public
           inspection pursuant to 5 U.S.C. § 552(aX2), the Agency need not produce copies of them in
           response to a FOIA request made under 5 U.S.C. § 552(a)(3). See Schwartz v. U.S. Patent and
           Trademark Office, 80 F.3d 558 (D.C. Cir. 1996) (holding that because USPTO makes patent files
           available for public inspection and copying under subsection (a)(2), it had satisfied its disclosure
           obligations under FOIA and was not obligated to provide records in response to a request under
•          (aX3)).

           Unpublished patent applications generally must be kept confidential and are not available to the
           public. 35 U.S.C. § 122(a). However, to the extent that you are a named inventor on any
           unpublished patent applications, you may access these private files through the USPTO's Private
•          Patent Application Information Retrieval system ("Private PAIR"). In order to access Private
           PAIR, you must: (1) be a registered patent attorney/agent, an inventor, or a person granted
           limited recognition; (2) have a customer number; and (3) have a digital PM certificate. The
           Agency's website contains information about how to register for Private PAIR at
           http://www.uspto.gov/patents/process/files/efsiguidance/register.jsp By way of summary, the
           first step is to obtain a Customer Number. You may do this by filling out the form located at
           http://www.uspto.gov/web/forms/sb0125_fill.pdf and faxing it to the Electronic Business Center
           at (571) 273-0177. To associate an existing patent application with your Customer Number, you
           should complete the form at http://www.uspto.gov/patents/ebc/cust_regjnstructions.xls. The
           second step is to obtain a Digital PM Certificate, which you may do by filling out the form
           located at http://vvww.uspto.pv/patents/ebc/certificateactionform.pdf, getting it notarized, and
•          mailing it to the address on the top of the form. After this form is processed, you will receive an
           authorization code and reference number, which you can use to access your unpublished patent
           applications through Private PAIR.

            Please note that the Patent Electronic Business Center ("EBC") issues, administers, and supports
            the use of customer numbers and digital certificates for the access and use of Private PAIR. The
            ECB also provides customer support for Private PAIR. ECB's hours of operations are Monday
•
              Additionally, your appeal states: "I want all correspondence on my files from the Cowan firm . . . . All
            correspondence pertaining to my two provisional (60/382,710 and 60/382,979) are missing from your initial
            production, they were never perfected by Cowan and my retainer was converted and never refunded. I need all
•
            documents generated through September 2003 by any attorney at the Cowan firm." Id. at 3. To the extent this
            statement refers to the request for patent documents, see part A above.




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           through Friday 6 a.m. — midnight (EST/EDT). The EBC can be reached by telephone at 866-
•          217-9197 (toll free) or 571-272-4100. The EBC can be reached by email at ebc(@uspto.gov.

           Because the Agency has provided you with the means to access public patent files, as well as
           private patent files for which you are a named inventor, the Agency need not provide you with
           copies of these files in response to your FOIA request. In this regard, it is well-established that
•          an agency "need not respond to a FOIA request for copies of documents where the agency itself
           has provided an alternative form of access." Tax Analysts v. Dep't of Justice, 845 F.2d 1060,
           1065 (D.C. Cir. 1988), aff'd, 492 U.S. 136 (1989); see also Martinez v. Bureau of Prisons, 444
           F.3d 620 (D.C. Cir. 2006) (per curiam) (where agency allowed prison inmate to review his
           presentence reports, it was not required to produce copies of them); Shurtleff v. United States
           Environmental Protection Agency, 2013 WL 5423963, at *11 (D.D.C. Sept. 30, 2013) (holding
•          that EPA discharged its FOIA duty by directing requestor to documents available online and at
           its offices — "when an agency has provided an alternative form of access, it has satisfied its
           requirement to make records available to the public"); Salanitro v. United States Office of
           Personnel Mgmt., Retirement Operations Division, 2011 WL 2670076, at *4 (M.D. Fla. July 8,
           2011) (holding that OPM not required to produce documents in response to FOIA request where
•          they were available on government websites); Crews v. Internal Revenue Serv., 2000 WL
           900800, at *6 (C.D. Cal. Apr. 26, 2000) ("The IRS has also produced documents that are
           publicly available either in the IRS reading room or on the intemet, and thus not subject to
           production via FOIA requests."); Hilaire v. Dep't of Justice, Office of Special Investigations,
           1991 WL 190089, at *2 (D.D.C. Sept. 10, 1981) (holding that NARA not required to produce
           copies of documents where they were available at archives building).
•
           B.       OED's Investigation of Cowan Liebowitz & Latman

           The Agency properly withheld documents concerning a pending OED investigation of CLL
           attorneys under FOIA Exemptions 7(A) and 7(C). Exemption 7(A) allows agencies to withhold
           "records or information compiled for law enforcement purposes" where disclosure "could
•
           reasonably be expected to interfere with enforcement proceedings." 5 U.S.C. § 552(b)(7)(A).
           Exemption 7(C) permits the withholding of "records or information compiled for law
           enforcement purposes" where disclosure "could reasonably be expected to constitute an
           unwarranted invasion of personal privacy." 5 U.S.C. § 552(b)(7)(C).

           As set forth below, the OED investigation records satisfy all the requirements under Exemptions
           7(A) and 7(C).

           Threshold Requirement Under Exemptions 7(A) and 7(C)

           Exemptions 7(A) and 7(C) both have a threshold requirement that records be "compiled for law
•          enforcement purposes," which is satisfied when an agency's files focus on specific alleged illegal
           acts which could result in civil or criminal sanctions. See Jefferson v. Dep't of Justice, 284 F.3d
           172, 177 (D.C. Cir. 2002); Rural Housing Alliance v. Dep't of Agriculture, 498 F.2d 73, 81 (D.C.
           Cir. 1974). If the investigation that gave rise to the documents is related to the enforcement of
           federal laws and there is a rational nexus between the investigation and the agency's law
•          enforcement duties, then the inquiry is for "law enforcement purposes." Jefferson, 284 F.3d at




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           177; Pratt v. Webster, 673 F.2d 408, 420-21 (D.C. Cir. 1982); Rural Housing Alliance, 498 F.2d
•          at 82.

           Here, OED has responsibility, inter alia, to investigate allegations of misconduct and violations
           of the USPTO's Rules of Professional Conduct by patent attorneys and agents practicing before
           the USPTO in patent cases and attorneys practicing before the USPTO in trademark matters. See
•          35 U.S.C. § 2(b)(2)(D) (USPTO may establish regulations governing "the recognition and
           conduct of agents, attorneys, or other persons representing applicants or other parties before the
           Office"); 37 C.F.R. § 11.2(b)(4) (OED shall "{c}onduct investigations of matters involving
           possible grounds for discipline of practitioners"); 37 C.F.R. § 11.19(a) (describing practitioners
           subject to disciplinary jurisdiction); 37 C.F.R. § 11.22 (authorizing OED to investigate possible
           grounds for discipline and describing procedures for investigations). OED may gather evidence
           regarding possible grounds for discipline during investigations. 37 C.F.R. § 11.22(f). After an
           investigation, OED may close the matter, issue a warning to the practitioner, institute formal
           disciplinary charges upon approval by a Committee on Discipline, or enter into a settlement
           agreement with the practitioner. 37 C.F.R. § 11.22(h). Grounds for instituting disciplinary
           proceedings against practitioners include, but are not limited to, convictions of a serious crime,
•          discipline on ethical grounds imposed in another jurisdiction, disqualification by a federal
           agency or from a federal program, violation of the USPTO's Rules of Professional Conduct, and
           violations of the oath or declaration taken by the practitioner. 37 C.F.R. §§ 11.19(b)(1), 11.25,
           11.27. The USPTO's regulations contain specific procedures for the initiation and conduct of
           disciplinary proceedings. 37 C.F.R. §§ 11.19(a), 11.32. Disciplinary sanctions include
           exclusions and suspensions from practice before the USPTO, reprimand or censure, and
•          probation. 37 C.F.R. § 11.20(a).

           In this case, OED's investigation of CLL attorneys relates to the Agency's enforcement of
           federal laws (their compliance with rules governing their conduct in representing you in patent
           matters). Accordingly, records of OED's ongoing investigation meet the threshold requirement
•          of Exemptions 7(A) and 7(C) that the records be "compiled for law enforcement purposes."

            Exemption 7(A)

           In addition to satisfying the threshold requirement, the withheld records also meet the
           requirement in Exemption 7(A) that disclosure "could reasonably be expected to interfere with
•          enforcement proceedings." 5 U.S.C. § 552(bX7XA). To satisfy this Exemption, agencies must
           show that there is a pending or prospective law enforcement proceeding and the release of
           information about it could reasonably be expected to cause some articulable harm. See, e.g.,
           National Labor Relations Bd. v. Robbins Tire & Rubber Co., 437 U.S. 214, 224 (1978); Juarez v.
           Dept of Justice, 518 F.3d 54, 58-59 (D.C. Cir. 2008); Sussman v. U.S. Marshals Serv., 494 F.3d
•          1106, 1113-14 (D.C. Cir. 2007).

            This test is met because OED's investigation of CLL is pending. As with almost any OED
            investigation, a premature disclosure of information could reasonably be expected to interfere
            with the investigation. For example, disclosure could provide insights into the scope, direction,
            and nature of OED's investigation. See, e.g., Faiella v. Internal Revenue Serv., 2006 WL
•           2040130, at 3 (D.N.H. July 20, 2006) (Exemption 7(A) applied where disclosure of information
            could prematurely disclose government's theories, issues, and evidentiary requirements); Kay v.




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            Federal Communications Comm 'n, 867 F. Supp. 11, 19 (D.D.C. 1994) (Exemption 7(A) applied
•           where disclosure could reveal scope and strength of FCC's case). Disclosure also could create
            the potential for witness intimidation and deter their cooperation. See, e.g., Robbins Tire, 437
            U.S. at 239 (holding that NLRB established interference with its unfair labor practice
            enforcement proceeding by showing that release of witness statements could cause witness
            intimidation and deter their cooperation); EDUCAP, Inc. v. Internal Revenue Serv., 2009 WL
•           416428, at *6 (D.D.C. Feb. 18, 2009) (similar). As a result, the Agency properly withheld
            records concerning OED's pending investigation under FOIA Exemption 7(A).

            Exemption 7(C)

            In addition, the withheld records similarly qualify for the protection in Exemption 7(C) because
•           disclosure "could reasonably be expected to constitute an unwarranted invasion of personal
            privacy." 5 U.S.C. § 552(bX7)(C). Applying Exemption 7(C), the public interest in disclosure
            of those records must be weighed against the CLL attorneys' privacy interest in withholding
            them. See United States Dep't ofJustice v. Reporters Committee for Freedom of the Press, 489
            U.S. 749, 762 (1989); Neely v. Federal Bureau of Investigation, 208 F.3d 461, 463-64 (4th Cir.
            2000). As to the former, Exemption 7(C) recognizes a public interest only in information
•
            bearing on an agency's performance of its statutory duties. Reporters Committee, 489 U.S. at
            773 (rejecting assertion of public interest in rap sheet of a reputed Mafia crime boss because it
            told nothing about matters of substantive law enforcement policy); Neely, 208 F.3d at 464
            (holding that public had negligible interest in names and identifying information of employees,
            suspects, and others mentioned in course of FBI investigation as there was no compelling
•           allegation of agency corruption or illegality). Here, the records relate to the CLL attorneys.
            And, on the other hand, Exemption 7(C) "affords broad[] privacy rights to suspects, witnesses,
            and investigators." SafeCard Servs., Inc. v. Securities and Exchange Comm 'n, 926 F.2d 1197,
            1205 (D.C. Cir. 1991) (internal quotations omitted); see also Neely, 208 F.3d at 464 ("third
            parties mentioned or interviewed in the course of an investigation have well-recognized and
•           substantial privacy interests" in law enforcement records under Exemption 7(C) "because of the
            potential for future harassment, annoyance, or embarrassment").

            Here, the public has an insubstantial interest in the withheld records of OED's pending
            investigation because information about CLL's representation of you in patent matters is not
            probative of the Agency's behavior or performance of its duties. See SafeCard Servs., 926 F.2d
•           at 1205 (finding that names and addresses of potential witnesses or litigants in SEC stock
            manipulation investigations not probative of SEC's behavior or performance). Importantly, there
            is no credible allegation that the Agency is not performing its statutory duties or is engaged in
            any illegality. See id. at 1205-06 ("unless there is compelling evidence that the agency denying
            the FOIA request is engaged in illegal activity, and access to the names of private individuals
•           appearing in the agency's law enforcement files is necessary to confirm or refute that evidence,
            there is no reason to believe that the incremental public interest in such information would ever
            be significant). By contrast, as explained above, the CLL attorneys have a substantial privacy
            interest in the withheld records of OED's investigation. See SafeCard Servs., 926 F.2d at 1205;
            Neely, 208 F.3d at 464. Because the CLL attorneys' privacy interest strongly outweighs the
            public interest in OED's investigation records, the Agency properly withheld them under
•           Exemption 7(C), as a separate ground in addition to Exemption 7(A).




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•
          The May 15 letter argues that you are "not seeking OED records that pertain to criminal law
          enforcement; just confirmation that my attorneys failed to perform according to the standard of
          care for patent attorneys." FOIA Appeal No. A-14-00009 at 2. However, Exemptions 7(A) and
          7(C) are not limited to records involving criminal enforcement proceedings. Rather, they also
•         cover records of civil, administrative, and regulatory enforcement proceedings. See Jefferson v.
          Dep't ofJustice, 284 F.3d 172, 178 (D.C. Cir. 2002) (holding that Exemption 7 "covers
          investigatory files relating to enforcement of all kinds of laws, including those involving
          adjudicative proceedings") (internal quotations omitted); Judicial Watch v. Rossotti, 285 F.
          Supp. 2d 17, 29 (D.D.C. 2003) (documents relating to IRS civil investigation covered);
•         Rosenglick v. Internal Revenue Serv., 1998 U.S. Dist LEXIS 3920, at *6 (M.D. Ha. Mar. 10,
          1998) (holding that phrase "law enforcement purposes" includes "civil, criminal, and
          administrative statutes and regulations such as those promulgated and enforced by the IRS");
          Johnson v. Drug Enforcement Agency, 1998 U.S. Dist. LEXIS 9802, at *9 (D.D.C. June 25,
          1998) ("law being enforced may be . . . regulatory"). Also, it is well-established that the FOIA
          requester's purpose in seeking the records is irrelevant; what matters is the purpose of the
•         agency's investigation at issue. See Reporters Committee, 489 U.S. at 771 ("the purposes for
          which the request for information is made . . . ha[ve] no bearing on the merits of his or her FOIA
          request.").

          The May 15 letter also argues that "my patent attorneys' fiduciary duty to me is deemed by law
•         paramount to their right to protect themselves from civil prosecution" and cited Cold Spring
          Harbor Laboratory v. Ropes & Gray LLP, 2011 WL 2884893 (D. Mass. July 19, 2011) for this
          proposition. FOIA Appeal No. A-14-00009 at 2. In Cold Spring Harbor, the district court held
          that a law firm's fiduciary duty to its client overrode the firm's claim of privilege for its internal
          investigation in a legal malpractice action brought by the client. 2001 WL 2884893, at *2. Cold
          Spring Harbor, however, does not apply here because the case did not involve government
          records or FOIA.
•
          C.       Final Decision and Anneal ItigALs

          This is the final decision of the United States Patent and Trademark Office with respect to your
          appeal. You have the right to seek judicial review of this denial as provided in 5 U.S.C. §
•
          552(a)(4XB). Judicial review is available in the United States District Court for the district in
          which you reside or have a principal place of business, the United States District Court for the
          Eastern District of Virginia, or the United States District Court for the District of Columbia.

          Additionally, as part of the 2007 FOIA amendments, the Office of Government Information
•         Services (OGIS) was created to offer mediation services to resolve disputes between FOIA
          requesters and Federal agencies as a non-exclusive alternative to litigation. Using OGIS services
          does not affect your right to pursue litigation. If you are requesting access to your own records
          (which is considered a Privacy Act request), you should know that OGIS does not have the
          authority to handle requests made under the Privacy Act of 1974. You may contact OGIS in any
•         of the following ways:




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                   Office of Government Information Services
•
                   National Archives and Records Administration
                   Room 2510
                   8601 Adelphi Road
                   College Park, MD 20740-6001
                   E-mail: ogisna
•                  Telephone: 301-837-1996
                   Facsimile: 301-837-0348
                   Toll-free: 1-877-684-6448

          Sincerely,
•


          Jame      ayne
          De •       eneral Cou s        for General Law
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                                                           315 Highland Avenue
•                                                          Upper Montclair, NJ 07043
                                                           PH 917-733-9981
                                                           June 27, 2014

•

            James Payne, Esq.
            Deputy General Counsel, General Law
            United States Patent and Trademark Office
•
            Office of the General Counsel
            PO Box 1450
            Alexandria, VA 22313-1450
•           cc: Hon. Lorna G. Schofield, SDNY
            Hon. Mag. Henry B. Pitman, SDNY
                     Re: Gurvey v. Cowan Liebowitz & Latman, PC 06-cv-1202 (SDNY)
                     Remand from Second Circuit, 462 Fed. Appx. 26 (February 10, 2012)
•
                     Inventor's USPTO Grievances 2004, 2012, 2013 OED # 14-00009


            Dear Mr. Payne:
•
                   This application being served on SDNY and the Second Circuit, seeks
            reconsideration of your letters of April 7, 2014 and June 19, 2014 (Enclosed)
            denying my FOIA requests seeking USPTO's production of all non-public and
•           unpublished records that pertain to retainer of my original NY patent attorneys at
            Cowan Liebowitz & Latman, PC in December, 2001 and all internal
            documents generated on my inventions, apparatus designs and ideas up to the
            time I got my first USPTO office action in 2008 (more than 6 '/2 years later).
•
                  Your office does not dispute that my patent portfolio was severely
            damaged by Cowan's misconduct because the flagship 468 original application
            was not timely perfected or prepared. Nor was a PCT perfected in the ensuing
            17 months before a US application to prevent publication. Cowan in fact
•
            performed no services at all for 6 months after being retained. As a result, the

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       468 application has still not issued in spite of conceded patentable subject
       matter (Jalatee Worjloh's statement to NY attorney Allan Chan, Esq.in 2009),
       and it remains in languished published prosecution. This in turn allowed other
       inventors to plagiarize my ideas and disclosures in their own applications. My
       2004 CIP with the same and expanded disclosures issued as the first US patent
       to me out of sequence in October, 2009, but was missing claims and there are
       17 divisionals and CIPs still pending in the US and Eurow. (Gurvey US
       Patent No. 7, 603, 321; D610947S)
              Based on the delayed prosecution, my first notice of patent damages, lost
       claims and priority dates, came in October, 2009, six months after Cowan
       defendants were already sua sponte dismissed by SDNY in April, 2009. This
       required a 2 'A year appeal to the Second Circuit that I won pro se (462 Fed
       Appx. 26)(2d Cir. February 10, 2012). My 6AC stating the lost claims and
       priority dates including to Cowan's other client, Legend Films, is currently
       before the SDNY; and is based on Cowan first and only document production
       of December, 2012. Emails from this production were sent to OED in March,
       2013, which opened your investigation (finally). It is now established after 11
       years that Cowan served as Legend's NY agent in aiding and abetting theft of
       my claims, ideas, inventions and priority dates; and was "following the client's
       instructions" in purging my e-files in 2003.


            Your June 2014 denial letter misinterprets my request. You write that
       am requesting "public records" available on the USPTO website, which is
       wrong. I am only requesting non-public (unpublished) documents.
            Second, you also write that OED may be investigating criminal
       misconduct and that publication of the OED proceedings that are ongoing
       might be embarrassing to Cowan lawyers.
             I contend embarrassment is not justifiable grounds to withhold my non-
       public patent documents because Cowan's fiduciary duty to me as client is
       paramount to any issues of its own defense; and its torts adverse to my IP
       interests that include conspiracy to steal patent claims in consort with other


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•           clients were egregious and reprehensible. Cold Spring Harbor Laboratories v.
            Ropes & Gray, 2011 WL 2884893 (D. Mass 2011)(Transfeffed from EDNY
            because of disciplinary proceeding pending against Ropes & Gray attorneys in
            MA). If USPTO is now, finally, investigating what it concedes may be
•           criminal misconduct after it ignored my first grievances filed in 2004, I cannot
            be charged or prejudiced for this delay.
                  Third, in 2003, USPTO called me for the first time to inform me that
            Cowan attorneys unilaterally attempted to withdraw from my representation
•           for an "admitted conflict of interest" and there was no proof of service appended,
            requiring an investigation into Archives. In the interim, however, Cowan
            never perfected either of two text provisional applications they filed in May
            2002 during the ensuing 17 months, never continued services on the second
•           application from which they did not withdraw, and intentionally and
            fraudulently purged relevant patent files to deny me notice of the full scope of
            my claims (especially against Legend Films).
                   I contend in hindsight that had an earlier OED investigation been
•
            commenced, I might have been able to mitigate damages during the US
            prosecution of Legend's theretofore concealed PCT and US applications that
            integrated my inventions. Cowan intentionally did not list me as co-inventor
            in violation of 37CFR 1.48(a) because, as it admits, "it wasfollowing
•           instructions". You were sent these emails. Upon belief, Legend's previous
            patent attorney, Lawrence Husick, Esq., who filed analog only applications in
            film colorization in or about 1990, was already cited by your office. Upon
            belief, he secretly encumbered applications of Legend's predecessor, American
•           Film Technologies, with Legend CTO Barry Sandrew, who was Cowan's
            client. Sandrew was sued for breach of fiduciary duty before EDNY in 1999;
            and it was he and his new CEO, David Martin, who contacted Cowan
            attorneys behind my back.
•


           1 In its order upholding my tort claims against Cowan, Second Circuit cited to
           Ulico v. Wilson Elser. et al., 56 AD 3d 1 (AD lst Dept. 2008); and found there
•          was credence to my claims that Cowan used my confidential acquired
           pursuant to the attorney client relationship to benefit itself and other clients.
                                                            3


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•                Unbeknownst to me because Cowan did perfect a PCT for Legend in
           advance of a US application (preventing publication), Legend got its first digital
           patent in February, 2007 (7,181,081), based on Cowan's improper integration
           of certain of my ideas and digital conversion and editing inventions into that
•          PCT (filed by Cowan on May 6, 2002). On May 7, 2002, the next day, Cowan
           lied and told me that no work had yet been done for Legend because they had
           no retainer and Legend had paid no fees. Then they purged the evidence of the
           work in an agreement with Legend (demonstrating intentional torts).
•                  In the interim, Cowan, having already been retained as my attorney
           did nothing to protect my digital conversion ideas so that I would get the
           patent ahead of Legend. My long form patent applications drafts that I gave to
           Cowan included methods for editing, converting and legally distributing event
           and broadcast content in digital format in close to real time. Cowan also got
           my apparatus designs and drawings for mobile ticketing and distribution
           kiosks.

•                From what Commissioner Coggins relayed to me on the phone in 2003-
           4, and according to follow up calls from examiner Andrew Fisher, my
           applications had been taken out of the queue for prosecution in due course and
           remained held up until the issue of Cowan's incomplete withdrawal and
           conflict was resolved to USPTO's satisfaction. The memorialization(s) of
•
           these calls and notices are not on the PAIR web pages, are not published; and
           must be produced. I don't know how long the investigation went on.
                  In addition, I contend it is now also incumbent upon USPTO produce
•          Cowan's OED files to ensure that USPTO did not improperly allow Cowan or
           its lawyers to induce breach of administrative duties owing to me.
                  Last year, the United States Supreme Court ruled that acts of
           malpractice undertaken by attorneys pre-patent issuance are not within the
•
           exclusive jurisdiction of the federal courts and are for the most part, state
           claims, unless a specific Patent Rule or Regulations proscribes the precise
           misconduct. In theory then, while inventors should now be getting help from
           the state attorney disciplinary committees, we are not. [See, Gunn v. Minton,
•


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                                                                                offers no
•          133 S. Ct. 1059 (USSC Tex. 2013) (Roberts, J.)]. NYS's DDCs still
           help or recourse for inventors in contended violation of equal protection.
                  In the June, 2014 issue of NYU Journal on Legislation and Legal Ethics,
           NYU Law Ethics Professor Stephen Gillers submits his survey (attached)
•          finding that the attorney disciplinary protocols among NY's four main judicial
           departments are not equal. Legitimate grievances filed by inventors in NYS
           against lawyers are still being ignored in violation of equal protection even
           through patents are federally protected property rights. Inventors are per se
•          entitled to equal protection of NY Judiciary Law §§ 90, 487; and to have
           attorneys who violate ethics rules cited to avoid further prejudice to themselves
           and others.
•                  In Cold Springflarbor Laboratories v. Ropes & Gray and Matthew P. Vincent,
            2011 WL 2884893 (discovery order), a case I previously cited, the NY
            inventors of RNA cancer methods (disciples of Watson & Crick of DNA fame)
            had their attorneys move to transfer their $180 mil patent malpractice case
•         ' from EDNY to D. Mass. only because Massachusetts disciplined the lawyers
            and the Appellate Division of NY's Second Department did not. [2011 WL
            2884893; 840 F. Supp. 2d 473 (D. Mass 2012); see also Bernstein v. First Dept.
            Disciplinary Committee. Stephen Krone, Esq.. Proskauer Rose Goetz & Mendelsohn et
•           at, 07-vc-11196 (SDNY) I. The misconduct allegedly undertaken by the
            Ropes & Gray attorneys does not pale to what I suffered at the hands of
            Cowan lawyers.

                 Professor Gillers in reviewing gross inequities in NY's attorney
•         disciplinary system, advocates an overhaul and adoption of protocols similar
          to California. He says that NY's Appellate Division Judges should not be
          involved in the disciplinary proceedings and instead there should be a separate
          disciplinary bar to assess punishment. This certainly would help avoid
•         conflicts for certain DDC members, who as I recently discovered, dually serve
          as defense lawyers on retainer for the malpractice insurance carriers; bill
          hourly fees to defend reported lawyers; unduly extend litigations to continue
          stable legal fees in their own favor; and only whitewash DDC grievances filed
•         against attorneys who become their defense clients.


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    •                   In my case and unbeknownst to me until 2014, Cowan's lawyers at
                 Hinshaw & Culbertson - Richard Supple, Esq. and Hal Lieberman, Esq. - were
                 in fact Chief Counsels of the DDC when my grievances and those of other
                 inventors were filed and ignored in violation of equal protection. Supple, then,
    •            without making proper disclosures, misused my confidential grievance
                 information when taking up Cowan's defense. This explains how Cowan has
                 been able to escape liability for what you yourself concede, is possibly
                 criminal patent misconduct.
    •                  In conjunction therewith an in further support of my FOIA requests, I
                 attach J. Caher's article published in the May 27, 2014 New York Law Journal
                 linking to Professor Gillers' survey and coincidentally, interviewing none other
                 than Supple and Lieberman.
•
                       Of particular relevance to FOIA request, is Caher's link to a 2013 letter
                written by Supple personally he addressed to NYS's Presiding Justices Hon(s).
                Jonathan Lippman and Luis Gonzalez, of the NY Court of Appeals and
•               Appellate Division First Dept. In this letter, Supple, in his previously
                undisclosed capacity as Chair of NYC's Committee on Attorney Ethics and
                Discipline, advocates uniform standards of disbarment or suspension for the
                precise ethics violations committed by Cowan attorneys against my patent
•               interests. He also appends a list of ethics violations, at least 12 of which
                Cowan violated. Yet he and Lieberman whitewashed my grievances based on
                these same violations.
                       For eight years now, Supple has been unlawfully using my confidential
•               DDC grievance information, to assist in Cowan's defense before SDNY. I
                have now been defending frivolous motions appending doctored evidence for 8
                years. Supple never disclosed to me, to SDNY or to Second Circuit that he
                and Lieberman were on the team that got my grievances whitewashed in
•               violation of equal protection. I am therefore legitimately concerned Supple has
                also contacted my subsequent patent lawyers and/or the USPTO examiners,
                which could explain the unprecedented delay and prejudice. There is no
                USPTO statute to proscribe Supple's style of unlawful intervention to protect
•               the inventor, or require hearings, consistent with due process.


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                  Supple's secret 2013 letter to the NY Presiding Judges was written in his
•
             "other" capacity as NYC Ethics Counsel (attached). He obviously leads a
             double life with clear unobstructed access to decision makers who can hurt
             inventors who have been injured by bad lawyers.
•                  I reemphasize that Supple himself submitted doctored (materially forged)
             evidence to SDNY as Cowan's authorized agent for 8 years. I contend,
             therefore, that his patent misconduct should be investigated part of the OED
             investigation against Cowan; because he was Cowan's agent. I also contend
•            that am entitled to see Cowan's proffered submissions in response to my OED
             grievances; because Supple probably contributed or edited what Cowan
             submitted; and forged documents may be appended.
                   Supple and Cowan both jointly falsely swore to the SDNY in January,
•
            2008 that I had agreed to withdraw claims against Cowan (I never did). They
            swore under oath in 2006 that what they appended in support of their first
            discovery stay motion was my complete contract with Cowan (when they
            omitted a material rider and in further breach of attorney client privilege sent
•
            the forgery with a self-serving extended date stamp, to Legend's attorneys in
            San Diego). Cowan initialed the forgery and I never did.
                  Moreover, Supple has filed some 12 frivolous motion sequences
•           including seeking unjustified sanctions whose aim is only to injure and harass.
            My 6AC stating the conspiracy and patent theft claims in connection with
            Legend's officers is still not answered in violation of SDNY's recent order and
            Supple has just filed another sanction motion.


                  In summary, because Supple, an alleged ethics expert, expressly
           advocates to NYS Judges that publication of even attorney admonitions and
•          reprimands is mandatory and in the public interest, there is no basis for
           USPTO to worry about embarrassing the Cowan defendants by FOIA
           production my non-public files. According to Supple's own list, his Cowan
           clients should be disbarred or suspended . In addition, Supple himself must be
•          sanctioned, suspended or disbarred by the OED.


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                  Based on the above, I respectfully request that your office reconsider
•          your denial of my FOIA requests, and produce of all unpublished (non-public)
           documents related to my patent portfolio. I seek the following: all relevant
           documents from USPTO Archives on Cowan's incomplete withdrawal,
           Cowan's communications at intake, docket entries, and documents at the
•          offices of former Commissioner Wynn Coggins and Examiner Andrew Fisher
           who told me in 2005 that my applications were taken out of the queue for
           prosecution in due course based on Cowan's attempt at incomplete and
           unnoticed withdrawal in 2003 for an undisclosed "conflict of interest". 2
•
                 I also seek USPTO's unpublished notes on Commissioner's denial of my
          right to continue patent prosecution pro se until the issues of Cowan's
          incomplete withdrawal were resolved to USPTO's satisfaction. These
•         documents would demonstrate that there was unprecedented and undue delay
          of my prosecution and enforcement rights emanating fromCowan's
          misconduct. Contrary to your letter, none of these documents are on the file
          wrappers or on PAIR.
•               Most significantly, I seek Cowan's submission(s) in response to my OED
          grievances since 2004. I have a bona fide belief that Cowan's proffers may
          contain doctored or forged versions of documents previously and unlawfully
          purged from my e-directories in 2002-3, similar to what was submitted to
•         defraud the SDNY; and that Supple may have participated in those proffers.
                I am also legitimately concerned that Cowan's submissions to OED may
          be untruthful, defamatory to me, and may have unjustly prejudiced examiners
•         assigned to my pending patents.
                I claim therefore that I am being denied due process and the right to
          confront all witnesses against me. This is why I also requested that OED
          investigate the two subsequent lawyers I retained since getting first office
•         actions in 2008 - Allan Chan, Esq. and Charles Ruggiero, Esq.. I have paid

          'NY law is clear that Cowan's attempt at unnoticed withdrawal at the USPTO
          was ineffective to relieve Cowan of continuing patent obligations to me in
•         compliance with the standard of care. Protostorm v. Antonelli, Terry, Stout, et al.,
          834 F. Supp. 2d 131 (EDNY 2012).
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                about $45,000 to these lawyers, had signed retainers, and they both
    •           suspiciously accepted retainer monies but did not answer office actions or
                return my non-public files.
                       Your office has not responded to my requests to force return of my non-.
•               public files from these lawyers or my unearned retainer monies. Perhaps their
                files will help the OED investigation by providing notes from non-public
                communications with Supple.

                       Please be advised that in 2009, Examiner Jalatee Worjloh conceded to
•
                Allan Chan, Esq. that the disclosures in my original US application, No. 468
                were patentable, useful and there was no prior art. The original 468
                application has still not issued. Cowan never perfected the text-only
                provisionals it filed naming me as sole inventor (60/382, 710; 382,949).
•               However, Ruggiero accepted a $10,000 retainer to complete prosecution of 468
                but also, never answered the office action; and has continued to refuse to
                return my non-public files to my new prosecution attorney, Alozie Etufugh,
                Esq. of NYC.
•
                       I believe Ruggiero was contacted by Supple and is hiding his notes.
                Similarly, I believe that Supple influenced my previous SDNY attorney, Lee
                Squitieri, Esq., to transfer the Legend lawsuit from SDNY (08-cv-9256 ) to
•               SDCA without justification so that my discovery of the Legend-Cowan
                misconduct would be delayed.
                     The damages I suffered to date are astronomical, not only to my business
               and patents, but to my personal health. That Cowan never even advised me of
•              my rights to expedited prosecution within 18-24 months, means they waived
               my right to get more comprehensive and enforceable claims issued in the US
               by 2004-5 instead of October, 2009. In addition, Cowan did not perfect the
               provisional texts into a PCT in advance of a US application, allowing
•              publication of my disclosures and ideas, further prejudicing my interests.

                      As a result, in 2008, Apple was able to plagiarize my published
               applications in languished prosecution. Apple and its lawyers then improperly
•              failed to list my pending applications as prior art. [See Appl No. 2008-082491]
               My understanding is that Apple did not get a patent on premium ticketing

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            operations; it appealed the rejection, but its separate and improper failure to
•
            list my inventions continued in the face of notices sent by Allan Chan to
            Apple's Examiner. This is what I mean by unexplainable prejudice to my
            applications from non-public documents.

•                   In 2013, I submitted to OED's Asli Carome, upon request, hard email
            evidence from Cowan's first and only December 2012 document production in
            SDNY that Cowan purged my electronic patent files "at the client's
            instructions". Cowan's purging constitutes spoliation in the patent context.
•           Micron Technology v. Rambus, 645 F. 3d 1311 (D. Del. 2013). It denied me
            timely notice that Cowan had integrated my inventions and ideas into
            Legend's PCT on May 6, 2002 before filing any of my long-form drafts when I
            was the true inventor of the digital conversion systems. Cowan was obligated
•           to list me as co-inventor on Legend's PCT and in violation of 37 CFR 1.48 (a)
            failed to do so.3 That Legend's PCT cites to use for animation, a field in which
            I worked and had files, that is not Legend's business, demonstrates theft of my
            proprietary material that Cowan got from me only through the attorney client
•           privilege.


                  I currently have a related appeal pending at the Ninth Circuit against
•           Legend Films and its officers (12-57268). In 2013, SD California denied my
            application to amend my complaint to plead the intentional tort, wrongful
            inducement and conspiracy claims that I discovered from Cowan's first
            document production in SDNY in December, 2012; documents from which
•           were sent to OED in March, 2013.

                 In order for me to have maximum success in supplementing the record
           on appeal before the 9th Circuit and possibly remanding the Legend suit back to
           SDNY to consolidate with the Cowan litigation, I need my non-public files
•          from your office.

           3 Ergo, that Cowan allowed Legend's officers to breach fiduciary duty to me
           (the earlier patent client) is a given. All Legend's previous applications were
•          analog only and works for hire for predecessor in interest American Film
           Technologies, and filed by Pennsylvania attorney, Lawrence Husick, Esq.
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                I therefore respectfully reconsideration of denial of my FOIA requests
           and am grateful for a response at your earliest opportunity. My email address
           may be used. amygurvey@verizon.net.
                    Thank you very much.
•
                                                           Respectfully   mined,
                                                                     /


                                                           AMY       URVEY, Inventor




•         cc: Office of Government Information Services
          National Archives and Records Administration
          Room 2510
          8601 Adelphi Road
•         College Park MD 20740-6001
          ogis@nara.com



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I)


     Amy Gurvey

     From:                                Amy Gurvey <amygurvey@verizon.net>
     Sent:                                Thursday, May 22, 2014 5:54 PM
     To:                                  'FOIA Requests'
     Subject                              RE: USPTO Request No. FP-14-00014


       do wish to appeal because I am seeking non official filings, at OED not just official filings that are public and on the file
     wrappers.
     Contrary to your cited case, I am not asking you to criminally prosecute my lawyers; however, I want to see how they
     attempted to defend themselves before the OED. I believe they may have submitted doctored evidence that itself
     constitutes spoliation in the patent context. See Micron Technology v. Rambus, 645 F. 3d 1311 (D. Del 2013) on remand
     from Fed. Cir. If I lose your appeal, I will have to move to compel production of the USPTO OED files in my lawsuit;
4)
     because Cowan is withholding discovery in my lawsuit.

     As I wrote, I disagree that the OED proceedings against my own lawyers are not discoverable by FOIA based on the
     Jefferson and Cold Spring Harbor Laboratories cases I cited. The case you cited against an adverse US Attorney
     prosecutor does not apply.

     Moreover, I believe that the def lawyers for the Cowan firm in SDNY (06-cv-1202), Hinshaw & Culbertson, LLP,
     improperly contacted my subsequently retained USPTO attys, Allan Chan and Charles Ruggiero and told them not to do
     my patent work or prejudice my pending appls after these attys accepted retainers to continue prosecution. The
     Hinshaw firm did this to give the Cowan lawyers a false defense. As it is they did not even advise me I had rights of
     expedited prosecution and waived those rights.
4)   Ruggiero admitted he heard something from these_lawyers. Ruggiero he also took a $10K retainer from me in 2012,
     sent me 3 powers of atty to revive and continue three applications including the flagship 468 application and then never
     filed them.

     Chan, the previous lawyer, let certain appls go abandoned and did not notify me, and charged my credit card to revive
4)   them (also without telling me).
     All my grievances stem from the same core of patent applications; and the defense firm representing the original
     lawyers, not patent lawyers.
     Members of the Hinshaw firm were sued in 2007 by a USPTO inventor Eliot Bernstein before SDNY for whitewashing his
     grievances at the First Dept. Disciplinary Committee. The Hinshaw firm has attys on the First Dept. Disciplinary
     Committee in NY, and is double dealing as fiduciaries to the public and then using the confidential information when
4)   they take up a law firm's defense. Also under Gunn v. Minton, 133 S. Ct. 1059 (USSC Tex. 2013) (Roberts J.), the US
     Supreme Court has held that the states must have a compelling interest in protecting the assets of inventors; and that
     not all matters are in the exclusive jx of the federal courts. Therefore, I need the documents that the Cowan firm
     submitted in defense. There are two patent attorneys involved — R. Lewis Gable, Esq. who I think Cowan fired and Mark
     Montague, Esq., each of whom filed one of my provisionals in text format only and then did nothing else for 11months
     to perfect them. For six months subsequent to taking my retainer and formal applications in December, 2001 they did
     nothing to protect my inventions.
     Thank you for getting back. Amy R. Gurvey 917-733-9981

     From: FOIA Requests [maitto;FOIARequestsOUSPTO.GOV]
     Sent: Thursday, May 22, 2014 3:47 PM
4)   To: Amy Gurvey
     Subject: USPTO Request No. FP-1400014

     Ms. Gurvey,


4)                                                                                                          EXHIBIT 19
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                                     UNITED STATES PATENT AND TRADEMARK OFFICE
                                                       OFFICE OF THE GENERAL COUNSEL

                                                            April 07, 2014
•

              VIA U.S. MAIL

              Ms. Amy Gurvey
              315 Highland Avenue
•             Upper Montclair, NJ 07043

              RE:     Freedom of Information Act (FOIA) Request No. FP-14-00014

              Dear Ms. Gurvey:

              The United States Patent and Trademark Office (USPTO or Agency) FOIA Office has received
•
              your e-mail dated February 14, 2014 requesting, under the provisions of the Freedom of
              Information Act, 5 U.S.C. § 552, a copy of:

                      [I] All documents pertaining to my patent applications and portfolio in premium ticket
•                     operations and [2] an OED investigation against the first patent firm retained, Cowan
                      Liebowitz & Latman PC.

              OED Investigation Files

             The USPTO has identified records that are responsive to the latter part of your request for
             records related to an Office of Enrollment and Discipline (OED) investigation against Cowan
             Liebowitz & Latman. _151_ pages of this material are releasable in full and are enclosed.
             Portions of the responsive material, however, were withheld in full pursuant to Exemption (7)(A)
             and (7)(C) of the FOIA.

             The Agency has withheld in full all records contained in open Office of Enrollment and
•            Discipline (OED) investigation files under Exemptions 7(A) and 7(C). 5 U.S.C. § 552(b)(7)(A),
             (C). Under Exemption 7(A), an agency may withhold "records or information compiled for law
             enforcement purposes ... to the extent that the production of such records or information
             could reasonably be expected to interfere with enforcement proceedings." 5 U.S.C. §
             552(b)(7)(A). Importantly, Exemption 7(A) is not limited to criminal law enforcement records.
             Rather, the exemption applies to statutory adthinistrative and regulatory enforcement
•            proceedings as well, and thus encompasses USPTO's OED investigation and adjudication
             processes. See, e.g., Jefferson v. Dep't of Justice, 284 F.3d 172, 178 (D.C. Cir. 2002) (holding
             that Exemption 7 "covers investigatory files related to enforcement of all kinds of laws,
             including those involving adjudicative proceedings" (internal quotations omitted)). Here, OED
             file records pertain to pending or prospective law enforcement proceedings and could reasonably
•




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•             be expected, upon release, to cause some articulable harm. As a result, USPTO is permitted to
              withhold these records under Exemption 7(A).

              Exemption 7(C) permits withholding of law enforcement records where disclosure "could
              reasonably be expected to constitute an unwarranted invasion of personal privacy." 5 U.S.C. §
•             552(b)(7)(C). A "categorical withholding" of information that identifies third parties in law
              enforcement records is ordinarily appropriate under Exemption 7(C). SafeCard Servs. v. SEC,
              926 F.2d 1197, 1206 (D.C. Cir. 1991); see, e.g., Neely v. FBI, 208 F.3d 461, 646 (4th Cir. 2000)
              (apply Exemption 7(C) to withhold records referencing targets of investigatory interest). Here,
              release of open OED files would warrant a significant invasion of personal privacy for the
              individuals involved in the investigation, as long as the investigation remains open and/or non-
•             public. As such, the investigatory files may also be withheld pursuant to Exemption 7(C).

              Patent Application Records

             With respect to the first part of your request for documents pertaining to your patent applications
             and portfolio in premium ticket operations, the USPTO indexes and makes available for public
•            inspection and copying all files concerning issued patents and published applications, as well as
             re-examination files. 5 U.S.C. § 552(a)(2); 37 CFR § 1.11, 1.12 and 1.13. The USPTO's indices
             include: (1) an index of patents by application number, patent number, or control number; (2) an
             inventor's index; and (3) an index of assignors/assignees of patents.

             Online: Many patents and published patent application files are available electronically on the
•            USPTO website at http://portal.uspto.gov/nair/PublicPair.

             In person:, Complete patent files may be inspected and copied by any individual at the Public
             Search Facility of the USPTO, at 600 Dulany Street, Madison Building East, Alexandria, VA
             22313. If you are unable to conduct a search personally, there are private searchers who conduct
•            these kinds of searches. They are frequently listed in legal publications and electronic and paper
             telephone directories.

             Ordering copies: Alternatively, copies of issued patent file contents or patent application file
             contents or a particular paper within the file may be requested electronically at
             http://ebizl.uspto.gov/oems25p/index.html with authorization to charge the appropriate fee to a
•            deposit account or credit card. You may also make a request for file contents by mail to the
             following address:

                                       Mail Stop Document Services
                                       Director of United States Patent and Trademark Office
                                       P.O. Box 1450
•                                      Alexandria, VA 22313-1450

             The request must include the patent registration number or patent application publication number
             and payment of the appropriate fee.


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    Amy Gurvey
    From:                           JCJ@cll.com
    Sent:                           Thursday, May 01, 2003 12:07 PM
•
    To:                             Amy Gurvey
    Subject:                        RE: Legend Files


    We had to follow the instructions of the client. I suggest that you take this up with Mr. Martin and Mr. Yapp.
                                                           4
•
        Original Message----
    From: Amy Gurvey imailto:amygurvey@comcast.net1
    Sent: Thursday, May 01, 2003 12:02 PM
    To: Ja@c11.com
    Subject: RE: Legend Files
•

    Lew took the word of David Martin without checking with Jeff Yapp while I was still General Counsel. Now it may be
    impossible for me to gitiMrrPrIrenrk.                                                  -..m.im,,,mit

        Original Message
•   From: Ja@cli.com fmailto:Ja@ c11.cornj
    Sent: Thursday, May 01, 2003 12:01PM
    To: Amy Gurvey
    Subject: Legend Files

•   I just spoke to Lew. He tells me that all of the Legend files were sent at the request of David Martin to Legend's new
    attorney.
    The applications were assigned to Legend and recorded in the US Patent and Trademark Office so all of the files
    belonged to Legend. If you need something from these files, you should communicate with Mr. Martin or Legend's new
    counsel. We no longer possess these files.

•   Chris Jensen

    *************************************************************

    This electronic mail transmission may contain confidential information and is intended only for the person(s) named.
    Any use, copying or disclosure by another person is strictly prohibited. If you have received this transmission in error,
    please notify the sender via return e-mail.
•   *************************************************************

    *************************************************************

    This electronic mail transmission may contain confidential information and is intended only for the person(s) named.
    Any use, copying or disclosure by another person is strictly prohibited. If you have received this transmission in error,
    please notify the sender via return e-mail.
    *************************************************************
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•


     Amy Gurvey
     From:                             JCJ@cll com
     Sent:                             Thursday, May 01, 2003 12:01 PM
•    To:                               Amy Gurvey
     Subject:                          Legend Files


     I just spoke to Lew. He tells me that all of the Legend files were sent at the request of David Martin to Legend's new
    „Sa igon,.
•    The applications were assigned to Legend and recorded in the US Patent and Trademark Office so all of the files
     belonged to LegrrirrtriTrligetlismiethfirtrom these files, you should communicate with Mr. Martin or Legend's new
     counsel. We no longer possess these files.

     Chris Jensen

     *************************************************************

     This electronic mail transmission may contain confidential information and is intended only for the person(s) named.
     Any use, copying or disclosure by another person is strictly prohibited. If you have received this transmission in error,
     please notify the sender via return e-mail.
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                                                       ID #:699
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    Amy Gurvey

    From:                          David Martin <dmartin@legendfilms.net>
•   Sent:                          Monday, January 20, 2003 10:29 AM
    To:                            Amy Gurvey
    Cc: .                          'jyapp@cablevision.com'
    Subject:                       Re: ARGurvey


    CLL and Legend are not working together. They have stated that there is a conflict and we will not work together
•   unless/until it is resolved. As of now, we have alternate patent counsel.

    Let me know your mailing address so I can send you docs.

    Thanks

•


    David Martin
    Chief Executive Officer
    Legend Films, Inc.
•   5726 La Jolla Blvd. - Suite 101
    La Jolla, CA 92037
    Phone: (858) 551-8724 x15
    Fax: (858) 551-8368
    --- Original Message —
•   From: Amy Gurvev
    To: 'David Martin'
    Cc: jvappe.cablevision.com
    Sent: Monday, January 20, 2003 5:40 AM
    Subject: RE: ARGurvey

    Jeff and I also discussed that it remains inappropriate because of a conflict to use Cowan Liebowitz or any of its
•   attorneys.

             -----Original Message----
             From: David Martin rmailto:dmartinOlegendfilms-neU
             Sent: Sunday, January 19, 2003 4:27 PM
             To: Amy Gurvey
•            Cc: ivaop@cablevision.com
             Subject: Re: ARGurvey

             Amy, This week you will be receiving from Legend's counsel, a settlement agreement. Sign it and we will issue
             you 40,000 shares of common stock. This is the equivalent of your receiving the 3% of Legend founder shares
             you feel you are entitled to with the same vesting schedule as all other employees (3 year cliff
•            vesting). Therefore the 40,000 shares is one-third of the 3% issued as if you had been at Legend as a
             founder. Please respond to this email with your mailing address so we can send you the documents. Thank
             you.
             David


•
             David Martin
             Chief Executive Officer
             Legend Films, Inc.
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                PAT.
                            Title
                NO.
             1 8 179 475 T Apparatus and method for synchronizing a secondary audio track to the audio track of
                            a video source
•            2 8 160  390 T Minimal artifact image sequence depth enhancement system and method
             3 8,078,006 T Minimal artifact image sequence depth enhancement system and method
             4 8,073,247 T Minimal artifact image sequence depth enhancement system and method
           i 5 7,907,793 T Image sequence depth enhancement system and method
             6 7,577,312 T Image sequence enhancement system and method
•            7  7,333,670 T Image sequence enhancement system and method
             8 7,181.081 T Image sequence enhancement system and method
           . 9 5,534,915 T Method of color enhancing a monochrome image using multiple base colors for
                            selected regions of the monochrome image
             10 5,252,953 T Computergraphic animation system
•            11 5,093,717 T System and method for digitally coloring images
             12 4,984 072 T System and method for color image enhancement


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                                                         ID #:701
•        Patent Database Search Results: IN/"sandrew, barry" AND legend in US Patent Collection        Page 1 of 1


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        IN/"sandrew, Barry" AND legend: 5 patents.
        Hits 1 through 5 out of 5


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           PAT.
                       Title
           NO.
         1 7 907 793 T Image sequence depth enhancement system and method
         2 7 577 312 T Image sequence enhancement system and method
•        3 7.333.670 T Image sequence enhancement system and method
         4 7,181,081 T Image sequence enhancement system and method
         5 5,534,915 T Method of color enhancing a monochrome image using multiple base colors for selected
                       regions of the monochrome image

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